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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

DONAVETTE ELY, individually and as next
friend to minor plaintiff N.G.,

                            Plaintiff,
      v.                                      COMPLAINT
Meta Platforms, Inc., Facebook Holdings,      JURY TRIAL DEMANDED
LLC, Facebook Operations, LLC, Facebook
Payments, Inc., Facebook Technologies, LLC,
Instagram, LLC, & Siculus, Inc.,

                            Defendants.
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                                         1-5 08/03/22
                                               Filed
                                               07/05/22
                                                     08/01/22
                                                       Page
                                                          Page
                                                            3 of
                                                               Page
                                                               2 375
                                                                 of 88
                                                                     5PageID
                                                                       of PageID
                                                                          91 #:151
                                                                                 #: 2



                                  TABLE OF CONTENTS
I.      INTRODUCTION .........................................................................................................1

II.     JURISDICTION AND VENUE ....................................................................................5

III.    PARTIES .......................................................................................................................6

IV.     GENERAL FACTUAL ALLEGATIONS .....................................................................8

        A.         Teenagers Are Particularly Vulnerable to the Perils of Excessive
                   Social Media Use. ..............................................................................................8

        B.         Meta Knowingly Exploits Teenage Vulnerabilities for Unjust Gain...............15

        C.         Plaintiff Expressly Disclaims Any and All Claims Seeking to Hold
                   Defendants Liable as the Publisher or Speaker of Any Content
                   Provided, Posted, or Created by Third Parties. ................................................21

V.      PLAINTIFF-SPECIFIC ALLEGATIONS ..................................................................21

VI.     CAUSES OF ACTION ................................................................................................21

VII.    TIMELINESS AND TOLLING OF STATUTES OF LIMITATIONS ......................84

VIII.   DEMAND FOR A JURY TRIAL ...............................................................................84

IX.     PRAYER FOR RELIEF ..............................................................................................85
 Case
  Case:
      1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
                           Document
                              Document
                               #: 8-11Filed:
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                                                       Page
                                                          Page
                                                            4 of
                                                               Page
                                                               3 375
                                                                 of 88
                                                                     6PageID
                                                                       of PageID
                                                                          91 #:152
                                                                                 #: 3


                                    I.      INTRODUCTION

       1.      Over the last two decades, more and more of our lives have moved onto social

media platforms and other digital public spaces. In this vast, still largely unregulated universe of

digital public spaces, which are privately owned and primarily run for profit, there exists tension

between what is best for technology companies’ profit margins and what is best for the individual

user (especially the predictable adolescent user) and for society. Business models are often built

around maximizing user engagement, not to ensure that users engage with the platform and one

another in safe and healthy ways. Technology companies focus on maximizing time spent, not

time well spent. In recent years, there has been growing concern about the impact of digital
technologies, particularly social media, on the mental health and wellbeing of adolescents. Many

researchers argue that social media facilitates cyberbullying, contributes to obesity and eating

disorders, instigates sleep deprivation to achieve around-the-clock platform engagement,

encourages children to negatively compare themselves to others and develop a broad

discontentment for life, and has been connected to depression, anxiety, self-harm, and ultimately

suicide ideation, suicide attempts, and completed suicide.

       2.      This matter arises from an egregious breach of the public trust by Defendant Meta

Platforms, Inc. (“Meta”). Meta was originally incorporated in Delaware on July 29, 2004, as

“TheFacebook, Inc.” On September 20, 2005, the company changed its name to “Facebook, Inc.”

On October 28, 2021, the company assumed its current designation. While Plaintiff has attempted

to identify the specific Meta subsidiary(s) that committed each of the acts alleged in this
Complaint, Plaintiff was not always able to do so, in large part due to ambiguities in Meta’s and

its subsidiaries’ own documents, public representations, and lack of public information. However,

upon information and belief, Meta oversees the operations of its various platforms and

subsidiaries, some of which have been identified and are listed below. For this reason, unless

otherwise specified, the shorthand “Meta” contemplates the apparent control that Defendant Meta

Platforms, Inc. wields over the subject social networks’ overall operations and, therefore, further
refers to its various subsidiaries and predecessors. To the extent this assumption is incorrect, the

knowledge of which Meta subsidiary, current or former, is responsible for specific conduct is

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 Case
  Case:
      1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                            5 of
                                                               Page
                                                               4 375
                                                                 of 88
                                                                     7PageID
                                                                       of PageID
                                                                          91 #:153
                                                                                 #: 4



knowledge solely within Defendants’ possession, the details of which Plaintiff should be

permitted to elucidate during the discovery phase.

       3.      Meta knowingly exploited its most vulnerable users—children throughout the

world—to drive corporate profit. Meta operates the world’s largest family of social networks,

enabling billions of users worldwide to connect, view, and share content through mobile devices,

personal computers, and virtual reality headsets. A user does not have to pay to create an account.

Instead of charging account holders to access the platform, Meta became one of the world’s most

valuable companies from the sale of advertisement placements to marketers across its various

platforms and applications. For example, upon information and belief, Meta generated $69.7

billion from advertising in 2019, more than 98% of its total revenue for the year. Meta can

generate such revenues by marketing its user base to advertisers. Meta collects and analyzes data

to assemble virtual dossiers on its users, covering hundreds if not thousands of user-specific data

segments. This data collection and analysis allows advertisers to micro-target advertising and

advertising dollars to very specific categories of users, who can be segregated into pools or lists

using Meta’s data segments. Only a fraction of these data segments come from content that is

explicitly designated by users for publication or explicitly provided by users in their account

profiles. Many of these data segments are collected by Meta through surveillance of each user’s

activity on the platform and off the platform, including behavioral surveillance that users are not

even aware of, like navigation paths, watch time, and hover time. At bottom, the larger Meta’s
user database grows, the more time the users spend on the database, and the more detailed

information that Meta can extract from its users, the more money Meta makes.

       4.      Defendants have intentionally designed their products to maximize users’ screen

time, using complex algorithms designed to exploit human psychology and driven by advanced

computer algorithms and artificial intelligence available to two of the largest technology

companies in the world. Defendants have progressively modified their products to promote

problematic and excessive use that they know threatens the actuation of addictive and self-
destructive behavioral patterns.



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                                                            6 of
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                                                                 of 88
                                                                     8PageID
                                                                       of PageID
                                                                          91 #:154
                                                                                 #: 5



       5.      Two      Meta     products,     the    www.Facebook.com           (“Facebook”)   and

www.Instagram.com (“Instagram”) websites and respective interrelated apps (collectively “Meta

2”), rank among the most popular social networking products, with more than two billion

combined users worldwide. It is estimated that nine out of ten teens use social media platforms,

with the average teen using the platforms roughly three hours per day. Given the delicate,

developing nature of the teenage brain and Meta’s creation of social media platforms designed to

be addictive, it comes as no surprise that we are now grappling with the ramifications of Meta’s

growth-at-any-cost approach, to wit, a generation of children physiologically entrapped by

products the effects of which collectively result in long-lasting adverse impact on their rapidly

evolving and notoriously precarious mental health.

       6.      As of October 2021, Facebook had roughly 2.91 billion monthly active users, thus

reaching 59% of the world’s social networking population, the only social media platform to reach

over half of all social media users. Instagram has become the most popular photo sharing social

media platform amongst teenagers and young adults in the United States, with over 57 million

users below the age of eighteen, meaning that 72 percent of America’s youth use Instagram.
       7.      A user’s “feed” on both Facebook and Instagram is comprised of an endless series

of photos, videos, text captions, and comments posted by accounts that the user follows, along

with advertising and content specifically selected and promoted by Instagram and Facebook.

       8.      Instagram also features a “discover” page where a user is shown an endless feed of

content that is selected by an algorithm designed by Instagram based upon the users’ data profile:

demographics, prior activity in the platform, and other data points. Meta has added similar features

to Facebook on the apps “menu” and “watch” sections.

       9.      Over the past decade or so, Meta has added features and promoted the use of auto-

playing short videos and temporary posts on Facebook and Instagram, with the former being

referred to as “Reels” while the latter is referred to as Instagram “Stories.”

       10.     Facebook and Instagram notify users through text and email of activity that might

be of interest, which is designed to and does prompt users to open Facebook and Instagram and be

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                                                                          91 #:155
                                                                                 #: 6


exposed to content selected by the platforms to maximize the length of time and amount of content

viewed by the user. Facebook and Instagram include many other harm causing features, as

discussed below.

        11.    Plaintiff brings claims of strict liability based upon Defendants’ defective design of

their social media products that renders such products not reasonably safe for ordinary consumers

in general and minors in particular. It is technologically feasible to design social media products

that substantially decrease the incidence and magnitude of harm to ordinary consumers and minors

arising from their foreseeable use of Defendants’ products with a negligible increase in production

cost.

        12.    Plaintiff also brings claims for strict liability based on Defendants’ failure to

provide adequate warnings to minor users and their parents of the danger of mental, physical, and

emotional harms arising from the foreseeable use of their social media products.

        13.    Plaintiff also brings claims for common law negligence arising from Defendants’

unreasonably dangerous social media products and their failure to warn of such dangers.

Defendants knew or, in the exercise of ordinary care, should have known that their social media

products were harmful to a significant percentage of their minor users and failed to re-design their

products to ameliorate these harms or warn minor users and their parents of dangers arising out of

the foreseeable use of their products. Defendants intentionally created an attractive nuisance to

children, but simultaneously failed to provide adequate safeguards from the harmful effects they

knew were occurring.

        14.    The addictive qualities of Defendants’ products and their harmful algorithms are

not fully known or appreciated by minor users or their parents. Like others, Plaintiff only recently

learned the truth about Meta’s increasingly detrimental effect on teenagers when Frances Haugen,

a former Facebook employee turned whistleblower, came forward with internal documents

showing that Meta was aware that its platforms and products cause significant harm to its users,

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        1:22-cv-02968
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                                                                             91 #:156
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especially children. Rather than making meaningful changes to safeguard the health and safety of

its adolescent users, Meta has consistently chosen to prioritize profit over safety by continuing to

implement and require its users to submit to product components that increase the frequency and

duration of users’ engagement, resulting in the pernicious harms described in greater detail below.

                             II.     JURISDICTION AND VENUE

        15.     This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1332(a)

because the amount in controversy exceeds $75,000 and Plaintiff and Defendants are residents of

different states.

        16.     This Court has specific personal jurisdiction over Defendants Facebook and

Instagram because these Defendants transact business in the State of Alabama and purposely avail

themselves of the benefits of transacting business with Alabama residents. Plaintiff’s claims set

forth herein arise out of and/or relate to Defendants’ activities in the State of Alabama and

purposeful availment of the benefits of transacting business here and the exercise of personal

jurisdiction by this Court comports with traditional notions of fair play and substantial justice.

        17.     Defendants interface with a significant percentage of the population of the State of

Alabama relating to use of the products at issue in this case, and interact extensively with—send

messages, notifications, and communications to—and provide a myriad of other interactive

services and recommendations to users Defendants expect and know to be in the State of Alabama.

        18.     Defendants advertise extensively in Alabama, through contractual relationships

with third-party “partners” who advertise on their behalf via electronic and internet-based

platforms and devices. Meta also has agreements with cell phone manufacturers and/or providers

and/or retailers, who often pre-install its products on mobile devices prior to sale and without

regard to the age of the intended user of each such device. That is, even though Defendants are

prohibited from providing their products to users under the age of 13, by encouraging and allowing



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its product to be installed indiscriminately on mobile devices, it actively promotes and provides

access to its product to the underage users in Alabama for whom those devices are intended.

       19.     Defendants have earned millions of dollars in annual revenue from their Alabama-

related activities over the last several years arising from the use of their defective and inherently

dangerous social media products by Alabama residents, including Plaintiff.

       20.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred in the Southern District of

Alabama.

                                         III.    PARTIES

Plaintiff

       21.     Plaintiff Donavette Ely is an individual residing in Mobile, Alabama, and the

custodial parent of her eighteen-year-old daughter N.G. Plaintiff brings this suit on behalf of

herself and on behalf of N.G., pursuant to FED. R. CIV. P. 17.

Defendant Meta Platforms, Inc.

       22.     Meta is a Delaware corporation and multinational technology conglomerate,

having its principal place of business in Menlo Park, California.

       23.     Meta develops and maintains social media platforms, communication platforms,

and electronic devices. These platforms and products include Facebook (its self-titled app,
Messenger, Messenger Kids, Marketplace, Workplace, etc.), Instagram (and its self-titled app),

and a line of electronic virtual reality devices called Oculus Quest (soon to be renamed “Meta

Quest”). Meta’s subsidiaries include, but may not be limited to: Facebook Holdings, LLC

(Delaware); Facebook Operations, LLC (Delaware); Facebook Payments Inc. (Delaware);

Facebook Technologies, LLC (Delaware); FCL Tech Limited (Ireland); Instagram, LLC

(Delaware); Novi Financial, Inc. (Delaware); Runways Information Services Limited (Ireland);
Scout Development LLC (Delaware); Siculus, Inc. (Delaware); and a dozen other entities whose

identity or relevance is presently unclear.

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Subsidiary Defendants

       24.     Facebook Holdings, LLC (“Facebook 1”) was incorporated in Delaware on March

11, 2020, and is a wholly owned subsidiary of Meta Platforms, Inc. Facebook 1 is primarily a

holding company for entities involved in Meta’s supporting and international endeavors, and its

principal place of business is in Menlo Park, California.

       25.     Facebook Operations, LLC (“Facebook 2”) was incorporated in Delaware on

January 8, 2012, and is a wholly owned subsidiary of Meta Platforms, Inc. Facebook 2 is likely a

managing entity for Meta’s other subsidiaries, and its principal place of business is in Menlo Park,

California.

       26.     Facebook Payments, Inc. (“Facebook 3”) was incorporated in Florida on December

10, 2010, and is a wholly owned subsidiary of Meta Platforms, Inc. Facebook 3 manages, secures,

and processes payments made through Meta, among other activities, and its principal place of

business is in Menlo Park, California.

       27.     Facebook Technologies, LLC (“Facebook 4”) was incorporated in Delaware as

“Oculus VR, LLC” on March 21, 2014, and acquired by Meta on March 25, 2014. Facebook 4’s

principal place of business is in Menlo Park, California, and it develops Meta’s virtual and

augmented reality technology, such as the Oculus Quest line of products (soon to be renamed

“Meta Quest”), among other technologies related to Meta’s various platforms.

       28.     Instagram, LLC (“Instagram”) was founded by Kevin Systrom and Mike Krieger

in October 2010. In April 2021, Meta purchased the company for $1 billion (later statements from

Meta have indicated the purchase price was closer to $2 billion). Meta reincorporated the company

on April 7, 2012, in Delaware. Currently, the company’s principal place of business is in in Menlo

Park, CA. Instagram is a social media platform tailored for photo and video sharing.




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                                                                                  #: 10


       29.     Siculus, Inc., (“Siculus”) was incorporated in Delaware on October 19, 2011, and

is a wholly owned subsidiary of Meta. Siculus supports Meta platforms by constructing data

facilities and other projects. Siculus’s principal place of business is in Menlo Park, CA.

                       IV.     GENERAL FACTUAL ALLEGATIONS

A.     Teenagers Are Particularly Vulnerable to the Perils of Excessive Social Media Use.

       30.     Emerging research shows that the human brain is still developing during

adolescence in ways consistent with adolescents’ demonstrated psychosocial immaturity.

Specifically, adolescents’ brains are not yet fully developed in regions related to risk evaluation,

emotion regulation, and impulse control. The frontal lobes—and, in particular, the prefrontal

cortex—of the brain play an essential part in higher-order cognitive functions, impulse control,

and executive decision-making. These regions of the brain are central to the process of planning

and decision-making, including the evaluation of future consequences and the weighing of risk

and reward. They are also essential to the ability to control emotions and inhibit impulses. MRI

studies have shown that the prefrontal cortex is one of the last regions of the brain to mature.

During childhood and adolescence, the brain is maturing in at least two major ways. First, the brain

undergoes myelination, the process through which the neural pathways connecting different parts

of the brain become insulated with white fatty tissue called myelin. Second, during childhood and

adolescence, the brain is undergoing “pruning”—the paring away of unused synapses, leading to

more efficient neural connections. Through myelination and pruning, the brain’s frontal lobes

change to help the brain work faster and more efficiently, improving the “executive” functions of

the frontal lobes, including impulse control and risk evaluation. This shift in the brain’s

composition continues throughout adolescence and into young adulthood. In late adolescence,

important aspects of brain maturation remain incomplete, particularly those involving the brain’s

executive functions and the coordinated activity of regions involved in emotion and cognition. As

such, the part of the brain that is critical for control of impulses and emotions and mature,

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considered decision-making is still developing during adolescence, consistent with the

demonstrated behavioral and psychosocial immaturity of juveniles.

         31.   Because adolescence is the period when sophisticated, essential inhibitory control

functions are being established, the onset of prolonged exposure to toxic content during

adolescence is particularly concerning. The extended development of the prefrontal cortex results

in an adolescent brain that is largely undeveloped, highly malleable, and overwhelmingly

vulnerable to long-term, irremediable effects of adverse influences, including addiction and a

fractured psychological well-being.

         32.   The algorithms in Defendants’ social media products exploit minor users’

diminished decision-making capacity, impulse control, emotional maturity, and psychological

resiliency caused by users’ incomplete brain development. Defendants know, or in the exercise of

reasonable care should know, that because their minor users’ frontal lobes are not fully developed,

such users are much more likely to sustain serious physical and psychological harm through their

social media use than adult users. Nevertheless, Defendants have failed to design their products

with any protections to account for and ameliorate the psychosocial immaturity of their minor

users.

         33.   Adolescents see themselves as increasingly unique. Paradoxically, as part of their

individuation, they conform by faithfully mimicking the behavior of peers. Indeed, in defining

their own emerging identity, adolescents aspire to be viewed as mature adults, and this leads them

to affiliate with and emulate the personalities, images, behaviors, and preferences of those that

they would like to become. During the teenage years, relationships with family members often

take a back seat to peer groups and appearance. Teens crave to identify with their peer group,

achieve social approval, and become “popular.” Many teens feel deep insecurity and are self‐

conscious. They feel people are constantly focused on them, examining them, and judging them

about everything they say and do. They struggle with the inexorable desire to be accepted and

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                                                                                  #: 12


admired by their teen peers, and their biggest fear is to not fit in. This myopic desire to fit in

predispositions teenagers to frequently engage in upward social comparison processes, that is,

identifying and observing others that appear to be experiencing more positive outcomes, and

consequently feeling worse about themselves and their own perceived shortcomings.

           34.     Today’s adolescents are part of Generation Z (which is loosely defined as people

born between 1997 and 2012)—they are the first generation of consumers to have grown up in an

entirely post‐digital era, and thus are “digitally native.” The oldest members of this demographic

cohort are just turning 24 this year; however, the substantial majority are believed to be still going

through adolescence. Members of Generation Z spend upwards of 3 hours per day on the internet,

and another 3 hours per day using social media. According to a 2018 survey by Pew Research

Center, 45 percent of high school students said they used a social-media platform daily, and 24

percent said that they were online “almost constantly.”1

           35.     One way that Meta’s platforms addict minors is as follows: When minors use design

features such as “likes” it causes their brains to release euphoria-causing dopamine. However, as

soon as dopamine is released, their euphoria is countered by dejection: minor users’ brains adapt

by reducing or “downregulating” the number of dopamine receptors that are stimulated. In

normal stimulatory environments, neutrality is restored after this dejection abates. However,

Defendants’ algorithms are designed to exploit users’ natural tendency to counteract dejection by

going back to the source of pleasure for another dose of euphoria.

           36.     Eventually, as this pattern continues over a period of days, weeks, and months, the

neurological baseline to trigger minor users’ dopamine responses increases. Minors then continue

to use Facebook and Instagram, not for enjoyment, but simply to feel normal. When minor users




1
    Monica Anderson and JingJing Jiang, Teens, Social Media and Technology (February 3, 2022, last visited at 11:20
    AM CST) https://www.pewresearch.org/internet/2018/05/31/teens-social-media-technology-2018/.

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                                                                                  #: 13


attempt to stop using Defendants’ social media products, they experience the universal symptoms

of withdrawal from any addictive substance including anxiety, irritability, insomnia, and craving.

       37.     Addictive use of social media by minors is psychologically and neurologically

analogous to addiction to internet gaming disorder. Gaming addiction is a recognized in the

American Psychiatric Association's 2013 Diagnostic and Statistical Manual of Mental Disorders

(DSM-5) (used by mental health professionals to diagnose mental disorders) and is a recognized

mental health disorder by the World Health Organization and International Classification of

Diseases. The diagnostic symptoms of social media addiction among minors are the same as the

symptoms of addictive gaming promulgated in DSM 5 and include:

               a.     Preoccupation with social media and withdrawal symptoms (sadness,

                      anxiety, irritability) when device is taken away or use is not possible

                      (sadness, anxiety, irritability).

               b.     Tolerance, the need to spend more time using social media to satisfy the

                      urge.

               c.     Inability to reduce social media usages, unsuccessful attempts to quit

                      gaming.

               d.     Giving up other activities, loss of interest in previously enjoyed activities

                      due to social media usage.

               e.     Continuing to use social media despite problems.

               f.     Deceiving family members or others about the amount of time spent on

                      social media.

               g.     The use of social media to relieve negative moods, such as guilt or

                      hopelessness; and

               h.     Jeopardizing school or work performance or relationships due to social

                      media usage.

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        1:22-cv-02968
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                                                                            91 #:163
                                                                                  #: 14


        38.     Defendants’ advertising profits are directly tied to the amount of time that its users

spend online. Thus, Defendants enhance advertising revenue by maximizing users’ time online

through a product design that addicts them to the platform, in part by directing them to content that

is progressively more stimulating. However, reasonable minor users and their parents do not expect

that online social media platforms are psychologically and neurologically addictive.

        39.     Defendants’ products could feasibly report the frequency and duration of their

minor users’ screen time to their parents at negligible cost. This would enable parents to track the

frequency, time, and duration of their minor child’s social media, identify and address problems

arising from such use, and better exercise their rights and responsibilities as parents.

        40.     Social comparisons on social media are frequent and are especially likely to be

upward, as social media provides a continuous stream of information about other people’s

accomplishments.2 Past research suggests that social comparisons occur automatically; when

individuals encounter information about another person, their own self-perceptions will be

affected. The sheer number of posts in a News Feed, each offering a thumbnail sketch of each

person’s carefully curated and predominantly ostentatious content, yields numerous opportunities

for social comparison. Although people do not typically post false information about themselves

online, they do engage in selective self-presentation and are more likely to post eye-catching

content. As a result, individuals browsing their News Feeds are more likely to see posts about

friends’ exciting social activities rather than dull days at the office, affording numerous

opportunities for comparisons to seemingly better-off others. Individuals with vacillating levels of

self-esteem and certitude, characteristics notoriously endemic to the teenage cohort, are

particularly oriented to making frequent and extreme upward social comparisons on social media,



2
  Jin Kyun Lee, The Effects of Social Comparison Orientation on Psychological Well-Being in Social Networking
Sites:      Serial     Mediation      of    Perceived    Social     Support   and      Self-Esteem     (2020),
https://link.springer.com/content/pdf/10.1007/s12144-020-01114-3.pdf

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                       Page
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                                                               Page
                                                                of of
                                                                   37588
                                                                      18PageID
                                                                         ofPageID
                                                                            91 #:164
                                                                                  #: 15


which in turn threatens their mental health. Social-media-induced social comparison often results

in a discrepancy between the ideal self and the real self, thus evoking a sense of depression,

deprivation, and distress, resulting in an overall aggravation of one’s mental state.3 Since the early

2000s, studies have shown that frequent upward social comparison results in lower self-esteem

and reduced overall mental health.4 It has also long been known that individuals who are more

likely to engage in self-comparison are likewise more likely to have negative outcomes when using

social media. To cope with wavering self-esteem, digitally native adolescents often become

envious of others and resort to cyberbullying to deconstruct the point of comparison’s perceived

superiority and preserve an increasingly delicate ego. These natural dynamics in youth are

exacerbated to psychologically injurious levels by Meta’s platforms’ progressively toxic

environment worsened by its 2018 shift to engagement-based ranking, which is discussed in

further detail below.

           41.      The dangers associated with teenager’s proclivity to engage in protracted upward

social comparison while on social media is compounded by Meta’s deft and discreet construction

of an atmosphere capable of exploiting the impulse control issues of even the most mature adults,

thereby unleashing upon the public a product that is predictably highly addictive. Some of Meta’s

key features that make the platforms highly addictive include the use of intermittent variable

rewards (“IVR”) and its Facial Recognition System (“FRS”).

           42.      IVR is a method used to addict a user to an activity by spacing out dopamine

triggering stimuli with dopamine gaps—a method that allows for anticipation and craving to



3
    This schism between the ideal self and the real self, and the attendant dissatisfaction with reality, is further
    exacerbated by Meta’s use of physical-augmentation technology, which allows users to utilize photo and video filters
    to make remove blemishes, make the face appear thinner, and lighten the skin-tone, all to make themselves appear
    more “attractive.”
4
 Claire Midgley, When Every Day is a High School Reunion: Social Media Comparisons and Self-Esteem (2020),
https://www.researchgate.net/publication/342490065_When_Every_Day_is_a_High_School_Reunion_Social_Medi
a_Comparisons_and_Self-Esteem

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        1:22-cv-02968
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                                                                         ofPageID
                                                                            91 #:165
                                                                                  #: 16


develop and strengthens the addiction with each payout. The easiest way to understand this term

is by imagining a slot machine. You pull the lever (intermittent action) with the hope of winning

a prize (variable reward). In the same way, you refresh Meta’s feeds, endure the brief delay, and

then learn if anyone has tagged you in a photo, mentioned you in a post, sent you a message, or

liked, commented on, or shared either of your posts. As explained below, Meta spaces out

notifications of likes and comments into multiple bursts (dopamine gaps), rather than notifying

users in real time, to maximize the platforms’ addictiveness.

           43.      Engineered to meet the evolving demands of the “attention economy,”5 a term used

to describe the supply and demand of a person’s attention, which is a highly valuable commodity

for internet websites, in February 2009, Meta introduced perhaps its most conspicuous form of

IVR: its “Like” button; Instagram launched that same year and came ready-made with a like

function shaped as a heart. Additional features of Meta’s IVR include its delay-burst notification

system, comments, posts, shares, and other dopamine-triggering content. Instagram’s notification

algorithm delays notifications to deliver them in spaced-out, larger bursts. Facebook likely uses a

similar feature. These designs take advantage of users’ dopamine-driven desire for social

validation and optimizes the balance of negative and positive feedback signals to addict users.

           44.      Other psychological manipulations used to intertwine social media users include,

but are not limited to: (1) the FRS system, which has already collected for distribution to various

third-parties a billion individual facial recognition templates and is otherwise used by Meta to

identify and tag people in photos; (2) Meta’s use of wavy dots to reflect that someone is currently

writing you a message, which is designed to keep you on the platform until you receive the message

or shorten the time for you to return and check for a message; and (3) the concept of social

reciprocity, a variance of quid pro quo, pursuant to which Meta alerts you when someone has read


5
    The business model is simple: The more attention a platform can pull from its users, the more effective its advertising
    space becomes, allowing it to charge advertisers more.
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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                         ofPageID
                                                                            91 #:166
                                                                                  #: 17


your message, which encourages the receivers to respond—because the sender knows the message

has been read—and simultaneously prompts the sender to return to check for the seemingly

inevitable response. In sum, this perilous amalgamation of intense psychological vulnerability and

targeted exploitation foreseeably results in an increased risk of a variety of harms for today’s youth,

including, but not limited to, social media addiction, withdrawal—from friends, family, and social

and academic advancement—lack of focus, anxiety, body dysmorphia, eating disorders, death

resulting from eating disorders, depression, difficulty sleeping, fatigue, headaches, migraines, loss

of vision, eye strain, self-harm, and suicide among other harms.

B.     Meta Knowingly Exploits Teenage Vulnerabilities for Unjust Gain.

       45.     Enacted in 1998 and finalized by a U.S. Federal Trade Commission rulemaking in

2000, the Children’s Online Privacy Protection Act, or “COPPA,” regulates the conditions under

which commercial web sites that either target children under age 13 or have actual knowledge of

children under age 13 using their site can collect and use information about them. As a result of

COPPA, website operators must obtain “verifiable parental consent” from parents prior to the

collection and use of information about children under age 13. Meta has chosen to avoid these

obligations by purporting to ban all those younger than 13 through its terms of service.

       46.     Meta states that children under the age of thirteen are prohibited from having Meta

accounts, but Meta knowingly lacks effective age-verification protocols. Since at least 2011, Meta

has known that its age-verification protocols are largely inadequate, then estimating that it removes

20,000 children under age 13 from Facebook every day. The problem has not been remediated, as

Meta removed at least six hundred thousand underage users in 2021. Zuckerberg himself has stated

that, notwithstanding the spirit of COPPA, younger children should be allowed to get on Facebook.

       47.     Defendants do not charge their users to use their platforms, but instead receive

money from advertisers who pay a premium to target advertisements to specific categories of

people as studied and sorted by Meta’s algorithms. Thus, Defendants generate revenue based upon

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:167
                                                                                  #: 18


the total time spent on the application, which directly correlates with the number of advertisements

that can be shown to each user.

       48.     Meta, as originally conceived, ostensibly functioned like an enormous virtual

bulletin board, where content was published by authors. But Meta has evolved over time with the

addition of numerous features and products designed by Meta to engage users. The earliest of

these—the search function and the “like” button—were primarily user-controlled features. In more

recent years, however, Meta has taken a more active role in shaping the user-experience on the

platform with more complex features and products. The most visible of these are curated

recommendations, which are pushed to each user in a steady stream as the user navigates the

website, and in notifications sent to the user’s smartphone and email addresses when the user is

disengaged with the platform. These proprietary Meta products include News Feed (a newsfeed of

stories and posts published on the platform, some of which are posted by your connections, and

others that are suggested for you by Meta), People You May Know (introductions to persons with

common connections or background), Suggested for You, Groups You Should Join, and Discover

(recommendations for Meta groups to join). These curated and bundled recommendations are

developed through sophisticated algorithms. As distinguished from the earliest search functions

that were used to navigate websites during the Internet’s infancy, Meta’s algorithms are not based

exclusively on user requests or even user inputs. Meta’s algorithms combine the user’s profile

(e.g., the information posted by the user on the platform) and the user’s dossier (the data collected

and synthesized by Meta to which Meta assigns categorical designations), make assumptions about

that user’s interests and preferences, make predictions about what else might appeal to the user,

and then make very specific recommendations of posts and pages to view and groups to visit and

join based on rankings that will optimize Meta’s key performance indicators.

       49.       Equipped with ample information about the risks of social media, the

ineffectiveness of its age-verification protocols, and the mental processes of teens, Meta has

                                                                                                  16
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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expended significant effort to attract preteens to its products, including substantial investments in

designing products that would appeal to children ages 10-to-12. Meta views pre-teens as a

valuable, unharnessed commodity, so valuable that it has contemplated whether there is a way to

engage children during play dates.6 Meta’s unabashed willingness to target children, in the face of

its conscious, long-standing, plainly deficient age-verification protocols demonstrates the depths

to which Meta is willing to reach to maintain and increase its profit margin.

        50.      Faced with the potential for reduction in value due to its declining number of users,

in or around early 2018, Meta (and likely Meta 2) revamped its interface to transition away from

chronological ranking, which organized the interface according to when content was posted or

sent, to prioritize Meaningful Social Interactions, or “MSI,” which emphasizes users’ connections’

interactions, e.g., likes and comments, and gives greater significance to the interactions of

connections that appeared to be the closest to users. To effectuate this objective, Facebook

developed and employed an “amplification algorithm” to execute engagement-based ranking,

which considers a post’s likes, shares, and comments, as well as a respective user’s past

interactions with similar content, and exhibits the post in the user’s newsfeed if it otherwise meets

certain benchmarks. The algorithm covertly operates on the proposition that intense reactions

invariably compel attention. As it measures reactions and contemporaneously immerses users in

the most reactive content, and negative content routinely elicits passionate reactions, the algorithm

effectively works to steer users toward the most negative content.

        51.      Meta CEO Zuckerberg publicly recognized this in a 2018 post, in which he

demonstrated the correlation between engagement and sensational content that is so extreme that

it impinges upon Meta’s own ethical limits, with the following chart:7


6
 Georgia Wells and Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram Kids, Documents
Show (2021), https://www.wsj.com/articles/facebook-instagram-kids-tweens-attract-11632849667

7
     Mark Zuckerberg, A Blueprint for Content Governance and                      Enforcement,   FACEBOOK,
https://www.facebook.com/notes/751449002072082/ (last visited January 8, 2022).
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 Case:
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       52.     The algorithm controls what appears in each user’s News Feed and promotes

content that is objectionable and harmful to many users. In one internal report, Meta concluded

that “[o]ur approach has had unhealthy side effects on important slices of public content, such as

politics and news,” with one data scientist noting that “[t]his is an increasing liability.” In other

internal memos, Meta concluded that because of the new algorithm, “[m]isinformation, toxicity,

and violent content are inordinately prevalent.” Other documents show that Meta employees also

discussed Meta’s motive for changing its algorithm—namely, that users began to interact less with

the platform, which became a worrisome trend for Meta’s bottom line. Meta found that the

inflammatory content that the new algorithm was feeding to users fueled their return to the

platform and led to more engagement, which, in turn, helped Meta sell more of the digital ads that

generate most of its revenue. All told, Meta’s algorithm optimizes for angry, divisive, and

polarizing content because it’ll increase its number of users and the time users stay on the platform

per viewing session, which thereby increases its appeal to advertisers, thereby increasing its overall

value and profitability.

       53.     Upon information in belief, at least as far back as 2019, Meta initiated, inter alia, a

Proactive Incident Response experiment, which began researching the effect of Meta on the mental




                                                                                                   18
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                   37588
                                                                      24PageID
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                                                                            91 #:170
                                                                                  #: 21


health of today’s youth.8 Meta’s own in-depth analyses show significant mental-health issues

stemming from the use of Instagram among teenage girls, many of whom linked suicidal thoughts

and eating disorders to their experiences on the app.9 Meta’s researchers have repeatedly found

that Instagram is harmful for a sizable percentage of teens that use the platform. In an internal

presentation from 2019, Meta researchers concluded that “[w]e make body issues worse for one in

three teen girls,” and “[t]eens blame Instagram for increases in the rate of anxiety and depression.”

Similarly, in a March 2020 presentation posted to Meta’s internal message board, researchers

found that “[t]hirty-two percent of teen girls said that when they feel bad about their bodies,

Instagram made them feel worse.” Sixty-six percent of teen girls and forty-six percent of teen boys

have experienced negative social comparisons on Instagram. Thirteen-and-one-half percent of

teen-girl Instagram users say the platform makes thoughts of “suicide and self-injury” worse.

Seventeen percent of teen-girl Instagram users say the platform makes “[e]ating issues” worse.

Instagram users are twice as likely to develop an eating disorder as those who don’t use social

media.

          54.      Meta is aware that teens often lack the ability to self-regulate. Meta is further aware

that, despite the platforms’ adverse impact to teenage users’ well-being, the absence of impulse

control often renders teens powerless to oppose the platforms’ allure. Meta is conscious of the fact

that the platform dramatically exacerbates bullying and other difficulties prevalent within the high

school experience, as the reach of the same now affects users within the ideally otherwise safe

confines of the home. The advent of social media largely occurred after today’s parents became

adults, the consequence being a large swath of parents that lack the context needed to appreciate



8
   See Protecting Kids Online: Testimony from a Facebook Whistleblower, United States Senate Committee on
Commerce, Science, & Transportation, Sub-Committee on Consumer Protection, Product Safety, and Data Security,
https://www.c-span.org/video/?515042-1/whistleblower-frances-haugen-calls-congress-regulate-facebook

9
     See Wall Street Journal Staff, The Facebook Files (2021), https://www.wsj.com/articles/the-facebook-files-
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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                   37588
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                                                                            91 #:171
                                                                                  #: 22


the contemporary perils of Meta and Instagram, who are likewise ill-equipped to offer advice

sufficient to effectively mitigate against it.

        55.     The shift from chronological ranking to the algorithm modified the social

networking environment in such a way that it created a new iteration of the Meta experience, one

that is profoundly more negative, one that exploits some of the known psychological

vulnerabilities of Facebook’s most susceptible patronage, to wit, juveniles, resulting in a markedly

enlarged threat to the cohort’s mental health and the related frequency of suicidal ideation.

        56.     Excessive screen time is harmful to adolescents’ mental health, sleep patterns,

emotional well-being. Defendants’ products lack any warnings that foreseeable product use can

disrupt healthy sleep patterns, or specific warnings to parents when their child’s product usage

exceeds healthy levels or occurs during sleep hours, rendering the platforms unreasonably

dangerous. Reasonable and responsible parents are not able to accurately monitor their child’s

screen time because most adolescents own or can obtain access to mobile devices and engage in

social media use outside their parents’ presence.

        57.     Meta professes to have implemented protective measures to counteract the well-

established dangers of its sites’ customized, doggedly harmful content; however, its protocols

apply only to content conveyed in English and removes only three-to-five percent of harmful

content. Meta knows its quality-control and age-verification protocols are woefully ineffective,

but Meta is either unwilling or incapable of properly managing its platforms. This is consistent

with its established pattern of recognizing, and subsequently ignoring, the needs of its underage

users and its obligation to create a suitable environment accessible only by its age-appropriate

users, all in the interest of reaping obscene profit.




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                   37588
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                                                                            91 #:172
                                                                                  #: 23


C.     Plaintiff Expressly Disclaims Any and All Claims Seeking to Hold Defendants Liable
       as the Publisher or Speaker of Any Content Provided, Posted, or Created by Third
       Parties.

       58.     Plaintiff seeks to hold Defendants accountable for their own alleged acts and

omissions. Plaintiff’s claims arise from Defendants’ status as the designer and marketer of

dangerously defective social media products, not as the speaker or publisher of third-party content.

       59.     Plaintiff alleges that Defendants failed to warn minor users and their parents of

known dangers arising from anticipated use of their social media platforms. None of Plaintiff’s

claims rely on treating Defendants as the publisher or speaker of any third-party’s words.

Plaintiff’s claims seek to hold Defendants accountable for their own allegedly wrongful acts and

omissions, not for the speech of others or for any attempts by Defendants to restrict access to

objectionable content.

       60.     Plaintiff is not alleging that Defendant is liable for what third-parties have said, but

for what Defendants did or did not do.

       61.     None of Plaintiff’s claims for relief set forth herein require treating Defendants as

a speaker or publisher of content posted by third parties. Rather, Plaintiff seeks to hold Defendants

liable for their own speech and their own silence in failing to warn of foreseeable dangers arising

from the anticipated use of their products. Defendants could manifestly fulfill their legal duty to

design reasonably safe products and furnish adequate warnings of foreseeable dangers arising out

of their products, without altering, deleting, or modifying the content of a single third-party post

or communication.

                         V.    PLAINTIFF-SPECIFIC ALLEGATIONS

       62.     Plaintiff N.G. is a eighteen-year-old girl who has been a heavy user of the Meta

platform(s).




                                                                                                    21
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:173
                                                                                  #: 24


       63.        Shortly after registering to use the Meta platform(s), Plaintiff began engaging in

addictive and problematic use of the platform(s). N.G.’s interest in any activity other than viewing

and posting on the Meta platform(s) progressively declined.

       64.        Prompted by the addictive design of Defendants’ product(s), and the constant

notifications that Defendants’ platform(s) pushed to N.G. 24 hours a day, N.G. began getting less

and less sleep.

       65.        As a proximate result of her addiction to the Meta platform(s), and specifically due

to recommendations and content Defendants selected and showed to N.G., a minor user of the

Meta platform(s), N.G. subsequently developed injuries including, but not limited to, attempted

suicide, multiple periods of suicidal ideation, depression, anxiety, an eating disorder, social media

compulsion, and a reduced inclination or ability to sleep.

       66.        Defendants have designed the Meta platform(s), including through the use of

disappearing or time-sensitive messaging features, to frustrate parents like Donavette Ely from

exercising their rights and duties as parents to monitor and limit their children’s use of the Meta

platform(s).

       67.        Defendants have designed the Meta platforms(s) to allow minors to use, become

addicted to, and abuse their products without the consent of the users’ parents, like Donavette Ely.

       68.        Defendants have specifically designed the Meta platform(s) to be attractive

nuisances to underage users but failed to exercise the ordinary care owed to underage business

invitees to prevent the rampant, foreseeable, and deleterious impact on minor users that access the

Meta platform(s).

       69.        Neither Donavette Ely nor N.G. were aware of the addictive and mentally harmful

effects of the Meta platform(s) when N.G. began to use the products.

       70.        Defendants not only failed to warn N.G. and Donavette Ely of the dangers of

addiction, sleep deprivation, and problematic use of the Meta platform(s), but misrepresented the

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                      No. 97
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                                                                            91 #:174
                                                                                  #: 25


safety, utility, and non-addictive properties of their products. For example, the head of Instagram

testified under oath at a December 8, 2021, Senate Committee hearing that Instagram does not

addict its users.

        71.     As a result of N.G.’s extensive and problematic use of the Meta platform(s), she

has developed numerous mental health conditions that she still struggles with until this day.

                                   VI.     CAUSES OF ACTION

                        FIRST CAUSE OF ACTION
          ALABAMA EXTENDED MANUFACTURERS LIABILITY DOCTRINE


        72.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

        73.     Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

        74.     At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used, which are defective and unreasonably dangerous.

        75.     Facebook and Instagram were designed and intended to be used as social media

platforms.

        76.     Facebook and Instagram are defective in their design in that they are not reasonably

fit, suitable or safe for their intended purpose, especially as related to adolescent users, and/or their

foreseeable risks exceed the benefits associated with their design.

        77.     The defective condition of Facebook and Instagram rendered it unreasonably

dangerous and/or not reasonably safe, and Facebook and Instagram were in this defective condition

when they were released to the public.

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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       78.     Facebook and Instagram as designed were unreasonably dangerous, posed a

substantial likelihood of harm, and were therefore defective because of reasons enumerated in the

complaint, including, but not limited to, risks of social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects.

       79.     Facebook and Instagram were expected to and did reach Plaintiff without

substantial change in the condition in which they were signed, manufactured, labeled, marketed,

promoted, supplied, and otherwise released into the stream of commerce.

       80.     The Facebook and Instagram products were used for their intended purposes, and

the products were not materially altered or modified prior to their use.

       81.     DEFENDANTS defectively designed the platforms to specifically appeal to and

addict minors and young adults, who were particularly unable to appreciate the risks posed by the

platforms, and particularly susceptible to harms from those products.

       82.     DEFENDANTS effectively designed the platforms to be addictive and take

advantage of the chemical reward system of users’ brains (especially young users) to create

addiction and additional mental and physical health harms.

       83.     DEFENDANTS defectively designed platforms (Facebook and Instagram) that are

inherently dangerous because they included features making the product addictive and likely to

cause the mental and physical health harms listed above. These features include, but are not limited

to: (1) engagement-based ranking (sorting content on a user’s feed based on engagement or

“meaningful social interactions” rather than chronology); (2) intermittent variable rewards (a

system of “likes”, comments, strategically-timed notifications, promoting the content of new users

and users who have not posted in a while, among other features); (3) face tracking and

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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augmentation (i.e., photo and video filters designed to make users appear more attractive); (4)

endless scrollable content (especially auto-playing video content such as the Instagram “Reels”

content feed); (5) the interaction of these features; and (6) other features of the platform which are

currently unknown and hidden from users and governments.

        84.     DEFENDANTS defectively designed the platforms and DEFENDANTS failed to

test as to the safety of features they developed and implemented for use in the platforms. Once

DEFENDANTS did perform some product testing and had knowledge of ongoing harm to

Plaintiff, they failed to adequately remedy the product defects or warn Plaintiff.

        85.     Facebook and Instagram do not perform as safely as a reasonable and ordinary

consumer would reasonably assume and reasonably expect. Facebook and Instagram pose a risk

of serious mental and physical health injuries as listed above.

        86.     The risks inherent in the design of Facebook and Instagram significantly outweigh

any benefits of such design.

        87.     DEFENDANTS could have utilized cost effective, reasonably feasible alternative

designs to minimize these harms, such as by designing products without the harm causing features

listed above, that were less addictive, less likely to cause mental health harms, while still providing

an optimal social media experience and facilitating social connection.

        88.     DEFENDANTS could have limited the duration of login sessions to prevent

harmful, extended use of the platforms and could have designed the platforms to logout for a period

of time if excessive use occurred. It is well established in research that to effectively stay connected

socially, a person only needs a limited amount of use time. Instead, DEFENDANTS designed a

product that uses behavioral engineering to maximize the number of use sessions and length of use

per session, resulting in serious harm to Plaintiff.




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:177
                                                                                  #: 28


       89.     DEFENDANTS could have used technology to enable user-level access restrictions

so that use was tied to a user’s age verification, restricting those underaged from using the

platforms, or other youth protecting features.

       90.     DEFENDANTS could have utilized cost effective, reasonably feasible alternative

designs to minimize these harms, including, but not limited to:

               a.      Designing platforms that did not include the features listed above while

                       still fulfilling the social, interest, and business networking purposes of a

                       social media platform;

               b.      Default protective limits to length of use, frequency of use, or content

                       types;

               c.      Opt-in restrictions to length of use, frequency of use, or content types;

               d.      Session time limits;

               e.      Blocks to use during certain times of day (such as morning, during work

                       or school periods, or during evenings);

               f.      Session time notifications, warnings, or reports;

               g.      Warning of health effects of use and extended use upon sign-up;

               h.      Parental controls;

               i.      Notification to parents regarding their child’s extensive use, use during
                       sleep hours, or exposure to harmful content on the platform,

               j.      Self-limiting tools;

               k.      Implementing labels on images and videos that have been edited through

                       the platform;

               l.      Age-based content filtering;

               m.      General content filtering;

               n.      Algorithmic (whether default or opt-in) reductions or elimination in a

                       user’s feed of potentially harmful content (e.g., content that causes
                       negative social comparison and misleading lack of realism) such as in the


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 Case:
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        1:22-cv-02968
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                                                                   37588
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                                                                            91 #:178
                                                                                  #: 29



                        genres of lifestyle, influencer, beauty, fitness, success flaunting, and/or

                        heavily edited images and videos;

                o.      Algorithmic (whether default or opt-in) reductions or elimination in a

                        user’s feed of potentially harmful content, such as inappropriate or

                        salacious content;

                p.      Algorithmic (whether default or opt-in) reductions or elimination in a

                        user’s feed of potentially harmful content such as controversial, political,

                        or emotionally weighted content;

                q.      Algorithmic (whether default or opt-in) reductions or elimination in a

                        user’s feed of potentially harmful content such as content encouraging or

                        promoting eating disorders, depressive thinking, self-harm, or suicide;

                r.      Informational labelling about the misleading and unrealistic nature of the

                        content on a user’s feed and the resulting feed composite because of

                        content editing and algorithmic recommendation, presentation, and

                        sorting;

                s.      Chronological presentation of content rather than algorithmic; and

                t.     Many other less harmful alternatives.
        91.     Instead, DEFENDANTS designed platforms that aggressively addict users with

algorithms and features that increase addictiveness, use time, frequency of use, attention stealing,

engagement with the platform, mental health harms, and profit to Meta, all to the detriment of

users’ wellbeing.

        92.     It is reasonable for parents to expect that social media products that actively

promote their platforms to minors will undertake reasonable efforts to notify parents when their

child’s use becomes excessive, occurs during sleep time, or exposes the child to harmful content.

Defendants could feasibly design the products to identify minor users who are using the product

excessively, using it during sleeping hours, or being exposed to harmful content, and notify their

parents, at negligible cost.

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 Case:
     1:22-cv-00268-KD-M
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                                                                   37588
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                                                                            91 #:179
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       93.     Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage female users.

       94.     The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

       95.     The features combine to create a user interface of endless, auto-playing, image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or

lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s

algorithms also promote controversial, disturbing, negative, and/or emotionally charged content

causing harm to users.

       96.     The combined result of these features is to present to users a false reality—it

presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       97.     These features take advantage of biological systems, human behavior, and

psychology, to addict and condition users to engage in repetitive content-consuming actions such

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:180
                                                                                  #: 31


as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become as addictive and difficult to stop engaging with as possible.

       98.     DEFENDANTS failed to design the product with adequate warnings about the

likely harms of use.

       99.     Plaintiff used Facebook and Instagram as intended or in reasonably foreseeable

ways. DEFENDANTS specifically intended for minors to use its products and were aware that

minors were doing so.

       100.    Plaintiff’s injuries—physical, emotional and economic—were reasonably

foreseeable to DEFENDANTS at the time of the products’ design, marketing, and operation.

       101.    Facebook and Instagram were defective and unreasonably dangerous when they left

DEFENDANTS’ sole possession/control and were offered to users. The defects continued to exist

through use by consumers, including Plaintiff, who used the products without any substantial

change in the products’ condition.

       102.    Plaintiff was injured as a direct and proximate result of Defendants placement of

the products into the stream of commerce, her use of the platforms as intended and designed, and

the platform’s defective design as described herein. The defective design of Facebook and

Instagram was the proximate cause of Plaintiff’s harms.

       103.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the social media induced injuries at an earlier

date to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                   37588
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                                                                         ofPageID
                                                                            91 #:181
                                                                                  #: 32


                            SECOND CAUSE OF ACTION
                      PRODUCTS LIABILITY - NEGLIGENT DESIGN

       104.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       105.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       106.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used.

       107.    Facebook and Instagram were designed and intended to be used as social media

platforms.

       108.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was dangerous, harmful and injurious when used by Plaintiff in a

reasonably foreseeable manner, particularly so with minors and young adults.

       109.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are highly addictive and likely to cause mental

and physical injuries as listed above.

       110.    DEFENDANTS owed a duty to all reasonably foreseeable users to design a safe

product.

       111.    DEFENDANTS breached their duty by failing to use reasonable care in the design

of Facebook and Instagram because the products were addictive; had mental, cognitive, and

physical health impacts; and had a likelihood of causing social media addiction, depression, body


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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                   37588
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                                                                            91 #:182
                                                                                  #: 33


dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects.

       112.    DEFENDANTS breached their duty by failing to use reasonable care in the design

of Facebook and Instagram by negligently designing the platforms with physically and mentally

harmful features including, but not limited to: (1) engagement-based ranking (sorting content on a

user’s feed based on engagement or “meaningful social interactions” rather than chronology); (2)

intermittent variable rewards (a system of “likes”, comments, strategically-timed notifications,

promoting the content of new users and users who have not posted in a while, among other

features); (3) face tracking and augmentation (i.e., photo and video filters designed to make users

appear more attractive); (4) endless scrollable content (especially auto-playing video content such

as the Instagram “Reels” content feed); (5) the interaction of these features; and (6) other features

of the platform which are currently unknown and hidden from users and governments.

       113.    Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage female users.

       114.    The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

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 Case:
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        1:22-cv-02968
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                                                                            91 #:183
                                                                                  #: 34


       115.    The features combine to create a user interface of endless, auto-playing image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or

lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s

algorithms also promote controversial, disturbing, negative, and/or emotionally charged content

causing harm to users.

       116.    The combined result of these features is to present to users a false reality—it

presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       117.    These features take advantage of biological systems, human behavior, and

psychology, to addict and condition users to engage in repetitive, content-consuming actions such

as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become as addictive and difficult to stop engaging with as possible.

       118.    Potential health harms from these features include, among other types of harm,

social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.

       119.     DEFENDANTS breached their duty by failing to use reasonable care in the design

of Facebook and Instagram by negligently designing Facebook and Instagram to specifically

appeal to minors, who were particularly unable to appreciate the risks posed by the platforms.

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                                  #: 35


       120.       DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost effective, reasonably feasible alternative designs that would make the product less

addictive and harmful to minors.

       121.       DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost effective, reasonably feasible alternative designs to minimize these harms, including but

not limited to:

                  a. Designing platforms that did not include the features listed above while still

                     fulfilling the social, interest, and business networking purposes of a social
                     media platform;

                  b. Default protective limits to length of use, frequency of use, or content types;

                  c. Opt-in restrictions to length of use, frequency of use, or content types;

                  d. session time limits;

                  e. Blocks to use during certain times of day (such as morning, during work or

                     school periods, or during evenings);

                  f. Session time notifications, warnings, or reports;

                  g. Warning of health effects of use and extended use upon sign-up;

                  h. Parental controls;

                  i. Self-limiting tools;

                  j. Implementing labels on images and videos that have been edited through the

                     platform;

                  k. Age-based content filtering;

                  l. General content filtering;

                  m. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                     feed of potentially harmful content (by causing negative social comparison

                     and misleading lack of realism) such as in the genres of lifestyle, influencer,
                     beauty, fitness, success flaunting, and/or heavily edited images and videos;



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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                      No. 97
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                                                                   37588
                                                                      39PageID
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                                                                            91 #:185
                                                                                  #: 36



               n. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as inappropriate or salacious content;

               o. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as controversial, political, or

                   emotionally weighted content;

               p. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as content encouraging or promoting

                   eating disorders, depressive thinking, self-harm, or suicide;

               q. Informational labelling about the misleading and unrealistic nature of the

                   content on a user’s feed and the resulting feed composite because of content

                   editing and algorithmic presentation/sorting;

               r. Chronological presentation of content rather than algorithmic;

               s. Many other less harmful alternatives.
       122.     DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost effective, reasonably feasible alternative designs that could have reduced mental and

physical harms to users, especially youth. Instead, DEFENDANTS designed platforms that

aggressively addict users with algorithms and features that increase addictiveness, use time,

frequency of use, attention stealing, engagement with the platform, mental health harms, and profit

to Meta, all to the detriment of users’ wellbeing.

       123.     DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost-effective, reasonably feasible alternative designs utilizing technology to enable user-level

access restrictions so that use was tied to a user’s age verification, restricting those underaged from

using the platforms, or other youth-protecting features.

       124.    A reasonable company under the same or similar circumstances would have

designed a safer product.




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                      No. 97
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                                                                   37588
                                                                      40PageID
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                                                                            91 #:186
                                                                                  #: 37


       125.    Plaintiff was harmed directly and proximately by the platforms DEFENDANTS’

failure to use reasonable care in the design of Facebook and Instagram. Such harm includes

attempted suicide, multiple periods of suicidal ideation, depression, anxiety, an eating disorder,

social media compulsion, and a reduced inclination or ability to sleep, among other harmful effects.

       126.    The design of Facebook and Instagram was a proximate cause of Plaintiff’s harms.

       127.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                           THIRD CAUSE OF ACTION
               PRODUCTS LIABILITY - NEGLIGENT FAILURE TO WARN

       128.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       129.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       130.    At all relevant times, the DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used.

       131.    The DEFENDANTS knew or, by the exercise of reasonable care, should have

known use of Facebook and Instagram was dangerous, harmful and injurious when used by

Plaintiff in a reasonably foreseeable manner, particularly with minors and young adults.

       132.    The DEFENDANTS knew or, by the exercise of reasonable care, should have

known ordinary consumers such as Plaintiff would not have realized the potential risks and dangers


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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                      No. 97
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                                                                      41PageID
                                                                         ofPageID
                                                                            91 #:187
                                                                                  #: 38


of Facebook and Instagram. Facebook and Instagram are highly addictive and likely to cause

mental and physical injuries as listed above.

       133.    The DEFENDANTS knew or, by the exercise of reasonable care, should have

known that Facebook and Instagram posed risks, including the risks of social media addiction,

depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,

insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating

disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision,

eye strain, among other harmful effects, as described herein, that were known and knowable in

light of scientific and medical knowledge that was generally accepted in the scientific community

at the time of development, dissemination, public release, and operation of the platforms.

       134.    The DEFENDANTS owed a duty to all reasonably foreseeable users to disclose the

risks associated with the use of Facebook and Instagram.

       135.    The DEFENDANTS breached their duty of care by failing to use reasonable care

in providing adequate warnings in the platforms’ sign-up warnings, and through marketing,

promoting and advertising of the platforms including that, according to its own research:

                      a. At least five-to-six percent of fourteen-year-olds admit to addiction to

                          the platform;
                      b. Sixty-six percent of teen girls and forty-six percent of teen boys have

                          experienced negative social comparisons on Instagram;

                      c. Facebook makes body-image issues worse for one-third of girls;

                      d. Thirteen-and-one-half percent of teen-girl Instagram users say the

                          platform makes thoughts of suicide and self-injury worse;

                      e. Seventeen percent of teen-girl Instagram users say the platform makes

                          eating issues worse;
                      f. Instagram users are twice as likely to develop an eating disorder as

                          those who don’t use social media.

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:188
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       136.   Facebook and Instagram are also defective for failing to warn users that:

              a. Engagement-based ranking and intermittent variable rewards are:

                     i.   highly addictive,

                   ii.    promote harmful social comparison,

                   iii.   promote negative, controversial, and/or emotionally activating content,

                   iv.    promote negative, harmful, and/or dangerous interest groups and/or

                          content creators,

                    v.    encourage bullying and conflict,

                   vi.    can trap users in a cycle of viewing content that is innately harmful or
                          in a manner that is harmful, such as content related to eating disorders,

                          depression, or self-harm, and

                  vii.    present a false reality (regarding one’s comparative status to their

                          peers, and/or the general state of world or political affairs);

              b. Face tracking and augmentation (image and video filters):

                     i.   inflict unrealistic and biased beauty standards upon users, and

                   ii.    cause harmful social comparison based on a misleading curation of

                          peers’ appearances and success, especially among teenage female

                          users;

              c. The platforms cause the mental and physical health harms as listed above;

              d. The likelihood of these harms and likely severity for these harms are even

                  greater for the developing brains of minors;

              e. The likelihood and intensity of these harmful effects are exacerbated by the

                  collaboration of these features; and

              f. The likelihood and intensity of these harmful effects are increased by other

                  features and innerworkings of the platforms which are currently publicly

                 unknown and hidden from users and governments.
       137.   The failure of DEFENDANTS to adequately warn about its defective products, and

its efforts to misleadingly advertise through conventional and social media avenues, created a

                                                                                                 37
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                         Page4140
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                                                                   37588
                                                                      43PageID
                                                                         ofPageID
                                                                            91 #:189
                                                                                  #: 40


danger of injuries described herein that were reasonably foreseeable at the time of design,

development, coding, operation, and dissemination of the platforms.

        138.    Through their incredible power as the premier social media company (and/or

association with that company), DEFENDANTS have silenced and suppressed information,

research efforts, and public awareness efforts regarding the harmful heath impact of their

platforms.

        139.    Rather than warning users of likely harms, DEFENDANTS regularly fine-tune the

platforms to aggressively socially and psychologically engineer new and ongoing users to increase

addiction and exposure to their platforms, causing and increasing physical and psychological harm.

The platforms encourage users to recruit more users across their personal electronic contacts.

        140.    The failure of DEFENDANTS to adequately warn about its defective products—

and its efforts to misleadingly advertise through conventional, online, and peer-to-peer avenues—

created a danger of injuries described herein that were reasonably foreseeable at the time of design,

distribution, and operation of the platforms.

        141.    At all relevant times, DEFENDANTS could have provided adequate warnings and

instructions to prevent the harms and injuries set forth herein, such as providing full and accurate

information about the products in advertising, at point of dissemination/account registration, and

at various intervals of the user interface.

        142.    A reasonable company under the same or similar circumstances would have warned

and instructed of the dangers.

        143.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ failure to

warn and instruct because she would not have used Facebook and Instagram had she received

adequate warnings and instructions that the platforms could cause social media addiction,

depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,

insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                               07/05/22
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                                                       Page
                                                         Page4241
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                                                                of of
                                                                   37588
                                                                      44PageID
                                                                         ofPageID
                                                                            91 #:190
                                                                                  #: 41


disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision,

eye strain, among other harmful effects.

       144.      Meta’s lack of adequate and sufficient warnings and instructions, and its inadequate

and misleading advertising, was a substantial contributing factor in causing the harm to Plaintiff.

       145.      Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                          FOURTH CAUSE OF ACTION
               PRODUCTS LIABILITY – NEGLIGENT MANUFACTURING

       146.      Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       147.      Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       148.      At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the

products and platforms that Plaintiff used.

       149.      The platforms DEFENDANTS had a duty to use exercise reasonable care, in the

development, coding, operation, maintained, inspecting, testing, and dissemination of Facebook

and Instagram.

       150.      DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram carelessly developed, coded, operated, maintained, inspected,



                                                                                                  39
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                               07/05/22
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                                                               Page
                                                                of of
                                                                   37588
                                                                      45PageID
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                                                                            91 #:191
                                                                                  #: 42


tested, and disseminated was dangerous, harmful and injurious when used by Plaintiff in a

reasonably foreseeable manner.

       151.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram improperly developed, coded, operated, maintained, inspected, tested,

and disseminated.

       152.    Without limitation, examples of DEFENDANTS’ breaching their duty to exercise

reasonable care in development, management, maintenance, testing, and inspecting include:


               a. Failure to follow Good Manufacturing Practices (“GMPs”);

               b. Failure to inspect and test the computer programming underlying the platforms
                  and features for errors, unintended output, or unintended executed results of a
                  nature that could cause users harm;

               c. Failure to adequately inspect/test Facebook and Instagram during the
                  development process;

               d. Failure to test the mental and physical health impacts of their platforms and
                  product features, especially in regards to minors;

               e. Failure to implement procedures that would measure and confirm the
                  behavioral and mental health impact of the platforms;

               f. Failure to timely establish procedures or practices to prevent Facebook and
                  Instagram from having unintended mental and physical health consequences.

               g. Failure to test and research the actual user health impact cause by the interaction
                  of the algorithm and other harm causing features listed above;

               h. Failure to test the platforms’ output to users given various user inputs;

               i. Failure to adequately test the user health result of specific computer coding and
                  programs that constitute the platforms and their features.

       153.    A reasonable manufacturer under the same or similar circumstances would have

implemented appropriate manufacturing procedures to better ensure the quality of their product.

       154.    Plaintiff was injured as a direct and proximate result of the platforms

DEFENDANTS failure to use reasonable care in the development, coding, operation, maintenance,

inspection, testing, and dissemination.

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                of of
                                                                   37588
                                                                      46PageID
                                                                         ofPageID
                                                                            91 #:192
                                                                                  #: 43


       155.    DEFENDANTS          negligent    development,    coding,    operation, maintenance,

inspection, testing, and dissemination of Facebook and Instagram was a substantial factor in

causing Plaintiff’s harms.

       156.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                             FIFTH CAUSE OF ACTION
                      NEGLIGENCE AND/OR GROSS NEGLIGENCE

       157.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       158.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       159.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       160.    Facebook and Instagram were the types of products that could endanger others if

negligently made or promoted.

       161.    DEFENDANTS had a duty of reasonable care in designing, manufacturing, coding,

inspecting, testing, marketing, advertising, promoting, supplying, disseminating and/or making

publicly available the platforms to avoid causing harm to those that used Facebook and Instagram.



                                                                                                  41
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:193
                                                                                  #: 44


       162.    DEFENDANTS knew, or should have known by the exercise of reasonable care,

the risks to users of the platforms, of mental and physical health harms.

       163.    DEFENDANTS knew, or should have known by the exercise of reasonable care,

that minors and young people would be attracted to these products.

       164.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was dangerous, harmful and injurious when used by Plaintiff in a

reasonably foreseeable manner, particularly with minors and young adults.

       165.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are highly addictive and likely to cause mental

and physical injuries as listed above.

       166.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

that Facebook and Instagram posed risks including the risks of social media addiction, depression,

body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating

disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of

focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       167.    DEFENDANTS knew or should have known that Facebook and Instagram needed

to be researched, designed, manufactured, coded, programmed, assembled, inspected, tested,

marketed, advertised, promoted, operated, managed, maintained, supplied, disseminated, and/or

made available properly, without defects and with due care to avoid needlessly causing harm.

       168.    DEFENDANTS knew or should have known that Facebook and Instagram would

cause harm to users if the following features, among others, were included: (1) engagement-based

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:194
                                                                                  #: 45


ranking (sorting content on a user’s feed based on engagement or “meaningful social interactions”

rather than chronology); (2) intermittent variable rewards (a system of “likes”, comments,

strategically-timed notifications, promoting the content of new users and users who have not

posted in a while, among other features); (3) face tracking and augmentation (i.e., photo and video

filters designed to make users appear more attractive); (4) endless scrollable content (especially

auto-playing video content such as the Instagram “Reels” content feed); (5) the interaction of these

features; and (6) other features of the platform which are currently unknown and hidden from users

and governments.

       169.    DEFENDANTS knew or should have known that engagement-based ranking and

intermittent variable rewards are highly addictive, promote harmful social comparison, encourage

bullying and conflict, can trap users in a cycle of viewing content that is innately harmful or in a

manner that is harmful, and present a false reality. Image and video filters inflict unrealistic and

biased beauty standards upon users and cause harmful social comparison based on a misleading

curation of peers’ appearances, especially among teenage female users.

       170.    DEFENDANTS knew or should have known that the collaboration of these features

multiplies the platforms’ power to inflict harm by heightening the platform’s addictive nature,

increasing exposure to content that triggers negative social comparison, exposing users to innately

harmful content, increasing time of exposure to harm, further encouraging bullying and promoting

conflict, and multiplying harm in other ways.

       171.    DEFENDANTS knew or should have known that the features combine to create a

user interface of endless, auto-playing, image and video content, that is algorithmically sorted to

place the most attention-grabbing content at the top and/or in a distilled feed that is very difficult

to cease consuming, especially for young users. Content that is promoted by the algorithm is often

related to beauty, success/wealth flaunting, or lifestyles, which causes negative physical or social



                                                                                                   43
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                   37588
                                                                      49PageID
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                                                                            91 #:195
                                                                                  #: 46


comparison, especially among teens. Meta’s algorithms also promote controversial, disturbing,

negative, and/or emotionally charged content causing harm to users.

       172.    DEFENDANTS knew or should have known that the combined result of these

features is to present to users a false reality—it presents to users a world which is constantly

controversial and negative; where most other people are exceedingly more attractive than the user;

where most other people are exceedingly more successful and/or competent than the user; and

which will facilitate and encourage harmful behaviors such as self-harm and eating disorders.

       173.    DEFENDANTS knew or should have known that these features take advantage of

biological systems, human behavior, and psychology, to addict and condition users to engage in

repetitive content-consuming actions such as scrolling, “liking,” and sharing content in search of

repeated dopamine releases. All the while, the users’ input and behavior are tracked to allow the

platform to automatically tune itself to each individual user to become as addictive and difficult to

stop engaging with as possible.

       174.    DEFENDANTS knew or should have known that Facebook and Instagram could

cause serious risk of harm, particularly to young persons and minors.

       175.    DEFENDANTS were negligent, reckless and careless and failed to take the care

and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm.

       176.    The negligence and extreme carelessness of DEFENDANTS includes, but is not

limited to, the following:


               a. Failure to perform adequate testing of the Facebook and Instagram prior to
                  marketing to ensure safety, including long-term testing of the product, and
                  testing for physical and mental health injuries;

               b. Failure to warn consumers that Facebook and Instagram had not been
                  adequately tested or researched prior to marketing to ensure safety;

               c. Failure to take reasonable care in the design of Facebook and Instagram;
               d. Failure to use reasonable care in the production/development of Facebook and
                  Instagram;

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:196
                                                                                  #: 47


             e. Failure to use reasonable care in the operation of Facebook and Instagram;

             f. Failure to use reasonable care in the coding/assembly of Facebook and
                Instagram;

             g. Failure to use reasonable care in advertising, promoting, and marketing
                Facebook and Instagram;

             h. Failure to use reasonable care in the dissemination of Facebook and Instagram
                without adequate warnings;

             i. Use of a design that includes features that cause mental and physical harm,
                including, but not limited to: (1) engagement-based ranking (sorting content on
                a user’s feed based on engagement or “meaningful social interactions” rather
                than chronology); (2) intermittent variable rewards (a system of “likes,”
                comments, strategically-timed notifications, promoting the content of new users
                and users who have not posted in a while, among other features); (3) face
                tracking and augmentation (i.e., photo and video filters designed to make users
                appear more attractive); (4) endless scrollable content (especially auto-playing
                video content such as the Instagram “Reels” content feed); (5) the interaction
                of these features; and (6) other features of the platform which are currently
                unknown and hidden from users and governments;

             j. Use of a design, engagement-based ranking and intermittent variable rewards
                that DEFENDANTS knew or should have known that are highly addictive,
                promote harmful social comparison, encourage bullying and conflict, can trap
                users in a cycle of viewing content that is innately harmful or in a manner that
                is harmful, and present a false reality. Image and video filters inflict unrealistic
                and biased beauty standards upon users and cause harmful social comparison
                based on a misleading curation of peers’ appearances, especially among teenage
                female users;

             k. Use of design features that DEFENDANTS knew or should have known would
                interact to multiply the platforms’ power to inflict harm by heightening the
                platform’s addictive nature, increasing exposure to content that triggers
                negative social comparison, exposing users to innately harmful content,
                increasing time of exposure to harm, further encouraging bullying and
                promoting conflict, and multiplying harm in other ways;

             l. Use of design features that DEFENDANTS knew or should have known would
                combine to create a user interface of endless, auto-playing, image and video
                content, that is algorithmically sorted to place the most attention-grabbing
                content at the top and/or in a distilled feed that is very difficult to cease
                consuming, especially for young users. Content that is promoted by the
                algorithm is often related to beauty, success/wealth flaunting, or lifestyles,
                which causes negative physical or social comparison, especially among teens.
                Meta’s algorithms also promote controversial, disturbing, negative, and/or
                emotionally charged content causing harm to users;

             m. Use of design features that DEFENDANTS knew or should have known would
                result in presenting to users a false reality—it presents to users a world which
                is constantly controversial and negative; most other people are exceedingly
                more attractive than the user, and most other people are more successful and/or
                competent than the user;

             n. Failure to inspect Facebook and Instagram for them to operate properly and
                avoid addiction, overuse, or mental health harms;
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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:197
                                                                                  #: 48


               o. Failure to reasonably and properly test and properly analyze the testing of
                  Facebook and Instagram under reasonably foreseeable circumstances;

               p. Failure to warn consumers about the dangers associated with use of Facebook
                  and Instagram, in that it was unsafe, causes social media addiction, depression,
                  body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,
                  insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide,
                  death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue,
                  headaches, migraines, loss of vision, eye strain, among other harmful effects;

               q. Failure to subsequently remedy harm-causing features of the platforms after
                  Meta had actual knowledge of harm to users;

               r. Failure to provide any instructions regarding a safe manner, frequency, and
                  length of use of the platforms per day;

               s. Failure of DEFENDANTS to verify the age of consumers creating accounts and
                  using Facebook and Instagram;
               t. Failure to recall Facebook and Instagram;

               u. All other failures, acts and omissions set forth herein.


       177.    DEFENDANTS’ acts and omissions constitute gross negligence, because they

constitute a total lack of care and an extreme departure from what a reasonably careful company

would do in the same situation to prevent foreseeable harm to Plaintiff.

       178.    DEFENDANTS acted and/or failed to act willfully, and with conscious and

reckless disregard for the rights and interests of Plaintiff, and their acts and omissions had a great

probability of causing significant harm and in fact resulted in such harm to Plaintiff.

       179.    Based on their strategic and intentional promotion, advertising and marketing

history, DEFENDANTS reasonably should have foreseen that young people would try Facebook

and Instagram and quickly become addicted to Facebook and Instagram, resulting in teenagers and

young adults developing lifelong addictions. After fine-tuning the product to addict users using

features that also result in serious mental health and physical harms, DEFENDANTS reasonably

should have foreseen the emotional distress this would cause on the individuals who would get

addicted, as well the stress this would place on their loved ones around them.




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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                      No. 97
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                                                                   37588
                                                                      52PageID
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                                                                            91 #:198
                                                                                  #: 49


       180.    Defendants intentionally created an attractive nuisance to children, but

simultaneously failed to provide adequate warnings or safeguards from the harmful effects they

knew were occurring.

       181.    Plaintiff was injured as a direct and proximate result of negligence and/or gross

negligence as described herein. Such harm includes attempted suicide, multiple periods of suicidal

ideation, depression, anxiety, an eating disorder, social media compulsion, and a reduced

inclination or ability to sleep, which may cause or contribute to additional disease.

       182.    DEFENDANTS’ negligence and/or gross negligence were a substantial factor in

causing and or contributing to Plaintiff’s harms.

       183.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                               SIXTH CAUSE OF ACTION
                            NEGLIGENT MISREPRESENTATION

       184.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       185.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       186.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                      53PageID
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                                                                            91 #:199
                                                                                  #: 50


       187.    DEFENDANTS were negligent, reckless and careless and owed a duty to Plaintiff

to make accurate and truthful representations regarding Facebook and Instagram, DEFENDANTS

breached their duty, thereby causing Plaintiff to suffer harm.

       188.    DEFENDANTS represented to Plaintiff—via the media, advertising, website,

social media, and promotions, among other misrepresentations described herein—that:


               a. Facebook and Instagram were safe and were not harmful;

               b. Long-term, frequent, prolonged use was harmless;

               c. Facebook and Instagram increased social connectivity, rather than causing
                  feelings of isolation; and

               d. An inaccurate and misleading portrayal of the platforms mental and physical
                  health impact;

       189.    DEFENDANTS omitted/failed to ever inform Plaintiff and other consumers, by

any media, that, according to its own research:


               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse; and

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       190.    Meta also omitted to inform users that, as it knew or should have known:

               a. Engagement-based ranking and intermittent variable rewards are
                     i.   highly addictive,

                    ii.   promote harmful social comparison,

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:200
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                    iii.   promote negative, controversial, and/or emotionally activating content,

                    iv.    promote negative, harmful, and/or dangerous interest groups and/or

                           content creators,

                     v.    encourage bullying and conflict,

                    vi.    can trap users in a cycle of viewing content that is innately harmful or

                           in a manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm, and

                   vii.    present a false reality (regarding one’s comparative status to their

                           peers, and/or the general state of world or political affairs);

               b. Face tracking and augmentation (image and video filters):

                      i.   inflict unrealistic and biased beauty standards upon users, and

                    ii.    cause harmful social comparison based on a misleading curation of

                           peers’ appearances and success, especially among teenage female

                           users;

               c. The platforms cause the mental and physical health harms as listed above;

               d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors;

               e. The likelihood and intensity of these harmful effects are exacerbated by the

                   interaction of these features; and
               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platforms which are currently publicly

                  unknown and hidden from users and governments.
       191.    These representations were false and omissions were material. The platforms are

unsafe and were known by Meta to cause mental and physical health harms, especially in youth,

such as social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.
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        1:22-cv-02968
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                                                                            91 #:201
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       192.    DEFENDANTS knew or should have known these representations were false and

negligently made them without regard for their truth.

       193.    Through DEFENDANTS’ incredible power as the premier social media company

(and/or association with that company), they have silenced and suppressed information, research

efforts, and public awareness efforts regarding the harmful heath impact of their platforms.

       194.    DEFENDANTS had a duty to accurately provide this information to Plaintiff. In

concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS

also gained financially from this concealment, and because of their breach.

       195.    DEFENDANTS intended for Plaintiff to rely on these representations.

       196.    Each of these misrepresentations were material at the time they were made. Each

of the misrepresentations concerned material facts that were essential to the analysis undertaken

by Plaintiff as to whether to sign up for or use Facebook and Instagram.

       197.    DEFENDANTS have yet to disclose or correct these misrepresentations about

Facebook and Instagram.

       198.    Plaintiff reasonably relied on these representations and were harmed as described

herein. Plaintiff’s reliance on DEFENDANTS’ representation was a substantial factor in causing

Plaintiff’s harms. Had DEFENDANTS told Plaintiff the truth about the safety and algorithmic

framework of the platforms, Plaintiff would not have registered with them or used them.

       199.    DEFENDANTS’ acts and omissions as described herein were committed in

reckless disregard of Plaintiff’s rights, interests, and well-being to enrich DEFENDANTS.

       200.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ negligent

misrepresentations regarding Facebook and Instagram as described herein. Such harm includes

attempted suicide, multiple periods of suicidal ideation, depression, anxiety, an eating disorder,

social media compulsion, and a reduced inclination or ability to sleep, among other harms.



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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:202
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       201.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                SEVENTH CAUSE OF ACTION
                                         FRAUD

       202.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       203.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       204.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       205.    DEFENDANTS’ marketing, promotions and advertisements contained deceptive

and/or misleading statements, implications, images, and portrayals that the platforms were safe,

improved social connectivity, and improved the mental and physical health of its users. For

example, Meta’s investor relations page states that “Facebook's mission is to give people the power

to build community and bring the world closer together. People use Facebook to stay connected

with friends and family, to discover what's going on in the world, and to share and express what




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:203
                                                                                  #: 54


matters to them.”10 In actuality, Facebook and Instagram pose a serious risk to users’ mental and

physical health, which Meta has long known.

         206.   DEFENDANTS’ marketing, promotions and advertisements failed to disclose that

the platforms, by contrast, were likely to cause social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harms.

         207.   The omissions were misleading and deceptive standing alone and were particularly

deceptive in light of Meta’s marketing, promotions and advertising of Facebook and Instagram as

positive for users mental and physical health.

         208.   DEFENDANTS represented to Plaintiff—via the media, internet, advertising, its

website, the platforms themselves, other social media, and promotions—that:


                a. Facebook and Instagram were safe and were not harmful;

                b. Facebook and Instagram were positive and beneficial to a users’ wellbeing,
                   improved social connectivity, and improved the mental and physical health of
                   its users;

                c. Long-term, frequent, prolonged use was harmless;

                d. Facebook and Instagram increased social connectivity, rather than causing
                   feelings of isolation;

                e. An inaccurate and misleading portrayal of the platforms mental and physical
                   health impact; and

                f. Other misrepresentations described herein.

         209.   DEFENDANTS omitted/failed to ever inform Plaintiff and other consumers, by

any media, that, according to its own research:


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 https://investor.fb.com/resources/default.aspx#:~:text=Facebook%20Investor%20Relations%3F-
 ,What%20is%20Facebook's%20mission%20statement%3F,express%20what%20matters%20to%20them.
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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:204
                                                                                  #: 55


             g. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                platform;

             h. Sixty-six percent of teen girls and forty-six percent of teen boys have
                experienced negative social comparisons on Instagram;

             i. Facebook makes body-image issues worse for one-third of girls;

             j. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                makes thoughts of suicide and self-injury worse;

             k. Seventeen percent of teen-girl Instagram users say the platform makes eating
                issues worse; and

             l. Instagram users are twice as likely to develop an eating disorder as those who
                don’t use social media.

      210.   Meta also omitted/failed to inform users that, as it knew or should have known:

             m. Engagement-based ranking and intermittent variable rewards are:

                   i.   highly addictive,

                  ii.   promote harmful social comparison,

                 iii.   promote negative, controversial, and/or emotionally activating content,

                 iv.    promote negative, harmful, and/or dangerous interest groups and/or

                        content creators,

                  v.    encourage bullying and conflict,

                 vi.    can trap users in a cycle of viewing content that is innately harmful or

                        in a manner that is harmful, such as content related to eating disorders,
                        depression, or self-harm, and

                 vii.   present a false reality (regarding one’s comparative status to their

                        peers, and/or the general state of world or political affairs);

             n. Face tracking and augmentation (image and video filters):

                   i.   inflict unrealistic and biased beauty standards upon users, and

                  ii.   cause harmful social comparison based on a misleading curation of

                        peers’ appearances and success, especially among teenage female
                        users;

             o. The platforms cause the mental and physical health harms as listed above;
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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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               p. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors; and

               q. The likelihood and intensity of these harmful effects are exacerbated by the

                  collaboration of these features.
       211.    These representations were false and material. These omissions also communicated

falsehoods and were material. The platforms are unsafe and were known by Meta to cause mental

and physical health harms, especially in youth, such as social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder,

anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus,

ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other

harmful effects.

       212.    The above representations were communicated to Plaintiff.

       213.    Through their incredible power as the premier social media company (and/or

association with that company), DEFENDANTS have silenced and suppressed information,

research efforts, and public awareness efforts regarding the harmful heath impact of their

platforms.

       214.    DEFENDANTS’ conduct            was   fraudulent   and deceptive because their

misrepresentations and omissions had the capacity to, were likely to, and, in fact, did deceive

reasonable consumers including the Plaintiff. Reasonable consumers, including the Plaintiff,

would have found it material to their purchasing decisions that the platforms’ products posed

unreasonable risks of substantial mental and bodily injury, including addiction resulting from the

use of the products. Knowledge of these facts would have been a substantial factor in Plaintiff’s

decisions to purchase and consume Facebook and Instagram.

       215.    DEFENDANTS owed Plaintiff a duty to disclose these facts because they were

known and/or accessible exclusively to DEFENDANTS, who have had exclusive and superior


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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:206
                                                                                  #: 57


knowledge of the facts; because the facts would be material to reasonable consumers; because the

platforms pose an unreasonable risk of substantial mental and bodily injury; and because the

platforms made partial representations concerning the same subject matter as the omitted facts.

       216.    Plaintiff reasonably and justifiably relied on the misrepresentations and/or

omissions. Reasonable consumers would have been expected to have relied on the platforms’

misrepresentations and omissions.

       217.    DEFENDANTS knew or should have known that its misrepresentations and/or

omissions were false and misleading, and intended for consumers to rely on such

misrepresentations and omissions.

       218.    DEFENDANTS’ misrepresentations and/or omissions were a substantial factor in

causing Plaintiff’s harms. Plaintiff was injured as a direct and proximate result of DEFENDANTS’

fraudulent conduct as described herein.

       219.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                EIGHTH CAUSE OF ACTION
                               FRAUDULENT CONCEALMENT

       220.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       221.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.



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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:207
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        222.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

        223.    DEFENDANTS had a duty to disclose material facts about Facebook and Instagram

to Plaintiff.

        224.    DEFENDANTS fraudulently and deceptively marketed Facebook and Instagram to

Plaintiff as safe, healthful, or not harmful, and beneficial to user mental health and social

connectedness when DEFENDANTS knew it to be untrue.

        225.    DEFENDANTS fraudulently and deceptively downplayed or minimized any risk

associated with its platforms and product features. DEFENDANTS and others worked together to

pitch news stories or other media content designed to downplay the risks of its platforms,

suggesting that any concern was overblown, or a panic. These tactics mimic those used by the

tobacco industry to sow seeds of doubt and confusion among the public, to initiate new users, to

keep customers using Facebook and Instagram, and to avoid regulation or legislative efforts to

control Meta.

        226.    Through their incredible power as the premier social media company (and/or

association with that company), DEFENDANTS have silenced and suppressed information,

research efforts, and public awareness efforts regarding the harmful heath impact of their

platforms.

        227.    DEFENDANTS fraudulently and deceptively concealed that Facebook and

Instagram can cause social media addiction, depression, body dysmorphia, anxiety, suicidal

ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia

nervosa, death by suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping,

fatigue, headaches, migraines, loss of vision, eye strain, among other harms.

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:208
                                                                                  #: 59


       228.    DEFENDANTS fraudulently and deceptively concealed they had not adequately

researched or tested the platforms and its features to assess its safety before offering it on the

market and promoting it to young people and adults.

       229.    DEFENDANTS fraudulently and deceptively concealed that the platforms were

powerfully addictive.

       230.    DEFENDANTS further failed to disclose to Plaintiff that the platforms are designed

to create and sustain an addiction. DEFENDANTS also manipulated the platforms algorithms and

features in ways that could and would impact their addictiveness and mental health impact, and

DEFENDANTS did so without notifying Plaintiff. DEFENDANTS actively concealed the

innerworkings of its platforms and their mental health impacts.

       231.    DEFENDANTS concealed from Plaintiff that, according to its own research:


               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse; and

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       232.    DEFENDANTS also concealed from Plaintiff that:

               a. Engagement-based ranking and intermittent variable rewards are:

                     i.   highly addictive,

                    ii.   promote harmful social comparison,
                   iii.   promote negative, controversial, and/or emotionally activating content,


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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:209
                                                                                  #: 60



                    iv.    promote negative, harmful, and/or dangerous interest groups and/or

                           content creators,

                     v.    encourage bullying and conflict,

                    vi.    can trap users in a cycle of viewing content that is innately harmful or

                           in a manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm, and

                    vii.   present a false reality (regarding one’s comparative status to their

                           peers, and/or the general state of world or political affairs);

                b. Face tracking and augmentation (image and video filters):

                      i.   inflict unrealistic and biased beauty standards upon users, and

                     ii.   cause harmful social comparison based on a misleading curation of

                           peers’ appearances and success, especially among teenage female

                           users;

                c. The platforms cause the mental and physical health harms as listed above;

                d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors;

                e. The likelihood and intensity of these harmful effects are exacerbated by the

                   collaboration of these features; and

                f. The likelihood and intensity of these harmful effects are increased by other
                   features and innerworkings of the platforms which are currently publicly

                   unknown and hidden from users and governments.
         233.   Each of these misrepresentations and omissions were material at the time they were

made. Each of the misrepresentations and omissions concerned material facts that were essential

to the analysis undertaken by Plaintiff as to whether to register or use the platforms.

         234.   Plaintiff did not know of the facts that DEFENDANTS concealed.

         235.   DEFENDANTS intended to deceive Plaintiff and the public by concealing these

facts.


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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
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                                                                            91 #:210
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       236.    DEFENDANTS had a duty to accurately provide this information to Plaintiff. In

concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS

also gained financially from this concealment, and because of their breach.

       237.    DEFENDANTS had ample opportunities to disclose these facts to Plaintiff, through

advertising, on its websites, platforms, and on other social media. DEFENDANTS concealed

material information at all relevant times, through today. DEFENDANTS have yet to disclose the

truth about Facebook and Instagram.

       238.    Plaintiff relied to her detriment on DEFENDANTS’ fraudulent omissions. Had

Plaintiff been adequately informed of the material facts concealed from her regarding the safety of

the platforms, and not intentionally deceived by DEFENDANTS, she would not have signed up

for or used Facebook and Instagram.

       239.    DEFENDANTS’ fraudulent concealment was a substantial factor in Plaintiff’s

harms as described herein, including: attempted suicide, multiple periods of suicidal ideation,

depression, anxiety, an eating disorder, social media compulsion, and a reduced inclination or

ability to sleep, among other harmful effects, which may cause or contribute to additional disease.

       240.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ fraudulent

conduct as described herein.

       241.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                NINTH CAUSE OF ACTION
                             CONSPIRACY TO COMMIT FRAUD

       242.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                            91 #:211
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        243.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff's

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

and conspiracy, statutes, and the common law of the State of Alabama.

        244.   DEFENDANTS entered into an agreement to advance their financial interests by

injuring Plaintiff. Specifically, DEFENDANTS worked in concert to maintain and maximize the

number of users addicted to Facebook and Instagram to ensure a steady and growing customer

base.

        245.   DEFENDANTS sought to accomplish this objective by: (1) designing a product

that was intended to addict its users to dopamine-triggering stimuli on its electronic platforms

(similar to electronic gambling platforms); (2) marketing, advertising, promoting and misbranding

that platform to consumers, including the vulnerable youth market; and (3) defrauding regulators

and the public to advance their interests.

        246.   Plaintiff’s addiction to the platforms was a primary object of the Conspiracy.

DEFENDANTS orchestrated efforts with a unity of purpose to addict this generation of teenagers

and young adults to its platforms by way of unlawful conduct in marketing, promoting,

manufacturing, designing, and disseminating Facebook and Instagram that substantially

contributed to the Plaintiff’s injuries as alleged herein.

        247.   DEFENDANTS further conspired with one another by setting out to entice and lure

new users of the platforms as a wrongful, unlawful, and tortious means to make a profit.

        248.   Plaintiff demands the applicable relief set forth in the Prayer for Relief below.

        249.   DEFENDANTS’ conspiracy involved:

               a. Developing social media platforms to be as addictive as possible, regardless of
                   mental and physical health impacts;



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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
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                                                                   37588
                                                                      66PageID
                                                                         ofPageID
                                                                            91 #:212
                                                                                  #: 63



               b. Suppressing internal and external efforts to research the harmful effects of

                   those platforms;

               c. Suppressing internal and external efforts to inform consumers of the harmful

                   effects of those platforms;

               d. Making knowingly false and misleading representations and omissions to

                   government organizations, personnel, legislators, and regulators, including at

                   congressional hearings; and

               e. Engaging in lobbying efforts and political donations to discourage office

                 holders from performing oversight of its platforms.
       250.    DEFENDANTS’ conduct violated state law and constituted a conspiracy to harm

Plaintiff. Plaintiff brings a cause of action for conspiracy to commit fraud under applicable state

statutory and common law.

       251.    DEFENDANTS’ conspiracy to commit fraud was a substantial factor in causing

Plaintiff’s harms. Plaintiff was injured, as described herein, as a direct and proximate result of

DEFENDANTS’ unlawful conspiracy as described herein.

       252.    Plaintiff demands judgment against Defendants for compensatory, treble, and

punitive damages, together with interest, costs of suit, attorneys' fees, and all such other relief as

the Court deems proper.


                                  TENTH CAUSE OF ACTION
                                   UNJUST ENRICHMENT


       253.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       254.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

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        1:22-cv-02968
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                                                                            91 #:213
                                                                                  #: 64


       255.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       256.    DEFENDANTS concealed from Plaintiff that, according to its own research:

               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse; and

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       257.    DEFENDANTS also concealed from Plaintiff that:

               g. Engagement-based ranking and intermittent variable rewards are:

                      i.   highly addictive,

                     ii.   promote harmful social comparison,

                    iii.   promote negative, controversial, and/or emotionally activating content,
                    iv.    promote negative, harmful, and/or dangerous interest groups and/or

                           content creators,

                     v.    encourage bullying and conflict,

                    vi.    can trap users in a cycle of viewing content that is innately harmful or

                           in a manner that is harmful, such as content related to eating disorders,

                           depression, or self-harm, and
                    vii.   present a false reality (regarding one’s comparative status to their

                           peers, and/or the general state of world or political affairs);

                                                                                                  62
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                of of
                                                                   37588
                                                                      68PageID
                                                                         ofPageID
                                                                            91 #:214
                                                                                  #: 65



                h. Face tracking and augmentation (image and video filters):

                       i.   inflict unrealistic and biased beauty standards upon users, and

                      ii.   cause harmful social comparison based on a misleading curation of

                            peers’ appearances and success, especially among teenage female

                            users;

                i. The platforms cause the mental and physical health harms as listed above;

                j. The likelihood of these harms and likely severity for these harms are even

                    greater for the developing brains of minors;

                k. The likelihood and intensity of these harmful effects are exacerbated by the

                    interaction of these features; and

                l. The likelihood and intensity of these harmful effects are increased by other

                    features and innerworkings of the platforms which are currently publicly

                  unknown and hidden from users and governments.
        258.    DEFENDANTS received a measurable benefit at the expense of Plaintiff in the

form of ad revenue and other revenue derived from consumers use of Facebook and Instagram.

        259.    DEFENDANTS appreciated, recognized, and chose to accept the monetary benefits

Plaintiff’s registration and use of the platforms conferred onto DEFENDANTS at the Plaintiff’s

detriment. These benefits were the expected result of DEFENDANTS acting in their pecuniary

interests at the expense of its users.

        260.    The harm causing features listed above were the same platform components that

increased Meta’s revenue—addiction and overuse of the platforms directly creates increased ad

revenue for the company. The benefit to Meta came directly at the expense of the Plaintiff’s time,

mental wellness, and physical health.

        261.    There is no justification for DEFENDANTS’ enrichment. It would be inequitable,

unconscionable, and unjust for DEFENDANTS to be permitted to retain these benefits because

the benefits were procured because of their wrongful conduct.


                                                                                                  63
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:215
                                                                                  #: 66


       262.    DEFENDANTS wrongfully obfuscated the harm caused by their conduct. Thus,

Plaintiff, who mistakenly enriched DEFENDANTS by relying on DEFENDANTS’ fraudulent

representations, could not and did not know the effect that using Facebook and Instagram would

have on Plaintiff’s health.

       263.    Plaintiff is entitled to restitution of the benefits DEFENDANTS unjustly retained

and/or any amounts necessary to return Plaintiff to the position she occupied prior to dealing with

DEFENDANTS. Due to the sprawling, decades-long concern about the impacts of technology and

the internet on mental and physical health, and litigation commonly following injuries afflicted

using the internet, and other notice they have received because of lawsuits filed against them,

DEFENDANTS are reasonably notified that Plaintiff would expect compensation from

DEFENDANTS’ unjust enrichment stemming from their wrongful actions.

       264.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                               ELEVENTH CAUSE OF ACTION
                              BREACH OF EXPRESS WARRANTY

       265.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       266.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       267.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:216
                                                                                  #: 67


and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       268.    DEFENDANTS violated state law for breach of express warranties and Plaintiff

herein will bring a cause of action for breach of express warranty under applicable State common

law.

       269.    Upon information and belief, DEFENDANTS expressly warranted through public

statements, press releases, advertisements, marketing materials, sign-up notices, clickwrap (and/or

browsewrap or scrollwrap), and descriptions that the platforms Facebook and Instagram were safe

for their intended use and that they were safe for youth to use.

       270.    Upon information and belief, DEFENDANTS expressly warranted to consumers,

like Plaintiff, through written or electronic statements, descriptions, and affirmations of fact on its

websites, advertising, and marketing materials that Facebook and Instagram would improve users’

mental health, sense of community, and emotional connectedness with others.

       271.    These affirmations of fact became the basis of the bargain between DEFENDANTS

and Plaintiff, thereby creating express warranties that Facebook and Instagram would conform to

Meta’s affirmations of fact, representations, promises, and descriptions.

       272.    As described herein, the platforms actually use features that cause social media

addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-

harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by

eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of

vision, eye strain, among other harms, which may cause or contribute to additional disease.

       273.    These express communications contained misrepresentations and failed to warn of

the serious and known risks of Facebook and Instagram as alleged herein.




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
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                                                                   37588
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                                                                            91 #:217
                                                                                  #: 68


       274.    When DEFENDANTS made these express warranties, they knew the intended

purposes of Facebook and Instagram and warranted the product to be, in all respects, safe and

proper for such purposes.

       275.    DEFENDANTS authored the documents and/or made the statements upon which

these warranty claims were based and, in doing so, defined the terms of those warranties. The

Facebook and Instagram platforms made available by DEFENDANTS did not conform to

DEFENDANTS’ promises, descriptions or affirmations and were not adequately designed,

developed, tested, promoted and/or fit for the ordinary purposes for which they were intended.

       276.    All of the aforementioned written or electronic materials are known to

DEFENDANTS and in their possession, and it is Plaintiff’s belief that these materials shall be

produced by DEFENDANTS and made part of the record once discovery is completed.

       277.    DEFENDANTS’ breach of these express warranties were a substantial factor in

causing Plaintiff’s harms.

       278.    As a direct and proximate result of DEFENDANTS’ breach of these warranties,

Plaintiff suffered serious injuries and/or sequelae thereto as alleged herein.

       279.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                        TWELFTH CAUSE OF ACTION
           BREACH OF AN IMPLIED WARRANTY OF MERCHANTABILITY

       280.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       281.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                                  #: 69


resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

          282.   At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

          283.   DEFENDANTS at all times were merchants with respect to the Facebook and

Instagram platforms provided to Plaintiff and were in the business of programming, developing,

disseminating, and operating such products.

          284.   Each platform Meta provided comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used.

          285.   The ordinary intended purposes of the platforms—and the purpose for which they

are marketed, promoted, and made available—is to serve as safe social media platforms and allow

users to connect with friends, create new and palatable association with strangers, and groups

online.

          286.   The platforms are not fit for that use—or any other use—because they pose

significant risks of substantial mental and physical injury resulting from the use of the products.

When used as intended or reasonably foreseeable, Facebook and Instagram adversely impact,

worsen, or aggravate users’ mental health.

          287.   Due to these and other features, the platforms are not fit for their ordinary, intended

use and Facebook and Instagram are in fact defective and fail to conform to the platforms implied

warranties.

          288.   DEFENDANTS have unlawfully breached the platforms implied warranty of

merchantability because Facebook and Instagram were not in merchantable condition when made



                                                                                                     67
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                                  #: 70


available, were defective when made available, and do not possess even the most basic degree of

fitness for ordinary use.

       289.    Despite having received notice of these defects, DEFENDANTS continue to

misrepresent the nature of its products and breach its implied warranties.

       290.    Plaintiff has had sufficient direct dealings with the platforms DEFENDANTS via

its website, apps, platforms, or through retailers acting as agents authorized to distribute Facebook

and Instagram (Apple/the “App Store”) to establish privity between the platforms.

       291.    Further, Plaintiff was a third-party beneficiary of the platforms’ agreements with

other entities for the distribution of Facebook and Instagram to consumers. Specifically, Plaintiff

is the intended beneficiary of the platforms’ implied warranties. The platforms’ products are

manufactured with the express purpose and intent of being made accessible to consumers.

       292.    Plaintiff would not have used Facebook and Instagram, or would not have

registered or used on the same terms, had she known the facts these Defendants failed to disclose.

       293.    DEFENDANTS’ breach of these warranties were a substantial factor in causing

Plaintiff’s harms.

       294.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ breach of

implied warranties of merchantability. Plaintiff has been harmed by DEFENDANTS’ failure to

deliver merchantable products in the form of addiction and other negative health consequences.

       295.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
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                                                                   37588
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                                                                            91 #:220
                                                                                  #: 71


                             THIRTEENTH CAUSE OF ACTION
                          FITNESS FOR A PARTICULAR PURPOSE

          296.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

          297.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

          298.   At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

          299.   DEFENDANTS violated state law for breach of implied warranties and Plaintiff

herein will bring a cause of action for breach of implied warranty of fitness for a particular purpose

under applicable State common law.

          300.   Plaintiff intended to use Facebook and Instagram as safe social media platforms

and to improve Plaintiff’s mental health, sense of community, and emotional connectedness with

others.

          301.   DEFENDANTS knew at that time of account registration, and/or had reason to

know, the particular purpose for which the products were required by Plaintiff, as evidenced by

DEFENDANTS’ written and/or electronic statements, descriptions, and affirmations of fact on its

websites, print or electronic advertising, marketing materials, sign-up notices, and clickwrap

(and/or browsewrap or scrollwrap) that Facebook and Instagram would improve users’ mental

health, sense of community, and emotional connectedness with others.




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 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:221
                                                                                  #: 72


       302.    DEFENDANTS knew at that time of account registration, and/or had reason to

know, that Plaintiff was relying on DEFENDANTS’ skill or judgment to select or furnish suitable

social media platforms.

       303.    DEFENDANTS did not effectively exclude or modify this implied warranty at any

point during users’ registration and interface with the platforms.

       304.    As described herein, DEFENDANTS breached this implied warranty because the

platforms use features that cause social media addiction, depression, body dysmorphia, anxiety,

suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa,

bulimia nervosa, death by suicide, death by eating disorder, lack of focus, ADHD, difficulty

sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other harms, which may

cause or contribute to additional disease.

       305.    DEFENDANTS knew the Plaintiff’s intended purposes for Facebook and

Instagram and impliedly warranted the product to be, in all respects, safe and proper for such

purposes.

       306.    DEFENDANTS authored the documents and/or made the statements upon which

these warranty claims were based and, in doing so, defined the terms of those warranties. The

Facebook and Instagram made available by DEFENDANTS did not conform to DEFENDANTS’

promises, descriptions or affirmations and were not adequately designed, developed, tested,

promoted and/or fit for the particular purposes for which they were intended.

       307.    All of the aforementioned written or electronic materials are known to

DEFENDANTS and in their possession, and it is Plaintiff’s belief that these materials shall be

produced by DEFENDANTS and made part of the record once discovery is completed.

       308.    DEFENDANTS’ breach of these implied warranties were a substantial factor in

causing Plaintiff’s harms.



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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                   37588
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                                                                            91 #:222
                                                                                  #: 73


       309.    As a direct and proximate result of DEFENDANTS’ breach of these warranties,

Plaintiff suffered serious injuries and/or sequelae thereto as alleged herein.

       310.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                        FOURTEENTH CAUSE OF ACTION
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       311.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       312.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       313.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       314.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, the risks to consumers posed by the platforms and their features.

       315.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, that minors and young people would be attracted to these products.

       316.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was harmful and had the potential to cause severe emotional



                                                                                                  71
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:223
                                                                                  #: 74


distress when used by Plaintiff in a reasonably foreseeable manner, particularly with minors and

young adults.

       317.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are fine-tuned to addict users, and forcefully

cause physical and mental health harms.

       318.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

that Facebook and Instagram posed risks including the risks of social media addiction, depression,

body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating

disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of

focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       319.     DEFENDANTS knew or should have known that Facebook and Instagram needed

to be researched, designed, manufactured, coded, assembled, inspected, tested, marketed,

advertised, promoted, supplied, disseminated, and/or made available properly, without defects and

with due care to avoid needlessly causing harm.

       320.     DEFENDANTS knew or should have known that Facebook and Instagram could

cause serious harm, including severe emotional distress, particularly to young persons and minors.

       321.     DEFENDANTS knew or should have known that many of the youth who were

encouraged to use the platforms had preexisting mental health issues and/or eating disorders who

were at enhanced risk of harm by utilizing the misleadingly described platforms, which

misrepresented the mental health effects of the platforms and failed to warn of the products’

features’ impacts and risks.

                                                                                                72
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                         Page7675
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                                                                   37588
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                                                                            91 #:224
                                                                                  #: 75


        322.    DEFENDANTS were negligent, reckless, and careless and failed to take the care

and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm, including severe emotional

distress.

        323.    DEFENDANTS’ acts and omissions were extreme and outrageous because they

constitute a total lack of care, recklessness, and an extreme departure from what a reasonably

careful company would do in the same situation to prevent foreseeable harm and severe emotional

distress to Plaintiff.

        324.    DEFENDANTS acted with conscious and reckless disregard for the rights and

interests of Plaintiff, and their acts and omissions were extreme and outrageous, had a great

probability of causing severe emotional distress, and in fact resulted in such harm to Plaintiff.

        325.    Based on their strategic and intentional promotion, advertising and marketing

history, DEFENDANTS reasonably should have foreseen that young people would try Facebook

and Instagram and quickly become addicted to Facebook and Instagram, resulting in teenagers and

young adults developing lifelong addictions. DEFENDANTS were aware of the risks their

platforms posed, as listed herein. After fine-tuning the platforms to be addictive, attention-

grabbing, and attention-holding, DEFENDANTS reasonably should have foreseen the emotional

distress, mental, and physical issues this would cause on the individuals who would get addicted,

as well the stress this would place on their loved ones around them. Particularly, DEFENDANTS

should have foreseen that young people would be particularly susceptible to experiencing severe

emotional distress.

        326.    Plaintiff was injured as a direct and proximate result of the reckless, extreme, and

outrageous conduct as described herein. Such harm includes attempted suicide, multiple periods

of suicidal ideation, depression, anxiety, an eating disorder, social media compulsion, and a

reduced inclination or ability to sleep, among other harmful effects, which may cause or contribute

to additional disease.

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Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                   37588
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                                                                            91 #:225
                                                                                  #: 76


       327.    DEFENDANTS’ conduct, as described above, was intentional, reckless, wanton,

malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an entire lack of care

and a conscious and depraved indifference to the consequences of their conduct—including to the

health, safety, and welfare of their consumers—and warrants an award of punitive damages.

       328.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                         FIFTEENTH CAUSE OF ACTION
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS


       329.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       330.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       331.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       332.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, the risks to consumers posed by the platforms and their features.

       333.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, that minors and young people would be attracted to these products.



                                                                                                  74
Case
 Case:
     1:22-cv-00268-KD-M
        1:22-cv-02968
         Case Pending Document
                      No. 97
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                                                                            91 #:226
                                                                                  #: 77


       334.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was harmful and had the potential to cause severe emotional

distress when used by Plaintiff in a reasonably foreseeable manner, particularly with minors and

young adults.

       335.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

Facebook and Instagram. Facebook and Instagram are fine-tuned to addict users, and forcefully

cause physical and mental health harms.

       336.     DEFENDANTS knew or, by the exercise of reasonable care, should have known

that Facebook and Instagram posed risks including the risks of social media addiction, depression,

body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating

disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of

focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harmful effects, as described herein, that were known and knowable in light of scientific and

medical knowledge that was generally accepted in the scientific community at the time of

development, dissemination, public release, and operation of the platforms.

       337.     DEFENDANTS knew or should have known that Facebook and Instagram needed

to be researched, designed, manufactured, coded, assembled, inspected, tested, marketed,

advertised, promoted, supplied, disseminated, and/or made available properly, without defects and

with due care to avoid needlessly causing harm.

       338.     DEFENDANTS knew or should have known that Facebook and Instagram could

cause serious risk of harm, including severe emotional distress, particularly to young persons and

minors.

       339.     DEFENDANTS knew or should have known that many of the youth who were

encouraged to use the platforms had preexisting mental health issues and/or eating disorders who

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     1:22-cv-00268-KD-M
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were at enhanced risk of harm by utilizing the misleadingly described platforms, which

misrepresented the mental health effects of the platforms and failed to warn of the products’

features’ impacts and risks.

        340.    DEFENDANTS were negligent, reckless, and careless and failed to take the care

and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm, including severe emotional

distress.

        341.    DEFENDANTS’ acts and omissions were extreme and outrageous because they

constitute a total lack of care, recklessness, and an extreme departure from what a reasonably

careful company would do in the same situation to prevent foreseeable harm and severe emotional

distress to Plaintiff.

        342.    DEFENDANTS acted with conscious and reckless disregard for the rights and

interests of Plaintiff, and their acts and omissions were extreme and outrageous had a great

probability of causing severe emotional distress and in fact resulted in such harm to Plaintiff.

        343.    Based on their strategic and intentional promotion, advertising and marketing

history, DEFENDANTS reasonably should have foreseen that young people would try Facebook

and Instagram and quickly become addicted to Facebook and Instagram, resulting in teenagers and

young adults developing lifelong addictions. DEFENDANTS were aware of the risks their

platforms posed, as listed herein. After fine-tuning the platforms to be addictive, attention-

grabbing, and attention-holding, DEFENDANTS reasonably should have foreseen the emotional

distress, mental, and physical issues this would cause on the individuals who would get addicted,

as well the stress this would place on their loved ones around them. Particularly, DEFENDANTS

should have foreseen that young people would be particularly susceptible to experiencing severe

emotional distress.

        344.    Plaintiff was injured as a direct and proximate result of the negligent, reckless,

extreme, and outrageous conduct as described herein. Such harm includes attempted suicide,

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        1:22-cv-02968
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multiple periods of suicidal ideation, depression, anxiety, an eating disorder, social media

compulsion, and a reduced inclination or ability to sleep, among other harmful effects, which may

cause or contribute to additional disease.

       345.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                          SIXTEENTH CAUSE OF ACTION
                     NEGLIGENT FAILURE TO RECALL/RETROFIT

       346.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       347.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       348.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       349.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, the risks to consumers posed by the platforms and their features.

       350.    DEFENDANTS knew, or should have known through the exercise of reasonable

care, that minors and young people would be attracted to these products.

       351.    DEFENDANTS knew or, by the exercise of reasonable care, should have known

use of Facebook and Instagram was harmful and had the potential to cause social media addiction,

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depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,

insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating

disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision,

eye strain, among other harmful effects, which may cause or contribute to additional disease.

        352.    Defendants owed a duty to the users of the Facebook and Instagram, including

Plaintiff, to exercise reasonable care in conducting their business to properly and reasonably

design, research, develop, manufacture, produce, process, assemble, inspect, supply, distribute,

deliver, broker, market, warn, maintain, repair, modify, recall, retrofit, engineer, test, recommend,

advertise, and/or make available Facebook and Instagram.

        353.    Defendants also owed a continuing duty to Plaintiff to remove, recall, or retrofit the

unsafe and/or defective platforms across the United States (including in Plaintiff’s state).

        354.    As discussed, Defendants knew or reasonably should have known that the platforms

were dangerous and not safe for use (without added protective measures and/or removal of harm

causing features, if at all).

        355.    Defendants knew or, in the exercise of reasonable and ordinary care, should have

known that the platforms were defective and unsafe for Plaintiff, who is a person likely to use the

platforms for the purpose and in the manner for which the platforms were intended to be used and

for purposes reasonably foreseeable to Defendants.

        356.    However, at all times, Defendants negligently breached said duties and

unreasonably and negligently allowed the platforms to be used by Plaintiff without proper recall

or retrofit or warning.

        357.    Defendants have also not made any reasonable effort to remove and/or retrofit the

serious safety risk posed by the platforms to consumers.

        358.    In failing to properly recall and/or retrofit Facebook and Instagram, or even warn

of the serious safety risks the platforms pose to consumers and the public, Defendants have failed

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     1:22-cv-00268-KD-M
        1:22-cv-02968
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to act as a reasonable manufacturer, designer, or distributer would under the same or similar

circumstances and failed to exercise reasonable care.

       359.    Plaintiff was injured as a direct and proximate result of the negligent conduct as

described herein. Such harm includes attempted suicide, multiple periods of suicidal ideation,

depression, anxiety, an eating disorder, social media compulsion, and a reduced inclination or

ability to sleep, among other harmful effects, which may cause or contribute to additional disease.

       360.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platforms induced injuries at an earlier date

to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                            SEVENTEENTH CAUSE OF ACTION
                                MEDICAL MONITORING


       361.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       362.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,

pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident state, Alabama. Plaintiff pleads this Cause of Action under all applicable product liability

acts, statutes, and laws of the State of Alabama.

       363.    At all relevant times, DEFENDANTS designed, developed, managed, operated,

inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Facebook and Instagram and therefore owed a duty of reasonable care to

avoid causing harm to those that used it, such as Plaintiff.

       364.    Facebook and Instagram cause or exacerbate mental and physical health harms,

including, but not limited to, depression, anxiety, suicidal ideation, self-harm, thoughts of self-



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        1:22-cv-02968
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                                                                                  #: 82


harm, and eating disorders, among other harmful effects, which may cause or contribute to

additional disease.

       365.    According to Meta’s internal research:


               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform;

               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;

               c. Facebook makes body-image issues worse for one-third of girls;

               d. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse;

               e. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse;

               f. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       366.    Facebook and Instagram cause harm by the following product effects:

               a. Engagement-based ranking and intermittent variable rewards are:

                        i.   highly addictive,

                       ii.   promote harmful social comparison,

                      iii.   promote negative, controversial, and/or emotionally activating content,

                      iv.    promote negative, harmful, and/or dangerous interest groups and/or

                             content creators,

                       v.    encourage bullying and conflict,

                      vi.    can trap users in a cycle of viewing content that is innately harmful or

                             in a manner that is harmful, such as content related to eating disorders,

                             depression, or self-harm, and

                      vii.   present a false reality (regarding one’s comparative status to their

                             peers, and/or the general state of world or political affairs);
               b. Face tracking and augmentation (image and video filters):

                        i.   inflict unrealistic and biased beauty standards upon users, and
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                                                                            91 #:232
                                                                                  #: 83



                     ii.   cause harmful social comparison based on a misleading curation of

                           peers’ appearances and success, especially among teenage female

                           users;

               c. The platforms cause the mental and physical health harms as listed above;

               d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of minors;

               e. The likelihood and intensity of these harmful effects are exacerbated by the

                   interaction of these features; and

               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platforms which are currently publicly

                  unknown and hidden from users and governments.
       367.    Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of

viewing content that is innately harmful or in a manner that is harmful, and present a false reality.

Image and video filters inflict unrealistic and biased beauty standards upon users and cause

harmful social comparison based on a misleading curation of peers’ appearances, especially among

teenage female users.

       368.    The collaboration of these features multiplies the platforms’ power to inflict harm

by heightening the platform’s addictive nature, increasing exposure to content that triggers

negative social comparison, exposing users to innately harmful content, increasing time of

exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in

other ways.

       369.    The features combine to create a user interface of endless, auto-playing, image and

video content, that is algorithmically sorted to place the most attention-grabbing content at the top

and/or in a distilled feed that is very difficult to cease consuming, especially for young users.

Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or


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        1:22-cv-02968
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                                                                                  #: 84


lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s

algorithms also promote controversial, disturbing, negative, and/or emotionally charged content

causing harm to users.

       370.    The combined result of these features is to present to users a false reality—it

presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more

successful and/or competent than the user; and which will facilitate and encourage harmful

behaviors such as self-harm and eating disorders.

       371.    These features take advantage of biological systems, human behavior, and

psychology, to addict and condition users to engage in repetitive content-consuming actions such

as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,

the users’ input and behavior are tracked to allow the platform to automatically tune itself to each

individual user to become as addictive and difficult to stop engaging with as possible.

       372.    Potential health harms from these features include, among other types of harm,

social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.

       373.    As a direct and proximate result of DEFENDANTS’ conduct, Plaintiff has

developed mental and physical health issues that will require life-long monitoring treatment.

       374.    As a direct and proximate result of DEFENDANTS’ conduct, Plaintiff has a

significantly increased risk of developing a serious latent disease and/or injury, suffering further

injury at an unknown date in the future. Such injuries include the development and/or exacerbation

of social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,

thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by

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suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,

migraines, loss of vision, eye strain, among other harmful effects.

        375.    Monitoring procedures exist that makes the early detection and prevention of the

above technology-related and/or induced diseases and mental health issues possible. Many of the

above physical and mental issues can lead to other physical and mental health injuries long-term

that can be detected and prevented by existing medical and psychological testing and treatment.

        376.    For example, eating disorders can cause hormone/growth problems, heart

problems, neurological problems, abnormal cell growth, and cancer. Anxiety can lead to social

impairment, relationships, suicide risk, more frequent hospitalizations, substances abuse

(prescribed and non-prescribed), unemployment, somatoform. Nearly all the other kinds of harms

listed above commonly lead to other health issues.

        377.    These procedures are different from that normally recommended in the absence of

the exposure. These monitoring procedures include non-routine surveillance studies, laboratory

testing, and physical examinations, and would be reasonably necessary according to contemporary

scientific principles.

        378.    Plaintiff has suffered physical, mental, and emotional harms. Anxiety, depression,

sleep deprivation, eating disorders (and many of the other harms listed above) are well-known to

cause long-lasting conditions, hidden conditions, and health problems that do not manifest fully

until much later in life. Existing medical research indicates that these issues can cause permanent

digestive tract injury, brain injury, cardiovascular disorders, and many other harms. The injuries

such products cause on the human body has already been inflicted in its users, such as Plaintiff,

but the full extent of the injury will not manifest until later in Plaintiff’s life. Thus, because of

DEFENDANTS’ conduct, it is reasonably necessary that Plaintiff be placed under periodic

screening and/or diagnostic testing beyond that normally recommended in the absence of the issues

Plaintiff has suffered due to use of these platforms.

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          379.    Plaintiff demand judgment against DEFENDANTS for medical monitoring

damages to diagnose the platforms induced injuries at an earlier date to allow for timely treatment

and prevention of exacerbation of injuries, together with interest, costs of suit, attorneys' fees, and

all such other relief as the Court deems proper.

          380.    Such other relief as the Court deems proper.

          VII.     TIMELINESS AND TOLLING OF STATUTES OF LIMITATIONS

          381.    Through the exercise of reasonable diligence, Plaintiff did not and could not have

discovered that Facebook and Instagram caused her injuries and/or sequelae thereto because, at

the time of these injuries and/or sequelae thereto, the cause was unknown to Plaintiff.

          382.    Plaintiff did not suspect and had no reason to suspect Facebook and Instagram

caused her injuries and/or sequelae thereto until less than the applicable limitations period prior to

the filing of this action.

          383.    In addition, DEFENDANTS’ fraudulent concealment has tolled the running of any

statute    of    limitations.   Through   their   affirmative    misrepresentations   and   omissions,

DEFENDANTS actively concealed from Plaintiff the risks associated with the defects of Facebook

and Instagram and that these products caused her injuries and/or sequelae thereto. Through their

ongoing affirmative misrepresentations and omissions, DEFENDANTS committed continual

tortious, and fraudulent acts.

          384.    As a result of DEFENDANTS’ fraudulent concealment, Plaintiff was unaware and

could not have reasonably known or learned through reasonable diligence that she had been

exposed to the defects and risks alleged herein and that those defects and risks were the direct and

proximate result of DEFENDANTS’ acts and omissions.

                                VIII. DEMAND FOR A JURY TRIAL

          Plaintiff hereby demands a trial by jury.



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 Case:
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        1:22-cv-02968
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                                  IX.     PRAYER FOR RELIEF

        Plaintiff prays for judgment against DEFENDANTS to the full extent of the law, including

but not limited to:

        1.      Entering judgment for Plaintiff and against DEFENDANTS;

        2.      Entering an Order that Defendants are jointly and severally liable;

        3.      Damages to compensate Plaintiff for injuries sustained as a result of the use of the

platforms, including, but not limited to, physical pain and suffering, mental anguish, loss of

enjoyment of life, emotional distress, expenses for hospitalizations and medical treatments, other

economic harm that includes, but is not limited to, lost earnings and loss of earning capacity;
        4.      Awarding actual and compensatory damages;

        5.      Awarding statutory damages in the maximum amount permitted by law;

        6.      Awarding exemplary, treble, and/or punitive damages in an amount in excess of the

jurisdictional limits;

        7.      Awarding reasonable attorneys’ fees;

        8.      Awarding experts’ fees;

        9.      Awarding costs of litigation;

        10.     Awarding pre-judgment and post-judgment interest at the lawful rate;

        11.     A trial by jury on all issues of the case;

        12.     Awarding medical monitoring costs or programs; and

        13.     Any other relief as this court may deem equitable and just, or that may be available.




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                                           Respectfully Submitted,
  DATED: July 5, 2022

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 6
                                 UNITED STATES DISTRICT COURT
 7                              NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
 8
 9
      BLAIR ARANDA and GREGORIO                         CIVIL ACTION NO.
10    ARANDA, individually, and BLAIR
11    ARANDA as the Personal Representative             COMPLAINT FOR WRONGFUL
      of the Estate of Brantley Aranda,                 DEATH AND SURVIVORSHIP
12
                      Plaintiff,
13
              v.
14
15    META PLATFORMS, INC., formerly
      known as FACEBOOK, INC.,
16                                                      JURY DEMAND
17                    Defendants.

18
19      “In these digital public spaces, which are privately owned and tend to be run for
        profit, there can be tension between what’s best for the technology company and
20      what’s best for the individual user or for society. Business models are often built
21      around maximizing user engagement as opposed to safeguarding users’ health and
        ensuring that users engage with one another in safe and healthy ways. . . .”
22
     Protecting Youth Mental Health, The U.S. Surgeon General’s Advisory (December 7, 2021)
23
24
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                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
       Case: 1:22-cv-02968
              Case
              Case 3:22-cv-04209-SK
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                                                           07/20/22
                                                            Page 92 Page
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                                                                             of 79
                                                                                76 #:240




 1          Plaintiffs Blair Aranda and Gregorio Aranda, individually, and Blair Aranda, as the

 2   Personal Representative of the Estate of Brantley Aranda, bring this action against Meta
 3   Platforms, Inc., formerly known as Facebook, Inc. (“Meta”), and allege as follows:
 4                                   I.        INTRODUCTION
 5   A.     Plaintiffs’ Claims
 6          1.      This product liability action seeks to hold Meta responsible for causing and
 7   contributing to burgeoning mental health crisis perpetrated upon the children and teenagers
 8   of the United States by Defendants and, specifically, for injuries Meta caused Brantley
 9   Aranda resulting in his wrongful death.
10          2.      Brantley suffered injuries proximately caused by Meta’s unreasonably
11   dangerous and defective Facebook product, including but not limited to, addiction, anxiety,
12   anger, depression, self-harm, suicidal ideation, and ultimately death. On September 4, 2019,
13   after struggling with the harmful effects of Defendants’ social media products, 17-year-old
14   Brantley died by suicide.
15          3.      Meta’s social media product likewise caused foreseeable harms to Plaintiffs
16   Blair and Gregorio Aranda. Blair and Gregorio Aranda did not consent to Meta distributing
17   or otherwise providing their child with access to harmful social media products and were
18   emotionally and financially harmed by Meta’s addictive design and distribution and
19   provision of harmful social media products to their minor child.
20          4.      Meta’s Facebook product contains unique product features which are
21   intended to and do encourage addiction, and unlawful content and use of said products, to
22   the detriment of Meta’s minor users.
23          5.      Meta programs and operates its algorithms and social media products to
24   engagement and profits over user safety. This includes designing and distributing inherently
25   dangerous products that appeal to kids, and operating algorithms and other technologies in a
26   manner that promotes and amplifies harmful content.
27          6.      Plaintiffs suffered several emotional, physical, and financial harms as a
28   result—all of which are a symptom of the current health crisis among American youth and,

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                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
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                                                  1-6108/03/22
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                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 93 Page
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                                                                                of
                                                                                of 79
                                                                                   76 #:241




 1   by natural and foreseeable extension, American families, caused by certain, harmful social

 2   media products such as the ones at issue in this case.

 3       B.     Meta Knows or Should Know of the Harm Its Products Cause

 4              7.       In late 2021, a Facebook whistleblower disclosed thousands of internal Meta

 5   documents to the United States Securities Exchange Commission (the “SEC”) and Congress.

 6   The Facebook Papers prove known dangerous designs and design defects as well as

 7   operational decisions and calculations, and a causal relationship between use of Meta’s

 8   various social media products in their current form and resulting addiction, anxiety,

 9   depression, eating disorders, exploitation and grooming, and what Meta internally refers to

10   as “SSI” (Suicide and Self Injury). Examples of the Facebook papers include and can be

11   found at the following locations, to name only some examples:

12              8.       The Wall Street Journal and Digital Wellbeing published several of the

13   Facebook Papers in November 2021,1 including but not limited to,

14                   a. Social Comparison: Topics, celebrities, Like counts, selfies [Jan 2021 internal
                        document reporting findings from a 9-country user survey (n=100,000) in
15                      Australia, Brazil, France, Germany, Great Britain, India, Japan, Korea, USA].
16                   b. Appearance-based Social Comparison on Instagram [Feb 2021 internal
                        document reporting finding from a 10-country user survey (n=50,590) across
17                      Australia, Brazil, France, Germany, Great Britain, India, Japan, Korea,
                        Mexico, USA].
18
19                   c. Mental Health Findings: Deep dive into the reach, intensity, Instagram
                        impact, self-reported usage and support of mental health issues [2019 internal
20                      document reporting findings from a 6-country user survey (n=22,410) across
                        Brazil, India, Indonesia, Japan, Turkey, USA].
21
                     d. Teen Girls Body Image and Social Comparison on Instagram – An
22                      Exploratory Study in the US [2020 internal document reporting findings from
                        a one-country (US) qualitative research study (n = 15 for focus groups) with
23                      young Instagram users (aged 13-21, supplemented by online diaries (n = 10)
                        and video interviews (n = 7)].
24
                     e. Teen Mental Health Deep Dive [2019 internal document reporting findings
25                      from a 2-country (UK and US) qualitative research study (n = 40 in-person
                        interviews, with follow-up video calls (n = 8) with young Instagram users
26                      (aged 13-17), supplemented by online survey (n = 2,503)].
27
28   1
         https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-a-single-page/

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                     COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
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                                                              07/20/22
                                                               Page 94 Page
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                                                                                of 79
                                                                                   76 #:242



                    f. Teens and Young Adults on Instagram and Facebook [2021 internal
 1                     document reporting findings from a five-country study (Australia, France,
                       Great Britain, Japan, USA) with user data].
 2
               9.      Gizmodo has been publishing the Facebook Papers, several at a time, also
 3
     starting in November 2021,2 including but not limited to,
 4
                    a. Why We Build Feeds
 5
                    b. Is Ranking Good
 6
                    c. Big Levers Ranking Experiment
 7
 8                  d. [LAUNCH] Civic Ranking: Engagement-Based Worth Your Time

 9                  e. MSI Metric Note Series

10                  f. The Meaningful Social Interactions Metric Revisited: Part 2

11                  g. The Meaningful Social Interactions Metric Revisited: Part 4

12                  h. The Meaningful Social Interactions Metric Revisited: Part 5

13                  i. Meaningful Social Interactions Useful Links
14                  j. MSI Documentation
15                  k. Evaluating MSI Metric Changes with a Comment-Level Survey
16                  l. Surveying The 2018 Relevance Ranking Holdout
17                  m. Overview of MSI + Pages and Survey Research
18                  n. Is Multi-Group Picker “Spammy?”
19                  o. Filtering Out Engagement-Bait, Bullying, and Excessive Comments From
20                     MSI Deltoid Metric

21                  p. [LAUNCH] Using p(anger) to Reduce the Impact Angry Reactions Have on
                       Ranking Levers
22
                    q. Planned MSI Metric Changes in 2020
23
                    r. MSI Metric Changes for 2020 H1
24
                    s. Should We Reduce the MSI Weight of Sticker Comments?
25
                    t. Max Reshare Depth Experiment
26
                    u. “Understand This Post’s Ranking” —How I Miss Thee!
27
28   2
         https://gizmodo.com/facebook-papers-how-to-read-1848702919

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                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
       Case: 1:22-cv-02968
              Case
              Case 3:22-cv-04209-SK
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                                                           07/20/22
                                                            Page 95 Page
                                                                    of
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                                                                             of 79
                                                                                76 #:243



                   v. Facebook and Responsibility
 1
                   w. The Surprising Consequences to Sessions and MSI Caused by Turning Off
 2                    Video Autoplay on News Feed
 3                 x. One-Go Summary Post for Recent Goaling and Goal Metric Changes for
                      News Feed
 4
                   y. News Feed UXR Quarterly Insights Roundup
 5
 6                 z. What Happens If We Delete Ranked Feed?

 7                 aa. News Feed Research: Looking Back on H2 2020

 8                 bb. Content from “Political” Pages in In-Feed Recommendations

 9                 cc. Political Content in In-Feed Recommendations (IFR)

10                 dd. In-Feed Recommendations HPM —April 15 2021

11           10.      These documents and articles referencing these documents are incorporated

12   by reference into this Complaint. The sole reason they are not attached is length and file size.

13   However, the contents of these documents and other Facebook Papers is material to

14   Plaintiffs’ claims.

15           11.      What the Facebook Papers also establish, is that Meta’s social media

16   products—including Facebook—are highly addictive and harmful to a significant population

17   of all users, including and especially teens; that certain design features that serve no

18   functional purpose (for example, “likes,” filters, and product designs that actively encourage

19   addiction) are harming users; and that algorithms and algorithm-driven product features are

20   dangerous and harmful by design and as designed.

21           12.      Despite knowledge of the dangerous and harmful characteristics of their

22   products, Meta has made and continue to make calculated cost-benefit business decisions

23   and is consistently prioritizing its already astronomical profits over human life.

24   C.      The Social Media Epidemic Among Children

25           13.      On December 7, 2021, the United States Surgeon General issued an advisory

26   cataloging a dramatic increase in teen mental health crises including suicides, attempted

27   suicides, eating disorders, anxiety, depression, self-harm, and inpatient admissions. Between

28   2007 and 2018, for example, suicide rates among youth ages 12 to 16 in the U.S. increased

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                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                          8-1 Filed:
                                                  1-6108/03/22
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                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 96 Page
                                                                       of
                                                                       Page
                                                                          37596PageID
                                                                                of
                                                                                of 79
                                                                                   76 #:244




 1   a staggering 146 percent. Several cities across the United States have been experiencing teen

 2   suicide rates in the range of 1 every year or other year, which is an absolute crisis for our

 3   country—the death by suicide of a child is something that should be an exception and not a

 4   rule. The incidence of serious depression and dissatisfaction with life in this age group has

 5   likewise increased dramatically, and there is no question that these harms relate in no small

 6   part to companies like Defendants.

 7              14.      The most significant and far-reaching change to the lives of young people in

 8   the last ten years has been the widespread adoption of social media platforms and

 9   prominently, for purposes of this lawsuit, the Facebook product, which is designed and

10   distributed by Meta.

11              15.      By 2014, 80 percent of high-school students said they used social media daily,

12   and 24 percent said that they were online “almost constantly.”

13              16.      In April of 2018, an estimated 47% of all American teens aged 13 to 14 used

14   Facebook and an estimated 54% of all American teens aged 15 to 17 used Facebook.3 This

15   equates to millions of at-risk teenage Facebook users in the United States alone.

16              17.      Teens make up a significant percentage of all social media users and, in the

17   United States, they represent Meta’s only significant opportunity for growth due to saturation

18   of the adult market. Meta sees them as a gateway for other potential users, that is, they use

19   U.S. teens to recruit parents and adult relatives as well as younger siblings – including pre-

20   teen siblings Meta is not permitted to provide accounts to but to whom Meta does provide

21   accounts, by simply refusing to verify age and identification on the front end and then by

22   turning a blind eye where possible and in the interest of profits. On information and belief,

23   U.S. teens also are the most lucrative for Meta when it comes to advertising revenue.

24       D.     Disparities Between Public Statements and Harm to Children

25              18.      Peer reviewed studies and available medical science have also identified a

26   particular type of social media and electronic device use associated with major mental health

27
28   3
         https://www.statista.com/statistics/419360/us-teen-facebook-users-age-reach/

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                      COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
       Case: 1:22-cv-02968
              Case
              Case Pending
                    3:22-cv-04209-SK
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                            No. 97 Document
                                     #:Document
                                        8-1 Filed:
                                               1-6108/03/22
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                                                           07/20/22
                                                            Page 97Page
                                                                    of
                                                                    Page
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                                                                           7PageID
                                                                             of
                                                                             of 76
                                                                                79 #:245




 1   injuries, including depression, self-harm, eating disorders, suicide attempts and ideation,

 2   dissatisfaction with life, depression, and sleep deprivation. Large observational studies and

 3   experimental results also point to heavy use of certain social media products as cause of

 4   increased depression, suicidal ideation, and sleep deprivation among teenagers, particularly

 5   teenage girls. Meta has spent years publicly denying these findings—while internally

 6   confirming them.

 7            19.     Specifically, Meta leadership has vehemently denied that its products are

 8   harmful or addictive. Meta has gone to great lengths to assure the world that its social media

 9   products are safe, and makes extensive safety-related representations in its Terms of Service

10   for Facebook (effective January 4, 2022),
          Combat harmful conduct and protect and support our community: People will only build
11    ¢

          community on Meta Products if they feel safe and secure. We work hard to maintain the
12        security (including the availability, authenticity, integrity, and confidentiality) of our Products
          and services. We employ dedicated teams around the world, work with external service
13        providers, partners and other relevant entities and develop advanced technical systems to
          detect potential misuse of our Products, harmful conduct towards others, and situations where
14        we may be able to help support or protect our community, including to respond to user reports
          of potentially violating content. If we learn of content or conduct like this, we may take
15        appropriate action based on our assessment that may include - notifying you, offering help,
          removing content, removing or restricting access to certain features, disabling an account, or
16        contacting law enforcement. We share data across Meta Companies when we detect misuse or
          harmful conduct by someone using one of our Products or to help keep Meta Products, users
17        and the community safe. For example, we share information with Meta Companies that provide
          financial products and services to help them promote safety, security and integrity and comply
18        with applicable law. Meta may access, preserve, use and share any information it collects about
          you where it has a good faith belief it is required or permitted by law to do so. For more
19        information, please review our Privacy Policy.

20
21   See Facebook Terms of Service, ¶ 1.
22            20.     Despite Meta’s representations that it is providing a “safe and secure”
23   platform and that it utilizes its technology to the utmost to keep its users safe, Meta’s own
24   internal research proves the opposite. The Facebook Papers include years’ worth of studies
25   and reports discussing the fact that Facebook is addictive and harmful, and that use of
26   Facebook can and does lead to serious mental health issues in a significant number of users,
27   including things like anxiety, depression, sleep deprivation, and what Meta refers to
28

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                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
         Case: 1:22-cv-02968
                Case
                Case Pending
                      3:22-cv-04209-SK
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                                                              Page 98Page
                                                                      of
                                                                      Page
                                                                         37511
                                                                             8PageID
                                                                               of
                                                                               of 76
                                                                                  79 #:246




 1   internally as “SSI” – which stands for Suicide and Self Injury.4

 2           21.      Meta has denied for years that its products are harmful or addictive while, in

 3   fact, its products are harmful and addictive, and Meta knows it. Meta knew the truth and

 4   chose to conceal it and to not disclose to the public or parents of young users, as Meta knew

 5   that such disclosure would prevent it from further growth and development of these products

 6   and product features.

 7           22.      Moreover, Meta’s Facebook social media product contains unique product

 8   features which are intended to and do encourage addiction, and unlawful content and use of

 9   said products, to the detriment of Meta’s minor users and their families. To name only one

10   example, at all times relevant, when a use tried to leave Facebook they would get a series of

11   messages intended to aggressively convince them to stay. This includes photos of loved ones

12   with captions letting the user know that they would no longer be able to keep in touch if they

13   chose to de-activate. In short, addicted users often try to deactivate their account as a means

14   of detoxing from Meta’s addictive social media product, in response to which Meta has

15   designed a product feature that dissuades those addicted users from detoxing. These

16   Facebook features and designs have nothing whatsoever to do with functionality of the

17   product, communication, or third-party content – they are aimed solely at keeping users

18   addicted to the product, no matter how harmful that addiction may be.

19           23.      Meta knows exactly the harms that its Facebook product has caused and is

20   still causing yet remains focused on maintaining and increasing user engagement which

21   translates into greater profits for Meta. On information and belief, there have been studies

22   dating back almost a decade on related topics, which studies are not known or, in some cases,

23   even made available to the general public; but Meta knew or should have known about these

24   studies as, often times, they related to the products being designed and developed by Meta

25   and Meta’s scientists and/or engineers.5

26
     4
       See https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-a-single-page/
27   (“‘SSI’ stands for suicide and self-injury.”)
     5
       See, e.g., Sept. 30, 2021, Senate Hearing Transcript, at 1:07:47 (reference to study published in National
28   Academy of Sciences “way back in 2014.”).

                                                          8
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
       Case: 1:22-cv-02968
              Case
              Case Pending
                    3:22-cv-04209-SK
                            Document
                            No. 97 Document
                                     #:Document
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                                               1-6108/03/22
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                                                           07/20/22
                                                            Page 99Page
                                                                    of
                                                                    Page
                                                                       37512
                                                                           9PageID
                                                                             of
                                                                             of 76
                                                                                79 #:247




 1          24.     Meta also knows that its recommendations and other product features, that is,

 2   features whereby Meta promotes and/or send content to users and otherwise tries to connect

 3   users who, in fact, are often complete strangers, result in disproportionate harms to

 4   vulnerable users including children and teens. Yet Meta continues to reap astronomical

 5   profits at the expense of these users.

 6          25.     For example, Meta has an algorithm that recommends “People You May

 7   Know” to users, which means that Meta suggests to users other users they may want to

 8   “friend” or “follow.” These recommendation systems serve the singular purpose of making

 9   more money for Meta in that they are meant to keep users engaged through connections,

10   which connections are suggested, prompted, and encouraged by Meta. But also, which

11   connections involve complete strangers and where Meta’s own recommendation system

12   frequently makes and perpetuates harmful recommendations, as they did in the case of

13   Brantley Aranda and millions of other teens.

14          26.     Likewise, Meta knows that its recommendation algorithms are responsible for

15   the exposure of young users to harmful groups – including and, as relevant for purposes of

16   this lawsuit, self-harm, eating disorder, even suicide-promoting groups which Meta, through

17   its algorithms, actively recommends to children and teens on a regular basis.

18          27.     Meta also knows that its Facebook product is contributing to teen depression,

19   anxiety, even suicide and self-harm. Why doesn’t it change these harmful product features

20   and stop utilizing algorithms in connection, at least, with teen accounts? Because Meta’s top

21   priority is growth and competition concerns, and Meta sees acquiring and retaining teens as

22   essential to its survival. Teenagers spend significantly more time on social media than adults

23   (both total time and user sessions—which are usage patterns linked to addiction), represent

24   Meta’s greatest (if not only) growth opportunity in the US, and can be used by Meta to recruit

25   older and younger family members and friends.

26          28.     Meta also believes that teens are the best way to capture household adults and

27   children. Pre-teens look to their older siblings in terms of which social media products to use

28   and how to use them, and often obtain guidance from them to open their first account, while

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                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
         Case: 1:22-cv-02968
                Case
                Case 3:22-cv-04209-SK
                      PendingDocument
                              No. 97 Document
                                      #:Document
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                                                 1-6108/03/22
                                                       Filed
                                                       Filed 08/01/22
                                                             07/20/22
                                                              Page 100Page
                                                                      Page
                                                                       of 375
                                                                            13
                                                                            10PageID
                                                                               of
                                                                               of 79
                                                                                  76 #:248




 1   parents and grandparents are influenced by teen household members and open accounts to

 2   participate in their child’s life.

 3             29.      Meta knew that its product was harming millions of its users, up to and

 4   including what Meta refers to as SSI (Suicide and Self-Injury). Yet Meta leadership chose

 5   repeatedly to ignore its own research and reject the recommendations of a small number of

 6   employees in favor of its own economic interests. In September of 2017, the New York

 7   Times published an article titled “Facebook’s Frankenstein Moment,”6 which discussed the

 8   fact that Facebook was enabling advertisers to target users with offensive terms. In that

 9   article, former Meta CEO, Sheryl Sandberg, was quoted as saying “We never intended or

10   anticipated this functionality being used this way – and that is on us.” Meta leadership lied

11   or, at best, made material omissions meant to lull Americans into trusting Meta so that it

12   could continue increasing its own growth and engagement with zero oversight and at the

13   anticipated expense of human life.

14             30.      Specifically, there were many ways in which Meta employees could have

15   anticipated, should have anticipated, and did anticipate harms that Meta’s social media

16   products – including and specifically Facebook – were causing. Meta leadership simply

17   chose to ignore employees tasked with safety (referred to internally by Meta as “integrity”)

18   and refused to make changes in the interest of its bottom line.

19             31.      Meta launched new products and designs without safety testing, despite

20   knowing that its products can cause harm.

21             32.      Meta launched new products and designs even when testing or analysis was

22   done and red flags were raised internally about potential harms to users.

23             33.      Meta refused to fix identified harms, even when those harms were likely to

24   cause suicide and self-injury in Meta’s youngest users – children and teens.

25             34.      Instead of addressing known harms and risks to users, Meta leadership has

26   taken to ridiculing and ostracizing conscientious employees who try to sound the alarm, as

27
28   6
         https://www.nytimes.com/2017/09/21/technology/facebook-frankenstein-sandberg-ads.html

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                     COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
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                           No. 97 Document
                                   #:Document
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                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 101Page
                                                                   Page
                                                                    of 375
                                                                         14
                                                                         11PageID
                                                                            of
                                                                            of 79
                                                                               76 #:249




 1   means of silencing potential opposition.

 2          35.     Meta anticipated the harms its products would cause, and moved forward with

 3   them anyway, resulting in the harms at issue in this complaint.

 4          36.     Meta also knows that constant comparison on social media is the reason’ why

 5   there are higher levels of anxiety and depression in young people. Harmful social comparison

 6   is the result of social media’s design and operation, not some third-party publisher. For

 7   example, addictive design elements that are intended to and do addict young users, i.e. push

 8   notifications, reward systems, continuous scroll feature, and the “like” button; harmful social

 9   comparison features that serve no informational purpose, i.e. filters and the “like” button;

10   and decisions Meta makes with regard to the types of advertisements and other content Meta

11   promotes and amplifies, and even which users it will direct that content towards in its goal

12   of increasing engagement at any cost. These are deliberate choices being made by Meta, and

13   Meta alone.

14          37.     The Facebook product includes multiple product features that cause harm to

15   teen users. For example, product features that enable users to like or love other user’s content

16   results in increased addiction and social comparison harms.

17          38.     Meta’s Direct Message feature also restrictions when it comes to teens and

18   children. Meta encourages children and teens to use its social media product, then its makes

19   those children and teens accessible to strangers (for example, by permitting public profiles

20   and/or viewing of content posted by these children and teens), then it provides predators with

21   a direct means of communication (Direct Messaging features).

22          39.     On information and belief, Meta is incredibly guarded when it comes to the

23   types of data it collects, to the point where it will not even disclose certain, critical

24   information to parents and/or police and other law enforcement upon request.

25          40.     Meta knows that teens are more vulnerable and suffer harms from use of its

26   social media products at higher rates than adult users. Meta also knows that teens access

27   social media longer and more often than adults. Advertisers are willing to pay a premium for

28   unfettered access to child and teens so Meta, in turn, works hard to make its social media

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                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
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                                              1-6108/03/22
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                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 102Page
                                                                   Page
                                                                    of 375
                                                                         15
                                                                         12PageID
                                                                            of
                                                                            of 79
                                                                               76 #:250




 1   products as appealing to teens as possible, even though they are harmful to teens.

 2   E.     Meta Focuses on Profits Over Safety

 3          41.     Meta knows the harmful impact its Facebook social media product has.

 4   Instead of warning users and/or re-designing its product to make it safer, however, Meta

 5   chooses enhancing profits over protecting human life.

 6          42.     The problematic use identified in medical literature is precisely the type of

 7   use Meta has designed its products to encourage through psychological manipulation

 8   techniques—sometimes referred to as persuasive design—that is well-recognized to cause

 9   all the hallmarks of clinical addiction.

10          43.     Meta slowly switched its News Feed (in its Facebook and Instagram products)

11   from maximizing time-spent to maximizing sessions, even though it knew that maximizing

12   sessions is harmful to its users. Meta also knows that its “like” button causes harmful social

13   comparison, and results in anxiety and depression in teens. Meta has repeatedly refused to

14   protect its users from harm for fear of offending other users, decreasing teen engagement,

15   and/or losing revenue from its advertisers as a result.

16          44.     Ultimately, Meta has control over its technology and product design and how

17   it is used and implemented. Meta can protect children, but in every case, Meta has chosen

18   instead to make its Facebook product more popular and more accessible – at the cost of the

19   health and wellbeing of their young users. In other words, Meta knows that its products are

20   harmful and dangerous, could make them less harmful and less dangerous, but opt instead

21   for attracting and retaining new users (valuing profits ahead of safety).

22          45.     In other words, Meta is perfectly capable of enforcing its own Terms of

23   Service, Community Standards, and other guidelines, with minimal cost. It can adjust

24   controls in a manner that would better protect its users, especially children and teens, from

25   certain, significant harms caused by Meta’s user setting options, recommendations, and other

26   algorithmic-driven product features. Yet, Meta repeatedly conducts its engagement-driven,

27   cost-benefit analysis and repeatedly chooses profit over human life. That is not a choice Meta

28   has the right to make.

                                                   12
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 103Page
                                                                   Page
                                                                    of 375
                                                                         16
                                                                         13PageID
                                                                            of
                                                                            of 79
                                                                               76 #:251




 1           46.     Meta leadership has structured its three main groups—integrity, growth, and

 2   engagement—in a manner that actively frustrates and prevents the integrity group from

 3   making meaningful changes for the protection of its users. More to the point, Meta leadership

 4   places no such barriers when it comes to growth and engagement. Instead, Meta develops

 5   and implements products and product features in a manner that deliberately fails to account

 6   for the safety of its users—including millions of children and teens in the US alone.

 7           47.     Upon information and belief, Meta senior leadership repeatedly refuses to

 8   take action on serious integrity issues unless it believes that it has no other choice—that is,

 9   Meta will not fix product defects (even where needed to save human lives) unless it its

10   convinced that the financial and public opinion cost of doing nothing will be greater than the

11   impact on its revenue of doing what is legally and ethically required.

12           48.     Nor does Meta intend to make the changes necessary to protect young users.

13   For example, after the Facebook Whistleblower came forward and the first products liability

14   lawsuits were filed, Meta began making small product changes, in an effort to mimize the

15   impact of the truth about the harmfulness of its products. But Meta’s new claims of

16   prioritizing user safety are as false as the prior ones.

17   F.      Overview of Claims

18           49.     Plaintiffs bring claims of strict liability based upon Meta’s defective design

19   of its Facebook social media product that renders such product not reasonably safe for

20   ordinary consumers or minor users. It is technologically feasible to design social media

21   products that substantially decrease both the incidence and magnitude of harm to ordinary

22   consumers and minors arising from their foreseeable use of Meta’s product with a negligible

23   increase in production cost.

24           50.     Meta has consistently and knowingly placed its own profit over the health and

25   welfare of its teen and child users, recognizing astronomical gains at their expense.

26           51.     Plaintiffs also bring claims for strict liability based on Meta’s failure to

27   provide adequate warnings to minor users and their parents of danger of mental, physical,

28   and emotional harms arising from foreseeable use of its Instagram social media product. The

                                                     13
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 104Page
                                                                   Page
                                                                    of 375
                                                                         17
                                                                         14PageID
                                                                            of
                                                                            of 79
                                                                               76 #:252




 1   addictive quality of Facebook and its harmful algorithms are unknown to minor users and

 2   their parents.

 3           52.      Plaintiffs also bring claims for common law negligence arising from Meta’s

 4   unreasonably dangerous Facebook social media product and its failure to warn of such

 5   dangers. Meta knew, or in the exercise or ordinary care should have known, that its social

 6   media product was harmful to a significant percentage of its minor users and failed to

 7   redesign its product to ameliorate these harms. Meta also failed to warn minor users and their

 8   parents of foreseeable dangers arising out of use of its Facebook product.

 9           53.      Meta’s own former and/or current developers often do not allow their own

10   children and teenagers to use the Facebook product. For many years, Meta has had actual

11   knowledge that its Facebook social media product is dangerous and harmful to children but

12   actively concealed these facts from the public and government regulators and failed to warn

13   parents about this known harm for continued economic gain.

14           54.      Plaintiffs bring claims for fraud and fraudulent concealment. Meta spent years

15   lying to Congress and the public about the nature of its products and harms they cause. Meta

16   made affirmative statements and material omissions of fact designed to lull potential users

17   into trusting that their social media products were safe, and that Meta was prioritizing user

18   safety over its own profits, and Plaintiffs reasonably relied on those affirmative statements

19   and material omissions of fact. Meta not only knew that its statements were false, but Meta

20   and its leadership actively concealed the truth by lying to the public and, further, by creating

21   a corporate culture of fear – conscientious Meta employees were made to believe that they

22   would be ruined and not believed, and that their actions would result in others not being able

23   to effectuate change from the inside if they revealed the truth. Meta knew that its products

24   were not safe and that children like Brantley Aranda would be harmed by their use. Had

25   Plaintiffs known the truth, they would never have allowed Brantley Aranda to use Meta’s

26   Facebook social media product.

27           55.      Plaintiffs’ claims do not arise from third party content, but rather, Defendants’

28   product features and designs, including but not limited to algorithms and other product

                                                     14
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 105Page
                                                                   Page
                                                                    of 375
                                                                         18
                                                                         15PageID
                                                                            of
                                                                            of 79
                                                                               76 #:253




 1   features that addict minor users, amplify and promote harmful social comparison,

 2   affirmatively select and promote harmful content to vulnerable users based on their

 3   individualized demographic data and social media activity, direct harmful content in great

 4   concentrations to vulnerable user groups, put minor users in contact with dangerous adult

 5   predators, enable and encourage minors to hide harmful content from their family and

 6   friends, encourage and facilitate exploitation and abuse of minors through marketing,

 7   recommendation and messaging features, and data policies involving the concealment and/or

 8   destruction of information necessary to the protection of minors, and otherwise prioritize

 9   engagement (and Defendants’ profits) over user safety.

10                                          II.        PARTIES

11           56.     Plaintiffs Blair and Gregorio Aranda are individuals residing in Jonesboro,

12   Louisiana, and Plaintiff Blair Aranda is in the process of being appointed the administrator

13   of the Estate of her son, Brantley Aranda, who died on September 4, 2019. Plaintiffs have

14   not entered into any User Agreements or other contractual relationship with Meta in

15   connection with Brantley Aranda’s use of its social media product. As such, in prosecuting

16   this action Plaintiffs are not bound by any arbitration, forum selection, choice of law, or class

17   action waiver set forth in said User Agreement(s). Additionally, as Personal Representative

18   of the Estate of Brantley Aranda, Plaintiff Blair Aranda expressly disaffirms all User

19   Agreements with Meta into which her son may have entered.

20           57.     Defendant Meta Platforms, Inc., formerly known as Facebook, Inc., is a

21   Delaware corporation with its principal place of business in Menlo Park, CA. Defendant

22   Meta Platforms owns and operates the Facebook and Instagram social media platforms,

23   application that are widely available to users throughout the United States.

24                              III.    JURISDICTION AND VENUE

25           58.     This Court has subject-matter jurisdiction over this case under 28 U.S.C. §

26   1332(a) because the amount in controversy exceeds $75,000, and Plaintiff and Defendants

27   are residents and citizens of different states.

28           59.      This Court has personal jurisdiction over Defendant Meta because it

                                                       15
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 106Page
                                                                   Page
                                                                    of 375
                                                                         19
                                                                         16PageID
                                                                            of
                                                                            of 79
                                                                               76 #:254




 1   is headquartered and has its principal place of business in the State of California. Venue is

 2   proper in this District under 28 U.S.C. § 1391(b)(1) because Defendant Meta’s principal

 3   places of business is in the Northern District of California.

 4                              IV.     DIVISIONAL ASSIGNMENT

 5          60.     The case is properly assigned to the San Francisco Division pursuant to Civ.

 6   L. R. 3-2(c)–(d) because a substantial part of the events or omissions giving rise to

 7   Plaintiff’s claims occurred in San Mateo County, where Defendant Meta Platforms, Inc.

 8   maintains its primary place of business.

 9                               V.      FACTUAL ALLEGATIONS

10      A. Facebook Background and Products

11          61.     Facebook is an American online social network service that is part of the Meta

12   Platforms. Facebook was founded in 2004, at which time, Facebook was nothing like the

13   product it is today. In fact, when Facebook was first founded, only students at certain colleges

14   and universities could use the social media product – and verification of college enrollment

15   was required to access the social media product. This verification mechanism was a product

16   feature having nothing to do with communication or operation of the Facebook social media

17   product; and further, if that verification mechanism had been kept in place, Brantley Aranda

18   would not have become addicted to the Facebook social media product, which addiction and

19   related harms ultimately lead to his death.

20          62.     In 2005, Facebook expanded and became accessible to students at twenty-one

21   universities in the United Kingdom and others around the world. Meta launched a high school

22   version of its Facebook product, which Meta CEO and majority shareholder, Mark

23   Zuckerberg referred to as the next logical step. Even then, however, high school networks

24   required an invitation to join.

25          63.     Facebook later expanded eligibility to employees of several companies,

26   including Apple Inc. and Microsoft. On December 11, 2005, Facebook added universities in

27   Australia and New Zealand to its network and, in September 2006, Facebook opened itself

28   up to everyone. At the time, Facebook claimed that it was open only to persons aged 13 and

                                                    16
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 107Page
                                                                   Page
                                                                    of 375
                                                                         20
                                                                         17PageID
                                                                            of
                                                                            of 79
                                                                               76 #:255




 1   older and with a valid email address, however, on information and belief, Facebook made

 2   the decision to no longer require verification of age and/or identity and did not actually verify

 3   user email address, such that underage users could literally enter nonsense email addresses

 4   and would be provided by Meta with access to a Facebook account.

 5          64.      Meta’s history proves that Meta knows how to implement product features

 6   meant to restrict access to persons above a certain age or even employed in certain industries

 7   and at certain companies. Meta’s initial audience was limited to college students and older,

 8   but in 2006, Meta made the deliberate, business decision to instead begin distributing its

 9   product to everyone in the world with wi-fi access, regardless of the consequences.

10          65.      Facebook then underwent a series of significant product changes, aimed at

11   increasing user engagement and product growth, but again, without regard to user safety. To

12   name only some examples,

13                a. In February 2009, Facebook launches the “like” button.
14                b. In August and October of 2011, Facebook launches Facebook Messenger.
15                c. In September 2011, Facebook increases the character limit for status updates
                     from 500 to 5,000 (and later to 63,206) and starts allowing people to subscribe
16                   to non-friends.
17                d. In January 2012, Facebook starts showing advertisements in its news feed,
18                   called Feature Posts at the time.

19                e. In June 2012, Facebook launches Facebook Exchange (FBX), a real-time
                     bidding ad system where advertisers can bid on users based on third-party
20                   websites visited by the users (as tracked by a cookie on the third-party
                     website).
21
                  f. In June 2013, Facebook launches Stickers.
22
                  g. In March 2014, Facebook’s facial recognition algorithm (DeepFace) reaches
23                   near-human accuracy in identifying faces.
24                h. In April 2014, Facebook launches anonymous login so people can use its
                     product without giving Facebook their data.
25
                  i. In March 2015, makes clear that it wants to be an integrated bunch of apps,
26                   each fulfilling a somewhat different role. At the time, the company’s leading
                     applications include Facebook (its main app), Messenger, and externally built
27                   and acquired apps like Instagram and WhatsApp. Facebook announces
                     changes to Facebook Messenger to make it more of a platform, things like a
28                   new real-time comments system, embeddable videos, and spherical video.
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                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 108Page
                                                                   Page
                                                                    of 375
                                                                         21
                                                                         18PageID
                                                                            of
                                                                            of 79
                                                                               76 #:256



                  j. In June and July 2015, Facebook makes changes to its news feed algorithm,
 1                   including use of information on how long people hover on a particular item
                     to gauge levels of interest, in addition to activities it was already using (i.e.
 2                   likes, comments, shares) as part of its algorithm and to determine what
                     content to show Facebook users.
 3
                  k. In August 2015, Facebook launches its live-streaming product.
 4
                  l. In April 2016, Facebook launched more tools for Facebook apps and
 5                   Facebook Live; in addition, it is now considering the time that a person spends
 6                   reading content off Facebook as part of its news feed algorithm process.

 7                m. In November 2016, Facebook launches games for its social media product, so
                     users can play without having to install new apps.
 8
                  n. In November 2017, Facebook launches Facebook Creator, which is an app
 9                   for mobile video posts that helps with content creation.

10                o. In November 2007, Facebook launches Facebook Beacon, which is part of
                     Facebook’s advertisement system that sends data from external websites to
11                   Facebook for the purpose of allowing targeted advertisements and allowing
                     users to share their activities with friends.
12
            66.       Throughout these product changes, re-designs, and launches, Facebook
13
     founder and CEO, Mark Zuckerberg, made public statements assuring the world that safety
14
     was Meta’s (then Facebook) top priority. For example, in February of 2017, he made a post
15
     on his personal Facebook titled “Building Global Community,” in which he talked at length
16
     about how Meta is focused on safety, how it intends to use its AI to the fullest to keep users
17
     safe, and how amazing Facebook is for bringing communities together, promoting critically
18
     important social groups, and other statements that we now know to be untrue, and profoundly
19
     dangerous, given what was actually happening at Facebook and what Mr. Zuckerberg knew
20
     about the harms his products were causing American youth. He wrote,
21
            To our community,
22
23          On our journey to connect the world, we often discuss products we're
            building and updates on our business. Today I want to focus on the most
24          important question of all: are we building the world we all want?
25          History is the story of how we’ve learned to come together in ever greater
26          numbers -- from tribes to cities to nations. At each step, we built social
            infrastructure like communities, media and governments to empower us to
27          achieve things we couldn’t on our own.
28

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                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 109Page
                                                                  Page
                                                                   of 375
                                                                        22
                                                                        19PageID
                                                                           of
                                                                           of 79
                                                                              76 #:257




          Today we are close to taking our next step. Our greatest opportunities are
 1        now global -- like spreading prosperity and freedom, promoting peace and
 2        understanding, lifting people out of poverty, and accelerating science. Our
          greatest challenges also need global responses -- like ending terrorism,
 3        fighting climate change, and preventing pandemics. Progress now requires
          humanity coming together not just as cities or nations, but also as a global
 4        community.
 5
          This is especially important right now. Facebook stands for bringing us
 6        closer together and building a global community. When we began, this idea
          was not controversial. Every year, the world got more connected and this
 7        was seen as a positive trend. Yet now, across the world there are people left
 8        behind by globalization, and movements for withdrawing from global
          connection. There are questions about whether we can make a global
 9        community that works for everyone, and whether the path ahead is to
          connect more or reverse course.
10
11        This is a time when many of us around the world are reflecting on how we
          can have the most positive impact. I am reminded of my favorite saying
12        about technology: “We always overestimate what we can do in two years,
          and we underestimate what we can do in ten years.” We may not have the
13        power to create the world we want immediately, but we can all start working
14        on the long term today. In times like these, the most important thing we at
          Facebook can do is develop the social infrastructure to give people the
15        power to build a global community that works for all of us.
16        For the past decade, Facebook has focused on connecting friends and
17        families. With that foundation, our next focus will be developing the
          social infrastructure for community -- for supporting us, for keeping us
18        safe, for informing us, for civic engagement, and for inclusion of all.
19        Bringing us all together as a global community is a project bigger than any
20        one organization or company, but Facebook can help contribute to
          answering these five important questions:
21
          - How do we help people build supportive communities that strengthen
22        traditional institutions in a world where membership in these institutions is
23        declining?

24        - How do we help people build a safe community that prevents harm,
          helps during crises and rebuilds afterwards in a world where anyone across
25        the world can affect us?
26
          - How do we help people build an informed community that exposes us to
27        new ideas and builds common understanding in a world where every person
          has a voice?
28

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              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 110Page
                                                                  Page
                                                                   of 375
                                                                        23
                                                                        20PageID
                                                                           of
                                                                           of 79
                                                                              76 #:258




 1        - How do we help people build a civically-engaged community in a world
 2        where participation in voting sometimes includes less than half our
          population?
 3
          - How do we help people build an inclusive community that reflects our
 4        collective values and common humanity from local to global levels,
 5        spanning cultures, nations and regions in a world with few examples of
          global communities?
 6
          My hope is that more of us will commit our energy to building the long term
 7        social infrastructure to bring humanity together. The answers to these
 8        questions won't all come from Facebook, but I believe we can play a role.

 9        Our job at Facebook is to help people make the greatest positive impact
          while mitigating areas where technology and social media can
10        contribute to divisiveness and isolation. Facebook is a work in progress,
11        and we are dedicated to learning and improving. We take our
          responsibility seriously, and today I want to talk about how we plan to
12        do our part to build this global community.
13        Supportive Communities
14
          Building a global community that works for everyone starts with the
15        millions of smaller communities and intimate social structures we turn to
          for our personal, emotional and spiritual needs.
16
17        Whether they’re churches, sports teams, unions or other local groups, they
          all share important roles as social infrastructure for our communities. They
18        provide all of us with a sense of purpose and hope; moral validation that we
          are needed and part of something bigger than ourselves; comfort that we are
19        not alone and a community is looking out for us; mentorship, guidance and
20        personal development; a safety net; values, cultural norms and
          accountability; social gatherings, rituals and a way to meet new people; and
21        a way to pass time.
22        In our society, we have personal relationships with friends and family, and
23        then we have institutional relationships with the governments that set the
          rules. A healthy society also has many layers of communities between us
24        and government that take care of our needs. When we refer to our “social
          fabric”, we usually mean the many mediating groups that bring us together
25        and reinforce our values.
26
          However, there has been a striking decline in the important social
27        infrastructure of local communities over the past few decades. Since the
28

                                               20
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 111Page
                                                                  Page
                                                                   of 375
                                                                        24
                                                                        21PageID
                                                                           of
                                                                           of 79
                                                                              76 #:259




          1970s, membership in some local groups has declined by as much as one-
 1        quarter, cutting across all segments of the population.
 2
          The decline raises deeper questions alongside surveys showing large
 3        percentages of our population lack a sense of hope for the future. It is
          possible many of our challenges are at least as much social as they are
 4        economic -- related to a lack of community and connection to something
 5        greater than ourselves. As one pastor told me: “People feel unsettled. A lot
          of what was settling in the past doesn't exist anymore.”
 6
          Online communities are a bright spot, and we can strengthen existing
 7        physical communities by helping people come together online as well as
 8        offline. In the same way connecting with friends online strengthens real
          relationships, developing this infrastructure will strengthen these
 9        communities, as well as enable completely new ones to form.
10        A woman named Christina was diagnosed with a rare disorder called
11        Epidermolysis Bullosa -- and now she’s a member of a group that connects
          2,400 people around the world so none of them have to suffer alone. A man
12        named Matt was raising his two sons by himself and he started the Black
          Fathers group to help men share advice and encouragement as they raise
13        their families. In San Diego, more than 4,000 military family members are
14        part of a group that helps them make friends with other spouses. These
          communities don't just interact online. They hold get-togethers, organize
15        dinners, and support each other in their daily lives.
16        We recently found that more than 100 million people on Facebook are
17        members of what we call “very meaningful” groups. These are groups that
          upon joining, quickly become the most important part of our social network
18        experience and an important part of our physical support structure. For
          example, many new parents tell us that joining a parenting group after
19        having a child fits this purpose.
20
          There is a real opportunity to connect more of us with groups that will
21        be meaningful social infrastructure in our lives. More than one billion
          people are active members of Facebook groups, but most don’t seek out
22        groups on their own -- friends send invites or Facebook suggests them.
23        If we can improve our suggestions and help connect one billion people with
          meaningful communities, that can strengthen our social fabric.
24
          Going forward, we will measure Facebook’s progress with groups based on
25        meaningful groups, not groups overall. This will require not only helping
26        people connect with existing meaningful groups, but also enabling
          community leaders to create more meaningful groups for people to
27        connect with.
28

                                               21
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 112Page
                                                                  Page
                                                                   of 375
                                                                        25
                                                                        22PageID
                                                                           of
                                                                           of 79
                                                                              76 #:260




          The most successful physical communities have engaged leaders, and we've
 1        seen the same with online groups as well. In Berlin, a man named Monis
 2        Bukhari runs a group where he personally helps refugees find homes and
          jobs. Today, Facebook's tools for group admins are relatively simple. We
 3        plan to build more tools to empower community leaders like Monis to run
          and grow their groups the way they'd like, similar to what we've done with
 4        Pages.
 5
          Most communities are made of many sub-communities, and this is another
 6        clear area for developing new tools. A school, for example, is not a single
          community, but many smaller groups among its classes, dorms and student
 7        groups. Just as the social fabric of society is made up of many communities,
 8        each community is made of many groups of personal connections. We plan
          to expand groups to support sub-communities.
 9
          We can look at many activities through the lens of building community.
10        Watching video of our favorite sports team or TV show, reading our favorite
11        newspaper, or playing our favorite game are not just entertainment or
          information but a shared experience and opportunity to bring together
12        people who care about the same things. We can design these experiences
          not for passive consumption but for strengthening social connections.
13
14        Our goal is to strengthen existing communities by helping us come together
          online as well as offline, as well as enabling us to form completely new
15        communities, transcending physical location. When we do this, beyond
          connecting online, we reinforce our physical communities by bringing us
16        together in person to support each other.
17
          A healthy society needs these communities to support our personal,
18        emotional and spiritual needs. In a world where this physical social
          infrastructure has been declining, we have a real opportunity to help
19        strengthen these communities and the social fabric of our society.
20
          Safe Community
21
          As we build a global community, this is a moment of truth. Our success isn't
22        just based on whether we can capture videos and share them with friends.
23        It’s about whether we’re building a community that helps keep us safe
          -- that prevents harm, helps during crises, and rebuilds afterwards.
24
          Today’s threats are increasingly global, but the infrastructure to protect us
25        is not. Problems like terrorism, natural disasters, disease, refugee crises, and
26        climate change need coordinated responses from a worldwide vantage
          point. No nation can solve them alone. A virus in one nation can quickly
27        spread to others. A conflict in one country can create a refugee crisis across
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                                                 22
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 113Page
                                                                  Page
                                                                   of 375
                                                                        26
                                                                        23PageID
                                                                           of
                                                                           of 79
                                                                              76 #:261




          continents. Pollution in one place can affect the environment around the
 1        world. Humanity's current systems are insufficient to address these issues.
 2
          Many dedicated people join global non-profit organizations to help, but the
 3        market often fails to fund or incentivize building the necessary
          infrastructure. I have long expected more organizations and startups to build
 4        health and safety tools using technology, and I have been surprised by how
 5        little of what must be built has even been attempted. There is a real
          opportunity to build global safety infrastructure, and I have directed
 6        Facebook to invest more and more resources into serving this need.
 7        For some of these problems, the Facebook community is in a unique
 8        position to help prevent harm, assist during a crisis, or come together to
          rebuild afterwards. This is because of the amount of communication across
 9        our network, our ability to quickly reach people worldwide in an
          emergency, and the vast scale of people’s intrinsic goodness aggregated
10        across our community.
11
          To prevent harm, we can build social infrastructure to help our
12        community identify problems before they happen. When someone is
          thinking of committing suicide or hurting themselves, we’ve built
13        infrastructure to give their friends and community tools that could save
14        their life. When a child goes missing, we’ve built infrastructure to show
          Amber Alerts -- and multiple children have been rescued without harm. And
15        we've built infrastructure to work with public safety organizations around
          the world when we become aware of these issues. Going forward, there
16        are even more cases where our community should be able to identify
17        risks related to mental health, disease or crime.

18        To help during a crisis, we’ve built infrastructure like Safety Check so we
          can all let our friends know we’re safe and check on friends who might be
19        affected by an attack or natural disaster. Safety Check has been activated
20        almost 500 times in two years and has already notified people that their
          families and friends are safe more than a billion times. When there is a
21        disaster, governments often call us to make sure Safety Check has been
          activated in their countries. But there is more to build. We recently added
22        tools to find and offer shelter, food and other resources during emergencies.
23        Over time, our community should be able to help during wars and ongoing
          issues that are not limited to a single event.
24
          To rebuild after a crisis, we've built the world's largest social infrastructure
25        for collective action. A few years ago, after an earthquake in Nepal, the
26        Facebook community raised $15 million to help people recover and rebuild
          -- which was the largest crowdfunded relief effort in history. We saw a
27        similar effort after the shooting at the Pulse nightclub in Orlando when
          people across the country organized blood donations to help victims they
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                                                 23
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 114Page
                                                                  Page
                                                                   of 375
                                                                        27
                                                                        24PageID
                                                                           of
                                                                           of 79
                                                                              76 #:262




          had never met. Similarly, we built tools so millions of people could commit
 1        to becoming organ donors to save others after accidents, and registries
 2        reported larger boosts in sign ups than ever before. Looking ahead, one of
          our greatest opportunities to keep people safe is building artificial
 3        intelligence to understand more quickly and accurately what is
          happening across our community.
 4
 5        There are billions of posts, comments and messages across our services each
          day, and since it’s impossible to review all of them, we review content once
 6        it is reported to us. There have been terribly tragic events -- like suicides,
          some live streamed -- that perhaps could have been prevented if
 7        someone had realized what was happening and reported them sooner.
 8        There are cases of bullying and harassment every day, that our team
          must be alerted to before we can help out. These stories show we must
 9        find a way to do more. Artificial intelligence can help provide a better
          approach. We are researching systems that can look at photos and
10        videos to flag content our team should review. This is still very early in
11        development, but we have started to have it look at some content, and it
          already generates about one-third of all reports to the team that reviews
12        content for our community.
13        It will take many years to fully develop these systems. Right now, we're
14        starting to explore ways to use AI to tell the difference between news stories
          about terrorism and actual terrorist propaganda so we can quickly remove
15        anyone trying to use our services to recruit for a terrorist organization. This
          is technically difficult as it requires building AI that can read and understand
16        news, but we need to work on this to help fight terrorism worldwide. As
17        we discuss keeping our community safe, it is important to emphasize that
          part of keeping people safe is protecting individual security and liberty. We
18        are strong advocates of encryption and have built it into the largest
          messaging platforms in the world -- WhatsApp and Messenger. Keeping
19        our community safe does not require compromising privacy. Since building
20        end-to-end encryption into WhatsApp, we have reduced spam and
          malicious content by more than 75%.
21
          The path forward is to recognize that a global community needs social
22        infrastructure to keep us safe from threats around the world, and that our
23        community is uniquely positioned to prevent disasters, help during crises,
          and rebuild afterwards. Keeping the global community safe is an
24        important part of our mission -- and an important part of how we’ll
          measure our progress going forward.
25
26        Informed Community

27        The purpose of any community is to bring people together to do things we
          couldn't do on our own. To do this, we need ways to share new ideas and
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              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 115Page
                                                                  Page
                                                                   of 375
                                                                        28
                                                                        25PageID
                                                                           of
                                                                           of 79
                                                                              76 #:263




          share enough common understanding to actually work together. Giving
 1        everyone a voice has historically been a very positive force for public
 2        discourse because it increases the diversity of ideas shared. But the past year
          has also shown it may fragment our shared sense of reality. It is our
 3        responsibility to amplify the good effects and mitigate the bad -- to continue
          increasing diversity while strengthening our common understanding so our
 4        community can create the greatest positive impact on the world.
 5
          The two most discussed concerns this past year were about diversity of
 6        viewpoints we see (filter bubbles) and accuracy of information (fake news).
          I worry about these and we have studied them extensively, but I also worry
 7        there are even more powerful effects we must mitigate around
 8        sensationalism and polarization leading to a loss of common understanding.

 9        Social media already provides more diverse viewpoints than traditional
          media ever has. Even if most of our friends are like us, we all know people
10        with different interests, beliefs and backgrounds who expose us to different
11        perspectives. Compared with getting our news from the same two or
          three TV networks or reading the same newspapers with their
12        consistent editorial views, our networks on Facebook show us more
          diverse content.
13
14        But our goal must be to help people see a more complete picture, not just
          alternate perspectives. We must be careful how we do this. Research shows
15        that some of the most obvious ideas, like showing people an article from the
          opposite perspective, actually deepen polarization by framing other
16        perspectives as foreign. A more effective approach is to show a range of
17        perspectives, let people see where their views are on a spectrum and come
          to a conclusion on what they think is right. Over time, our community will
18        identify which sources provide a complete range of perspectives so that
          content will naturally surface more.
19
20        Accuracy of information is very important. We know there is
          misinformation and even outright hoax content on Facebook, and we take
21        this very seriously. We've made progress fighting hoaxes the way we fight
          spam, but we have more work to do. We are proceeding carefully because
22        there is not always a clear line between hoaxes, satire and opinion. In a free
23        society, it's important that people have the power to share their opinion,
          even if others think they’re wrong. Our approach will focus less on banning
24        misinformation, and more on surfacing additional perspectives and
          information, including that fact checkers dispute an item’s accuracy.
25
26        While we have more work to do on information diversity and
          misinformation, I am even more focused on the impact of sensationalism
27        and polarization, and the idea of building common understanding. Social
          media is a short-form medium where resonant messages get amplified
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                                                 25
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 116Page
                                                                  Page
                                                                   of 375
                                                                        29
                                                                        26PageID
                                                                           of
                                                                           of 79
                                                                              76 #:264




          many times. This rewards simplicity and discourages nuance. At its best,
 1        this focuses messages and exposes people to different ideas. At its worst, it
 2        oversimplifies important topics and pushes us towards extremes.

 3        Polarization exists in all areas of discourse, not just social media. It occurs
          in all groups and communities, including companies, classrooms and juries,
 4        and it’s usually unrelated to politics. In the tech community, for example,
 5        discussion around AI has been oversimplified to existential fear-
          mongering. The harm is that sensationalism moves people away from
 6        balanced nuanced opinions towards polarized extremes.
 7        If this continues and we lose common understanding, then even if we
 8        eliminated all misinformation, people would just emphasize different sets
          of facts to fit their polarized opinions. That’s why I’m so worried about
 9        sensationalism in media.
10        Fortunately, there are clear steps we can take to correct these effects. For
11        example, we noticed some people share stories based on sensational
          headlines without ever reading the story. In general, if you become less
12        likely to share a story after reading it, that’s a good sign the headline was
          sensational. If you’re more likely to share a story after reading it, that’s often
13        a sign of good in-depth content. We recently started reducing
14        sensationalism in News Feed by taking this into account for pieces of
          content, and going forward signals like this will identify sensational
15        publishers as well. There are many steps like this we have taken and will
          keep taking to reduce sensationalism and help build a more informed
16        community.
17
          Research suggests the best solutions for improving discourse may come
18        from getting to know each other as whole people instead of just opinions --
          something Facebook may be uniquely suited to do. If we connect with
19        people about what we have in common -- sports teams, TV shows, interests
20        -- it is easier to have dialogue about what we disagree on. When we do this
          well, we give billions of people the ability to share new perspectives while
21        mitigating the unwanted effects that come with any new medium.
22        A strong news industry is also critical to building an informed community.
23        Giving people a voice is not enough without having people dedicated to
          uncovering new information and analyzing it. There is more we must do to
24        support the news industry to make sure this vital social function is
          sustainable -- from growing local news, to developing formats best suited
25        to mobile devices, to improving the range of business models news
26        organizations rely on.

27        Connecting everyone to the internet is also necessary for building an
          informed community. For the majority of people around the world, the
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              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 117Page
                                                                  Page
                                                                   of 375
                                                                        30
                                                                        27PageID
                                                                           of
                                                                           of 79
                                                                              76 #:265




          debate is not about the quality of public discourse but whether they have
 1        access to basic information they need at all, often related to health,
 2        education and jobs.

 3        Finally, I want to emphasize that the vast majority of conversations on
          Facebook are social, not ideological. They’re friends sharing jokes and
 4        families staying in touch across cities. They’re people finding groups,
 5        whether they’re new parents raising kids or newly diagnosed patients
          suffering from a disease together. Sometimes it’s for joy, coming
 6        together around religion or sports. And sometimes it’s for survival, like
          refugees communicating to find shelter.
 7
 8        Whatever your situation when you enter our community, our commitment
          is to continue improving our tools to give you the power to share your
 9        experience. By increasing the diversity of our ideas and strengthening our
          common understanding, our community can have the greatest positive
10        impact on the world.
11
          Civically-Engaged Community
12
          Our society will reflect our collective values only if we engage in the civic
13        process and participate in self-governance. There are two distinct types of
14        social infrastructure that must be built:

15        The first encourages engagement in existing political processes: voting,
          engaging with issues and representatives, speaking out, and sometimes
16        organizing. Only through dramatically greater engagement can we ensure
17        these political processes reflect our values.

18        The second is establishing a new process for citizens worldwide to
          participate in collective decision-making. Our world is more connected than
19        ever, and we face global problems that span national boundaries. As the
20        largest global community, Facebook can explore examples of how
          community governance might work at scale.
21
          The starting point for civic engagement in the existing political process is
22        to support voting across the world. It is striking that only about half of
23        Americans eligible to vote participate in elections. This is low compared to
          other countries, but democracy is receding in many countries and there is a
24        large opportunity across the world to encourage civic participation.
25        In the United States election last year, we helped more than 2 million people
26        register to vote and then go vote. This was among the largest voter turnout
          efforts in history, and larger than those of both major parties combined. In
27        every election around the world, we keep improving our tools to help more
          people register and vote, and we hope to eventually enable hundreds of
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                                                27
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 118Page
                                                                  Page
                                                                   of 375
                                                                        31
                                                                        28PageID
                                                                           of
                                                                           of 79
                                                                              76 #:266




          millions of more people to vote in elections than do today, in every
 1        democratic country around the world.
 2
          Local civic engagement is a big opportunity as well as national. Today, most
 3        of us do not even know who our local representatives are, but many policies
          impacting our lives are local, and this is where our participation has the
 4        greatest influence. Research suggests reading local news is directly
 5        correlated with local civic engagement. This shows how building an
          informed community, supportive local communities, and a civically-
 6        engaged community are all related.
 7        Beyond voting, the greatest opportunity is helping people stay engaged with
 8        the issues that matter to them every day, not just every few years at the ballot
          box. We can help establish direct dialogue and accountability between
 9        people and our elected leaders. In India, Prime Minister Modi has asked his
          ministers to share their meetings and information on Facebook so they can
10        hear direct feedback from citizens. In Kenya, whole villages are in
11        WhatsApp groups together, including their representatives. In recent
          campaigns around the world -- from India and Indonesia across Europe to
12        the United States -- we've seen the candidate with the largest and most
          engaged following on Facebook usually wins. Just as TV became the
13        primary medium for civic communication in the 1960s, social media is
14        becoming this in the 21st century.

15        This creates an opportunity for us to connect with our representatives at all
          levels. In the last few months, we have already helped our community
16        double the number of connections between people and our representatives
17        by making it easier to connect with all our representatives in one click.
          When we connect, we can engage directly in comments and messages. For
18        example, in Iceland, it's common to tag politicians in group discussions so
          they can take community issues to parliament.
19
20        Sometimes people must speak out and demonstrate for what they believe is
          right. From Tahrir Square to the Tea Party -- our community organizes these
21        demonstrations using our infrastructure for events and groups. On a daily
          basis, people use their voices to share their views in ways that can spread
22        around the world and grow into movements. The Women's March is an
23        example of this, where a grandmother with an internet connection wrote a
          post that led her friends to start a Facebook event that eventually turned into
24        millions of people marching in cities around the world.
25        Giving people a voice is a principle our community has been committed to
26        since we began. As we look ahead to building the social infrastructure for a
          global community, we will work on building new tools that encourage
27        thoughtful civic engagement. Empowering us to use our voices will only
          become more important.
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                                                 28
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 119Page
                                                                  Page
                                                                   of 375
                                                                        32
                                                                        29PageID
                                                                           of
                                                                           of 79
                                                                              76 #:267




 1        Inclusive Community
 2
          Building an inclusive global community requires establishing a new process
 3        for citizens worldwide to participate in community governance. I hope that
          we can explore examples of how collective decision-making might work at
 4        scale.
 5
          Facebook is not just technology or media, but a community of people.
 6        That means we need Community Standards that reflect our collective values
          for what should and should not be allowed. In the last year, the complexity
 7        of the issues we’ve seen has outstripped our existing processes for
 8        governing the community. We saw this in errors taking down newsworthy
          videos related to Black Lives Matter and police violence, and in removing
 9        the historical Terror of War photo from Vietnam. We’ve seen this in
          misclassifying hate speech in political debates in both directions -- taking
10        down accounts and content that should be left up and leaving up content
11        that was hateful and should be taken down. Both the number of issues and
          their cultural importance has increased recently.
12
          This has been painful for me because I often agree with those criticizing us
13        that we’re making mistakes. These mistakes are almost never because we
14        hold ideological positions at odds with the community, but instead are
          operational scaling issues. Our guiding philosophy for the Community
15        Standards is to try to reflect the cultural norms of our community. When in
          doubt, we always favor giving people the power to share more.
16
17        There are a few reasons for the increase in issues we’ve seen: cultural norms
          are shifting, cultures are different around the world, and people are sensitive
18        to different things.
19        First, our community is evolving from its origin connecting us with
20        family and friends to now becoming a source of news and public
          discourse as well. With this cultural shift, our Community Standards must
21        adapt to permit more newsworthy and historical content, even if some is
          objectionable. For example, an extremely violent video of someone dying
22        would have been marked as disturbing and taken down. However, now that
23        we use Live to capture the news and we post videos to protest violence, our
          standards must adapt. Similarly, a photo depicting any child nudity
24        would have always been taken down -- and for good reason -- but we’ve
          now adapted our standards to allow historically important content like
25        the Terror of War photo. These issues reflect a need to update our
26        standards to meet evolving expectations from our community.

27        Second, our community spans many countries and cultures, and the norms
          are different in each region. It’s not surprising that Europeans more
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                                                 29
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 120Page
                                                                  Page
                                                                   of 375
                                                                        33
                                                                        30PageID
                                                                           of
                                                                           of 79
                                                                              76 #:268




          frequently find fault with taking down images depicting nudity, since some
 1        European cultures are more accepting of nudity than, for example, many
 2        communities in the Middle East or Asia. With a community of almost two
          billion people, it is less feasible to have a single set of standards to govern
 3        the entire community so we need to evolve towards a system of more local
          governance.
 4
 5        Third, even within a given culture, we have different opinions on what we
          want to see and what is objectionable. I may be okay with more politically
 6        charged speech but not want to see anything sexually suggestive, while you
          may be okay with nudity but not want to see offensive speech. Similarly,
 7        you may want to share a violent video in a protest without worrying that
 8        you’re going to bother friends who don’t want to see it. And just as it's a
          bad experience to see objectionable content, it's also a terrible experience to
 9        be told we can't share something we feel is important. This suggests we need
          to evolve towards a system of personal control over our experience.
10
11        Fourth, we’re operating at such a large scale that even a small percent
          of errors causes a large number of bad experiences. We review over one
12        hundred million pieces of content every month, and even if our reviewers
          get 99% of the calls right, that’s still millions of errors over time. Any
13        system will always have some mistakes, but I believe we can do better
14        than we are today.

15        I’ve spent a lot of time over the past year reflecting on how we can
          improve our community governance. Sitting here in California, we’re not
16        best positioned to identify the cultural norms around the world. Instead, we
17        need a system where we can all contribute to setting the standards. Although
          this system is not fully developed, I want to share an idea of how this might
18        work.
19        The guiding principles are that the Community Standards should reflect the
20        cultural norms of our community, that each person should see as little
          objectionable content as possible, and each person should be able to share
21        what they want while being told they cannot share something as little as
          possible. The approach is to combine creating a large-scale democratic
22        process to determine standards with AI to help enforce them.
23
          The idea is to give everyone in the community options for how they would
24        like to set the content policy for themselves. Where is your line on nudity?
          On violence? On graphic content? On profanity? What you decide will be
25        your personal settings. We will periodically ask you these questions to
26        increase participation and so you don’t need to dig around to find them. For
          those who don’t make a decision, the default will be whatever the majority
27        of people in your region selected, like a referendum. Of course you will
          always be free to update your personal settings anytime.
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                                                 30
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 121Page
                                                                  Page
                                                                   of 375
                                                                        34
                                                                        31PageID
                                                                           of
                                                                           of 79
                                                                              76 #:269




 1        With a broader range of controls, content will only be taken down if it is
 2        more objectionable than the most permissive options allow. Within that
          range, content should simply not be shown to anyone whose personal
 3        controls suggest they would not want to see it, or at least they should see a
          warning first. Although we will still block content based on standards and
 4        local laws, our hope is that this system of personal controls and democratic
 5        referenda should minimize restrictions on what we can share.

 6        It's worth noting that major advances in AI are required to understand
          text, photos and videos to judge whether they contain hate speech,
 7        graphic violence, sexually explicit content, and more. At our current
 8        pace of research, we hope to begin handling some of these cases in 2017,
          but others will not be possible for many years.
 9
          Overall, it is important that the governance of our community scales with
10        the complexity and demands of its people. We are committed to always
11        doing better, even if that involves building a worldwide voting system to
          give you more voice and control. Our hope is that this model provides
12        examples of how collective decision-making may work in other aspects of
          the global community.
13
14        This is an important time in the development of our global community,
          and it’s a time when many of us around the world are reflecting on how
15        we can have the most positive impact.
16        History has had many moments like today. As we’ve made our great leaps
17        from tribes to cities to nations, we have always had to build social
          infrastructure like communities, media and governments for us to thrive and
18        reach the next level. At each step we learned how to come together to solve
          our challenges and accomplish greater things than we could alone. We have
19        done it before and we will do it again.
20
          I am reminded of President Lincoln's remarks during the American
21        Civil War: “We can succeed only by concert. It is not ‘can any of us
          imagine better?’ but, ‘can we all do better?’ The dogmas of the quiet
22        past, are inadequate to the stormy present. The occasion is piled high
23        with difficulty, and we must rise with the occasion. As our case is new,
          so we must think anew, act anew.”
24
          There are many of us who stand for bringing people together and
25        connecting the world. I hope we have the focus to take the long view
26        and build the new social infrastructure to create the world we want for
          generations to come.
27
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                                                31
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 122Page
                                                                   Page
                                                                    of 375
                                                                         35
                                                                         32PageID
                                                                            of
                                                                            of 79
                                                                               76 #:270




            It’s an honor to be on this journey with you. Thank you for being part of
 1          this community, and thanks for everything you do to make the world more
 2          open and connected.

 3          Mark
 4   https://www.weforum.org/agenda/2017/02/mark-zuckerberg-building-a-global-community-

 5   that-works-for-everyone/ (emphasis added).

 6          67.      In fact, at the time this was written, Meta employees were already reporting

 7   to management that Facebook was causing harmful dependencies. Meta was already

 8   marketing to children under 13, despite clear legal mandates that it could not allow children

 9   under 13 on its social media product. And Meta leadership, Mr. Zuckerberg himself, was

10   actively rejected proposed re-designs intended to minimize the harms to child and teen users,

11   users like Brantley Aranda.

12          68.      Meta’s recommendation-based feeds and product features were promoting

13   harmful content. Meta’s algorithms are programmed to prioritize number of interactions and

14   not quality of interactions. Worded otherwise, Meta promotes and amplifies content based

15   on engagement objectives and not the health and well-being of their users, which renders its

16   social media products inherently dangerous and defective, particularly when used by teens

17   and children.

18          69.      Meta exerts unprecedented levels of manipulation and control over users and

19   is knowingly directing harmful content to users as a matter of its algorithmic programming

20   and settings Meta chooses as part of its prioritization of engagement over user safety.

21          70.      And while certain of Meta’s systems and designs necessarily involve and/or

22   incorporate advertising and third-party content, it is the Meta product itself and not the ads

23   or content causing user harm. That it is, it is not content harming millions of Meta users, but

24   rather, the extreme and calculated way in which Meta identifies and amplifies such content

25   in its effort to increase engagement.

26          71.      Meta also, at the same time CEO Mark Zuckerberg was touting the

27   importance and helpful function of Meta’s group recommendations algorithm, was

28   recognizing internally the massive number of truly harmful and horrific groups on its social

                                                   32
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
         Case: 1:22-cv-02968
                Case
                Case 3:22-cv-04209-SK
                      PendingDocument
                              No. 97 Document
                                      #:Document
                                         8-1 Filed:
                                                 1-6108/03/22
                                                       Filed
                                                       Filed 08/01/22
                                                             07/20/22
                                                              Page 123Page
                                                                      Page
                                                                       of 375
                                                                            36
                                                                            33PageID
                                                                               of
                                                                               of 79
                                                                                  76 #:271




 1   media platform – and the fact that its algorithm was directing users, including children and

 2   teens, to these harmful groups. That is, these children and teens would never have been

 3   exposed to such harmful content but for Meta’s systems and its programming of those

 4   systems to prioritize engagement over user safety.

 5              72.      Moreover, Meta has conducted social comparison studies, see, e.g., Social

 6   Comparison: Topics, celebrities, Like counts, selfies (January 2021) and Appearance Based

 7   Social Comparison on Instagram (February 2021),7 to identify the types of algorithmically

 8   promoted content most harmful to social media users, and the degree of harm that content

 9   causes. Meta routinely identifies harmful categories, then just as routinely determines that

10   promotion of such content is a large part of what makes social media products appealing to

11   teens. Meta decides against making its current product safer as a result. In other words, the

12   promotion of harmful content has become so central to Meta’s business models that Meta

13   regularly opts to conceal the truth and continue harming users instead of making its products

14   safer and less harmful.

15              73.      Facebook profile and privacy settings also cause harm. Users’ profiles on

16   Facebook may be public or private, which is a product feature over which Meta exercises

17   complete control. On public profiles, any user can view the photos, videos, and other content

18   posted by the user. On private profiles, the user’s content may only be viewed by the user’s

19   followers, which the user must approve. At all times relevant, Facebook profiles were public

20   by default and Facebook allowed all users to message and send follow requests to underage

21   users. But even now, when Meta claims that it is defaulting certain categories of users on

22   certain of its social media products into private profiles, all a user need do is change the

23   profile setting and, once again, Meta will allow all users to message and send follow requests

24   to underage users. Meta can protect users from this specific harm, can do so immediately,

25   and chooses to not do so as a matter of engagement and growth.

26              74.      Permitting public profiles for underage users serves no critical purpose in

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28   7
         See https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-a-single-page/

                                                            33
                      COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 124Page
                                                                   Page
                                                                    of 375
                                                                         37
                                                                         34PageID
                                                                            of
                                                                            of 79
                                                                               76 #:272




 1   terms of product functionality but, instead, it increases user engagement during onboarding

 2   (when a user first starts using a social media product) by increasing user connections and

 3   generally by providing all users with greater access to other users, in this case, irrespective

 4   of their age. Unfortunately for young children and teens, a numerically significant percentage

 5   of those would-be connections are harmful. Defendants are aware of these harms and have

 6   opted to not make necessary and cost-effective changes to prevent it.

 7           75.     Meta’s Messenger settings also permit and encourage harm to vulnerable

 8   users. Harmful and dangerous interactions occur because of the Facebook Messaging

 9   product, which is integrated with the Facebook app. Specifically, Meta’s chosen settings

10   provide predators and other bad actors with direct and unsupervised access to children and

11   teens. Again, however, Meta opts for engagement over safety.

12           76.     Meta’s push notifications and emails encourage addictive behavior and are

13   designed specifically to increase use of its social media products. In the case of Instagram,

14   Defendant Meta collects individualized data – not just about the user, but also about the

15   user’s friends and contacts – and then selects content and notification frequency for its users

16   and notifies them via text and email. Meta’s notifications to individual users are specifically

17   designed to, and do, prompt them to open Instagram and view the content Instagram selected,

18   increasing sessions, and resulting in greater profits to Instagram. More to the point, even the

19   format of these notifications has been designed and re-designed with the specific purpose of

20   pulling users back onto the social media platform—irrespective of a user’s health or

21   wellbeing.

22           77.     Facebook also incorporates several product features that serve no

23   functionality purpose, but that do make Meta’s product more appealing to children and teens,

24   such as “likes” and in-app games, while simultaneously increasing social comparison

25   pressure and resulting harm. The harm from these product features does not relate to a single

26   “like” or filter, or any specific series of content or potential content. Rather, it is the product

27   itself. Meta knows that its products are causing harm.

28           78.     Facebook also creates images and GIFs for users to post on their videos and

                                                     34
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 125Page
                                                                   Page
                                                                    of 375
                                                                         38
                                                                         35PageID
                                                                            of
                                                                            of 79
                                                                               76 #:273




 1   pictures. Meta has also acquired publishing rights to thousands of hours of music, which it

 2   provides to its users to attach to the videos and pictures that they post on Facebook. The

 3   GIFs, images, and music are integral to the user’s Facebook post and are, in fact, designed

 4   to encourage posting. Indeed, in many cases, the only content in a user’s Facebook post is

 5   the image, GIF or music supplied by Meta. When users incorporate images, GIFs, and music

 6   supplied by Meta into their postings, Meta is functioning as a co-publisher of such content.

 7   A Facebook user who incorporates images, GIFs or music supplied by Meta into their post

 8   is functionally equivalent to a novelist who incorporates illustrations into their story.

 9   Instagram can no longer characterize the images, GIFs, and music it supplies to its users as

10   third-party content, just as the novelist cannot disclaim responsibility for illustrations

11   contained in their book. Meta has made the deliberate decision to collaborate with its users

12   in this regard and, as evidenced by Meta’s internal documents, Meta’s decision is motivated

13   by the fact that such collaboration results in increased engagement and more profits for Meta

14   itself.

15             79.     Meta directly profits from the content its users create in collaboration with

16   Meta, as described above.

17             80.     Meta knows that it is harming teens yet, when faced with recommendations

18   that will reduce such harms, Meta’s leadership consistently opts for prioritization of profit

19   over the health and well-being of its teen users—that is, the millions of teen users who

20   continue to use its inherently dangerous and defective social media product every, single

21   day.

22             81.     Meta’s products are used by many millions of children every day.

23    B.       Meta’s Applications Are Products

24             82.     There is no dispute that the Facebook social media product is designed and

25   manufactured by Meta and further, Meta refers to Facebook as a product.

26             83.     Meta’s social media products are designed to be used by minors and are

27   actively marketed to minors across the United States. Meta markets to minors through its

28   own marketing efforts and design, and through their approval and permission to advertisers

                                                    35
                     COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
         Case: 1:22-cv-02968
                Case
                Case 3:22-cv-04209-SK
                      PendingDocument
                              No. 97 Document
                                      #:Document
                                         8-1 Filed:
                                                 1-6108/03/22
                                                       Filed
                                                       Filed 08/01/22
                                                             07/20/22
                                                              Page 126Page
                                                                      Page
                                                                       of 375
                                                                            39
                                                                            36PageID
                                                                               of
                                                                               of 79
                                                                                  76 #:274




 1   who create and target ads to young users. Internal Meta documents establish that Meta spends

 2   millions of dollars researching, analyzing, and experimenting with young children to find

 3   ways to make its product more appealing and addictive to these age groups, as these age

 4   groups are seen as the key to Meta’s long-term profitability and market dominance.

 5       C.     Meta’s Business Model is Based on Maximizing User Screen Time and Meta

 6              Knows That Facebook is Addictive

 7              84.     Meta and its leadership have repeatedly represented to the public and

 8   governments around the world that their Facebook product is safe and not addictive

 9              85.     In February of 2017, Meta founder and CEO Mark Zuckerberg made the

10   lengthy “Building Global Community” post on his personal Facebook (see supra) in which

11   he talked at length about how Meta is focused on safety, how it intends to use its AI to the

12   fullest to keep users safe, and how amazing Facebook is for bringing communities together

13   and promoting critically important social groups.

14              86.     In September of 2017, Meta founder and CEO Mark Zuckerberg spoke out

15   on the issue of opioid addiction, making general addiction-related statements, including that

16   “Communities all across the country have a long road ahead, but as someone told me at the

17   end, ‘I’m hopeful because we’re talking about it.’ Me too.” 8

18              87.     In April of 2018, Meta founder and CEO Mark Zuckerberg testified under

19   oath to Congress that Meta does not design its products to be addictive and that he is not

20   concerned with social media addiction as it relates to teens. He stated,

21              I view our responsibility as not just building services that people like but as building

22              services that are good for people and good for society as well … we study a lot of

23              effects of well-being, of our tools, and broader technology, and like any tool there

24              are good and bad uses of it. What we find in general is that if you are using social

25              media to build relationships then that is associated with all the long term measures

26              of well-being that you’d intuitively think of … but if you are using the internet and

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28   8
         https://www.northpointrecovery.com/blog/mark-zuckerberg-discusses-view-addiction-facebook/

                                                         36
                      COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
         Case: 1:22-cv-02968
                Case
                Case 3:22-cv-04209-SK
                      PendingDocument
                              No. 97 Document
                                      #:Document
                                         8-1 Filed:
                                                 1-6108/03/22
                                                       Filed
                                                       Filed 08/01/22
                                                             07/20/22
                                                              Page 127Page
                                                                      Page
                                                                       of 375
                                                                            40
                                                                            37PageID
                                                                               of
                                                                               of 79
                                                                                  76 #:275




 1             social media to just passively consume content and are not engaging with other

 2             people then it doesn’t have those positive effects and it could be negative.9

 3             88.     These are just some examples of the representations Meta was making to
 4   users, and the Plaintiffs in this case, about the safety of its Facebook social media product.
 5             89.     In truth, Meta had been studying its “addicting” product mechanics during
 6   these same time frames and Meta leadership—including and specifically Meta CEO Mark
 7   Zuckerberg—had actual knowledge that its Facebook product was addictive and harmful to
 8   children and teens.
 9             90.     In fact, in 2017 Meta was actively attending and presenting at an annual
10   conference held in Silicon Valley starting in 2014, known as the Habit Summit and the stated
11   purpose of which was to teach product manufacturers how to make their products more habit
12   forming. Meta not only knew that Facebook was addictive, it designed it that way.
13             91.     Meta’s tests during those same periods of time were confirming that Meta
14   already knew … which is that many teen users felt like they were physically unable to stop
15   using Facebook, even though they had begun to realize that it was not good for them.
16             92.     Meta was fully aware that its Facebook product was addictive, and also, that
17   this this “Facebook addiction” was having the greatest impact on millions of U.S. teens.
18             93.     In short, Meta employees and Meta leadership know that Facebook is
19   addictive and harmful, in part, because it was designed that way (addictive design) and, also,
20   because the billions of dollars Meta has spent researching user addiction has said so. Meta
21   has never released this information on addiction and/or problematic use to the public; instead,
22   its leadership lied repeatedly to Congress and to parents of its tens of millions of teen users.
23             94.     Meta advertises its product as “free,” because it does not charge its users for
24   downloading or using its product. What many users do not know is that, in fact, Meta makes
25   a profit by finding unique and increasingly dangerous ways to capture user attention and
26   target advertisements to its users. Meta receives revenue from advertisers who pay a
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28   9
         https://www.youtube.com/watch?v=AB4mB-K7-xY

                                                     37
                     COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 128Page
                                                                   Page
                                                                    of 375
                                                                         41
                                                                         38PageID
                                                                            of
                                                                            of 79
                                                                               76 #:276




 1   premium to target advertisements to specific demographic groups of users in the applications

 2   including, and specifically, users under the age of 18. Meta also receives revenue from selling

 3   its users’ data to third parties

 4           95.     The amount of revenue Meta receives is based upon the amount of time and

 5   user engagement on its platforms, which directly correlates with the number of

 6   advertisements that can be shown to each user. In short, Meta opted for user engagement

 7   over the truth and user safety

 8           96.     Facebook is built around a series of design features that do not add to the

 9   communication and communication utility of the application, but instead seek to exploit

10   users’ susceptibility to persuasive design and unlimited accumulation of unpredictable and

11   uncertain rewards (including things like “likes” and “followers” and “views”). This design

12   is unreasonably dangerous to the mental well-being of underage users’ developing minds

13   and was harmful to Brantley Aranda.

14           97.     Meta has also employed thousands of engineers to help make its products

15   maximally addicting. One example is Facebook’s “pull to refresh” feature, which is based

16   on how slot machines operate. It creates an endless feed, designed to manipulate brain

17   chemistry, and prevent natural end points that would otherwise encourage users to move on

18   to other activities

19           98.     Meta does not warn users of the addictive design of its product. On the

20   contrary, Meta actively conceals the dangerous and addictive nature of its product, lulling

21   users and parents into a false sense of security – as it did with Blair and Gregorio Aranda.

22   This includes consistently playing down its products’ negative effects on teens in public

23   statements and advertising, making false or materially misleading statements concerning

24   product safety, and refusing to make its research public or available to academics or

25   lawmakers who have asked for it.

26           99.     Meta spends billions of dollars marketing its products to minors and has

27   deliberately traded in user harm for the sake of its already astronomical revenue stream.

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                                                   38
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 129Page
                                                                   Page
                                                                    of 375
                                                                         42
                                                                         39PageID
                                                                            of
                                                                            of 79
                                                                               76 #:277




 1   D.     Defendants Have Designed Complex Algorithms to Addict Teen Users and Their

 2          Business Models Are Based on Maximizing User Screen Time

 3          100.    Meta has intentionally designed its product to maximize users’ screen time,

 4   using complex algorithms designed to exploit human psychology and driven by the most

 5   advanced computer algorithms and artificial intelligence available to the largest technology

 6   companies in the world.

 7          101.    Meta has designed and progressively modified its product to promote

 8   problematic and excessive use that they know is indicative of addictive and self-destructive

 9   use. More specifically, Meta knows that many teens feel as though they cannot stop their use

10   of Meta’s product, even though they want to stop.

11          102.    One of these features, present in Facebook, is the use of complex algorithms

12   to select and promote content that is provided to users in an unlimited and never ending

13   “feed.” Meta is well-aware that algorithm-controlled feeds promote unlimited “scrolling”—

14   a type of use those studies have identified as detrimental to users’ mental health. However,

15   this type of use allows Meta to display more advertisements and obtain more revenue

16          103.    Meta has also designed algorithm-controlled feeds to promote content most

17   likely to increase user engagement, which often means content that Meta knows to be

18   harmful to its users. This is content that users might otherwise never see but for Meta’s

19   affirmative pushing of such content to their accounts.

20          104.    In the words of one, high-level departing Meta employee,

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                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                          8-1 Filed:
                                                  1-6108/03/22
                                                        Filed
                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 130Page
                                                                       Page
                                                                        of 375
                                                                             43
                                                                             40PageID
                                                                                of
                                                                                of 79
                                                                                   76 #:278




 1   “Why We Build Feeds” (October 4, 2019), at p. 1.10

 2             105.     The addictive nature of Meta’s product and the complex and psychologically

 3   manipulative design of its algorithms is unknown to ordinary users. It was unknown to

 4   Plaintiffs as well.

 5             106.     Meta goes to significant lengths to prevent transparency, including posing as

 6   a “free” social media platform, burying advertisements in personalized content, and making

 7   knowingly false public statements about the safety of its product.

 8             107.     Meta also has developed unique product features that are designed to limit,

 9   and that do limit, parents’ ability to monitor and prevent problematic use by their children.

10             108.     Meta’s addiction-driven algorithms are designed to be content neutral. They

11   adapt to the social media activity of individual users to promote whatever content will trigger

12   a particular user’s interest and maximize their screen time. That is, prior to the point when

13   Meta has addicted its user and is then able to influence user preferences, its algorithm designs

14   do not distinguish, rank, discriminate, or prioritize between types of content. For example, if

15   the algorithm can increase User One engagement with elephants and User Two engagement

16   with moonbeams, then Meta’s algorithm design will promote elephant content to User One

17   and moonbeam content to User Two. Meta’s above-described algorithms are solely

18   quantitative devices and make no qualitative distinctions between the nature and type of

19   content they promote to users – as long as those promotions increaser user engagement.

20   B. Minor Users’ Incomplete Brain Development Renders Them Particularly
21         Susceptible to Manipulative Algorithms with Diminished Capacity to Eschew Self-
22         Destructive Behaviors and Less Resiliency to Overcome Negative Social Media
23         Influences
24             109.     The human brain is still developing during adolescence in ways consistent
25   with adolescents’ demonstrated psychosocial immaturity. Specifically, adolescents’ brains
26   are not yet fully developed in regions related to risk evaluation, emotional regulation, and
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28   10
          https://www.documentcloud.org/documents/21600853-tier1_rank_exp_1019

                                                       40
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 131Page
                                                                   Page
                                                                    of 375
                                                                         44
                                                                         41PageID
                                                                            of
                                                                            of 79
                                                                               76 #:279




 1   impulse control.

 2          110.    The frontal lobes—and, in particular, the prefrontal cortex—of the brain play

 3   an essential part in higher-order cognitive functions, impulse control, and executive decision-

 4   making. These regions of the brain are central to the process of planning and decision-

 5   making, including the evaluation of future consequences and the weighing of risk and

 6   reward. They are also essential to the ability to control emotions and inhibit impulses. MRI

 7   studies have shown that the prefrontal cortex is one of the last regions of the brain to mature.

 8          111.    During childhood and adolescence, the brain is maturing in at least two major

 9   ways. First, the brain undergoes myelination, the process through which the neural pathways

10   connecting different parts of the brain become insulated with white fatty tissue called myelin.

11   Second, during childhood and adolescence, the brain is undergoing “pruning”—the paring

12   away of unused synapses, leading to more efficient neural connections. Through myelination

13   and pruning, the brain’s frontal lobes change to help the brain work faster and more

14   efficiently, improving the “executive” functions of the frontal lobes, including impulse

15   control and risk evaluation. This shift in the brain’s composition continues throughout

16   adolescence and into young adulthood.

17          112.    In late adolescence, important aspects of brain maturation remain incomplete,

18   particularly those involving the brain’s executive functions and the coordinated activity of

19   regions involved in emotion and cognition. As such, the part of the brain that is critical for

20   control of impulses and emotions and for mature, considered decision-making is still

21   developing during adolescence, consistent with the demonstrated behavioral and

22   psychosocial immaturity of juveniles.

23          113.    The algorithms in Meta’s social media products exploit minor users’

24   diminished decision-making capacity, impulse control, emotional maturity, and

25   psychological resiliency caused by users’ incomplete brain development. Meta knows that

26   because its minor users’ frontal lobes are not fully developed, such users are much more

27   likely to sustain serious physical and psychological harm through their social media use than

28   adult users. Nevertheless, Meta has failed to design its product with any protections to

                                                   41
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 132Page
                                                                   Page
                                                                    of 375
                                                                         45
                                                                         42PageID
                                                                            of
                                                                            of 79
                                                                               76 #:280




 1   account for and ameliorate the psychosocial immaturity of its minor users. On the contrary,

 2   Meta specifically designs its product with these vulnerabilities in mind.

 3   E.        Meta Misrepresents the Addictive Design and Effects of Facebook

 4             114.   At all times relevant, Meta has advertised and represented that its Facebook

 5   product is appropriate for use by teens and has stated in public comments that its product is

 6   not addictive and was not designed to be addictive. Meta knows that those statements are

 7   untrue.

 8             115.   Meta did not warn users or their parents of the addictive and mentally harmful

 9   effects that the use of its product was known to cause amongst minor users, like Brantley

10   Aranda. On the contrary, Meta has gone to significant lengths to conceal and/or avoid

11   disclosure of the true nature of its product.

12   F.        Plaintiffs Expressly Disclaim Any and All Claims Seeking to Hold Meta Liable

13             as the Publisher or Speaker of Any Content Provided, Posted, or Created by

14             Third Parties

15             116.   Plaintiffs seeks to hold Meta accountable for its own alleged acts and

16   omissions. Plaintiffs’ claims arise from Meta’s status as the designer and marketer of

17   dangerously defective social media products, as well as Meta’s own statements and actions,

18   not as the speaker or publisher of third-party content.

19             117.   Meta has designed its product to be addictive. For example, Meta has

20   developed and modified product features like the continuous loop feed and push

21   notifications, to incentivize users to stay on its Facebook product as long as possible and to

22   convince users to log back on. Meta’s algorithm even calculates the most effective time to

23   send such notifications, which in the case of teen users often means in the middle of the night

24   and/or during school hours. Essentially, the times they are least likely to have access to

25   Meta’s social media product, which also—as Meta knows—are the times that their health

26   and well-being necessitate them not being on Meta’s social media product. Meta’s product

27   is designed to and does addict users on a content neutral basis, and it addicted Brantley

28   Aranda on a content neutral basis.

                                                     42
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 133Page
                                                                   Page
                                                                    of 375
                                                                         46
                                                                         43PageID
                                                                            of
                                                                            of 79
                                                                               76 #:281




 1          118.    Meta’s algorithm structure is by itself harmful to users, again, irrespective of

 2   content. For example, a primary purpose of Meta’s algorithm design is to determine

 3   individual user preferences first so that Meta can then influence user behavior and choices

 4   second—which is particularly dangerous in the case of teens.

 5          119.    It is clear from Meta’s records that Meta uses its product both to “experiment”

 6   on and test its users in ways heretofore unimagined, but also, it seeks to control user behavior

 7   through product features and capabilities and for the specific purpose of acquiring and

 8   retaining users.

 9          120.    On a content neutral basis, the manipulation and control Meta knowingly

10   wields over its users daily is profoundly dangerous.

11          121.    Meta’s Integrity Team employees regularly provide Meta leadership with

12   warnings and recommendations, which Meta leadership regularly ignores. As explained in

13   the employee departure memos previously discussed, Meta imposes insurmountable hurdles

14   when it comes to making their existing and in-development products safer, while it imposes

15   no user safety requirements when it comes to making its products more engaging.

16          122.    Meta is responsible for these harms. These harms are caused by Meta’s

17   designs and design-decisions, and not any single incident of third-party content. Meta’s

18   Integrity Team employees flagged these issues for Meta leadership countless times and were

19   consistently ignored.

20          123.    Meta failed to warn minor users and their parents of known dangers arising

21   from anticipated use of its Facebook product. These dangers are unknown to ordinary

22   consumers but are known to Meta and its employees. Moreover, these dangers do not arise

23   from third-party content contained on Meta’s social media platform. This lawsuit does not

24   involve a suit against a web browser provider for making available third-party content.

25          124.    While it may be a third-party creates a particular piece of harmful content, the

26   teens harmed by Facebook are not being harmed by a single piece of harmful content. They

27   are being harmed by the dependency Meta engineers as well as Facebook’s algorithmic

28   programming and business decisions to show teens a constant barrage of harmful content to

                                                   43
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 134Page
                                                                   Page
                                                                    of 375
                                                                         47
                                                                         44PageID
                                                                            of
                                                                            of 79
                                                                               76 #:282




 1   obtain more advertising revenue and increase engagement

 2          125.    Brantley Aranda and children like him do not open Facebook accounts in the

 3   hopes of becoming addicted. Nonetheless, such children do become addicted, leading them

 4   to engage in foreseeable addict behaviors, such as lying to their parents, hiding their use of

 5   Facebook, losing control and becoming irritable, and feeling like they want to stop using

 6   Facebook but being unable to stop to the point where they continue to keep using even though

 7   they want to stop. These and other behaviors can and do result in serious harm to Facebook’s

 8   minor users

 9          126.    Brantley Aranda and children like him do not start using Facebook in the

10   hopes of being exposed to product features that cause harm to them. Yet Facebook use

11   involves harmful forms of social comparison and inevitably pushes such children towards

12   harmful “rabbit holes,” causing anxiety, depression, anger, self-harm, and suicidal

13   ideation—harms Meta itself has acknowledged repeatedly in internal documents.

14          127.    The harms at issue in this case do not relate to or arise from third party

15   content, but rather, Meta’s product features and designs, including algorithms that (a) addict

16   minor users to Meta’s product; (b) amplify and promote harmful social comparison through

17   Instagram product features; (c) affirmatively select and promote harmful content to

18   vulnerable users based on its individualized demographic data and social media activity; and

19   (d) put minor users in contact with unknown, adult users. Indeed, the foregoing are merely

20   examples of the kinds of harms at issue in this case

21          128.    Meta’s product is addictive on a content neutral basis. Meta designs and

22   operates its algorithms in a manner intended to and that does change behavior and addict

23   users, including through a natural selection process that does not depend on or require any

24   specific type of third-party content.

25          129.    Meta has designed other product features for the purpose of encouraging and

26   assisting children in evasion of parental oversight, protection, and consent, which features

27   are wholly unnecessary to the operation of Meta’s product. This includes but is not limited

28   to Meta’s failure to check identification or verify validity of user-provided email credentials,

                                                   44
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                          8-1 Filed:
                                                  1-6108/03/22
                                                        Filed
                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 135Page
                                                                       Page
                                                                        of 375
                                                                             48
                                                                             45PageID
                                                                                of
                                                                                of 79
                                                                                   76 #:283




 1   while simultaneously implementing product design features (such as easier ability to switch

 2   between accounts) to ensure easy access by children and teens, irrespective of consent.

 3             130.   In fact, the only reason Brantley Aranda was allowed to have a Facebook

 4   account at the age of 16 was because Plaintiff Blair Aranda knew that his friends were

 5   opening Facebook accounts without parental consent via school device. Blair Aranda knew

 6   that she could not physically prevent him from opening a Facebook account and using Meta’s

 7   social media product, as Facebook’s design made such protection of her son impossible.

 8             131.   Meta also promotes, encourages, and/or otherwise contributes to the

 9   development of harmful content. This Complaint quotes from just a few of the thousands of

10   Meta documents disclosed by the Facebook Whistleblower, which establish this – and

11   Plaintiffs believe they will uncover tens of thousands more through discovery in this case.

12             132.   Meta also approves ads that contain harmful content, for example, and as

13   discussed at the Senate hearing held on October 5, 2021,11

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       https://www.rev.com/blog/transcripts/facebook-whistleblower-frances-haugen-testifies-on-children-social-
28   media-use-full-senate-hearing-transcript

                                                        45
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                          8-1 Filed:
                                                  1-6108/03/22
                                                        Filed
                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 136Page
                                                                       Page
                                                                        of 375
                                                                             49
                                                                             46PageID
                                                                                of
                                                                                of 79
                                                                                   76 #:284




                      Senator Mike Lee: (01:21:34)
 1                     Now, since that exchange happened last week, there are a number of

 2                     individuals and groups, including   agroup    called the Technology
                      Transparency Project or TTP, that have indicated that that part of her
 3                    testimony was inaccurate. That     it was   false. TTP noted that TTP had
                      conducted an experiment just last month, and their goal was to runa
 4                    series of ads that would be targeted to children ages 13 to 17, to users
                       in the United States. Now,   | want to emphasize    that TTP didn’t end up
 5                     running these ads. They stopped them from being distributed to users,

 6                     but Facebook did in fact approve them. As      | understand it, Facebook
                      approved them for an audience of up to 9.1 million users, all of whom
 7                    were teens.

                      Senator Mike Lee: (01:22:31)
 8
                      |brought afew of these to show you today. This is the first one I
 9                    wanted to showcase. This first one has a colorful graphic encouraging
                      kids to, "Throw aSkittles party like no other,” which as the graphic
10                    indicates, and as the slang jargon also independently suggests, this
                      involves kids getting together randomly to abuse prescription drugs.
11                    The second graphic displays an ana tip. That is a tip specifically
                      designed to encourage and promote anorexia. It’s on there. Now the
12
                       language, the ana tip itself independently promotes that. The ad also

13                     promotes it in so far as it was suggesting. These are images you ought
                      to look at when you need motivation to be more anorexic,        | guess you
14                    could say. Now the third one invites children to find their partner
                      online and to make a love connection. “You look lonely. Find your
15                     partner now to make   a   love connection.”

16
17             133.   In other words, Meta approves advertisements “designed to encourage and

18   promote anorexia,” encouraging children to abuse prescription or illegal drugs, and other

19   clearly harmful and dangerous content, which ads Meta then targets specifically at children

20   in exchange for payment from the advertisers.
21             134.   Meta utilizes private information of its minor users to “precisely target [them]
22   with content and recommendations, assessing what will provoke a reaction,” including
23   encouragement of “destructive and dangerous behaviors.”12 Again, Meta specifically selects

24   and pushes this harmful content, for which it is then paid, and does so both for that direct

25   profit and also to increase user engagement, resulting in more profits down the road. “That’s

26
27   12
         See https://www.rev.com/blog/transcripts/facebook-whistleblower-frances-haugen-testifies-on-children-
     social-media-use-full-senate-hearing-transcript. (“October 5, 2021, Senate Hearing Transcript”), Mr. Chairman
28   Blumenthal at 00:09:02.

                                                           46
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                          8-1 Filed:
                                                  1-6108/03/22
                                                        Filed
                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 137Page
                                                                       Page
                                                                        of 375
                                                                             50
                                                                             47PageID
                                                                                of
                                                                                of 79
                                                                                   76 #:285




 1   how [Meta] can push teens into darker and darker places.”13 Meta “knows that its

 2   amplification algorithms, things like engagement based ranking ... can lead children ... all

 3   the way from just something innocent like healthy recipes to anorexia promoting content

 4   over a very short period of time.”14 Meta has knowledge that its product and the content they

 5   are encouraging and helping to create is harmful to young users and chooses “profits over

 6   safety.” 15

 7             135.   Meta has information and knowledge that can determine with reasonably

 8   certainty each user’s age, habits, and other personal information, regardless of what

 9   information the user provides at the time of account setup. Meta can also determine on a

10   mass scale and with reasonably certainty which of its users are teens, regardless of what

11   information they provide at the time of account setup. Meta has used this capability for its

12   own economic gain. The Facebook Papers reference various technologies Meta has

13   developed for this precise purpose over the last several years.

14             136.   None of Plaintiffs’ claims rely on treating Meta as the publisher or speaker of

15   any third party’s words or content. Plaintiffs’ claims seek to hold Meta accountable for its

16   own allegedly wrongful acts and omissions, not for the speech of others or for Meta’s good

17   faith attempts to restrict access to objectionable content.

18             137.   Plaintiffs are not alleging that Meta is liable for what the third parties said,

19   but for what Meta did.

20             138.   None of Plaintiffs’ Claims for Relief set forth herein treat Meta as a speaker

21   or publisher of content posted by third parties. Rather, Plaintiffs seek to hold Meta liable for

22   its own speech and its own silence in failing to warn of foreseeable dangers arising from

23   anticipated use of its product. Meta could manifestly fulfill its legal duty to design a

24   reasonably safe social media product and furnish adequate warnings of foreseeable dangers

25   arising out of the use of its products without altering, deleting, or modifying the content of a

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27   13
        Id.
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        October 5, 2021, Senate Hearing Transcript, Ms. Francis Haugen at 00:37:34.
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        Id. at 02:47:07.

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                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 138Page
                                                                   Page
                                                                    of 375
                                                                         51
                                                                         48PageID
                                                                            of
                                                                            of 79
                                                                               76 #:286




 1   single third- party post or communication. Some examples include,

 2             a. Not using its addictive and inherently dangerous algorithm in connection with any

 3                 account held by a user under the age of 18.

 4             b. Not permitting any targeted advertisements to any user under the age of 18.

 5             c. Fixing or removing all features that currently do not implement the tools Meta uses

 6                 to identify and remove harmful content (particularly since Meta knows that its

 7                 algorithms and other systems are pushing these higher risk features

 8                 disproportionately to protected classes).

 9             d. Prioritizing internally its removal of harmful content over the risk of losing some

10                 user engagement (as Meta represents it does already but, in fact, does not) – i.e.

11                 users who might be offended when Meta takes down what it believes to be harmful

12                 content.

13             e. Requiring identification upon opening of a new account, and restricting users under

14                 the age of 18 to a single account.

15             f. Requiring verification by email when a user opens a new account. Not requiring

16                 verification allows underage users to access Facebook and does not stop bad actors.

17                 Meta employees have recognized this shortcoming and have recommended change.

18             g. Immediate suspension of accounts where Meta has reason to know that the user is

19                 under the age of 13, including when the user declares that they are under the age of

20                 13 in their bio or comments and where Meta determines an “estimated” age of under

21                 13 based on other information it collects; and not allowing the account to resume

22                 until the user provides proof of age and identity and/or parental consent.

23             h. Suspension of accounts where Meta has reason to know that the user is over the age

24                 of 18, but where they are providing information to suggest that they are minors

25                 and/or are representing themselves as minors to other Instagram users; and not

26                 allowing the account to resume until the user provides proof of age and identity

27             i. Launching Project Daisy, meaning that each user could see their own likes but

28                 would be unable to see the likes on any other user’s posts and comments.

                                                 48
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 139Page
                                                                   Page
                                                                    of 375
                                                                         52
                                                                         49PageID
                                                                            of
                                                                            of 79
                                                                               76 #:287




 1              j. Instituting advertising safeguards to ensure that Meta is not profiting directly from

 2                 or otherwise pushing or endorsing harmful advertising content.

 3              k. Requiring that all teen user accounts be set to private and not allowing any user

 4                 under the age of 18 to change user settings to public.

 5              l. Not permitting direct messaging with any user under the age of 18 if that minor

 6                 user is not already on a user’s friend list.

 7              m. Requiring parental consent and restricting account access for users under the age of

 8                 18 to prevent usage at night and during regular school hours.

 9          139.   These are just some examples, all of which could be accomplished easily

10   and/or at commercially reasonable cost. Meta itself has discussed and considered many of

11   these, but its leadership ultimately declined to make such product changes because such

12   changes—while better for the health and wellbeing of Facebook users—could result in a

13   relatively small decrease to Meta’s more than $200 billion in annual revenue.

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                                                   49
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 140Page
                                                                   Page
                                                                    of 375
                                                                         53
                                                                         50PageID
                                                                            of
                                                                            of 79
                                                                               76 #:288




 1   G.     Brantley Aranda’s Death was Proximately Caused by Defendants’ Social Media

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24          140.    Brantley Aranda was born December 30, 2001, and grew up in Jonesboro,
25   Louisiana.
26          141.    He was extremely smart, creative, funny, and loved learning. As a child he
27   was his parents’ and grandparents’ tag along, always observing what other people were doing
28   and always trying to help. When he was about two years old, a pest control company sprayed

                                                 50
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 141Page
                                                                   Page
                                                                    of 375
                                                                         54
                                                                         51PageID
                                                                            of
                                                                            of 79
                                                                               76 #:289




 1   for bugs. Afterwards, Brantley went from window to window pretending to spray for bugs.

 2   When he got a bit older his parents got him his own set of hammers, to help his pepaw around

 3   the house and he followed Pepaw everywhere trying to help – and occasionally hitting

 4   himself or his Pepaw with the hammer instead of whatever it was he wanted to fix.

 5          142.     Brantley wanted to be a fighter pilot when he grew up and doted on his two

 6   younger brothers up until the he died. All three boys were born in December, and Brantley

 7   often told his brothers that they were the best birthday and Christmas presents he ever got.

 8          143.    Brantley got his first cell phone in 2016, for his 15th birthday; however, that

 9   device did not have internet access. When Plaintiff Blair Aranda called the provider (AT&T)

10   she told them that she just needed a phone for texting and calls, and not the internet.

11          144.    The Aranda family also had a family computer; however, Brantley was not

12   allowed to use the computer for social media, and he was only allowed to use it when his

13   parents were around. The boys would earn computer time with chores, for example, fifteen

14   minutes for cleaning their room or an hour for mowing, and even more time if they went

15   over to their grandparents’ house (Memaw and Pepaw) to help.

16          145.    To their knowledge, Brantley did not open his first Facebook account until

17   May of 2018, when he was 16 years old. But Plaintiffs cannot be certain as Meta designs its

18   products to evade parental authority and control.

19          146.    What Plaintiffs do know is that Brantley had some computer access at school

20   in his 8th grade year, but that access was limited. Things changed when Brantley started 9th

21   grade, however, as everything was then done on computers and the kids were allowed access

22   to the internet once their assignments were complete. Unfortunately for Plaintiffs’ Blair and

23   Gregorio Aranda, Brantley was a strong student and often finished his assignments quickly

24   – which meant considerable internet access via school devices.

25          147.    Blair Aranda complained to the school, but nothing changed.

26          148.    In May of 2018, Brantley Aranda was telling his mother about how all his

27   friends were opening social media accounts, without their parents’ knowledge, and were

28   accessing those accounts at school. Because it was May, Brantley had finished most of his

                                                   51
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 142Page
                                                                   Page
                                                                    of 375
                                                                         55
                                                                         52PageID
                                                                            of
                                                                            of 79
                                                                               76 #:290




 1   testing, which meant that he had even more time to be on the school computers unsupervised.

 2          149.    To obtain some control over Brantley’s use of social media and because Blair

 3   Aranda understood from Meta’s marketing and public statements, as well as its Community

 4   Guidelines and other representations about safety and use of technology to enforce its rules

 5   and keep children safe, Plaintiff Blair Aranda told Brandley that he could open a Facebook

 6   account. She told him that she would need to always have access to his password and that

 7   his use would be limited. Brantley enthusiastically agreed and, to his parents’ knowledge,

 8   this is when he opened his first Facebook account – May of 2018.

 9          150.    Discovery on Facebook will be required to confirm whether this was, in fact,

10   his first Facebook account – as Meta’s social media product design permits children to create

11   accounts with parental permission or oversight.

12          151.    Either way, Brantley still did not have internet access on his cell phone, so

13   the only social media access known to his parents at that time was during earned computer

14   time and, of course, at school when he was allowed to use school devices. It is unknown

15   whether Brantley was using any of his friends’ devices or other sources to access social

16   media, though Meta will have this information and it can also be obtained in discovery.

17          152.    Brantley’s Facebook use coincided with a gradual but steady decline in his

18   mental health. He went from a confident and outgoing young man to someone who was

19   uncomfortable in social situations and anxious. It was a slow but steady change, and

20   Plaintiffs could not identify the source. Brantley had become addicted to social media.

21          153.    Unbeknownst to Plaintiffs, Facebook’s harmful social comparison products

22   and the constant and harmful images Meta pushed to Brantley via algorithms and targeted

23   advertising – actions for which Facebook profited as direct result – were having a foreseeable

24   and harmful impact on Brantley’s self-image and self-esteem, resulting in some anxiety,

25   difficulty with focus, and, in retrospect, likely even thoughts of suicide and self-injury. These

26   are the precise types of harms Meta identified internally as harms use of its social media

27   products can cause, including and specifically as among young users.

28          154.    Meta knew that its Facebook product could and was causing this harm but

                                                    52
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 143Page
                                                                   Page
                                                                    of 375
                                                                         56
                                                                         53PageID
                                                                            of
                                                                            of 79
                                                                               76 #:291




 1   failed to disclose any of its findings on these issues outside the confines of its company. On

 2   the contrary, it fostered a corporate culture of silence by fear. See, e.g. infra, FBP 32/13,

 3   Comms FYI on New York Times story (January 2020), p. 2-7, FBP 02/02, departure letter,

 4   dated September 7, 2020, p. 20.

 5          155.    Meta also knew or should have known that it was causing this harm to

 6   Brantley, including based on his usage information and patterns—which Meta collects and

 7   closely tracks—and content to which it was repeatedly exposing him via unsolicited

 8   methods, such as content Facebook pushes to its young users. This was not communication

 9   between multiple users, but advertisements and similar content Meta alone was pushing to

10   Brantley as part of its business model and product operations.

11          156.    More to the point, Meta has designed its proprietary systems in a manner that

12   enables Meta to benefit incredibly from its algorithmic programming and the content it

13   directs to young users; whereas, on information and belief, Meta may or will claim that it

14   cannot now ascertain the precise programming and or content utilized in connection with

15   individual users. Discovery as to Meta’s systems and its retention policies and processes, as

16   well as the design of its systems to benefit from but not retain certain data points, will be

17   material in this case – and material to finding out precisely what Meta is doing to American

18   teens. Nonetheless, there is ample evidence and admissions in the Facebook Papers, which

19   make clear that Meta was knowingly pushing harmful content to children in manners and

20   quantities Meta itself recognized as being inherently dangerous for user health and wellbeing.

21          157.    Meta prioritized profits over the well-being of a substantial number of

22   children to whom it was marketing and providing its social media products. In the words of

23   the Facebook whistleblower, Meta is morally bankrupt – and the Facebook papers prove it.

24          158.    In or about April 2019, Brantley began having issues with his cell phone.

25   Texts to his girlfriend were not going through. Brantley tried a factory reset of his device in

26   late April 2019, but it the issue did not resolve.

27          159.    In or about May 2019, Brantley got a new cell phone and this one had internet

28   access. He was 17 years old at the time.

                                                    53
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 144Page
                                                                   Page
                                                                    of 375
                                                                         57
                                                                         54PageID
                                                                            of
                                                                            of 79
                                                                               76 #:292




 1          160.    Plaintiff Blair Aranda tried to discourage Facebook use on his new cell phone

 2   by telling Brantley that they had a limited phone plan, and that it would cost more if he used

 3   the internet. Brantley quickly figured out that this was not the case.

 4          161.    Plaintiffs Blair and Gregorio Aranda also spoke with Brantley about the

 5   dangers of the internet. This was not a social media specific discussion, because they did not

 6   know that Facebook itself was the greatest danger to their son.

 7          162.    Blair and Gregorio cautioned their son to stay away from pornography, and

 8   to not trust or engagement with strangers. When it came to video games, Blair Aranda

 9   observed as Brantley did not engage with and ignored strangers who tried to engage with

10   him. She hoped and trusted that he would use the same judgment when it came to the internet

11   more generally. She did not like that he had internet access, and she still did not like that he

12   had any social media accounts at all – she did not fully understand social media but knew

13   that she could not stop him based on how Defendants designed their products.

14          163.    Saying no to social media was not a choice Meta provided to Plaintiffs, nor is

15   it a choice Meta provides to any parent. Meta makes its products available to underage

16   children and teens and designs its products to thwart parental control and consent.

17          164.    When Brantley got his new phone, Plaintiffs also instituted rules to make sure

18   that Brantley would go to sleep instead of staying up on his phone. He had to plug his phone

19   in at a location he could not reach from his bed, and Blair Aranda would often check in on

20   Brantley at night when she was up late.

21          165.    At first, his phone was across the room. Then Brantley asked if he could plug

22   it in on a high shelf next to his bed, as that was the location of his outlet. Blair agreed but

23   continued to check in on him from time to time.

24          166.    While Blair Aranda never caught her son awake and on his phone in the

25   middle of the night, she now knows that this is precisely what Brantley was doing. After

26   Brantley’s death, Blair discovered that he had been up at all hours–often as late as 4 a.m.–on

27   Facebook and Facebook Messenger, which resulted in sleep deprivation and mental harm.

28          167.    Meta tracks usage of its social media products and, on that basis, had actual

                                                   54
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 145Page
                                                                   Page
                                                                    of 375
                                                                         58
                                                                         55PageID
                                                                            of
                                                                            of 79
                                                                               76 #:293




 1   knowledge of this excessive and harmful use by a minor user.

 2          168.    Meta also affirmatively promotes and amplifies harmful content to users and

 3   did so to Brantley. To name only one example, in June of 2019 Brantley and his then-

 4   girlfriend broke up. Just after the breakup, Brantley told Blair Aranda that Facebook had

 5   started to show him articles and content about relationships, things with titles like “How to

 6   keep your relationship.” This content was unwanted by Brantley and caused emotional harm.

 7   Brantley did not want or search for this content; instead, Meta’s controlled and pushed this

 8   content to Brantley based on its exploitation of Brantley’s most private and personal data. It

 9   did so as part of a calculated attempt to increase Brantley’s usage of and dependency on its

10   Facebook social media product.

11          169.    Meta had also been making recommendations to Brantley and others in

12   Brantley’s “friend” network since he first opened a Facebook account. These

13   recommendations included Facebook groups and content, as well as Facebook users Meta

14   determined it should connect with Brantley and/or members of his “friend” network which

15   then often, and because of how Meta designs its recommendation algorithms, would

16   recommend those persons to Brantley directly. The user recommendations are made by a

17   product called “People You May Know” or “PYMK.”

18          170.    In Brantley’s case, these Meta products – the recommendation algorithms –

19   were promoting and amplifying to Brantley harmful users, user groups, and content specific

20   recommendations – including adult and minor users who began encouraging Brantley to

21   engage in self-harm and even suicide. These are individuals and content Brantley would

22   never have been exposed to but for Meta’s recommendation products and decisions to

23   promote these specific users and groups, and this specific content to Brantley.

24          171.    As Brantley’s Meta-driven exposure to these harms increased, so did his

25   mental health, in a manner that was both foreseeable by Meta and fatal to Brantley.

26          172.    In the summer of 2019, Brantley started complaining of shortness of breath

27   and other symptoms. Plaintiffs were not certain whether these were the result of him vaping

28   (which habit they did not know about until the summer of 2019) or his anxiety, or both.

                                                  55
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 146Page
                                                                   Page
                                                                    of 375
                                                                         59
                                                                         56PageID
                                                                            of
                                                                            of 79
                                                                               76 #:294




 1   Plaintiffs took Brantley to specialists in the hopes of finding out what was wrong.

 2          173.     Brantley’s parents became increasingly worried about a possible heart

 3   condition, but doctors found nothing wrong other than orthostatic hypertension, and told him

 4   to eat more salt.

 5          174.     In June 2019, Blaire Aranda learned that Brantley had engaged in self-harm.

 6   His parents put him in counseling, hoping to get to the bottom of what was happening. Again,

 7   they did not know about his social media dependency, or the harmful content being directed

 8   to him by Meta, and without this information, counseling was not enough. Brantley was

 9   becoming more dependent on Facebook and was on Facebook and Facebook Messenger all

10   hours of the day and night, without his parents’ knowledge or consent.

11          175.     What Meta knew or should have known, but Plaintiffs did not know and could

12   not reasonably have discovered, is that Brantley was severely sleep deprived and had become

13   increasingly withdrawn and anxious because of his Facebook dependency and the multiple

14   features and functions of the Facebook product designed to encourage that dependency – all

15   for the sake of Meta’s growing and astronomical profits.

16          176.     In fact, Meta was also sending Brantley emails and push notifications in the

17   middle of the night, while he was in school, and at other times designed to affirmatively push

18   Brantley to log back into Facebook and to increase his dependency on the Facebook social

19   media product – which is what happened. Internal Meta documents confirm these design

20   objectives.

21          177.     What Meta also knew or should have known, but Plaintiffs did not know and

22   could not reasonably have discovered, is that when you separate an addicted child from social

23   media, for even a few hours, it puts them in vulnerable and emotionally unstable place. This

24   is a foreseeable consequence of addiction.

25          178.     On September 4, 2019, Brantley Aranda got in trouble for fighting with his

26   brother. Plaintiff Gregorio Aranda took his cell phone as consequence for his behavior.

27          179.     The family attended Wednesday night church, as the always tried to do, and

28   Blair Aranda noticed Brantley writing something during the sermon, which assumed were

                                                  56
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 147Page
                                                                   Page
                                                                    of 375
                                                                         60
                                                                         57PageID
                                                                            of
                                                                            of 79
                                                                               76 #:295




 1   notes on the sermon itself. It turned out to be a suicide note.

 2          180.    Brantley asked to go home after church. Blair stayed to cook food—which

 3   was typical after Wednesday night church, through Brantley usually stayed to help. She

 4   agreed to let him go home with his grandparents instead, as they live close to Plaintiffs.

 5          181.    Blair Aranda expected Brantley to stay with his grandparents, but he told them

 6   that he had homework to do so he returned to Plaintiffs’ home instead.

 7          182.    When Blair Aranda arrived home after church, she found Brantley with a

 8   bullet in his chest. He was still alive when she found him, but quickly passed. His suicide

 9   note read, “I’m sorry for everything.”

10          183.    Brantley Aranda died on September 4, 2019, ten days into his senior year of

11   high school and less than four months after obtaining access to the Facebook social media

12   product on a personal cell phone device.

13          184.    The harmful dependency Meta knowingly created, and the harmful content

14   Meta promoted and amplified via its recommendation systems and algorithms proximately

15   caused Brantley Aranda’s death.

16          185.    Without access to social media, Brantley Aranda had no distraction, only his

17   thoughts and everything he felt like he was going through because of Meta’s social media

18   product design and process, its engineered dependency, and the resulting and foreseeable

19   impact of sleep deprivation, depression, and anxiety.

20          186.    After Brantley’s death, Blair Aranda started to look for answers. She hoped

21   to find out more through Brantley’s Facebook activity, so wrote to Facebook and requested

22   his messages. Facebook agreed but when it sent the content none of the memes or photos

23   were included. She asked again but received the same incomplete product in response and

24   was told by Meta that this was the most they would provide.

25          187.    Blair then went directly to Brantley’s Facebook account and took screen shots

26   of every message on Facebook Messenger. It was not until September of 2021, when the

27   Facebook whistleblower came forward, that any of it began to make sense.

28          188.    Brantley’s death was the proximate result of psychic injury caused by his

                                                    57
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 148Page
                                                                   Page
                                                                    of 375
                                                                         61
                                                                         58PageID
                                                                            of
                                                                            of 79
                                                                               76 #:296




 1   addictive use of Facebook, and as set forth above.

 2          189.    But for Meta’s refusal to conduct a reasonable age verification or confirm

 3   parental consent for minor users, Brantley Aranda would not have been exposed to the

 4   harmful features and design of Meta’s Facebook product.

 5          190.    But for certain product features, such as Facebook’s “like” feature, Brantley

 6   Aranda would not have experienced the anxiety and depression that stem from harmful social

 7   comparison designs.

 8          191.    But for Meta’s recommendation systems as well as content promotion and

 9   amplification, public profile, and direct messaging settings, Brantley Aranda would not have

10   been exposed to users encouraging and content prompting self-harm and suicide – content

11   Meta knew about or should have known about yet recommended and pushed to young and

12   “vulnerable” users like and including Brantley Aranda.

13          192.    But for Facebook’s endless feed and explore features, and other product

14   designs, Brantley Aranda would not have experienced the harmful dependencies that these

15   features were designed to promote.

16          193.    Throughout the period of Brantley’s Facebook use, Plaintiffs were unaware

17   of the addictive and mentally harmful effects of Facebook. There were also not aware of the

18   resulting sleep deprivation and incredibly harmful emotional impact those factors were

19   having on Brantley physical and mental health. They were also not aware of the algorithm

20   products that were affirmatively connected Brantley with and otherwise suggesting and

21   directing him to harmful users, groups, and content – users, groups, and content to which

22   Brantley would not have been exposed by for Meta’s affirmative conduct, which was

23   intended to connect Brantley with as many users and groups and as much content as possible

24   as a means of increasing his dependency and engagement to the Facebook product.

25          194.    Meta designed Facebook to frustrate and prevent parents like Blair and

26   Gregoria Aranda from exercising their rights and duties as parents to monitor and limit their

27   child’s use of their social media products.

28          195.    Meta not only failed to warn Plaintiffs of these dangers, known only to Meta,

                                                   58
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 149Page
                                                                   Page
                                                                    of 375
                                                                         62
                                                                         59PageID
                                                                            of
                                                                            of 79
                                                                               76 #:297




 1   but affirmatively misrepresented the safety, utility, and addictive properties of its Facebook

 2   product to minor users and their parents in a manner that was designed to, and reasonably

 3   did, create reliance on those same minor users and their parents to their detriment.

 4                                    VI.   PLAINTIFF’S CLAIMS

 5                  COUNT I - STRICT PRODUCT LIABILITY (Design Defect)

 6           196.    Plaintiff reallege each and every allegation contained in paragraphs 1 through
 7   195 as if fully stated herein.
 8           197.    Under Restatement (Second) of Torts § 402(a) and California law, one who
 9   sells any product in a defective condition unreasonably dangerous to the user is subject to
10   liability for physical harm thereby caused to the user if (a) the seller is engaged in the
11   business of selling such a product, and (b) it is expected to and does reach the user or
12   consumer without substantial change in the condition which it was sold.
13           198.    Meta’s Facebook product is defective because the foreseeable risks of harm
14   posed by the product’s design could have been reduced or avoided by the adoption of a
15   reasonable alternative design by Meta and the omission of the alternative design renders the
16   product not reasonably safe. These defective conditions rendered this product unreasonably
17   dangerous to persons or property and existed at the time the product left Meta’s control,
18   reached the user or consumer without substantial change in the condition and its defective

19   condition was a cause of Plaintiffs’ injuries.
20           199.    Meta designed, manufactured, marketed, and sold a social media product that
21   was unreasonably dangerous because it was designed to be addictive to the minor users to
22   whom Meta actively marketed and because the foreseeable use of Meta’s Facebook product
23   causes mental and physical harm to minor users.
24           200.    Defendants’ products were unreasonably dangerous because they contained
25   numerous design characteristics that are not necessary for the utility provided to the user but
26   are unreasonably dangerous and implemented by Defendants solely to increase the profits
27   they derived from each additional user and the length of time they could keep each user
28   dependent on their product.

                                                      59
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 150Page
                                                                   Page
                                                                    of 375
                                                                         63
                                                                         60PageID
                                                                            of
                                                                            of 79
                                                                               76 #:298




 1      A. Inadequate Safeguards From Harmful and Exploitative Recommendations and

 2          Promotions

 3          201.    Facebook is defectively designed.

 4          202.    As designed, Facebook algorithms and other product features are not

 5   reasonably safe because they affirmatively direct minor users to harmful and exploitative

 6   content while failing to deploy feasible safeguards to protect vulnerable teens from such

 7   harmful exposures. It is feasible to design an algorithm and technologies that substantially

 8   distinguish between harmful and innocuous content and protect minor users from being

 9   exposed to harmful content without altering, modifying, or deleting any third-party content

10   posted on Meta’s social media product. It is also feasible to design a social media product

11   that does not use algorithms in connection with minor user accounts and/or only uses limited

12   algorithms when responding to specific, user-generated inquiries, as opposed to what Meta

13   does now, which is select, promote, amplify, recommend, and organize and present in an

14   overwhelming and harmful manner massive amounts of harmful and exploitative content to

15   teens and children in the interest of engagement and corporate profits. The cost of designing

16   these products to incorporate such safeguards would be negligible while benefit would be

17   high in terms of reducing the quantum of mental and physical harm sustained by minor users

18   and their families.

19          203.    As designed, Facebook algorithms and other product features are not

20   reasonably safe because they affirmatively direct and recommend minor users to harmful

21   Facebook groups and other users, while failing to deploy feasible safeguards to protect

22   vulnerable teens from such harmful exposures. It is feasible to design an algorithm and

23   technologies that do not make harmful connection recommendations to minor users, or any

24   connection recommendations at all; it is feasible to design and algorithm and technologies

25   that do not recommend harmful Facebook groups to minor users, or any group

26   recommendations at all; and it is feasible to restrict access to minor users by strangers and

27   adult users via direct messaging, to restrict and limit such access to users already on a minor

28   user’s “friend” list, or to prevent such access altogether. Facebook knows that these product

                                                   60
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 151Page
                                                                   Page
                                                                    of 375
                                                                         64
                                                                         61PageID
                                                                            of
                                                                            of 79
                                                                               76 #:299




 1   features cause a significant number of harms to its minor users, such as sexual exploitation,

 2   bullying, and the type of encouragement of self-harm and suicide at issue in this case.

 3           204.   Meta also engages in conduct, outside of the algorithms and related

 4   technologies themselves, designed to promote harmful and exploitative content as a means

 5   of increasing Meta’s revenue from advertisements. This includes but is not limited to efforts

 6   to encourage advertisers to design ads that appeal to minors, including teens like Brantley

 7   Aranda; and product design features intended to attract and engage minor users to these

 8   virtual spaces where harmful ad content is then pushed to those users in a manner intended

 9   to increase user engagement, thereby increasing revenue to Meta at the direct cost of user

10   wellbeing.

11           205.   Reasonable users (and their parents) would not expect that Meta products

12   would knowingly expose them to such harmful content and/or that Meta’s products would

13   direct them to harmful content at all, much less in the manipulative and coercive manner that

14   they do. Meta has and continues to knowingly use its algorithms and other technologies on

15   users in a manner designed to affirmatively change their behavior, which methods are

16   particularly effective on (and harmful to) Meta’s youngest users.

17   B.      Failure to Verify Minor Users’ Age and Identity

18           206.   Facebook is defectively designed.

19           207.   As designed, Meta’s product is not reasonably safe because they do not

20   provide for adequate age verification by requiring users to document and verify their age and

21   identity.

22           208.   Adults frequently set up user accounts on Meta’s social media product posing

23   as minors to groom unsuspecting minors to exchange sexually explicit content and images,

24   which frequently progresses to sexual exploitation and trafficking.

25           209.   Minor users of social media and their parents do not reasonably expect that

26   prurient adults set up fraudulent accounts on Meta’s social media product and pose as minors

27   for malign purposes.

28           210.   Moreover, reasonably accurate age and identity verification is not only

                                                  61
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 152Page
                                                                   Page
                                                                    of 375
                                                                         65
                                                                         62PageID
                                                                            of
                                                                            of 79
                                                                               76 #:300




 1   feasible but widely deployed by online retailers and internet service providers. Meta not only

 2   can estimate the age of its users, but it does.

 3           211.    The cost of incorporating age and identify verification into Meta’s product

 4   would be negligible, whereas the benefit of age and identity verification would be a

 5   substantial reduction in severe mental health harms, sexual exploitation, and abuse among

 6   minor users of Meta’s product.

 7   C.      Inadequate Parental Control and Monitoring

 8           212.    Facebook is defectively designed.

 9           213.    Meta’s product is also defective for lack of parental controls, permission, and

10   monitoring capability available on many other devices and applications.

11           214.    It is feasible to design a social media product that requires parental consent

12   for users under the age of 18 and prohibits users under the age of 13.

13           215.    Instead, Meta’s product is designed with specific product features intended to

14   prevent and/or interfere with parents’ reasonable and lawful exercise of parental control,

15   permission, and monitoring capability available on many other devices and applications.

16   D.      Intentional Direction of Minor Users to Harmful and Exploitative Content

17           216.    Facebook is defectively designed.

18           217.    Default “recommendations” communicated to new teenage users, including

19   Brantley Aranda, purposefully steered him toward content Meta knew to be harmful to

20   children of his age and gender

21           218.    Ad content pushed to new teenage users, including Brantley Aranda, because

22   of their age and vulnerability, purposefully steer those users toward content Meta knows to

23   be harmful to children of their age and gender.

24   E.      Inadequate Protection of Minors from Sexual Exploitation and Abuse

25           219.    Facebook is defectively designed.

26           220.    Meta’s product is not reasonably safe because it does not protect minor users

27   from sexually explicit content and images or report sex offenders to law enforcement or

28   allow users’ parents to readily report abusive users to law enforcement.

                                                       62
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 153Page
                                                                   Page
                                                                    of 375
                                                                         66
                                                                         63PageID
                                                                            of
                                                                            of 79
                                                                               76 #:301




 1          221.    Parents do not expect their children will use Meta’s product to exchange

 2   sexually explicit content and images, and minor users do not expect that prurient adults pose

 3   as minors for malign purposes or that exchange of such content will be deleterious to their

 4   personal safety and emotional health.

 5          222.    Minor users of Meta’s product lack the cognitive ability and life experience

 6   to identify online grooming behaviors by prurient adults and lack the psychosocial maturity

 7   to decline invitations to exchange salacious material.

 8          223.    Meta’s product is unreasonably dangerous and defective as designed because

 9   it allows minor children to use “public” profiles, in many cases default “public” profiles, that

10   can be mass messaged by anonymous and semi-anonymous adult users for the purposes of

11   sexual exploitation, and grooming, including the sending of encrypted, disappearing

12   messages and cash rewards through Meta’s integrated design features.

13   F.     Design of Addictive Social Media Products

14          224.    Facebook is defectively designed.

15          225.    As designed, Meta’s social media product is addictive to minor users as

16   follows: When minors use design features such as “likes” it cause their brains release

17   dopamine which creates short term euphoria. However, as soon as dopamine is released,

18   minor users’ brains adapt by reducing or “downregulating” the number of dopamine

19   receptors that are stimulated and their euphoria is countered by dejection. In normal

20   stimulatory environments, this dejection abates, and neutrality is restored. However, Meta’s

21   algorithms are designed to exploit users’ natural tendency to counteract dejection by going

22   back to the source of pleasure for another dose of euphoria. As this pattern continues over a

23   period of months and the neurological baseline to trigger minor users’ dopamine responses

24   increases, they continue to use Instagram, not for enjoyment, but simply to feel normal. Once

25   they stop using Instagram, minor users experience the universal symptoms of withdrawal

26   from any addictive substance including anxiety, irritability, insomnia, and craving.

27          226.    Addiction is not restricted to a substance abuse disorders. Rather, the

28   working definition of addiction promulgated in the seminal article Addictive behaviors:

                                                   63
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 154Page
                                                                   Page
                                                                    of 375
                                                                         67
                                                                         64PageID
                                                                            of
                                                                            of 79
                                                                               76 #:302




 1   Etiology and Treatment published by the American Psychological Association in

 2   its 1988 Annual Review of Psychology defines addiction as,

 3          a repetitive habit pattern that increases the risk of disease and/or associated personal
            and social problems. Addictive behaviors are often experienced subjectively as ‘loss
 4
            of control’ – the behavior contrives to occur despite volitional attempts to abstain or
 5          moderate use. These habit patterns are typically characterized by immediate
            gratification (short term reward), often coupled with delayed deleterious effects (long
 6          term costs). Attempts to change an addictive behavior (via treatment or self-
            initiation) are typically marked with high relapse rates.
 7
 8          227.    Addiction researchers agree that addiction involves six core components:

 9   (1) salience—the activity dominates thinking and behavior; (2) mood modification—the

10   activity modifies/improves mood; (3) tolerance—increasing amounts of the activity are

11   required to achieve previous effects; (4) withdrawal—the occurrence of unpleasant feelings

12   when the activity is discontinued or suddenly reduced; (5) conflict—the activity causes

13   conflicts in relationships, in work/education, and other activities; and (6) relapse—a

14   tendency to revert to earlier patterns of the activity after abstinence or control.

15          228.     Social media addiction has emerged as a problem of global concern, with

16   researchers all over the world conducting studies to evaluate how pervasive the problem

17   is. Addictive social media use is manifested when a user (10 becomes preoccupied by social

18   media (salience); (2) uses social media in order to reduce negative feelings (mood

19   modification); (3) gradually uses social media more and more in to get the same pleasure

20   from it (tolerance/craving); (4) suffers distress if prohibited from using social media

21   (withdrawal); (5) sacrifices other obligations and/ or cases harm to other important life areas

22   because of their social media use (conflict/functional impairment); and (6) seeks to curtail

23   their use of social media without success (relapse/loss of control).

24          229.    The Bergen Facebook Addiction Scale (BFAS) was specifically developed

25   by psychologists in to assess subjects’ social media use using the aforementioned addiction

26   criteria, and is by far the most widely used measure of social media addiction. Originally

27   designed for Facebook, BFAS has since been generalized to all social media. BFAS has

28   been translated into dozens of languages, including Chinese, and is used by researchers

                                                    64
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
       Case: 1:22-cv-02968
              Case
              Case 3:22-cv-04209-SK
                    PendingDocument
                            No. 97 Document
                                    #:Document
                                       8-1 Filed:
                                               1-6108/03/22
                                                     Filed
                                                     Filed 08/01/22
                                                           07/20/22
                                                            Page 155Page
                                                                    Page
                                                                     of 375
                                                                          68
                                                                          65PageID
                                                                             of
                                                                             of 79
                                                                                76 #:303




 1   throughout the world to measure social media addiction.

 2            230.    BFAS asks subjects to consider their social media usage with respect to the

 3   six following statements and answer either (1) very rarely, (2) rarely, (3) sometimes, (4)

 4   often, or (5) very often,

 5            231.    You spend a lot of time thinking about social media or planning how to use

 6   it.

 7            232.    You feel an urge to use social media more and more.

 8            233.    You use social media in order to forget about personal problems.

 9            234.    You have tried to cut down on the use of social media without success.

10            235.    You become restless or troubled if you are prohibited from using social

11   media.

12            236.    You use social media so much that it has had a negative impact on your

13   job/studies.

14   Subjects who score a “4” or “5” on at least 4 of those statements are deemed to suffer from
15   social media addiction.
16            237.    Addictive use of social media by minors is psychologically and
17   neurologically analogous to addiction to internet gaming disorder as described in the
18   American Psychiatric Association's 2013 Diagnostic and Statistical Manual of Mental
19   Disorders (DSM-5), which is used by mental health professionals to diagnose mental
20   disorders. Gaming addiction is a recognized mental health disorder by the World Health
21   Organization and International Classification of Diseases and is functionally and
22   psychologically equivalent to social media addition. The diagnostic symptoms of social
23   media addiction among minors are the same as the symptoms of addictive gaming
24   promulgated in DSM 5 and include:
25            238.    Preoccupation with social media and withdrawal symptoms (sadness, anxiety,
26   irritability) when device is taken away or not possible (sadness, anxiety, irritability).
27               a. Tolerance, the need to spend more time using social media to satisfy the urge.
28               b. Inability to reduce social media usages, unsuccessful attempts to quit gaming.

                                                    65
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 156Page
                                                                   Page
                                                                    of 375
                                                                         69
                                                                         66PageID
                                                                            of
                                                                            of 79
                                                                               76 #:304




 1              c. Giving up other activities, loss of interest in previously enjoyed activities due to

 2                  social media usage.

 3              d. Continuing to use social media despite problems.

 4              e. Deceiving family members or others about the amount of time spent on social

 5                  media.

 6              f. The use of social media to relieve negative moods, such as guilt or hopelessness.

 7              g. and Jeopardized school or work performance or relationships due to social media

 8                  usage.

 9          239.    Meta’s advertising profit is directly tied to the amount of time that its users

10   spend online, and its algorithms and other product features are designed to maximize the

11   time users spend using the product by directing them to content that is progressively more

12   and more stimulative. Meta enhances advertising revenue by maximizing users’ time online

13   through a product design that addicts them to the platform. However, reasonable minor users

14   and their parents do not expect that on-line social media platforms are psychologically and

15   neurologically addictive.

16          240.    It is feasible to make Meta’s product less addictive and less harmful to minor

17   users by limiting the frequency and duration of access and suspending service during

18   sleeping hours.

19          241.    At negligible cost, Meta could design software that limits the frequency and

20   duration of minor users’ screen use and suspends service during sleeping hours; the benefit

21   of minor users maintaining healthy sleep patterns would be a significant reduction in

22   depression, attempted and completed suicide and other forms self-harm among this

23   vulnerable age cohort.

24   G.     Inadequate Notification of Parents of Dangerous and Problematic Social Media

25          Usage by Minor Users

26          242.    Facebook is defectively designed.

27          243.    Meta’s product is not reasonably safe as designed because it does not include

28   any safeguards to notify users and their parents of usage that Meta knows to be problematic

                                                  66
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 157Page
                                                                   Page
                                                                    of 375
                                                                         70
                                                                         67PageID
                                                                            of
                                                                            of 79
                                                                               76 #:305




 1   and likely to cause negative mental health effects to users, including excessive passive use

 2   and use disruptive of normal sleep patterns. This design is defective and unreasonable

 3   because:

 4           244.    It is reasonable for parents to expect that social media companies that actively

 5   promote their platforms to minors will undertake reasonable efforts to notify parents when

 6   their child’s use becomes excessive or occurs during sleep time. It is feasible for Meta to

 7   design a product that identifies a significant percentage of its minor users who are using the

 8   product more than three hours per day or using it during sleeping hours at negligible cost.

 9           245.    Meta’s product is not reasonably safe as designed because, despite numerous

10   reported instances of child sexual solicitation, exploitation, and other abuses by adult users,

11   Meta has not undertaken reasonable design changes to protect underage users from this

12   abuse, including notifying parents of underage users when they have been messaged or

13   solicited by an adult user or when a user has sent inappropriate content to minor users. Meta

14   is aware of these harms.

15           246.    Meta’s entire business is premised upon collecting and analyzing user data

16   and it is feasible to use Meta’s data and algorithms to identify and restrict improper sexual

17   solicitation, exploitation, and abuse by adult users.

18           247.    Moreover, it is reasonable for parents to expect that platforms such as

19   Facebook, which actively promote its services to minors, will undertake reasonable efforts

20   to identify users suffering from mental injury, self-harm, or sexual abuse and implement

21   technological safeguards to notify parents by text, email, or other reasonable means that their

22   child is in danger. In fact, it is not just reasonable, it is what Meta was actually doing – it was

23   lulling parents into believe that it was using its technologies and AI to protect their children,

24   not to exploit and profit from them which is what actually happened.

25           248.    As a proximate result of these dangerous and defective design attributes of

26   Meta’s product, Brantley suffered severe and fatal mental harm. Plaintiffs did not know, and

27   in the exercise of reasonable diligence could not have known, of these defective design in

28   Meta’s product until late 2021 at the absolute soonest.

                                                     67
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 158Page
                                                                   Page
                                                                    of 375
                                                                         71
                                                                         68PageID
                                                                            of
                                                                            of 79
                                                                               76 #:306




 1           249.    As a result of these dangerous and defective design attributes of Meta’s

 2   product, Plaintiffs Blair and Gregorio Aranda have suffered emotional distress and pecuniary

 3   hardship due to their child’s mental harm resulting from his social media addiction.

 4           250.    Meta is further liable to Plaintiffs for punitive damages based upon the willful

 5   and wanton design of its product that was intentionally marketed and sold to underage users,

 6   whom they knew would be seriously harmed through their use of Facebook.

 7              COUNT II – STRICT PRODUCT LIABILITY (Failure to Warn)

 8           251.    Plaintiff reallege each and every allegation contained in paragraphs 1 through
 9   244 as if fully stated herein.
10           252.    Meta’s product is defective because of inadequate instructions or warnings
11   because the foreseeable risks of harm posed by the product could have been reduced or
12   avoided by the provision of reasonable instructions or warnings by the manufacturer and the
13   omission of the instructions or warnings renders the product not reasonably safe. This
14   defective condition rendered the product unreasonably dangerous to persons or property,
15   existed at the time the product left Meta’s control, reached the user or consumer without
16   substantial change in the condition in which it was sold, and was a cause of Plaintiffs’ injury.
17           253.    Meta’s product is unreasonably dangerous and defective because it contains
18   no warning to users or parents regarding the addictive design and effects of Facebook.

19           254.    Meta’s social media product relies on highly complex and proprietary
20   algorithms that are both undisclosed and unfathomable to ordinary consumers, who do not
21   expect that social media platforms are physically and/or psychologically addictive.
22           255.    The magnitude of harm from addiction to Meta’s product is horrific, ranging
23   from simple diversion from academic, athletic, and face-to-face socialization to sleep loss,
24   severe depression, anxiety, self-harm, and suicide.
25           256.    Meta had actual knowledge of such harms.
26           257.    Meta’s product is unreasonably dangerous because it lacks any warnings that
27   foreseeable product use can disrupt healthy sleep patterns or specific warnings to parents
28   when their child’s product usage exceeds healthy levels or occurs during sleep hours.

                                                   68
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 159Page
                                                                   Page
                                                                    of 375
                                                                         72
                                                                         69PageID
                                                                            of
                                                                            of 79
                                                                               76 #:307




 1   Excessive screen time is harmful to adolescents’ mental health and sleep patterns and

 2   emotional well-being. Reasonable and responsible parents are not able to accurately monitor

 3   their child’s screen time because most adolescents own or can obtain access to mobile

 4   devices and engage in social media use outside their parents’ presence.

 5           258.    It is feasible for Meta’s product to report the frequency and duration of their

 6   minor users’ screen time to their parents without disclosing the content of communications

 7   at negligible cost, whereas parents’ ability to track the frequency, time and duration of their

 8   minor child’s social media use are better situated to identify and address problems arising

 9   from such use and to better exercise their rights and responsibilities as parents.

10           259.    Meta knew about these harms, knew that users and parents would not be able

11   to safely use its product without warnings, and failed to provide warnings that were adequate

12   to make the product reasonably safe during ordinary and foreseeable use by children.

13           260.    As a result of Meta’s failure to warn, Brantley Aranda suffered severe mental

14   harm, leading to physical injury and death because of his use of Facebook.

15           261.    As a result of Meta’s failure to warn, Plaintiffs Blair and Gregorio Aranda,

16   suffered emotional distress and pecuniary hardship due to their child’s mental harm and death

17   resulting from his harmful and dependent use of Facebook.

18           262.    Meta is further liable to Plaintiffs for punitive damages based upon its willful

19   and wanton failure to warn of known dangers of its product that was intentionally marketed

20   and sold to teenage users, whom they knew would be seriously harmed through their use of

21   Facebook.

22                                    COUNT III – NEGLIGENCE
23           263.    Plaintiff reallege each and every allegation contained in paragraphs 1 through
24   256 as if fully stated herein.
25           264.    At all relevant times, Meta had a duty to exercise reasonable care and caution
26   for the safety of individuals using its product, such as Brantley Aranda.
27           265.    Meta owes a heightened duty of care to minor users of its social media product
28   because adolescents’ brains are not fully developed, which results in a diminished capacity

                                                   69
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 160Page
                                                                   Page
                                                                    of 375
                                                                         73
                                                                         70PageID
                                                                            of
                                                                            of 79
                                                                               76 #:308




 1   to make good decisions regarding their social media usages, eschew self-destructive

 2   behaviors, and overcome emotional and psychological harm from negative and destructive

 3   social media encounters.

 4          266.    As a product manufacturer marketing and selling products to consumers,

 5   Meta owed a duty to exercise ordinary care in the manufacture, marketing, and sale of its

 6   product, including a duty to warn minor users and their parents of hazards that Meta knew to

 7   be present, but not obvious, to underage users and their parents.

 8          267.    As a business owner, Meta owes its users who visit Meta’s social media

 9   platform and from whom Meta’s derive billions of dollars per year in advertising revenue a

10   duty of ordinary care substantially similar to that owed by physical business owners to its

11   business invitees.

12          268.    Meta was negligent, grossly negligent, reckless and/or careless in that they

13   failed to exercise ordinary care and caution for the safety of underage users, like Brantley

14   Aranda, using its Facebook product.

15          269.    Meta was negligent in failing to conduct adequate testing and failing to allow

16   independent academic researchers to adequately study the effects of its product and levels of

17   problematic use amongst teenage users. Meta has extensive internal research indicating that

18   its product is harmful, causes extensive mental harm and that minor users are engaging in

19   problematic and addictive use that their parents are helpless to monitor and prevent.

20          270.    Meta was negligent in failing to provide adequate warnings about the dangers

21   associated with the use of social media products and in failing to advise users and their

22   parents about how and when to safely use its social media platform and features.

23          271.    Meta was negligent in failing to fully assess, investigate, and restrict the use

24   of Instagram by adults to sexually solicit, abuse, manipulate, and exploit minor users of its

25   Instagram product.

26          272.    Meta is negligent in failing to provide users and parents the tools to ensure its

27   social media product is used in a limited and safe manner by underage users.

28          273.    As a result of Meta’s negligence, Brantley Aranda suffered severe mental

                                                   70
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 161Page
                                                                   Page
                                                                    of 375
                                                                         74
                                                                         71PageID
                                                                            of
                                                                            of 79
                                                                               76 #:309




 1   harm from his use of Facebook.

 2          274.    As a result of Meta’s negligence, Plaintiffs Blair and Gregorio Aranda

 3   suffered emotional distress and pecuniary hardship due to their child’s mental harm and death

 4   resulting from his harmful and dependent use of Facebook.

 5          275.    Meta is further liable to Plaintiffs for punitive damages based upon its willful

 6   and wanton conduct toward underage users, including Brantley Aranda, whom it knew would

 7   be seriously harmed through the use of its social media product.

 8                 COUNT VII – FRAUD and FRAUDULENT CONCEALMENT

 9          276.    Plaintiffs reallege each and every allegation contained in paragraphs 1
10   through 269 as if fully stated herein.
11          277.    At all times relevant, Meta designed, developed, operated, marketed, made
12   publicly available, and benefitted from its Facebook social media product and therefore owed
13   a duty of reasonable care to avoid causing harm to those that it used it.
14          278.     Meta’s marketing, promotions, and advertisements contained deceptive
15   and/or misleading statements, implications, images, and portrayals that the Facebook product
16   was safe, improved social connectivity, and improved the mental and physical health of its
17   users. For example, in February of 2017, Facebook founder and CEO, Mark Zuckerberg,
18   posted a manifesto on his Facebook page titled “Building Global Community,” in which he

19   talked at length about how Meta is focused on safety, how it intends to use its AI to the fullest
20   to keep users safe, and how amazing Facebook is for bringing communities together,
21   promoting critically important social groups.
22          279.    In April of 2018, Meta founder and CEO Mark Zuckerberg testified under
23   oath to Congress that Meta does not design its products to be addictive and that he is not
24   concerned with social media addiction as it relates to teens. He stated
25          I view our responsibility as not just building services that people like but as building
            services that are good for people and good for society as well … we study a lot of
26          effects of well-being, of our tools, and broader technology, and like any tool there
            are good and bad uses of it. What we find in general is that if you are using social
27          media to build relationships then that is associated with all the long term measures
            of well-being that you’d intuitively think of … but if you are using the internet and
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                                                    71
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                          8-1 Filed:
                                                  1-6108/03/22
                                                        Filed
                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 162Page
                                                                       Page
                                                                        of 375
                                                                             75
                                                                             72PageID
                                                                                of
                                                                                of 79
                                                                                   76 #:310



               social media to just passively consume content and are not engaging with other
 1             people then it doesn’t have those positive effects and it could be negative.16
 2             280.    Meta’s fraud continued long after Brantley Aranda’s death. In November of
 3   2020, for example, Mark Zuckerberg again testified under oath to Congress that Meta does
 4   not design its products to be addictive and that research on addictiveness of social media has
 5   not been conclusive.17
 6             281.    In March of 2021, Mark Zuckerberg testified under oath to Congress that
 7   Instagram is not addictive and that it does not cause harm to children and teens.18
 8             282.    On September 30, 2021, Meta’s Head of Safety, Antigone Davis, testified
 9   under oath to Congress that Instagram is not addictive19 and repeatedly denied the existence
10   of causal research regarding harms to teens from Instagram use and testified that Meta’s
11   overreaching goal is child safety: “We work tirelessly to put in place the right policies,
12   products, and precautions so [young users] have a safe and positive experience.”20
13             283.    On December 8, 2021, Instagram’s president Adam Mosseri provided written
14   testimony and testified under oath to Congress that Instagram is not addictive21 and he
15   downplayed the significance of the documents disclosed by the Facebook Whistleblower,
16   characterizing Meta’s numerous studies as involving input from small numbers of teens and
17   not measuring “causal relationships between Instagram and real-world issues.”22 He testified
18   that Meta’s overarching goal is child safety. 23

19             284.    Meta’s Terms of Use also represent that Meta is “Fostering a positive,
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     16
21   17
         https://www.youtube.com/watch?v=AB4mB-K7-xY
         https://www.tampafp.com/great-news-facebook-is-not-designed-to-be-addictive-according-to-zuckerberg/
22   18
        https://www.congress.gov/117/meeting/house/111407/documents/HHRG-117-IF16-Transcript-
     20210325.pdf, at p. 67, 107, 175.
23   19
        https://www.rev.com/blog/transcripts/facebook-head-of-safety-testimony-on-mental-health-effects-full-
     senate-hearing-transcript (“Sept. 30, 2021, Senate Hearing Transcript”), at 2:06:35; see also id. at 02:07:44 and
24   02:07:59 (Ms. Davis also denied that Meta’s business model includes getting users engaged for longer amounts
     of time).
25   20
         Id. at 24:58, 01:47:29, 1:48:07, 1:48:20, 2:10:47, 33:46, and 40:41.
     21
         https://www.commerce.senate.gov/2021/12/protecting-kids-online-instagram-and-reforms-for-young-users,
26   recording of December 8, 2021 Senate Hearing.
     22
          https://www.commerce.senate.gov/services/files/3FC55DF6-102F-4571-B6B4-01D2D2C6F0D0, written
27   Testimony of Adam Mosseri, Head of Instagram, dated December 8, 2021.
     23
             https://www.npr.org/2021/12/08/1062576576/instagrams-ceo-adam-mosseri-hears-senators-brush-aside-
28   his-promises-to-self-poli

                                                           72
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
      Case: 1:22-cv-02968
             Case
             Case 3:22-cv-04209-SK
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                      8-1 Filed:
                                              1-6108/03/22
                                                    Filed
                                                    Filed 08/01/22
                                                          07/20/22
                                                           Page 163Page
                                                                   Page
                                                                    of 375
                                                                         76
                                                                         73PageID
                                                                            of
                                                                            of 79
                                                                               76 #:311




 1   inclusive, and safe environment,” and represent that Meta uses its “teams and systems … to

 2   combat abuse and violations of our Terms and policies, as well as harmful and deceptive

 3   behavior. We use all the information we have—including our information—to try to keep

 4   our platform secure.”

 5          285.    The sheer volume and specificity of these statements are indicative and

 6   reflective of the lengths to which Meta leadership was willing to go to deceive and/or mislead

 7   a substantial percentage of the global population. Meta leadership fed these sorts of deceptive

 8   and/or misleading statements to the public for years, to convince people that its products

 9   were safe for use by teenagers, like Brantley Aranda. When in fact, Meta knew that its

10   products were not safe. Meta knew that its products are addictive and harmful to a significant

11   portion of users, including teen girls, like Brantley Aranda.

12          286.    Meta’s public statements and other marketing and advertising materials failed

13   to disclose the truth, in fact, Meta has gone to considerable lengths to conceal the truth. This

14   includes creating a corporate culture that convinced thousands of Meta employees that if they

15   went public with what they knew they would lose their careers, no one would believe them,

16   and that Meta would then lock down internal communications in a manner that would make

17   it impossible for the employees left behind to work toward effectuating change from the

18   inside. When in fact, Meta never intended to allow change from the inside. It intended to

19   pursue engagement and growth at the expense of human lives and did everything it could to

20   hide these facts from the world.

21          287.    Meta lied about the harm its products are causing.

22          288.    Meta’s omissions were also misleading and deceptive in every respect, for

23   example, talking about how its social media products make some users’ lives better and

24   ignoring the fact that its products are causing serious (even fatal) harms to other users. Meta

25   has an internal term, SSI, which stands for Suicide and Self-Injury. Meta was internally

26   discussing the fact that its product worsens and causes Suicide and Self-Injury in some of its

27   youngest users yet failed to disclose and actively concealed this information. SSI stands for

28   Suicide and Self Injury, which is perhaps how Meta leadership slept at night … by ignoring

                                                   73
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
          Case: 1:22-cv-02968
                 Case
                 Case 3:22-cv-04209-SK
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                          8-1 Filed:
                                                  1-6108/03/22
                                                        Filed
                                                        Filed 08/01/22
                                                              07/20/22
                                                               Page 164Page
                                                                       Page
                                                                        of 375
                                                                             77
                                                                             74PageID
                                                                                of
                                                                                of 79
                                                                                   76 #:312




 1   the fact that they were knowingly distributing products that were resulting in the death of

 2   children. To name only one example from the Facebook Papers:

 3              289.    In September of 2017, former Meta CEO, Sheryl Sandberg, was asked about

 4   a Meta product that enabled advertisers to target users with offensive terms. In response,

 5   Meta CEO, Sheryl Sandberg, apologized and vowed that the company would adjust its ad-

 6   buying tools to prevent similar problems in the future. She also represented that “We never

 7   intended or anticipated this functionality being used this way — and that is on us.”24

 8              290.    What the former Meta CEO deliberately failed to mention was that the

 9   identified product defect was among the less harmful of countless defects known to Meta at

10   that time. She failed to tell the public that Meta was aware of the harms its products were

11   causing, including Suicide and Self-Injury harms, but refused to implement safety tools and

12   other cost-effective fixes for fear of decreasing engagement and, in turn, corporate profits.

13              291.    Meta had actual knowledge of the harms its Facebook product was causing,

14   knew or should have known that it was causing those harms to Brantley Aranda, and made

15   a deliberate decision to continue the course regardless. Meta could have prevented Brantley’s

16   death, a death Meta itself caused, but chose engagement and growth instead.

17              292.    Meta failed to disclose, and spent years actively concealing, the fact that its

18   Facebook social media product causes addiction, sleep deprivation, anxiety, depression,

19   anger, self-harm, suicidal ideation, and suicide, among other harms.

20              293.    These representations were false and material, as were Meta’s omissions.

21   These representations were communicated to Plaintiffs via the media, the internet,

22   advertising, websites, and the platforms themselves and Plaintiffs reasonably relied on these

23   representations to their detriment. Meta intended for members of the public, including

24   plaintiffs, to rely on these misrepresentations and omissions, and Plaintiffs did, and these

25   misrepresentations and omissions were a substantial factor in causing Plaintiffs’ harm.

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27
28   24
          https://www.nytimes.com/2017/09/21/technology/facebook-frankenstein-sandberg-ads.html

                                                         74
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 165Page
                                                                  Page
                                                                   of 375
                                                                        78
                                                                        75PageID
                                                                           of
                                                                           of 79
                                                                              76 #:313




 1                                DEMAND FOR JURY TRIAL

 2        Plaintiffs hereby demand a trial by jury.
 3                                  PRAYER FOR RELIEF
 4        WHEREFORE, Plaintiffs pray for judgment against Meta for relief as follows:
 5    a) Past physical and mental pain and suffering of Brantley Aranda, in an amount to be
 6        more readily ascertained at the time and place set for trial;
 7    b) Loss of enjoyment of life, in an amount to be more readily ascertained at the time and
 8        place set for trial;
 9
      c) Past medical care expenses for the care and treatment of the injuries sustained by
10
          Brantley Aranda, in an amount to be more readily ascertained at the time and place
11
          set for trial;
12
      d) Past and future impairment to capacity to perform everyday activities;
13
      e) Plaintiff’s pecuniary loss and loss of Brantley Aranda’s services, comfort, care,
14
          society, and companionship to Blair and Gregorio Aranda;
15
      f) Loss of future income and earning capacity of Brantley Aranda;
16
      g) Punitive damages;
17
      h) Reasonable costs and attorney and expert/consultant fees incurred in prosecuting this
18
          action; and
19
      i) Such other and further relief as this Court deems just and equitable.
20
21        Dated: July 20, 2022.
                                               SOCIAL MEDIA VICTIMS LAW CENTER
22                                             PLLC
23
24                                         By:/s/ Laura Marquez-Garrett
25                                            Laura Marquez-Garrett, SBN 221542
                                              laura@socialmediavictims.org
26                                            Matthew Bergman
                                              matt@socialmediavictims.org
27                                            Glenn Draper
28                                            glenn@socialmediavictims.org

                                                75
              COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
     Case: 1:22-cv-02968
            Case
            Case 3:22-cv-04209-SK
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                     8-1 Filed:
                                             1-6108/03/22
                                                   Filed
                                                   Filed 08/01/22
                                                         07/20/22
                                                          Page 166Page
                                                                  Page
                                                                   of 375
                                                                        79
                                                                        76PageID
                                                                           of
                                                                           of 79
                                                                              76 #:314




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                                         76
             COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
        Case PendingDocument
                     No. 97 Document
                             #: 8-1 Filed:
                                        1-708/03/22
                                              Filed 08/01/22
                                                     Page 167Page
                                                             of 3751 PageID
                                                                     of 39 #:315




                       Exhibit A-3
      Case: 1:22-cv-02968
              Case
               CasePending
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6
                                       UNITED STATES DISTRICT COURT
7
                                      NORTHERN DISTRICT OF CALIFORNIA
8                                         SAN FRANCISCO DIVISION

9     ASHLEIGH HEFFNER, individually and as the
      Personal Representative of the Estate of Liam        NO.
10    Birchfield,
11                                                         COMPLAINT FOR WRONGFUL
                         Plaintiff,                        DEATH AND SURVIVORSHIP, AND
12                                                         FOR VIOLATIONS OF THE
              v.                                           CALIFORNIA UNFAIR
13                                                         COMPETITION LAW, BUS. & PROF.
      META PLATFORMS, INC., formerly known                 CODE §§17200, ET. SEQ
14    as FACEBOOK, INC.; SNAP, INC.,
15
                         Defendants.                       JURY DEMAND
16
17
            In these digital public spaces, which are privately owned and tend to be run for profit,
18          there can be tension between what’s best for the technology company and what’s best
            for the individual user or for society. Business models are often built around
19          maximizing user engagement as opposed to safeguarding users’ health and ensuring
            that users engage with one another in safe and healthy ways. . . . Technology
20          companies must step up and take responsibility for creating a safe digital environment
            for children and youth. Today, most companies are not transparent about the impact
21
            of their products, which prevents parents and young people from making informed
22          decisions and researchers from identifying problems and solutions.

23   Protecting Youth Mental Health, United States Surgeon General Advisory, December 7, 2021
24          Plaintiff Ashleigh Heffner, individually and as the Personal Representative of the Estate of
25   Liam Birchfield, brings this action against Meta Platforms, Inc., formerly known as Facebook,
26   Inc. (“Meta”), doing business as Instagram (“Instagram”), and Snap, Inc., doing business as
27   Snapchat (“Snapchat”), and alleges as follows:
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      COMPLAINT FOR WRONGFUL DEATH                             SOCIAL MEDIA VICTIMS LAW CENTER PLLC
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                                                           Page 169Page
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                                                                         2 5ofPageID
                                                                              of3639 #:317




1                                          I.      INTRODUCTION

2           1.      This product liability action seeks to hold Defendants’ products responsible for

3    causing and contributing to the burgeoning mental health crisis perpetrated upon the children and

4    teenagers of the United States by Defendants and, specifically, for the wrongful death of 11-year-

5    old Liam Birchfield caused by his addictive use of and exposure to Defendants’ unreasonably

6    dangerous and defective social media products. On July 6, 2021, after struggling with the harmful

7    effects of social media, Liam took his own life.

8           2.      Liam Birchfield’s death was a symptom of the current mental health crisis among

9    American youth caused by social media. On December 7, 2021, the United States Surgeon General

10   issued an advisory cataloging a dramatic increase in teen mental health crises including suicides,

11   attempted suicides, eating disorders, anxiety, depression, self-harm, and inpatient admissions.

12   Between 2007 and 2018, for example, suicide rates among youth ages twelve to sixteen in the U.S.

13   increased a staggering 146 percent!

14          3.      The most significant and far-reaching change to the lives of young people during

15   this period was the widespread adoption of mobile social media platforms, most prominently the

16   Instagram and Snapchat products designed and distributed by Defendants. By 2014, 80 percent of

17   high school students said they used a social media platform daily, and 24 percent said that they

18   were online “almost constantly.” Millions of children and teenagers spend hours throughout the

19   day and night using Defendants’ unreasonably dangerous and defective social media products.

20          4.      Peer reviewed studies and the available medical science have identified social

21   media use associated with major mental health injuries among youth, including depression, self-

22   harm, eating disorders, suicide attempts and ideation, dissatisfaction with life, depression, and

23   sleep deprivation. Both large observational studies and experimental results point to the heavy use

24   of Defendants’ social media products as a cause of increased depression, suicidal ideation, and

25   sleep deprivation among minors.

26          5.      Defendants’ own research also points to their social media products as a cause of

27   increased depression, suicidal ideation, sleep deprivation, and other serious harms. Meta

28   researchers, for example, found that Instagram is “worse” than many competitor products and “is
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                                                           Page 170Page
                                                                    Page
                                                                     of 375
                                                                         3 6ofPageID
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1    seen as having the highest impact [on negative body and appearance comparison], and Snapchat

2    isn’t far behind.”

3            6.     Defendants have invested billions of dollars to intentionally design and develop

4    their products to encourage, enable, and push content to children and teenagers that Defendants

5    know to be problematic and highly detrimental to their minor users’ mental health.

6            7.     Internal, non-public data collected by Instagram and Facebook reveal large

7    numbers of its users are engaging in “problematic use” of its products. This problematic use

8    identified in the medical literature is precisely the type of use Defendants have designed their

9    products to encourage through psychological manipulation techniques—sometimes referred to as

10   persuasive design—that is well-recognized to cause all the hallmarks of clinical addiction.

11           8.     Likewise, each of Defendants’ products contains unique product features which are

12   intended to and do encourage addiction, and unlawful content and use of said products, to the

13   detriment of Defendants’ minor users.

14           9.     Plaintiff brings claims of strict liability based upon Defendants’ defective design

15   of their social media products that renders such products not reasonably safe for ordinary

16   consumers in general and minor users in particular. It is technologically feasible to design social

17   media products that substantially decrease both the incidence and magnitude of harm to minors

18   arising from their foreseeable use of Defendants’ products with a negligible increase in production

19   cost.

20           10.    Plaintiff also brings claims for strict liability based on Defendants’ failure to

21   provide adequate warnings to minor users and their parents of the danger of mental, physical, and

22   emotional harms and sexual abuse arising from foreseeable use of their social media products. The

23   addictive quality of Defendants’ products and the impacts of their harmful algorithms are unknown

24   to minor users and their parents.

25           11.    Plaintiff also brings claims for common law negligence arising from Defendants’

26   unreasonably dangerous social media products and their failure to warn of such dangers.

27   Defendants knew, or in the exercise of ordinary care should have known, that their social media

28   products were harmful to a significant percentage of their minor users and failed to redesign their
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                                                           Page 171Page
                                                                    Page
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                                                                         4 7ofPageID
                                                                              of3639 #:319




1    products to ameliorate these harms or warn minor users and their parents of dangers arising out of

2    the foreseeable use of their products.

3           12.     Many of Defendants’ own former and/or current developers do not allow their own

4    children and teenagers to use Defendants’ products. For many years, Defendants have had actual

5    knowledge that their social media products are dangerous and harmful to children and teenagers,

6    but actively concealed these facts from the general public and government regulators and failed to

7    warn parents about this known harm for continued economic gain.

8           13.     Plaintiff brings claims under California’s Unfair Competition Law (“UCL”), Cal.

9    Bus. & Prof. Code, §§17200, et seq. The conduct and omissions alleged herein constitute unlawful,

10   unfair, and/or fraudulent business practices prohibited by the UCL.

11          14.     Finally, Plaintiff brings claims under 47 U.S.C. § 1595 based on Defendants’

12   financial benefit derived from knowingly assisting, supporting, and facilitating the sexual

13   solicitation and exploitation of Liam Birchfield and similarly situated children. Defendants have

14   actual knowledge of, and knowingly benefit from, the large number of adult predators who

15   regularly use Defendants’ platforms to solicit and groom minor users to engage in commercial sex

16   acts with minors

17          15.     Defendants have actual knowledge that adult predators use their social media

18   platforms to facilitate commercial sex acts, yet have purposefully failed to undertake reasonable

19   efforts to redesign their social media products to protect minor users such as Liam Birchfield from

20   sex abuse; failed to warn minor users and their parents that sexual predators are using their

21   platforms to recruit minors to perform commercial sex acts; and failed to notify law enforcement

22   despite knowledge of illegal sex acts performed on and through their platforms.

23                                              II.    PARTIES

24          16.     Plaintiff Ashleigh Heffner is an individual residing in Bluff City, Tennessee, and

25   has been appointed the administrator of the Estate of her son Liam Birchfield, who died of suicide

26   on July 6, 2021.

27          17.     Plaintiff Ashleigh Heffner has not entered into a User Agreement or other

28   contractual relationship with any of the Defendants herein in connection with Liam Birchfield’s
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                                                           Page 172Page
                                                                    Page
                                                                     of 375
                                                                         5 8ofPageID
                                                                              of3639 #:320




1    use of their social media products. As such, in prosecuting this action Plaintiff is not bound by any

2    arbitration, forum selection, choice of law, or class action waiver set forth in said User

3    Agreements. Additionally, as Personal Representative of the Estate of Liam Birchfield, Plaintiff

4    expressly disaffirms any and all User Agreements with Defendants that her son may have entered

5    into.

6            18.    Defendant Meta Platforms, Inc., formerly known as Facebook, Inc., is a Delaware

7    corporation with its principal place of business in Menlo Park, CA. Defendant Meta Platforms

8    owns and operates the Instagram social media platform, an application that is widely available to

9    users throughout the United States.

10           19.    Defendant Snap, Inc. is a Delaware corporation with its principal place of business

11   in Santa Monica, CA. Defendant Snap owns and operates the Snapchat social media platform, an

12   application that is widely marketed by Snap and available to users throughout the United States.

13                                   III.   JURISDICTION AND VENUE

14           20.    This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1332(a)

15   because the amount in controversy exceeds $75,000 and Plaintiff and Defendants are residents of

16   different states. Venue is proper in this District under 28 U.S.C. § 1391(b)(2)

17           21.    This Court has personal jurisdiction over Defendants because they are each

18   headquartered and have their principal place of business in the State of California. Venue is proper

19   in this District under 28 U.S.C. § 1391(b)(1) because Defendant Meta’s principal place of business

20   is in the Northern District of California and Defendant Snap, Inc. is a resident of the State of

21   California.

22                                   IV.     DIVISIONAL ASSIGNMENT

23           22.    The case is properly assigned to the San Francisco Division pursuant to Civ. L. R.

24   3-2(c)–(d) because a substantial part of the events or omissions giving rise to Plaintiff’s claims

25   occurred in San Mateo County, where Defendant Meta Platforms, Inc. maintains its primary place

26   of business.

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                                                           Page 173Page
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                                                                     of 375
                                                                         6 9ofPageID
                                                                              of3639 #:321




1                                     V.     FACTUAL ALLEGATIONS

2    A.     Meta Background

3           23.     Facebook is an American online social network service that is part of the

4    Defendant Meta Platforms. Facebook was founded in 2004 and became the largest social network

5    in the world, with nearly three billion users as of 2021, and about half that number were using

6    Facebook every day. The company’s headquarters are in Menlo Park, California.

7           24.     Instagram is a photo sharing social media application that originally enabled users

8    to post and share photos that could be seen by other users who “follow” the user. A user’s followers

9    could “like” and post comments on the photos. Instagram was purchased by Facebook, Inc. for

10   approximately $1 billion in 2012.

11          25.     Facebook recently changed its name to, and is referred to herein and collectively

12   with Instagram, as Meta.

13          26.     A user’s “feed” is comprised of a series of photos and videos posted by accounts

14   that the user follows, along with advertising and content specifically selected and promoted by

15   Instagram. Meta exerts control over a user’s Instagram “feed,” including through certain ranking

16   mechanisms, escalation loops, and/or promotion of advertising and content specifically selected

17   and promoted by Meta based on, among other things, its ongoing planning, assessment, and

18   prioritization of the types of information most likely to increase user engagement. In the case of

19   minor users, this translates to Meta’s deliberate and repeated promotion of harmful and unhealthy

20   content, which Meta knows or has reason to know is causing harm to its minor users.

21          27.     Instagram also features a “discover” feature where a user is shown an endless feed

22   of content that is selected by an algorithm designed by Meta based upon the users’ demographics

23   and prior activity in the application. Meta has designed its product in a manner such that it

24   promotes addictive use and harmful and/or unhealthy content. Meta is aware of these inherently

25   dangerous product features and has repeatedly decided against changing them and/or

26   implementing readily available and relatively inexpensive safety measures, for the stated purpose

27   of ensuring continued growth, engagement, and revenue.

28          28.     Users’ profiles on Instagram may be public or private. On public profiles, any user
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1    is able to view the photos, videos, and other content posted by the user. On private profiles, the

2    users’ content may only be viewed by the user’s followers, which the user is able to approve.

3    During the relevant period, Instagram profiles were public by default and Instagram allowed all

4    users to message and send follow request to underage users, including Liam Birchfield.

5           29.     Defaulting profiles to public served no critical purpose in terms of product

6    functionality and/or a user’s ability to access content. Instead, this product feature increased user

7    engagement during onboarding (when a user first starts using Instagram) by increasing user

8    connections. However, Meta also has actual knowledge that harmful and/or undesirable, even

9    dangerous, contacts could be made through this public setting feature, particularly for users under

10   the age of 18, including Liam Birchfield.

11          30.     During the last five years, Instagram has added features and promoted the use of

12   short videos and temporary posts. The latter are referred to as “Reels” while the former is referred

13   to as Instagram “Stories.”

14          31.     Instagram creates images and GIFs for users to incorporate into their videos and

15   picture postings. Instagram has also acquired publishing rights to thousands of hours of music

16   which it provides to its users to attach to the videos and pictures that they post on Instagram. These

17   GIFs, images, and music supplied and created by Instagram frequently make a material

18   contribution to the creation or development of its users’ Instagram posts. Indeed, in many cases,

19   the only content in a user’s Instagram post is the image, GIF, or music supplied by Instagram.

20   When users’ GIFs and music supplied by Instagram make a material contribution to the creation

21   and/or development of its users’ postings, Instagram becomes a co-publisher of such content.

22   These GIFs, images, and music created by Instagram frequently enhance the psychic harm and

23   defamatory sting that minor users experience from malign third-party postings on Defendant’s

24   platform.

25          32.     Based on individualized data collected from their users’ social media habits, the

26   social media activity of users’ friends and cohorts, and surreptitious monitoring of users online

27   and offline, Instagram independently selects content for its users and notifies them of such content

28   through text and email. Instagram’s notifications to individual users are specifically designed to
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1    and do prompt users to open Instagram and view the content selected by Instagram which increases

2    the users’ screen time and resulting profits to Instagram.

3           33.     Meta has developed artificial intelligence technology that detects adult users of

4    Instagram who both send sexually explicit content to children and receive sexually explicit images

5    from children. This technology furnishes Meta with actual knowledge that a significant number of

6    minor users of Instagram are solicited to send, and actually do send, sexually explicit photos and

7    videos of themselves to adult users in violation of 18 U.S.C. § 1591(a)(1)-(2).

8           34.     Over time, Instagram has become the most popular photo sharing social media

9    platform amongst teenagers and young adults in the United States, with over 57 million users

10   below the age of eighteen—meaning that 72 percent of America’s youth use Instagram.

11   Instagram’s president Adam Mosseri testified under oath on December 8, 2021, that Instagram is

12   not addictive. This is untrue.

13   B.     Snapchat Background

14          35.     Snapchat is a photo and short video sharing social media application that allows

15   users to form groups and share posts or “Snaps” that disappear after being viewed by the recipients.

16   The Snapchat product is well-known for its self-destructing content feature. Specifically, the

17   Snapchat product allows users to form groups and share posts or “Snaps” that disappear after being

18   viewed by the recipients.

19          36.     Snapchat’s self-destructing content design feature is specifically intended to appeal

20   to minor users by evading parents’ ability to monitor their children’s social media activity and

21   thwart the exercise of their parental responsibility. Snapchat’s self-destructing content design

22   feature permits minor users to exchange harmful, illegal, and sexually explicit images with adults

23   and provides sexual predators with a safe and efficient vehicle to recruit victims.

24          37.     Snapchat also features a series of rewards including trophies, streaks, and other

25   signals of social recognition similar to the “likes” metrics available across other platforms. These

26   features are designed to encourage users to share their videos and posts with the public. Snapchat

27   designed these features to be addictive, and they are. Users also have an “Explore” feed that

28   displays content created by other users around the world. All of these product features are designed
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1    to grab and keep users’ attention for as long as possible each day, and have led many people, from

2    psychologists to government officials, to describe Snapchat as “dangerously addictive.” Snapchat

3    was founded in 2011 by current president and CEO Evan Spiegel and several other co-founders

4    while they were attending Stanford University.

5           38.     In 2014, Snapchat added “Stories” and “Chat” features that allowed users to post

6    longer stories that could be viewed by users outside the user’s friends. In 2014, Snapchat also

7    released a feature called Snapcash that allowed users to send money to other users without regard

8    to user age, identify verification, and/or parental consent.

9           39.     Snapchat allows users to enable the sharing of their location, through a tool called

10   Snap Map, which allows the users’ followers (and the public for Snaps submitted by the users) to

11   see the user’s location on a map. This feature is available to all users, including minors.

12          40.     Snapchat has developed images for users to decorate the pictures or videos they

13   post. Snapchat has also developed Lenses which are augmented reality-based special effects and

14   sounds for users to apply to pictures and videos they post on Snapchat, and World Lenses to

15   augment the environment around posts. Snapchat also has acquired publication rights to music,

16   audio, and video content that its users can incorporate in the pictures and videos they post on

17   Snapchat.

18          41.     These images, Lenses, and licensed audio and video content supplied and created

19   by Snapchat frequently make a material contribution to the creation or development of the user’s

20   Snapchat posts. Indeed, in many cases, the only content in a user’s Snapchat post are images,

21   Lenses, and licensed audio and video content supplied and created by Snapchat. When users

22   incorporate images, Lenses, music, audio, and video content supplied by Snapchat posts, Snapchat

23   makes a material contribution to the creation and/or development of their Snapchat postings and

24   becomes a co-publisher of such content. When malign users incorporate images, Lenses, music,

25   audio, and video content supplied by Snapchat to their posts, this enhances the psychic harm and

26   defamatory sting that minor users experience from third-party postings on Defendant’s platform.

27          42.     By 2015, Snapchat had over 75 million monthly active users and was considered

28   to be the most popular social media application amongst American teenagers in terms of number
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1    of users and time spent using the platform.

2           43.     Snap has developed artificial intelligence technology that detects adult users of

3    Snapchat who send sexually explicit content to children and receive sexually explicit images from

4    children. This technology furnishes Snap with actual knowledge that a significant number of minor

5    users of Snapchat are solicited to send, and actually do send, sexually explicit photos and videos

6    of themselves to adult users in violation of 18 U.S.C. § 1591(a)(1)-(2).

7    C.     Defendants’ Applications Are Products

8           44.     Instagram and Snapchat are products that are designed and manufactured by Meta

9    and Snap, respectively. These products are designed to be used by children and are actively

10   marketed to children throughout the world.

11          45.     Defendants’ products are designed to be used by minors and are actively marketed

12   to minors across the United States. Defendants market to minors through their own marketing

13   efforts and design. But also, Defendants work with and actively encourage advertisers to create

14   ads targeted at and appealing to teens, and even to children under the age of 13. Defendants spend

15   millions of dollars researching, analyzing, and experimenting with young children to find ways to

16   make their products more appealing and addictive to these age groups, as these age groups are

17   seen as the key to Defendants’ long-term profitability and market dominance.

18          46.     Defendants are aware that large numbers of children under the age of 18 use their

19   products without parental consent. They design their products in a manner that allows and/or does

20   not prevent such use to increase user engagement and, thereby, their own profits.

21          47.     Defendants are aware that large numbers of children under the age of 13 use their

22   products despite user terms or “community standards” that purport to restrict use to individuals

23   who are 13 and older. They have designed their products in a manner that allows and/or does not

24   prevent such use to increase user engagement and, thereby, their own profits.

25   D.     Defendants’ Business Model is Based on Maximizing User Screen Time

26          48.     Defendants advertise their products as “free,” because they do not charge their users

27   for downloading or using their products. What many users do not know is that, in fact, Defendants

28   make a profit by finding unique and increasingly dangerous ways to capture user attention and
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                                                            Page 178
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                                                                     of 375
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                                                                              of3639 #:326




1    target advertisements to their users. Defendants receive revenue from advertisers who pay a

2    premium to target advertisements to specific demographic groups of users in the applications.

3    Defendants also receive revenue from selling their users’ data to third parties.

4           49.     The amount of revenue Defendants receive is based upon the amount of time and

5    level of user engagement on their platforms, which directly correlates with the number of

6    advertisements that can be shown to each user.

7           50.     Defendants use unknown and changing rewards that are designed to prompt users

8    who consume their social media products in excessive and dangerous ways. Defendants know, or

9    in the exercise of ordinary care should know, that their designs have created extreme and addictive

10   usage by their minor users, and Defendants knowingly or purposefully designed its products to

11   encourage such addictive behaviors. For example, all the achievements and trophies in Snapchat

12   are unknown to users. The Company has stated that “[y]ou don’t even know about the achievement

13   until you unlock it.” This design conforms to well-established principles of operant conditioning

14   wherein intermittent reinforcement provides the most reliable tool to maintain a desired behavior

15   over time.

16          51.     This design is akin to a slot machine but marketed toward minor users who are even

17   more susceptible than gambling addicts to the variable reward and reminder system designed by

18   Snapchat. The system is designed to reward increasingly extreme behavior because users are not

19   actually aware of what action will unlock the next award.

20          52.     Instagram, like Snapchat, is designed around a series of features that do not add to

21   the communication utility of the application, but instead seek to exploit minor users’ susceptibility

22   to persuasive design and unlimited accumulation of unpredictable and uncertain rewards,

23   including “likes” and “followers.” In the hands of children, this design is unreasonably dangerous

24   to the mental well-being of underage users’ developing minds.

25          53.     According to industry insiders, Defendants have employed thousands of

26   psychologists and engineers to help make their products maximally addicting. For example,

27   Instagram’s “pull to refresh” is based on how slot machines operate. It creates an endless feed,

28   designed to manipulate brain chemistry, and prevent natural end points that would otherwise
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                                                            Page 179
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                                                                     of 375
                                                                        1215of
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                                                                              of3639 #:327




1    encourage users to move on to other activities.

2           54.       Defendant do not warn users of the addictive design of their product. On the

3    contrary, Defendants actively try to conceal the dangerous and addictive nature of their products,

4    lulling users and parents into a false sense of security. This includes consistently playing down

5    their products’ negative effects on teens in public statements and advertising, making false or

6    materially misleading statements concerning product safety, and refusing to make their research

7    public or available to academics or lawmakers who have asked for it.

8           55.       For example, in or around July 2018, Meta told BBC News that “at no stage does

9    wanting something to be addictive factor into” its product design process. Similarly, Meta told

10   U.S. Senators in November 2020 that “We certainly do not want our products to be addictive.”

11   Yet, Meta product managers and designers attend an annual conference held in Silicon Valley

12   called the Habit Summit, the primary purpose of which is to learn how to make products more

13   habit-forming.

14          56.       Defendants engineer their products to keep users, and particularly young users,

15   engaged longer and coming back for more. This is referred to as “engineered addiction,” and

16   examples include features like bottomless scrolling, tagging, notifications, and live stories.

17          57.       Internal Meta documents identify the potential of reduction in usage by their minor

18   users as an “existential threat” to their business and spend billions of dollars per year marketing

19   their products to minors. Defendants have deliberately traded in user harm to protect the revenue

20   stream their products generate.

21   E.     Defendants Have Designed Complex Algorithms to Addict Teen Users.

22          58.       Defendants have intentionally designed their products to maximize users’ screen

23   time, using complex algorithms designed to exploit human psychology and driven by the most

24   advanced computer algorithms and artificial intelligence available to three of the largest

25   technology companies in the world.

26          59.       Defendants’ algorithms select content for minor users not based on what they

27   anticipate the user will prefer or to enhance their social media experience, but rather for the express

28   purpose of habituating users to the Defendants’ social media products. Defendants’ algorithms do
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                                                            Page 180
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                                                                     of 375
                                                                        1316of
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                                                                              of3639 #:328




1    not provide a neutral platform but rather specify and prompt the type of content to be submitted

2    and determine particular types of content its algorithms promote.

3           60.     Defendants designed and have progressively modified their products to promote

4    problematic and excessive use that they know is indicative of addictive and self-destructive use.

5           61.     One of these features—present in Snapchat and Instagram—is the use of complex

6    algorithms to select and promote content that is provided to users in an unlimited and never-ending

7    “feed.” Defendants are well aware that algorithm-controlled feeds promote unlimited

8    “scrolling”—a type of use those studies have identified as detrimental to users’ mental health—

9    however, this type of use allows Defendants to display more advertisements and obtain more

10   revenue from each individual user.

11          62.     Defendants know that content that generates extreme psychological reactions in

12   minor users is more likely to trigger their engagement than content that is benign. Defendants have

13   designed algorithm-controlled feeds to promote content most likely to increase user engagement,

14   which often means content that Defendants know to be psychologically stressful to their users.

15   Content is selected not just based on individual users’ viewing history but also on the viewing

16   history of their linked friends. Users are exposed to content that they would otherwise never see

17   but for Defendants’ affirmative pushing of such content to their accounts.

18          63.     The addictive nature of Defendants products and the complex and psychologically

19   manipulative design of their algorithms is unknown to ordinary consumers, particularly minors.

20          64.     Defendants go to significant lengths to prevent transparency, including posing as a

21   “free” social media platform, burying advertisements in personalized content, and making public

22   statements about the safety of their products that simply are not true.

23          65.     Defendants also have developed unique product features designed to limit, and

24   have in other ways limited, parents’ ability to monitor and prevent problematic use by their

25   children.

26          66.     Defendants’ algorithms adapt to promote whatever content will trigger minor users’

27   engagement and maximize their screen time. Defendants’ algorithm designs do not distinguish,

28   rank, discriminate, or prioritize between particular content based on whether it is helpful or
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                                                            Page 181
                                                                   Page
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                                                                     of 375
                                                                        1417of
                                                                             PageID
                                                                              of3639 #:329




1    harmful to the psychic well-being of their minor users. Once a minor user engages with abusive,

2    harmful, or destructive content, Defendants’ algorithms will direct the minor user to content that

3    is progressively more abusive, harmful, and destructive to maximize the user’s screen time.

4           67.     Defendants’ algorithms are not simply tools meant to facilitate the communication

5    and content of others but are content in and of themselves. Defendants’ algorithms do not function

6    like traditional search engines that select particular content for users based on user inputs; they

7    direct minor users to content based on far more than the individual users’ viewing history.

8    Defendants’ algorithms make recommendations not simply based on minor users’ voluntary

9    actions but also the demographic information and social media activity of the users’ friends,

10   followers, and cohorts. The user data that Defendants’ algorithms use to select content therefore

11   encompasses far more information than voluntarily furnished by the particular user and include

12   private information about the user that Defendants discover through undisclosed surveillance of

13   their behavior both online and offline.

14   F.     Minor Users’ Incomplete Brain Development Renders Them Particularly

15          Susceptible to Manipulative Algorithms with Diminished Capacity to Eschew Self-

16          Destructive Behaviors and Less Resiliency to Overcome Negative Social Media

17          Influences

18          68.     The human brain is still developing during adolescence in ways consistent with

19   adolescents’ demonstrated psychosocial immaturity. Specifically, adolescents’ brains are not yet

20   fully developed in regions related to risk evaluation, emotional regulation, and impulse control.

21          69.     The frontal lobes—and in particular the prefrontal cortex—of the brain play an

22   essential part in higher-order cognitive functions, impulse control, and executive decision-making.

23   These regions of the brain are central to the process of planning and decision-making, including

24   the evaluation of future consequences and the weighing of risk and reward. They are also essential

25   to the ability to control emotions and inhibit impulses. MRI studies have shown that the prefrontal

26   cortex is one of the last regions of the brain to mature.

27          70.     During childhood and adolescence, the brain is maturing in at least two major ways.

28   First, the brain undergoes myelination, the process through which the neural pathways connecting
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                                                          08/01/22
                                                            Page 182
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                                                                     of 375
                                                                        1518of
                                                                             PageID
                                                                              of3639 #:330




1    different parts of the brain become insulated with white fatty tissue called myelin. Second, during

2    childhood and adolescence, the brain is undergoing “pruning”—the paring away of unused

3    synapses, leading to more efficient neural connections. Through myelination and pruning, the

4    brain’s frontal lobes change to help the brain work faster and more efficiently, improving the

5    “executive” functions of the frontal lobes, including impulse control and risk evaluation. This shift

6    in the brain’s composition continues throughout adolescence and into young adulthood.

7           71.     In late adolescence, important aspects of brain maturation remain incomplete,

8    particularly those involving the brain’s executive functions and the coordinated activity of regions

9    involved in emotion and cognition. As such, the part of the brain that is critical for control of

10   impulses, emotions, and mature, considered decision-making is still developing during

11   adolescence, consistent with the demonstrated behavioral and psychosocial immaturity of

12   juveniles.

13          72.     The algorithms in Defendants’ social media products are designed to exploit minor

14   users’ diminished decision-making capacity, impulse control, emotional maturity, and

15   psychological resiliency caused by users’ incomplete brain development. Defendants know, or in

16   the exercise of reasonable care should know, that because their minor users’ frontal lobes are not

17   fully developed, they experience enhanced dopamine responses to stimuli on Defendants’ social

18   media platforms and are therefore much more likely to become addicted to Defendants’ products;

19   exercise poor judgment in their social media activity; and act impulsively in response to negative

20   social media encounters. Defendants also know, or in the exercise of reasonable care should know,

21   that minor users of their social media products are much more likely to sustain serious physical

22   and psychological harm through their social media use than adult users. Nevertheless, Defendants

23   knowingly designed their social media products to be addictive to minor users and failed to include

24   in their product design any safeguards to account for and ameliorate the psychosocial immaturity

25   of their minor users.

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                                                            Page 183
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                                                                     of 375
                                                                        1619of
                                                                             PageID
                                                                              of3639 #:331




1    G.     Defendants Misrepresent the Addictive Design and Effects of their Social Media

2           Products

3           73.     During the relevant time period, Defendants stated in public comments that their

4    products are not addictive and were not designed to be addictive. Defendants knew or should have

5    known that those statements were untrue.

6           74.     Neither Instagram or Snapchat warned users or their parents of the addictive and

7    mentally harmful effects that the use of their products was known to cause amongst minor users,

8    like Liam Birchfield. On the contrary, Defendants have gone to significant lengths to conceal

9    and/or avoid disclosure as to the true nature of their products.

10   H.     Plaintiff Expressly Disclaims Any Claim That Defendants Are Liable as the

11          Publisher or Speaker of Any Content Provided, Posted or Created by Third Parties

12          75.     Plaintiff is not alleging that Defendants are liable for what the third parties said, but

13   for what Defendants did or did not do. None of Plaintiff’s claims rely on treating Defendants as

14   the publisher or speaker of any third-party’s words or content. Plaintiff’s claims seek to hold

15   Defendants accountable for their own allegedly wrongful acts and omissions, not for the speech

16   of others or for Defendants’ good faith attempts to restrict access to objectionable content.

17          76.     Plaintiff seeks to hold Defendants accountable for their own alleged acts and

18   omissions. Plaintiff’s claims arise from Defendants’ status as the designer and marketer of

19   dangerously defective social media products, as well as Defendants’ own statements and

20   affirmative acts, not as the speaker or publisher of third-party content.

21          77.     Defendants also failed to warn minor users and their parents of known dangers

22   arising from anticipated use of their social media platforms. These dangers which are unknown to

23   ordinary consumers, do not arise from third-party content contained on Defendants’ social media

24   platform but rather from their algorithms’ designs that 1) addict minor users to Defendants’

25   products; 2) affirmatively select and promote harmful content to vulnerable users based on their

26   individualized demographic data and social media activity; and 3) put minor users in contact with

27   dangerous adult predators.

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                                                            Page 184
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                                                                     of 375
                                                                        1720of
                                                                             PageID
                                                                              of3639 #:332




1           78.      Plaintiff’s product defect claims arising from Defendants’ addictive social media

2    products are content neutral. For example, Defendants design and operate their algorithms in a

3    manner intended to and that does change behavior and addict users, including through a natural

4    selection process that does not depend on or require any specific type of third-party content.

5           79.      Defendants’ product features are designed to be and are addictive and harmful in

6    themselves, without regard to any content that may exist on Defendants’ platforms. For example,

7    Meta’s “like” feature and Snapchat’s “Snapstreaks” are content neutral and based solely on the

8    user’s level of activity on Defendants’ platforms, not the content of the material they see.

9           80.      Defendants have designed other product features for the purpose of encouraging

10   and assisting children in evasion of parental oversight, protection, and consent, which features are

11   wholly unnecessary to the operation of Defendants’ products.

12          81.      Defendants affirmatively promote, encourage, and/or otherwise contribute to the

13   development of harmful content. In an October 2021 Senate Hearing it was revealed that Meta

14   documents provided by a whistleblower demonstrate that Defendants promote, encourage, and/or

15   otherwise contribute to the development of harmful content. The Senate hearing revealed that

16                a. Defendants approve of ads that contain harmful content, for example, “designed to

17                   encourage and promote anorexia” and encourage children to abuse prescription or

18                   illegal drugs, which ads Defendants then target specifically at children in exchange

19                   for payment.

20                b. Defendants utilize private information of their minor users to “precisely target

21                   [them] with content and recommendations, assessing what will provoke a reaction,”

22                   including encouragement of “destructive and dangerous behaviors.” Defendants

23                   specifically select and push this harmful content, for which they are paid, to

24                   increase user engagement. “That’s how [defendants] can push teens into darker and

25                   darker places.” (Senator Blumenthal, October 5, 2022).

26                c. Defendants “know[] that [their] amplification algorithms, things like engagement

27                   based ranking … can lead children from very innocuous topics like healthy recipes

28                   … all the way from just something innocent like healthy recipes to anorexia
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                                                          08/01/22
                                                            Page 185
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                                                                     of 375
                                                                        1821of
                                                                             PageID
                                                                              of3639 #:333




1                   promoting content over a very short period of time.” Defendants have knowledge

2                   that their products and the content they are encouraging and helping to create is

3                   harmful to young users and choose “profits over safety.”

4           82.     Defendants have information and knowledge that can determine with reasonable

5    certainty each user’s age, habits, and other personal information, regardless of what information

6    the user provides at the time of account setup.

7           83.     Defendants’ algorithms identify minor users by age and gender and, on information

8    and belief, race, ethnicity, sexual orientation, and economic status and direct specific content to

9    specific users based upon these factors. User data obtained through Defendants’ algorithms,

10   particularly age and gender, affirmatively directs predatory adults to vulnerable minor users. In

11   this way, the Defendant’s algorithms promote responses from predatory adult users that violate

12   state and federal law. Because Defendants’ social media products themselves generate the options

13   for selecting a user based on predatory criteria, they materially contributed to the unlawfulness of

14   the posted content described herein.

15          84.     None of Plaintiff’s Claims for Relief set forth herein treat Defendants as a speaker

16   or publisher of content posted by third parties. Rather, Plaintiff seeks to hold Defendants liable for

17   their own speech and their own silence in failing to warn of foreseeable dangers arising from

18   anticipated use of their products. Defendants could manifestly fulfill their legal duty to design

19   reasonably safe social media products and furnish adequate warnings of foreseeable dangers

20   arising out of the use of their products without altering, deleting, or modifying the content of a

21   single third-party post or communication.

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                                                          08/01/22
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                                                                     of 375
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9    I.     Liam Birchfield Died of Suicide Proximately Caused by Defendants’ Defective
10          Social Media Products
11          85.     Liam Birchfield was born on April 21, 2004, in Elizabethton, Tennessee, the child
12   of Ashleigh Heffner and Paul Adam Birchfield. Liam’s father, Paul Birchfield, predeceased him.
13          86.     Liam attended Sullivan East High School in Elizabethton, Tennessee. He enjoyed
14   playing guitar, listening to music, and playing video games. He planned to join the Air Force after
15   high school.
16          87.     Liam Birchfield began using Instagram and Snapchat in middle school. As he grew
17   older, he became increasingly addicted to social media in general, and Instagram and Snapchat
18   specifically. He would stay up until the early morning hours scrolling through endless feeds and
19   communicating with anonymous people introduced to him through Snapchat and Instagram. As
20   his addiction grew, he became sleep deprived and anxious. Content pushed to him through
21   Snapchat and Instagram, including content about firearms, fed his depression, and he began to
22   have suicidal thoughts and engage in self-harm. On July 6, 2021, Liam Birchfield took his own
23   life with a firearm in St. George, South Carolina. He was 17 years old.
24          88.     Throughout the period of Liam’s use of social media, Ashleigh Heffner was
25   unaware of the clinically addictive and mentally harmful effects of Instagram and Snapchat.
26          89.     Defendants designed Instagram and Snapchat to frustrate and prevent parents like
27   Ashleigh Heffner from exercising her right and duty as a parent to monitor and limit her child’s
28   use of their social media products.
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                                                          08/01/22
                                                            Page 187
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        2023of
                                                                             PageID
                                                                              of3639 #:335




1            90.     Defendants knowingly designed Instagram and Snapchat to enable minor users

2    such as Liam Birchfield to use, become addicted to, and abuse their products without the

3    knowledge and consent of their parents.

4            91.     Defendants designed Instagram and Snapchat to be attractive nuisances to users

5    below the age of 13 but failed to exercise ordinary care owed to underage business invitees to

6    prevent the rampant solicitation of underage users by anonymous older users who do not disclose

7    their real identities, and mass message underage users with the goal of grooming and sexually

8    exploiting minors.

9            92.     Defendants not only failed to warn Ashleigh Heffner and Liam Birchfield of the

10   dangers of addiction, sleep deprivation, sexual abuse, and problematic use of their applications,

11   but affirmatively misrepresented the safety, utility, and addictive properties of their products to

12   minor users and their parents

13                                       VI.     PLAINTIFF’S CLAIMS

14                    COUNT I - STRICT PRODUCT LIABILITY (Design Defect)

15           93.     Plaintiffs reallege each and every allegation contained in paragraphs 1 through 92

16   as if fully stated herein.

17           94.     Under Restatement (Second) of Torts § 402(a), California and Tennessee law, one

18   who sells any product in a defective condition unreasonably dangerous to the user is subject to

19   liability for physical harm thereby caused to the user if (a) the seller is engaged in the business of

20   selling such a product, and (b) it is expected to and does reach the user or consumer without

21   substantial change in the condition which it was sold.

22           95.     Defendants designed, manufactured, marketed, and sold products that were

23   unreasonably dangerous because they were designed to be addictive to the minor users to whom

24   Defendants actively marketed and because the foreseeable use of Defendants’ products causes

25   mental and physical harm to minor users.

26           96.     Defendants’ products were unreasonably dangerous because they contained

27   numerous design characteristics that are not necessary for the utility provided to the user but are

28   unreasonably dangerous and implemented by Defendants solely to increase the profits they derived
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                                                          08/01/22
                                                            Page 188
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        2124of
                                                                             PageID
                                                                              of3639 #:336




1    from each additional user and the length of time they could keep each user dependent on their

2    product.

3    A.      Inadequate Safeguards from Harmful and Exploitative Content

4            97.    As designed, Snapchat and Instagram algorithms are not reasonably safe because

5    they intentionally direct minor users to harmful and exploitative content while failing to deploy

6    feasible safeguards to protect vulnerable teens from such harmful exposures. It is feasible to design

7    an algorithm that substantially distinguishes between harmful and innocuous content and protects

8    minor users from harmful content without altering, modifying, or deleting a single third-party

9    posting on Defendants’ social media platforms. The cost of designing Defendants’ algorithms to

10   incorporate this safeguard would be negligible, while the benefit would be high in terms of

11   reducing the quantum of mental and physical injury sustained by minor users such as Liam

12   Birchfield and their families.

13           98.    Snapchat and Meta also engage in conduct, outside of the algorithms themselves,

14   which is designed to promote harmful and exploitative content as a means of increasing their

15   revenue from advertisements. This includes, but is not limited to, efforts to encourage advertisers

16   to design ads that appeal to minors, including children under the age of 13; and product design

17   features intended to attract and engage minor users to these virtual spaces where harmful

18   advertising content is then pushed to those users in a manner intended to increase user engagement,

19   thereby increasing revenue to Defendants at the direct cost of user well-being.

20           99.    Reasonable users (and their parents) would not expect that Defendants would

21   knowingly direct them to such harmful content, much less in the manipulative and coercive manner

22   that they do. Defendants have and continue to knowingly use their algorithms on minor users in a

23   manner designed to affirmatively change their behavior, which methods are particularly effective

24   on (and harmful to) Defendants’ youngest users, like Liam Birchfield.

25   B.      Failure to Verify Minor Users’ Age and Identity

26           100.   As designed, Defendants’ products are not reasonably safe because they do not

27   provide for adequate age verification by requiring users to document and verify their age and

28   identity.
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                                                          08/01/22
                                                            Page 189
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                                                                     of 375
                                                                        2225of
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                                                                              of3639 #:337




1           101.    Adults frequently set up user accounts on Defendants’ social media products

2    disguising their identity and/or posing as minors to groom unsuspecting minors to exchange

3    sexually explicit content and images, which frequently progresses to sexual exploitation and

4    trafficking, and commercial sex acts.

5           102.    Minor users of social media and their parents do not reasonably expect that prurient

6    adults set up fraudulent accounts on Defendants’ social media products and pose as minors for

7    malign purposes.

8           103.    Likewise, minor users whose parents have taken affirmative steps to keep them

9    away from Defendants’ products often open multiple accounts, such that Defendants know or have

10   reason to know that the user is underage and/or does not have parental permission to use their

11   product. Defendants already have the information and means they need to ascertain with

12   reasonable certainty their users’ actual age. Defendants utilize these tools to investigate, assess,

13   and report on percentages and totals of underage users for internal assessment purposes. They then

14   choose to simply do nothing about that information as it relates to the specific, underaged users

15   themselves.

16          104.    Reasonably accurate age and identity verification is not only feasible but widely

17   deployed by online retailers and internet service providers. Defendants not only have the ability to

18   estimate the age of their users, but actually do so.

19          105.    The cost of incorporating age and identify verification into Defendants’ products

20   would be negligible, whereas the benefit of age and identity verification would be a substantial

21   reduction in severe mental health harms, sexual exploitation, and abuse among minor users of

22   Defendants’ products.

23   C.     Inadequate Parental Control and Monitoring

24          106.    Defendants have intentionally designed products to frustrate the exercise of

25   parental responsibility by their minor users’ parents. Parents have a right to monitor their

26   children’s social media activity to protect them from harm. Defendants have designed products

27   that make it difficult, if not impossible, for parents to exercise parental responsibility.

28          107.    Defendants’ products are also defective for lack of parental controls, permission,
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                                                            Page 190
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                                                                     of 375
                                                                        2326of
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                                                                              of3639 #:338




1    and monitoring capability available on many other devices and applications.

2           108.    Defendants’ products are designed with specific product features intended to

3    prevent and/or interfere with parents’ reasonable and lawful exercise of parental control,

4    permission, and monitoring capability available on many other devices and applications.

5    D.     Intentional Direction of Minor Users to Harmful and Exploitative Content

6           109.    Default “recommendations” communicated to new minor users, including Liam

7    Birchfield, purposefully steered him toward content Defendants knew to be harmful to children of

8    his age and gender.

9           110.    Advertising content pushed to new minor users, including Liam Birchfield, because

10   of their age and vulnerability, purposefully steer those users toward content Defendants know to

11   be harmful to children of their age and gender.

12   E.     Inadequate Protection of Minors from Sexual Exploitation and Abuse

13          111.    Defendants’ products are not reasonably safe because they do not protect minor

14   users from sexually explicit content and images, report sex offenders to law enforcement, or allow

15   users’ parents to readily report abusive users to law enforcement.

16          112.    Parents do not expect their children will use Defendants’ products to exchange

17   sexually explicit content and images and minor users do not expect that prurient adults pose as

18   minors for malign purposes or that exchange of such content will be deleterious to their personal

19   safety and emotional health.

20          113.    Minor users of Defendants’ products lack the cognitive ability and life experience

21   to identify online grooming behaviors by prurient adults and the psychosocial maturity to decline

22   invitations to exchange salacious material.

23          114.    Defendants’ products are unreasonably dangerous and defective as designed

24   because they allow minor children to use “public” profiles, in many cases default “public” profiles,

25   that can be mass-messaged by anonymous and semi-anonymous adult users for the purposes of

26   sexual exploitation and grooming, including the sending of encrypted, disappearing messages and

27   cash rewards through Defendants’ integrated design features.

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                                                            Page 191
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                                                                     of 375
                                                                        2427of
                                                                             PageID
                                                                              of3639 #:339




1    F.     Design of Addictive Social Media Products

2           115.    As designed, Defendants’ social media products are addictive to minor users as

3    follows: When minors use design features such as “likes” or “streaks” it causes their brains to

4    release dopamine, which creates short term euphoria. However, as soon as dopamine is released,

5    minor users’ brains adapt by reducing or “downregulating” the number of dopamine receptors that

6    are stimulated and their euphoria is countered by dejection. In normal stimulatory environments,

7    this dejection abates, and neutrality is restored. However, Defendants’ algorithms are designed to

8    exploit users’ natural tendency to counteract dejection by going back to the source of pleasure for

9    another dose of euphoria. As this pattern continues over a period of months and the neurological

10   baseline to trigger minor users’ dopamine responses increases, they continue to use Instagram, not

11   for enjoyment, but simply to feel normal. Once they stop using Instagram, minor users experience

12   the universal symptoms of withdrawal from any addictive substance including anxiety, irritability,

13   insomnia, and craving.

14          116.    Addictive use of social media by minors is psychologically and neurologically

15   analogous to internet gaming disorder as described in the American Psychiatric Association's 2013

16   Diagnostic and Statistical Manual of Mental Disorders (DSM-5), which is used by mental health

17   professionals to diagnose mental disorders. Gaming addiction is a recognized mental health

18   disorder by the World Health Organization and International Classification of Diseases and is

19   functionally and psychologically equivalent to social media addition.

20          117.    The diagnostic symptoms of social media addiction among minors are the same as

21   the symptoms of addictive gaming referenced in DSM 5 and include:

22              d. Preoccupation with social media and withdrawal symptoms (sadness, anxiety,

23                  irritability) when device is taken away or not possible.

24              e. Tolerance, the need to spend more time using social media to satisfy the urge.

25              f. Inability to reduce social media usages, unsuccessful attempts to quit gaming.

26              g. Giving up other activities, loss of interest in previously enjoyed activities due to

27                  social media usage.

28              h. Continuing to use social media despite problems.
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                                                          08/01/22
                                                            Page 192
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        2528of
                                                                             PageID
                                                                              of3639 #:340




1                  i. Deceiving family members or others about the amount of time spent on social

2                     media.

3                  j. The use of social media to relieve negative moods, such as guilt or hopelessness;

4                     and

5                  k. Jeopardized school or work performance or relationships due to social media usage.

6           118.      Defendants’ advertising profits are directly tied to the quantity of their users’ online

7    time and engagement, and their algorithms and other product features are designed to maximize

8    the time users spend using the product by directing them to content that is progressively more and

9    more stimulative. Defendants enhance advertising revenue by maximizing users’ time online

10   through a product design that addicts them to the platform. However, reasonable minor users and

11   their parents do not expect that online social media platforms are psychologically and

12   neurologically addictive.

13          119.      It is feasible to make Defendants’ products not addictive to minor users by turning

14   off the algorithms, limiting the frequency and duration of access, and suspending service during

15   sleeping hours. Designing software that limits the frequency and duration of minor users’ screen

16   use and suspends service during sleeping hours could be accomplished at negligible cost; whereas

17   the benefit of minor users maintaining healthy sleep patterns would be a significant reduction in

18   depression, attempted and completed suicide, and other forms self-harm among this vulnerable

19   age cohort.

20   G.     Inadequate Notification of Parents of Dangerous and Problematic Social Media

21          Usage by Minor Users

22          120.      Defendants’ products are not reasonably safe as designed because they do not

23   include any safeguards to notify users and their parents of usage that Defendants know to be

24   harmful and likely to cause negative mental health effects to users, including excessive passive

25   use and use disruptive of normal sleep patterns.

26          121.      It is reasonable for parents to expect that social media products that actively

27   promote their platforms to minors will undertake reasonable efforts to notify parents when their

28   child’s use becomes excessive or occurs during sleep time. It is feasible for Defendants to design
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                                                          08/01/22
                                                            Page 193
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        2629of
                                                                             PageID
                                                                              of3639 #:341




1    products that identify a significant percentage of its minor users who are using the product more

2    than three hours per day or using it during sleeping hours at negligible cost.

3           122.    Defendants’ products are not reasonably safe as designed because, despite

4    numerous reported instances of child sexual solicitation and exploitation by adult users,

5    Defendants have not undertaken reasonable design changes to protect underage users from this

6    abuse, including notifying parents of underage users when they have been messaged or solicited

7    by an adult user or when a user has sent inappropriate content to minor users. Defendants’ entire

8    business is premised upon collecting and analyzing user data and it is feasible to use Defendants’

9    data and algorithms to identify and restrict improper sexual solicitation, commercial sex acts,

10   exploitation, and abuse by adult users.

11          123.    It is reasonable for parents to expect that platforms such as Instagram and Snapchat

12   which actively promote their services to minors, will undertake reasonable efforts to identify users

13   suffering from mental injury, self-harm, or sexual abuse and implement technological safeguards

14   to notify parents by text, email, or other reasonable means that their child is in danger.

15          124.    As a proximate result of these dangerous and defective design attributes of

16   Defendants’ products, Liam Birchfield suffered severe mental harm, leading to physical injury and

17   death, from his use of Instagram and Snapchat.

18          125.    As a result of these defective design attributes of Defendants’ products, Liam

19   Birchfield has suffered serious damages in the form of emotional distress, diagnosed mental health

20   conditions, medical expenses, loss of income and earning capacity, pain and suffering, and

21   reputational harm.

22          126.    As a result of these dangerous and defective design attributes of Defendants’

23   products, Plaintiff Ashleigh Heffner has suffered loss of consortium, emotional distress, past and

24   future medical expenses, and pain and suffering.

25          127.    Defendants are further liable to Plaintiff for punitive damages based upon the

26   willful and wanton design of their products that were intentionally marketed and sold to underage

27   users, whom they knew would be seriously harmed through their use of Instagram and Snapchat.

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                                                          08/01/22
                                                            Page 194
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        2730of
                                                                             PageID
                                                                              of3639 #:342




1    H.      Defendants’ Creation of Harmful Content

2            128.      Defendants create and/or license images, GIFs, music, audio, and video content

3    that materially contribute to the creation and/or development of the content in social media

4    postings that minor users such as Liam Birchfield send and receive.

5            129.      The images, GIFs, music, audio, and video content created and/or licensed by

6    Defendants and incorporated into their social media platforms are substantial factors in making

7    Defendants’ social media products addictive to minor users such as Liam Birchfield. Without

8    images, GIFs, music, audio, and video content created and/or licensed by Defendants and

9    incorporated into their social media platforms, minor users would not experience the level of

10   dopamine response that renders Defendants’ social media products addictive. The images, GIFs,

11   music, audio, and video content created and/or licensed by Defendants and incorporated into their

12   social media platforms therefore make Defendants’ social products unreasonably dangerous in

13   violation of Tennessee and California law and substantially contribute to the product defect claims

14   alleged herein.

15           130.      The images, GIFs, music, audio and video content images, GIFs, music, audio, and

16   video content created and/or licensed by Defendants and incorporated into their social media

17   platforms substantially contribute to the psychologically harm experienced by minor users such as

18   Liam Birchfield. Without images, GIFs, music, audio, and video content created and/or licensed

19   by Defendants and incorporated into their social media platforms, minor users would not

20   experience the level of psychological distress they sustain from Defendants’ social media products.

21   The images, GIFs, music, audio, and video content created and/or licensed by Defendants and

22   incorporated into their social media platforms therefore make Defendants’ social products

23   unreasonably dangerous in violation of Tennessee and California law and substantially contribute

24   to the product defect claims alleged herein.

25                  COUNT II – STRICT PRODUCT LIABILITY (Failure to Warn)

26           131.      Plaintiffs reallege each and every allegation contained in paragraphs 1 through 130

27   as if fully stated herein.

28           132.      Meta’s product is defective because of inadequate instructions or warnings because
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                                                          08/01/22
                                                            Page 195
                                                                   Page
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                                                                     of 375
                                                                        2831of
                                                                             PageID
                                                                              of3639 #:343




1    the foreseeable risks of harm posed by the product could have been reduced or avoided by the

2    provision of reasonable instructions or warnings by the manufacturer and the omission of the

3    instructions or warnings renders the product not reasonably safe. This defective condition rendered

4    the product unreasonably dangerous to persons or property, existed at the time the product left

5    Defendant’s control, reached the user or consumer without substantial change in the condition in

6    which it was sold, and was a cause of Liam Birchfield’s injury.

7           133.    Snapchat’s product is defective because of inadequate instructions or warnings

8    because the foreseeable risks of harm posed by the product could have been reduced or avoided

9    by the provision of reasonable instructions or warnings by the manufacturer and the omission of

10   the instructions or warnings renders the product not reasonably safe. This defective condition

11   rendered the product unreasonably dangerous to persons or property, existed at the time the

12   product left Defendant’s control, reached the user or consumer without substantial change in the

13   condition in which it was sold, and was a cause of Liam Birchfield’s injury.

14          134.    Defendants’ products are unreasonably dangerous and defective because they

15   contain no warning to users or parents regarding the addictive design and effects of Snapchat and,

16   Instagram.

17          135.    Defendants’ social media products rely on highly complex and proprietary

18   algorithms that are both undisclosed and unfathomable to ordinary consumers who do not expect

19   that social media platforms are physically and/or psychologically addictive.

20          136.    The magnitude of harm from addiction to Defendants’ products is horrific, ranging

21   from simple diversion from academic, athletic, and face-to-face socialization to sleep loss, severe

22   depression, anxiety, self-harm, and suicide.

23          137.    The harms resulting from minors’ addictive use of social media platforms have

24   been not only well-documented in the professional and scientific literature, but Meta had actual

25   knowledge of such harms. On information and belief, Snap also conducted internal studies

26   documenting the addictive quality and harmful effects of its social media products on minor users.

27          138.    Defendants’ products are unreasonably dangerous because they lack any warnings

28   that foreseeable product use can disrupt healthy sleep patterns or specific warnings to parents when
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                                                          08/01/22
                                                            Page 196
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        2932of
                                                                             PageID
                                                                              of3639 #:344




1    their child’s product usage exceeds healthy levels or occurs during sleep hours. Excessive screen

2    time is harmful adolescents’ mental health and sleep patterns and emotional well-being.

3    Reasonable and responsible parents are not able to accurately monitor their child’s screen time

4    because most adolescents own or can obtain access to mobile devices and engage in social media

5    use outside their parents’ presence.

6            139.    It is feasible for Defendants’ products to report the frequency and duration of their

7    minor users’ screen time to their parents without disclosing the content of communications at

8    negligible cost, whereas parents’ ability to track the frequency, time and duration of their minor

9    child’s social media use are better situated to identify and address problems arising from such use

10   and to better exercise their rights and responsibilities as parents.

11           140.    Defendants knew about these harms, knew that users and parents would not be able

12   to safely use their products without warnings, and failed to provide warnings that were adequate

13   to make the products reasonably safe during ordinary and foreseeable use by minors.

14           141.    As a result of Defendants’ failure to warn, Liam Birchfield suffered severe mental

15   harm, leading to physical injury and death, from his use of Instagram and Snapchat.

16           142.    As a result of Defendants’ failure to warn, Liam Birchfield suffered serious

17   damages in the form of emotional distress, diagnosed mental health conditions, medical expenses,

18   loss of income and earning capacity, pain and suffering, and reputational harm.

19           143.    As a result of Defendants’ failure to warn, Plaintiff Ashleigh Heffner has suffered

20   loss of consortium, emotional distress, past and future medical expenses, and pain and suffering.

21           144.    Defendants are further liable to Plaintiff for punitive damages based upon their

22   willful and wanton failure to warn of known dangers of their products that were intentionally

23   marketed and sold to minor users, whom they knew would be seriously harmed through their use

24   of Instagram and Snapchat.

25                                     COUNT III – NEGLIGENCE

26           145.    Plaintiffs reallege each and every allegation contained in paragraphs 1 through 144

27   as if fully stated herein.

28           146.    At all relevant times, Defendants had a duty to exercise reasonable care and caution
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                                                            Page 197
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        3033of
                                                                             PageID
                                                                              of3639 #:345




1    to protect users from foreseeable harms arising out of use of their social media products.

2             147.   Defendants owe a heightened duty of care to minor users of their social media

3    products because adolescents’ brains are not fully developed, which results in a diminished

4    capacity to make good decisions regarding their social media usages, eschew self-destructive

5    behaviors, and overcome emotional and psychological harm from negative and destructive social

6    media encounters. Defendants intentionally designed and marketed their social media platforms

7    to be both attractive and harmful to underage users, sometimes referred to an “attractive nuisance.”

8    Rather than take reasonable precautions to prevent minors from harmful and problematic

9    behaviors, Defendant intentionally designed its platforms to attract and addict vulnerable minor

10   users.

11            148.   As California product manufacturers marketing and selling products to residents of

12   Tennessee, Defendants owed a duty to exercise ordinary care in the manufacture, marketing, and

13   sale of their products, including a duty to warn minor users and their parents of hazards that

14   Defendants knew to be present, but not obvious, to underage users and their parents.

15            149.   As business owners, Defendants owe their users—who visit Defendants’ social

16   media platforms and from whom Defendants derive billions of dollars per year in advertising

17   revenue—a duty of ordinary care substantially similar to that owed by physical business owners

18   to their business invitees.

19            150.   Defendants were negligent, grossly negligent, reckless, and/or careless in that they

20   failed to exercise ordinary care and caution for the safety of underage users, like Liam Birchfield,

21   using their Instagram and Snapchat products.

22            151.   Defendants were negligent in failing to conduct adequate testing and failing to

23   allow independent academic researchers to adequately study the effects of their products and levels

24   of problematic use amongst minor users. Defendants’ have extensive internal research indicating

25   that their products are harmful, cause extensive mental harm, and that minor users are engaging in

26   problematic and addictive use that their parents are helpless to monitor and prevent.

27            152.   Defendants were negligent in creating and/or licensing images, GIFs, music, audio,

28   and video content that materially contribute to the creation and/or development of the content in
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                                                            Page 198
                                                                   Page
                                                                    Page
                                                                     of 375
                                                                        3134of
                                                                             PageID
                                                                              of3639 #:346




1    social media postings that minor users such as Liam Birchfield send and receive and substantially

2    contribute to the minor users’ addiction to Defendants’ social media products and the

3    psychologically harm experienced by minor users such as Liam Birchfield.

4            153.    Defendants were negligent in failing to provide adequate warnings about the

5    dangers associated with the use of social media products and in failing to advise users and their

6    parents about how and when to safely use their social media platforms and features.

7            154.    Defendants were negligent in failing to fully assess, investigate, and restrict the use

8    of Instagram and Snapchat by adults to sexually solicit, abuse, manipulate, and exploit minor users

9    of their Instagram and Snapchat products.

10           155.    Defendants were negligent in failing to provide users and parents the tools to ensure

11   their social media products were used in a limited and safe manner by underage users.

12           156.    As a result of Defendants’ negligence, Liam Birchfield suffered severe mental

13   harm, leading to physical injury and death, from his use of and exposure to Instagram and

14   Snapchat.

15           157.    As a result of Defendants’ negligence, Liam Birchfield suffered serious damages

16   in the form of emotional distress, diagnosed mental health conditions, medical expenses, loss of

17   income and earning capacity, pain and suffering, and reputational harm.

18           158.    As a result of Defendants’ negligence, Plaintiff Ashleigh Heffner has suffered loss

19   of consortium, emotional distress, past and future medical expenses, and pain and suffering.

20           159.    Defendants are further liable to Plaintiff for punitive damages based upon their

21   willful and wanton conduct toward underage users, including Liam Birchfield, whom they knew

22   would be seriously harmed through the use of Instagram and Snapchat.

23       COUNT IV – VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW

24                                (Cal. Bus. & Prof Code §§ 17200, et seq.)

25           160.    Plaintiff realleges each and every allegation contained in paragraphs 1 through 159

26   as if fully stated herein.

27           161.    Defendants are each a “person” as defined under California Business & Professions

28   Code § 17201.
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1           162.    The UCL prohibits all conduct that is unlawful, unfair, or fraudulent.

2           163.    Defendants’ conduct is unlawful as set forth in Counts I-III, above.

3           164.    Defendants engaged in fraudulent and deceptive business practices in violation of

4    the UCL by promoting products to underage users, including Liam Birchfield, while concealing

5    critical information regarding the addictive nature and risk of harm these products pose.

6    Defendants knew and should have known that their statements and omissions regarding the

7    addictive and harmful nature of their products were misleading and therefore likely to deceive the

8    members of the public who use Defendants’ products and who permit their underage children to

9    use Defendants’ products. Had Plaintiff known of the dangerous nature of Defendants’ products,

10   she would have taken early and aggressive steps to stop or limit her son’s use of Defendants’

11   products.

12          165.    Defendants’ practices are unfair and violate the UCL because they offend

13   established public policy, and because the harm these practices cause to consumers greatly

14   outweighs any benefits associated with them.

15          166.    Defendants’ conduct has resulted in a substantial injury that Plaintiff could not

16   reasonably have avoided because of Defendants’ deceptive conduct. This substantial harm is not

17   outweighed by any countervailing benefits to consumers or competition.

18          167.    As a direct and proximate result of the foregoing acts and practices, Defendants

19   have received, or will receive, income, profits, and other benefits, which they would not have

20   received if they had not engaged in the violations of the UCL described in herein. As a direct and

21   proximate result of the foregoing acts and practices, Defendants have also obtained an unfair

22   advantage over similar businesses that have not engaged in such practices.

23          168.    As a result of Defendants’ UCL violations, Plaintiff suffered an injury in fact and

24   lost money as set forth above and detailed in her prayer for relief.

25          169.    Accordingly, Plaintiff seeks injunctive and equitable relief to halt and remedy

26   Defendants’ unlawful, fraudulent, and unfair conduct.

27
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      COMPLAINT FOR WRONGFUL DEATH                              SOCIAL MEDIA VICTIMS LAW CENTER PLLC
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1                        COUNT V – VIOLATION OF 18 U.S.C. § 1595 and 1591

2                                         (Against all Defendants)

3           170.      Plaintiff realleges each and every allegation contained in paragraphs 1 through 169

4    as if fully stated herein. Plaintiff brings claims under 18 U.S.C. § 1595 based on Defendants’

5    financial benefit garnered from knowingly assisting, supporting, and facilitating the sexual

6    solicitation and exploitation of Liam Birchfield for commercial sex acts. Defendants knowingly

7    used the instrumentalities of interstate commerce to violate 18 U.S.C. § 1591. Defendants

8    knowingly received something of value from participation in a venture which recruits or entices a

9    person knowing, or in reckless disregard of the fact, that Liam Birchfield had not attained the age

10   of 18 years and was caused to engage in a commercial sex act as defined by 18 U.S.C. § 1591(a).

11          171.      Defendants are aware of, and knowingly benefit, from a large number of predatory

12   users who regularly use Defendants’ platforms to solicit and groom minor users such as Liam

13   Birchfield into sexually compromising situations and lure them into being sexually exploited and

14   trafficked for the purposes of commercial sex acts as defined in 18 U.S.C. § 1591.

15          172.      Defendants had actual knowledge that Liam Birchfield was under the age of 18

16   based on his user history, photographs, and videos, and repeated statements made on Defendants’

17   social media platforms. Defendants also had actual knowledge that the people with whom he was

18   communicating on their platforms were adults based on their user history and profiles. Defendants’

19   technology provided them with actual knowledge that Liam was exchanging sexually explicit

20   photographs and video with adults in a manner that constituted commercial sex acts under 18

21   U.S.C. § 1591.

22          173.      Defendants have designed and marketed their products in such a way as to appeal

23   to and make clear that predatory users may use their products for these illegal purposes. This

24   includes, for example, Snapchat’s development and marketing of disappearing messages (which

25   feature Instagram also now offers). Many of Defendants’ users are sexual predators—adults who

26   use Defendants’ products to prey on underage children.

27          174.      Defendants’ greatest source of revenue also comes from advertisements, and

28   Defendants are paid in direct correlation to how much time a user stays on their product.
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1    Defendants lack the financial incentive to create a product that denies access to underage users

2    and, likewise, Defendants make money each time their predatory users solicit, exploit, or otherwise

3    engage young children through their social media platforms.

4           175.    Defendants have failed to undertake reasonable efforts to redesign their social

5    media platforms to protect their minor users, such as Liam Birchfield, against such harms.

6           176.    To the contrary, Defendants knowingly provide sexual predators with tools such as

7    anonymity, encrypted and/or disappearing messaging, selected content involving minors, financial

8    transfer, and location features that are used by adults to target minor users for commercial sex acts.

9    Defendants’ products are designed to and do work in concert with each other. Defendants know

10   that these tools in its social media platforms make it easier for adult predators to efficiently and

11   anonymously identify and recruit large numbers of minors to engage in commercial sex acts than

12   if these abusers did not have access to Defendants’ platforms.

13          177.    For example, a common practice among predatory users is to find a minor user

14   through Instagram’s public profile, recommendation, and other information sharing features. Once

15   contact is established, the predator asks “What’s your Snap” or a similar question, designed to

16   obtain the child’s Snapchat information. Or, in cases where the child does not have a Snapchat

17   account, the predator will encourage them to open one. The predator then moves the discussion

18   onto Snapchat because they know that Snapchat’s product design and practices will enable them

19   to send harmful and illegal content to minors that then simply disappears.

20          178.    Defendants knowingly implemented policies and design features that obstructed,

21   interfered with, and prevented the enforcement of the child sexual exploitation protections set forth

22   in 18 U.S.C. § 1591.

23          179.    As a result of Defendants’ violations of 18 U.S.C. § 1595 and 1591, Liam

24   Birchfield suffered severe mental harm, leading to physical injury, emotional harm, and death from

25   sexual exploitation and solicitation of commercial sex acts directed toward him because of

26   Instagram and Snapchat, specifically, because of the defects and/or inherently dangerous features

27   and design of Defendants’ products.

28          180.    As a result of Defendants’ violations of 18 U.S.C. § 1595 and 1591, Ashleigh
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1    Heffner has suffered loss of consortium, emotional distress, past and future medical expenses, and

2    pain and suffering.

3           181.    As a result of Defendants’ violations of 18 U.S.C. § 1595 and 1591, Plaintiff is

4    entitled to full compensatory and punitive damages against Defendants for the mental and physical

5    injuries suffered by Liam Birchfield.

6           182.    Defendants are further jointly and severally liable to Plaintiff for punitive damages

7    and attorneys’ fees and costs based upon their knowing, intentional, willful, and wanton conduct

8    toward Liam Birchfield and other minor users whom they knew were being seriously harmed

9    through improper solicitation for commercial sex acts through the use of, or threatened use of,

10   force, fraud, and/or coercion through Instagram and Snapchat.

11                                    DEMAND FOR JURY TRIAL

12          Plaintiff hereby demands a trial by jury.

13                                       PRAYER FOR RELIEF

14          WHEREFORE, Plaintiff prays for judgment against Defendants for relief as follows:

15      a) Past physical and mental pain and suffering of Liam Birchfield, in an amount to be more

16          readily ascertained at the time and place set for trial;

17      b) Loss of enjoyment of life, in an amount to be more readily ascertained at the time and

18          place set for trial;

19      c) Past medical care expenses for the care and treatment of the injuries sustained by Liam

20          Birchfield, in an amount to be more readily ascertained at the time and place set for trial;

21      d) Past and future impairment to capacity to perform everyday activities;

22      e) Plaintiff’s pecuniary loss and loss of Liam Birchfield’s services, comfort, care, society,

23          and companionship to Ashleigh Heffner;

24      f) Loss of future income and earning capacity of Liam Birchfield;

25      g) Punitive damages;

26      h) Injunctive relief, including, but not limited to, ordering Defendants to stop the harmful

27          conduct alleged herein, remedy the unreasonably dangerous algorithms in their social

28          media products, and provide warnings to minor users and their parents that Defendants’
      COMPLAINT FOR WRONGFUL DEATH                               SOCIAL MEDIA VICTIMS LAW CENTER PLLC
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1         social media products are addictive and pose a clear and present danger to unsuspecting

2         minors;

3      i) Reasonable costs and attorney and expert/consultant fees incurred in prosecuting this

4         action; and

5      j) Such other and further relief as this Court deems just and equitable.

6         Dated: July 29, 2022.                 SOCIAL MEDIA VICTIMS LAW CENTER PLLC
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 6
                               UNITED STATES DISTRICT COURT
 7                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
 8
 9   ALEXANDRA, BENJAMIN, and                             Case No.
     JENNIFER MARTIN,
10
                               Plaintiff(s),              COMPLAINT FOR PERSONAL
11           v.                                           INJURIES
12
     META PLATFORMS, INC., formerly                       JURY DEMAND
13   known as FACEBOOK, INC.,

14                             Defendant.
15
16
17
            “In these digital public spaces, which are privately owned and tend to be run for
18
            profit, there can be tension between what’s best for the technology company and
19          what’s best for the individual user or for society. Business models are often built
            around maximizing user engagement as opposed to safeguarding users’ health and
20          ensuring that users engage with one another in safe and healthy ways. . . .”
21 Protecting Youth Mental Health, The U.S. Surgeon General’s Advisory (December 7, 2021)
22
23          Plaintiffs Alexandra (“Alex”) Martin and her parents, Benjamin (“Ben”) and Jennifer

24 Martin, bring this action for personal injury and loss of consortium against Meta Platforms, Inc.,
25 formerly known as Facebook, Inc. (“Facebook”), doing business as Instagram (“Instagram”)
26 (collectively, “Meta”), and allege as follows:
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 1                                      I.      INTRODUCTION
 2 A.       Plaintiffs’ Claims
 3          1.     This product liability action seeks to hold Defendant Meta’s Instagram product
 4 responsible for causing and contributing to burgeoning mental health crisis perpetrated upon the
 5 children and teenagers of the United States by Meta and, specifically for the injuries it caused Alex
 6 Martin beginning in 2014, when Alex was only twelve years old. Those injuries, proximately

 7 caused by Meta’s unreasonably dangerous Instagram social media product, include but are not
 8 limited to, addiction, anxiety, depression, eating disorders, and, ultimately, suicide attempts.
 9          2.     Meta’s Instagram social media product likewise caused foreseeable harms to
10 Plaintiffs Ben and Jennifer Martin. Ben and Jennifer Martin took affirmative steps to protect their
11 daughter, were unaware that Meta’s Instagram product was addictive and harmful and were
12 emotionally and financially harmed by Meta’s addictive design and harmful distribution and
13 provision of multiple Instagram accounts to their child.
14          3.     Plaintiffs’ harms were all caused by Alex’s exposure to and use of Meta’s
15 unreasonably dangerous and defective social media product, Instagram. Alex was 12 years old
16 when she opened her first Instagram account. Meta knew or should have known that she was under
17 the age of 13, however, Meta designed its product to encourage such illegal and unauthorized use,
18 and in a manner that encouraged Alex to eventually open multiple accounts, including secret
19 accounts her parents did not know about.
20          4.     Meta created a “perfect storm” of addiction, social comparison, and exposure to
21 incredibly harmful content and product features, then operated its algorithms to push and promote
22 harmful content via Alex’s Feed, Explore, Stories, and Reels features. Meta programmed and
23 operated its product to prioritize engagement over user safety, and Alex suffered several emotional,
24 physical, and financial harms as a result, as did her parents—all of which are a symptom of the
25 current health crisis among American youth caused by certain harmful social media products,
26 specifically in this case, Instagram.
27

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 1 B.           Meta’s Internal Documents Targeting Children
 2              5.       In late 2021, a Facebook whistleblower disclosed thousands of internal Meta
 3 documents to the United States Securities Exchange Commission (the “SEC”) and Congress. The
 4 Facebook Papers prove known dangerous designs and design defects as well as operational
 5 decisions and calculations, and a causal relationship between use of Meta’s Instagram social media
 6 product in its current form and resulting addiction, anxiety, depression, eating disorders,

 7 exploitation and grooming, and what Meta internally refers to as “SSI” (Suicide and Self Injury).
 8 Examples of the Facebook papers include and can be found at the following locations, to name
 9 only some examples:
10              6.       The Wall Street Journal and Digital Wellbeing published several of the Facebook
11 Papers in November 2021,1 including but not limited to,
12                   a. Social Comparison: Topics, celebrities, Like counts, selfies [Jan 2021 internal
13                       document reporting findings from a 9-country user survey (n=100,000) in
14                       Australia, Brazil, France, Germany, Great Britain, India, Japan, Korea, USA].
15                   b. Appearance-based Social Comparison on Instagram [Feb 2021 internal document
16                       reporting finding from a 10-country user survey (n=50,590) across Australia,
17                       Brazil, France, Germany, Great Britain, India, Japan, Korea, Mexico, USA].
18                   c. Mental Health Findings: Deep dive into the reach, intensity, Instagram impact, self-
19                       reported usage and support of mental health issues [2019 internal document
20                       reporting findings from a 6-country user survey (n=22,410) across Brazil, India,
21                       Indonesia, Japan, Turkey, USA].
22                   d. Teen Mental Health Deep Dive [2019 internal document reporting findings from a
23                       2-country (UK and US) qualitative research study (n = 40 in-person interviews,
24                       with follow-up video calls (n = 8) with young Instagram users (aged 13-17),
25                       supplemented by online survey (n = 2,503)].
26
27

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         https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-a-single-page/
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 1                  e. Teens and Young Adults on Instagram and Facebook [2021 internal document
 2                     reporting findings from a five-country study (Australia, France, Great Britain,
 3                     Japan, USA) with user data].
 4             7.      Gizmodo has been publishing the Facebook Papers, several at a time, also starting
 5 in November 2021,2 including but not limited to,
 6                  a. Why We Build Feeds
 7                  b. Is Ranking Good
 8                  c. Big Levers Ranking Experiment
 9                  d. [LAUNCH] Civic Ranking: Engagement-Based Worth Your Time
10                  e. MSI Metric Note Series
11                  f. The Meaningful Social Interactions Metric Revisited: Part 2
12                  g. The Meaningful Social Interactions Metric Revisited: Part 4
13                  h. The Meaningful Social Interactions Metric Revisited: Part 5
14                  i. Meaningful Social Interactions Useful Links
15                  j. MSI Documentation
16                  k. Evaluating MSI Metric Changes with a Comment-Level Survey
17                  l. Surveying The 2018 Relevance Ranking Holdout
18                  m. Overview of MSI + Pages and Survey Research
19                  n. Is Multi-Group Picker “Spammy?”
20                  o. Filtering Out Engagement-Bait, Bullying, and Excessive Comments From MSI
21                     Deltoid Metric
22                  p. [LAUNCH] Using p(anger) to Reduce the Impact Angry Reactions Have on
23                     Ranking Levers
24                  q. Planned MSI Metric Changes in 2020
25                  r. MSI Metric Changes for 2020 H1
26                  s. Should We Reduce the MSI Weight of Sticker Comments?
27                  t. Max Reshare Depth Experiment
28   2
         https://gizmodo.com/facebook-papers-how-to-read-1848702919
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 1               u.   “Understand This Post’s Ranking” —How I Miss Thee!
 2               v. Facebook and Responsibility
 3               w. The Surprising Consequences to Sessions and MSI Caused by Turning Off Video
 4                    Autoplay on News Feed
 5               x. One-Go Summary Post for Recent Goaling and Goal Metric Changes for News
 6                    Feed
 7               y. News Feed UXR Quarterly Insights Roundup
 8               z. What Happens If We Delete Ranked Feed?
 9               aa. News Feed Research: Looking Back on H2 2020
10               bb. Content from “Political” Pages in In-Feed Recommendations
11               cc. Political Content in In-Feed Recommendations (IFR)
12               dd. In-Feed Recommendations HPM —April 15 2021
13 These documents are all incorporated by reference into this Complaint and the sole reason they
14 are not attached is length and file size. However, the contents of these documents and other
15 Facebook Papers are material to Plaintiffs’ claim.
16          8.        On information and belief, Meta has knowledge about the harms its products cause
17 users, particularly teen, child, and other vulnerable user populations, and continues to operate those
18 products in a harmful and dangerous manner anyway and in the interest of competitive advantage
19 and increasing its already astronomical profits. Moreover, only a small fraction of relevant Meta
20 documents has been disclosed. Plaintiffs anticipate literal truckloads of additional evidence that
21 will support these claims and show precisely what Meta done in the name of corporate greed.
22          9.        Meta has actual knowledge that children under the age of 13 are using its social
23 media products; that its social media products are highly addictive and harmful to a significant
24 population of all users, but especially teens and children; that certain design features that serve no
25 functional, informational, societal, or educational purpose (for example, “likes”) are causing harm
26 to users, but especially teens and children; and that algorithms and algorithm-driven product
27 features are dangerous and harmful by design and as designed. Meta knew about these harms,

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                                  COMPLAINT FOR PERSONAL INJURIES                                      5
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              Case3:22-cv-04286-AGT
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 1 could have made its Instagram product safer at minimal expense, and opted to stay the course
 2 instead and to increase user engagement and already astronomical revenue.
 3          10.    Despite knowledge of the dangerous and harmful characteristics of its product,
 4 Meta has made and continues to make calculated cost-benefit business decisions and is consistently
 5 prioritizing their already astronomical profits over human life.
 6          11.    The harms at issue in this case all arise from Defendants’ product designs and/or
 7 inadequate warnings.
 8 C.       The Social Media Epidemic Among Children
 9          12.    On December 7, 2021, the United States Surgeon General issued an advisory
10 cataloging a dramatic increase in teen mental health crises including suicides, attempted suicides,
11 eating disorders, anxiety, depression, self-harm, and inpatient admissions. Between 2007 and
12 2018, for example, suicide rates among youth ages 12 to 16 in the U.S. increased a staggering 146
13 percent. Several cities across the United States have been experiencing teen suicide rates in the
14 range of 1 every year or other year, which is an absolute crisis for our country—the death by
15 suicide of a child is something that should be an exception and not a rule. The incidence of serious
16 depression and dissatisfaction with life in this age group has likewise increased dramatically, and
17 there is no question that these harms relate in no small part to companies like Meta.
18          13.    The most significant and far-reaching change to the lives of young people in the
19 last ten years has been the widespread adoption of social media platforms and prominently, for
20 purposes of this lawsuit, the Instagram product which launched in 2010 and was acquired by
21 Facebook (now Meta) in 2012, and which is designed and distributed by Meta.
22          14.    By 2014, 80 percent of high-school students said they used social media daily, and
23 24 percent said that they were online “almost constantly.” Moreover, there are an estimated 24.5
24 million teen internet users in the U.S. alone. What this means tens of millions of U.S. teens (aged
25 13 to 17) using Meta’s social media product on a regular basis.
26          15.    By 2018, an estimated 63% of all children in the United States aged 13 to 14 and
27 78% of all children in the United States aged 15 to 17 used Instagram specifically. Current

28 estimates put the total number of all US teens using Instagram at 76%.
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 1          16.     Current estimates put the number of teen Instagram users in the US over 20 million
 2 – in other words, there are more than 20 million at-risk teen Instagram users in the U.S. alone.
 3 D.       Disparities Between Meta’s Public Statements and Internal Research on Harm to
 4          Children
 5          17.     Peer reviewed studies and available medical science have also identified a
 6 particular type of social media and electronic device use associated with major mental health

 7 injuries, including depression, self-harm, eating disorders, suicide attempts and ideation,
 8 dissatisfaction with life, depression, and sleep deprivation. Large observational studies and
 9 experimental results also point to heavy use of certain social media products as the cause of
10 increased depression, suicidal ideation, and sleep deprivation among teenagers, particularly
11 teenage girls. Again, Meta has spent years publicly denying these findings—while internally
12 confirming them.
13          18.     Specifically, Meta leadership has vehemently denied that its products are harmful
14 or addictive. Meta has gone to great lengths to assure the world that its social media products are
15 safe. Even its Terms of Use (effective January 4, 2022) represent that Meta is “Fostering a positive,
16 inclusive, and safe environment,” and that Meta uses its “teams and systems … to combat abuse
17 and violations of our Terms and policies, as well as harmful and deceptive behavior. We use all
18 the information we have—including our information—to try to keep our platform secure.”
19 (Effective January 4, 2022). However, Meta’s own internal research and “experiments” show the
20 opposite. The Facebook Papers include years’ worth of studies and reports, often referred to by
21 Meta as “experiments,” discussing the fact that Meta’s social media products are addictive and
22 harmful, and that use of those products can and does lead to serious mental health issues in a
23 significant number of users, including things like anxiety, depression, eating disorders, and what
24 Meta refers to as Suicide and Self Injury (or, SSI). The following are just a few examples.
25          19.     The Facebook Papers, however, include years’ worth of studies and reports
26 discussing the fact that Meta’s social media products are addictive and harmful, and that use of
27 those products can and does lead to serious mental health issues in a significant number of users,

28 including things like anxiety, depression, eating disorders, and SSI. This includes research
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 1 confirming that higher engagement (i.e. more sessions and/or time spent over a certain threshold)
 2 causes higher negative effect for users, and other hallmarks of addiction (referred to by Meta as
 3 “problematic use”). In late 2019, Meta conducted an “exploratory study” in the United States,
 4 aimed at examining “Teen Girls Body Image and Social Comparison on Instagram.”3 The resulting
 5 Power Point found that use of Defendants’ social media products made certain social comparison-
 6 based harms worse for a significant percentage of teen girls. See, supra, “Teen Girls Body Image

 7 and Social Comparison on Instagram – An Exploratory Study in the US,” p. 29 (referring to its
 8 own product mechanics as “addicting.”
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                        is seen as having the highest impact,
                       TikTok and Snapchat aren’t far behind
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    See https://digitalwellbeing.org/wp-content/uploads/2021/10/Facebook-Files-Teen-Girls-Body-Image-and-Social-
28 Comparison-on-Instagram.pdf
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 1      On Instagram, Explore, Feed, and Stories contribute t
 2      social comparison but in different ways
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13 Id. at p. 29, 30. More to the point, Meta knows that “Aspects of Instagram exacerbate each other
14 to create a perfect storm.” Id. at p. 33 and 34. According to Meta, the “social comparison sweet
15 spot” (id.)—a place of considerable harm to users, particularly teens and teen girls—lies at the
16 center of Meta’s product model and product features,
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              Aspects of Instagram exacerbate each other to create
18            a perfect storm
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10 Id. at p. 33 and 34.
11          20.     The user harms acknowledged in these slides relate, ultimately, to Meta product
12 features like “Feed + Profile and Explore” (id.), filters, and teen-targeted marketing and
13 accessibility. Meta refers to its “product mechanics” as “addicting” and recognizes that it is not
14 certain body-focused celebrity content shown on Instagram causing harm, but rather, the sheer
15 volume at which Meta’s social media product identifies and targets individual users (in particular,
16 teen girls) with that body-focused content. Indeed, this is not even content these users have
17 searched for or, in many cases, want to see – but rather, it is content (including advertisements)
18 Meta itself has programmed its product, algorithms, and other technologies to target at individual
19 users as a means of increasing engagement and addiction; and, in turn, Meta’s revenue and
20 competitive positioning. Meta knows exactly the harms that its products are causing to its teen
21 users, yet Meta leadership has made the decision to stay focused on engagement and growth, at
22 the expense of safety (aptly referred to by Meta as “Integrity”).
23          21.     Meta also knows that its recommendations and other product features, like Feed
24 and Explore, result in disproportionate harms to vulnerable users including children, teens, teen
25 girls, and women (known as “algorithmic bias” and/or “algorithmic discrimination”)/ Yet Meta
26 continues to reap astronomical profits at the expense of these users.
27          22.     To name only one example, Meta knows that its algorithm is identifying and
28 pushing harmful social comparison content to teen girls at significantly higher rates than what it is
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 1 identifying and pushing to teen boys. Meta’s algorithm is discriminating in a manner that
 2 disproportionally targets girls between the ages of 13 and 17, as compared to similarly situated
 3 boys between the ages of 13 and 17. And Meta has no intention of stopping, because this
 4 discrimination has proven lucrative and until it is more expense for Meta to keep discriminating
 5 against young women it will continue to do so.
 6          23.    In the words of the Facebook Whistleblower, Meta is “morally bankrupt.”
 7          24.    Meta knows of several other product features that are harming its users, and which
 8 Meta could reasonably make safer – but where Meta has chosen engagement and growth over
 9 integrity every time. Another example is the “friend” recommendation product feature, which is a
10 feature Meta has in both its Facebook and Instagram social media products. Meta knows that this
11 feature is harmful to children in that it contributes to a significant amount of the grooming and
12 exploitation that occurs on and because of Meta’s platforms. In other words, Meta affirmatively
13 directs and connects predatory adult users who do not know and would not be able to find minors
14 otherwise to Meta’s minor users via its recommendation algorithms, and vice versa (directing
15 minors to adult users). Meta is aware of the harm this product is causing to a substantial number
16 of its minor users. However, Meta has refused to simply turn this function off for minor users –
17 which it can easily do – because of other and more general findings that the more connections
18 Meta can make for new users, the more likely those users are to keep using its product.
19          25.    Meta’s own research has also been quite conclusive in determining that its teen,
20 female users are disproportionately impacted by these products features and resulting harms,
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 1
            Why? Frequent social comparison is a key driver of subjective
 2          well-being and teens say |G makes    ; problem worse.
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                    66”
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 5                                                                           %                          32%
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 7              of teen girls on |G                         Of teen ‘girls who                 f teen   girls said that when
            experience negative socia                 experienced negative social              they feltbad about their
 8          comparison (compared to                    comparison on Instagram,                bodies, Instagram made
               40% of teen boys)                          said it was causec1») by                 them feel worse
 9                                                      images related to beauty

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11 Id. at p. 9.
12            26.    According to an article published by the Wall Street Journal,4

13                          TO        ope
                            For the past three years, Facebookcohas been conducting studies into
                            how itsi photo-sharingpO         BS
                                                   app affects              of young5
                                                               its millionsit       users.
14                          Repeatedly,
                            7          »the7company’s, researchers
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                            harmful for 4
                                        a sizable: percentage of7them,; mostt notablyateenage:girls.
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                            “We make!body7image, issues;worse for one in
                                                                      “yOthree teenl girls,” said|
16                               Haye      ann              ,        pea            carer
                            one slide from 2019, summarizing research about teen girls who
                            experiencea the issues.
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                            “Teens3blame~
                                        Instagram1for increases5°in themote
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18                                       my                               was unprompted1and1
                                                        wee “This reactionLo
                            depression,” said another slide.
                            consistentt across3all groups.”7
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                            Among;teens;who reported1suicidallLthoughts,ey)
                                                                         13% of British\users3and
20                          anya
                            6% of AmericanLusers}tracedPret    caps
                                                        the desire               "3 to
                                                                   to kill themselves
                            Instagram, one presentation showed.
21
22            27.    Meta documents also discuss the fact that “Constant comparison on Instagram is

23 ‘the reason’ why there are higher levels of anxiety and depression in young people,”
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28    https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-company-documents-show-
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 1      Teens blame Instagram for increases in the rates of
 2      anxiety and depression among teens
        @   This reaction was unprompted and consistent across all groups
 3      e Constant comparison on Instagram is “the reason” why there are
          higher levels of anxiety and depression in young people
 4      e@Social comparison and perfectionism are nothing new, but young
                                                                                   ‘The reason why our generation is
          people are dealing with this on an unprecedented scale.
                                                                                  messed up and has higher anxiety
 5      e The proliferation of new and different ways to compare themselves to    depression than our parents is
            others, combined with constant access to means that there is no way   because we have to deal with social    —
 6          to escape social comparison on IG.
                                                                                  media. Everyone feels like they have
                                                                                  be perfect.”
        @ For both boys and girls, this was called out as being the number one    - UK Female
 7                             ~optana wthap —t-+4-     fa- ante]   bane
          reason why IG is worse than other platforms for mental health. And,
                                       a    -
          young people openly attribute their increasedmotto       ty
                                                         level of anxiety and
 8        depression to Instagram.


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11 See, supra, “Teen Mental Health Deep Dive,” p. 27. (October 10, 2019), at p. 53. As illustrated in
12 the Facebook Papers, this constant and harmful social comparison is the result of social media’s
13 design and operation, and not any one piece of content or interaction on its platform.
14            28.      Meta documents also report that 13.5% of teen girls on Instagram say that the

15 platform makes thoughts of Suicide and Self Injury (SSI) worse; while 17% of teen girls on
16 Instagram say that the platform makes “Eating Issues” (e.g. anorexia and bulimia) worse,
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                                                            Page 218Page
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 1 See,        https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-a-
 2 single-page/, Slide 14 of “Hard life moment – mental health deep dive.”
 3             29.      Meta knows that its product is contributing to teen depression, anxiety, even suicide
 4 and self-harm. Why doesn’t it change these harmful product features and stop utilizing algorithms
 5 in connection, at least, with teen accounts? Because Meta’s priority is growth and competition
 6 concerns, and it sees “acquiring and retaining” teens as essential to its survival. As made clear in

 7 the Facebook Papers, teenagers spend significantly more time on social media than adults (both
 8 total time and user sessions—which are usage patterns Meta links to addiction), represent Meta’s
 9 greatest (if not only) growth opportunity in the US, and can be used by Meta to recruit older and
10 younger family members and friends.
11             30.      Meta also knows that its Instagram product is widely used by pre-teens under the
12 age of 13. Despite it being illegal for Meta to knowingly permit persons under the age of 13 to use
13 its platform, Meta has spent millions (if not billions) of dollars over the last decade studying
14 “tweens” to determine how to make its product more appealing to and increase engagement among
15 them. Meta sees children under 13 as a tappable and valuable market, which it must capture and
16 use to increase revenue and ensure competitive positioning in the long-term.
17             31.      For Meta, young users are a priority demographic, and Meta leadership will do
18 anything to increase and maintain engagement. Indeed, on October 26, 2021, the New York Times
19 reported on a 2018 internal Meta marketing report lamenting loss of teenage users to competitors’
20 platforms as “an existential threat.”5
21             32.      Meta spends billions on these efforts, going so far as to identify vulnerabilities and
22 other areas where it can adjust its products and approach to appeal more to the teen demographic.
23 For example, in December of 2021, Insider reported on an internal Meta document titled “The
24 Power of Identities: Why Teens and Young Adults Choose Instagram.” It is clear from this
25 document that Meta, and its competitors, are marketing to children and teens – including in ways
26 meant to exploit the differences between teens and adults.
27             33.      Identified among Meta’s internal documents are other product features that cause
28   5
         https://www.nytimes.com/2021/10/16/technology/instagram-teens.html
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 1 harm to teen users, which product features are relatively standard among Defendants’ products.
 2 For example, product features that enable users to like or love other user’s content results in
 3 increased addiction and social comparison harms, which Meta considered hiding for the benefit of
 4 its users (referred to as “Project Daisy”) but ultimately did not.6
 5              34.      In May 2022, Instagram head Adam Mosseri told reporters that that research he had
 6 seen suggests the app’s effects on teen well-being is likely “quite small.”7 Upon information and

 7 belief, Mr. Mosseri’s statement was false and Meta leadership, including Mr. Mosseri, has been
 8 made aware of the significant and far-reaching effects of Instagram on teen well-being.
 9                                    The features that Instagram identifies as most harmful to teens
                                      appear to be at the platform’s core.

10                                    The tendency to share only the best moments,   a pressure to look
                                      perfect and an addictive product can send teens spiraling toward

11                                    eating disorders, an unhealthy sense oftheir own bodies and
                                      depression, March 2020 internal research states. It warns that the
                                      Explore page, which serves users photos and videos curated by an
12                                    algorithm, can send users deep into content that can be harmful.


13                                    “Aspects ofInstagram exacerbate each other to create   a perfect
                                      storm,” theresearch states.

14                                    The research has been reviewed by top Facebook executives, and was
                                      cited in a 2020 presentation given to Mr. Zuckerberg, according to the

15                                    documents.



16 See https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-company-
17 documents-show-11631620739 (to name only one example).
18              35.      In a more recent interview, Mr. Mosseri said that some features of Instagram could
19 be harmful to some users, and they aren’t easily addressed.8 This statement was also false, as
20 Meta’s leadership, including Mr. Mosseri, have been presented with numerous recommendations
21 from Meta’s employees and even teens themselves as to how they could easily make the Instagram
22 product safer for children and teens. Examples of this include but are not limited to things such as,
23                    a. Verification of age and identify for all users.
24                    b. Email verification for all users.
25                    c. Not allowing multiple accounts.
26   6
         See https://www.nytimes.com/2020/01/17/business/instagram-likes.html
27   7
      https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-company-documents-show-
     11631620739
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                                                                               78 #:368




 1                d. Not allowing public profiles for minors, or defaulting minors to private ones.
 2                e. Not allowing direct messaging with minors, or not allowing direct messaging with
 3                   minors and persons not on their “friends” list.
 4                f. Turning off recommendation algorithms for minor accounts.
 5                g. Turning off content algorithms for minor accounts.
 6                h. Reducing amount of certain content categories Meta’s algorithms identify and
 7                   direct to minor users (where Meta has determined that even a small reduction to
 8                   quantity would have a large impact for users, and where Meta can make such a
 9                   change essentially by turning a level on its current settings).
10                i. Not creating, approving, and directing harmful advertisements to minors.
11                j. Adoption of SSI (Suicide and Self-Injury) tools Meta employees have
12                   recommended and, again, that Meta could implement on a unilateral basis and that
13                   would reduce the incidence of SSI caused by Instagram.
14          36.      Meta knows that teens are more vulnerable and suffer harms from use of the
15 Instagram social media product at higher rates than adult Instagram users. At the same time,
16 however, teens access social media longer and more often than adults. Advertisers are willing to
17 pay a premium for unfettered access to child and teens so Meta, in turn, works hard to make its
18 Instagram social media product as appealing to teens as possible, even though it is harmful to teens.
19 E.       Meta’s Singular Focus on Profits Over Safety
20          37.      Meta knows the harmful impact its products have. Instead of warning users and/or
21 re-designing its product to make it safer, however, Meta senior leadership conducts extensive
22 economic calculations and chooses enhancing profits over protecting human life.
23          38.      Meta knows that large numbers of its users are “addicted” to its social media
24 products. Indeed, the problematic use identified in medical literature is precisely the type of use
25 Meta has designed its product to encourage through psychological manipulation techniques—
26 sometimes referred to as persuasive design—that is well-recognized to cause all the hallmarks of
27 clinical addiction.

28          39.      Meta also slowly switched its News Feed (in its Facebook and Instagram products)
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      Case: 1:22-cv-02968
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 1 from maximizing time-spent to maximizing sessions, even though it knew that maximizing
 2 sessions is harmful to its users.
 3          40.     Meta likewise knows that its “like” button causes harmful social comparison, and
 4 results in anxiety and depression in teens. Meta has tested and proved these theories and is aware
 5 of product fixes that would cost Meta virtually nothing but that, in turn, would reduce the harms
 6 to Meta’s teen users – users like Alex Martin. But Meta leadership refused such changes due to

 7 the potential for decreased revenues from advertisers and influencers. In other words, Meta made
 8 a calculated business decision and chose profits over human life.
 9          41.     Meta likewise engages in a constant cost-benefit analysis when it comes to user
10 safety vs. engagement—with engagement winning every time. For example, Meta does not
11 incorporate reasonable and necessary safety protocols and checks into its design and development
12 processes. It also then fails to make its product and product features safer after concerns are voiced
13 and/or actual harms are known. It opts instead for profits and engagement, consistent with its well-
14 known motto, “Move fast and break things.” On information and belief, there will be multiple
15 examples of this once discovery is had in this case.
16          42.     Meta is perfectly capable of enforcing its own Terms of Service, Community
17 Standards, and other guidelines. It can adjust controls in a manner that would better protect its
18 users, especially children and teens, from certain, significant harms caused by Meta’s user setting
19 options, recommendations, and other algorithmic-driven product features. Yet, Meta repeatedly
20 conducts its engagement-driven, cost-benefit analysis and repeatedly chooses profit over human
21 life. That is not a choice Meta has the right to make.
22          43.     Nor does Meta intend to make the changes necessary to protect young users. For
23 example, after the Facebook Whistleblower came forward and the first products liability lawsuits
24 were filed, Meta began making small product changes, in an effort to mimize the impact of the
25 truth about the harmfulness of its products. But Meta’s new claims of prioritizing user safety are
26 as false as the prior ones. The following are just some examples.
27          44.     Meta now claims that it requires age verification, which claim is misleading. Meta
28 simply asks its users to input their birthdate, as it did upon opening of the account. This form of
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                                                                 Page
                                                                 of 375
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                                                                              78 #:370




 1 “verification” is no more effective than it was the first time. Meta is unwilling to actually verify
 2 age and identification, however, as this would prevent anyone under the age of 16 from opening
 3 an account without parental consent and would stop those same users from opening multiple
 4 accounts – which would have significant impact on Meta’s engagement numbers and resulting
 5 revenue. It would also decrease engagement among predatory users, as many would not sign up
 6 for fear of getting caught and those who did would be easier to identify.

 7          45.      Meta also claims that it has parental controls in place, which “parental controls”
 8 Meta knows to be ineffective. For example,
 9                a. Parental controls do not work when users open accounts without their parents’
10                   knowledge or consent (which is many if not most teen users);
11                b. Parental controls do not work when users open FINSTAS (or secret, secondary
12                   accounts) which their parents do not know about, which again, refers to more than
13                   half of all teens using Meta’s Instagram product.
14                c. Parental controls do not work because, as Meta also knows, most parents do not
15                   understand how to use Meta’s social media products in the first place, and cannot
16                   or do not use what they do not understand. See, supra, “Teen Mental Health Deep
17                   Dive” (p. 50),
18           ’       time, parents can’t understand a
19           nNhow to help
                     eerie    200 1   te   before

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                                  COMPLAINT FOR PERSONAL INJURIES                                     18
         Case: 1:22-cv-02968
               Case
                Case3:22-cv-04286-AGT
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                                                            07/25/22
                                                            Page 223Page
                                                                     Page
                                                                     of 375
                                                                          22
                                                                           19
                                                                            PageID
                                                                             ofof81
                                                                                  78 #:371




 1 That is, actual user safety requires implementing more than just a tool aimed at putting safety in
 2 the hands of parents, since most do not understand the tool or know it exists in the first place.
 3                   d. Whatever the reason for parents not using parental controls, that misses the point
 4                      entirely – which is that Meta does not have the right to distribute inherently
 5                      dangerous and defective products to children in the first place, and parental controls
 6                      do not address harmful product features like algorithms and social comparison
 7                      content, to name a few.
 8 F.          Overview of Claims
 9             46.      Plaintiffs bring claims of strict liability based upon Meta’s defective design of its
10 Instagram social media product that renders such product not reasonably safe for ordinary
11 consumers or minor users. It is technologically feasible to design social media products that
12 substantially decrease both the incidence and magnitude of harm to ordinary consumers and minors
13 arising from their foreseeable use of Meta’s product with a negligible increase in production cost.
14 In fact, Meta’s employees have made proposals for product changes time and time again, as is also
15 proven by Meta’s internal documents, only for Meta controlling shareholder and CEO Mark
16 Zuckerberg to refuse such changes based solely on the potential impact they might have to Meta’s
17 engagement and revenue numbers. The following is from a Wall Street Journal article published
18 September 15, 2021,9
19              Anna Stepanov, who led a team addressing those issues, presented Mr, Zuckerberg with
                several proposed changes meant to address the proliferation offalse and divisive content
20
                on the platform, according to an April 2020 internal memo she wrote about the briefing.
21              One such change would have taken away a boost the algorithm gave to content most likely
                to be reshared by long chains of users.
22
23              “Mark doesn’t think we could go broad” with the change, she wrote to colleagues after the
                meeting. Mr. Zuckerberg said he was open to testing the approach, she said, but “We
24              wouldn’t launch   if there was a material tradeoff with MSI impact.”
25
26             47.      What’s clear from all of these reports and documents is that Meta and its
27 competitors in the social media space could provide social media products that do not promote or

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         https://www.wsj.com/articles/facebook-algorithm-change-zuckerberg-11631654215
                                        COMPLAINT FOR PERSONAL INJURIES                                     19
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
                                       #:Document
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                                                 1-808/03/22
                                                    1 Filed
                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 224Page
                                                                      Page
                                                                      of 375
                                                                           23
                                                                            20
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:372




 1 amplify harmful content to teens and children – these companies simply choose to not do so as
 2 that would mean not relying on harmful algorithms and fewer billions of dollars in revenue.
 3             48.    Meta has consistently and knowingly placed its own profit over the health and
 4 welfare of its teen and child users, recognizing astronomical gains at their expense.
 5             49.    Plaintiffs also bring claims for strict liability based on Meta’s failure to provide
 6 adequate warnings to minor users and their parents of danger of mental, physical, and emotional

 7 harms arising from foreseeable use of its Instagram social media product. The addictive quality of
 8 Instagram and its harmful algorithms are unknown to minor users and their parents.
 9             50.    Plaintiffs also bring claims for common law negligence arising from Meta’s
10 unreasonably dangerous Instagram social media product and its failure to warn of such dangers.
11 Meta knew, or in the exercise or ordinary care should have known, that its social media product
12 was harmful to a significant percentage of its minor users and failed to redesign its product to
13 ameliorate these harms. Meta also failed to warn minor users and their parents of foreseeable
14 dangers arising out of use of its Instagram product.
15             51.    Meta’s own former and/or current developers often do not allow their own children
16 and teenagers to use the Instagram product.10 For many years, Meta has had actual knowledge that
17 its Instagram social media product is dangerous and harmful to children but actively concealed
18 these facts from the public and government regulators and failed to warn parents about this known
19 harm for continued economic gain.
20             52.    Plaintiffs also bring claims under California’s Unfair Competition Law (“UCL”),
21 Cal. Bus. & Prof. Code, §§17200, et seq. The conduct and omissions alleged herein constitute
22 unlawful, unfair, and/or fraudulent business practices prohibited by the UCL.
23             53.    Plaintiffs also bring a claim for unjust enrichment. Defendant received a direct
24 benefit from Alex Martin’s problematic and harmful use of its product, both from the amount of
25 time she spent on Instagram and from her creation of multiple accounts. Under the circumstances
26 stated herein, it would be unjust and inequitable for Defendant to retain those ill-gotten benefits.
27
     10
     See, e.g., https://www.foxnews.com/tech/former-facebook-exec-wont-let-own-kids-use-social-media-says-its-
28 destroying-how-society-works
                                    COMPLAINT FOR PERSONAL INJURIES                                              20
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 225Page
                                                                  Page
                                                                  of 375
                                                                       24
                                                                        21
                                                                         PageID
                                                                          ofof81
                                                                               78 #:373




 1          54.    Plaintiffs bring a claim for invasion of privacy under California law. Defendant’s
 2 conduct detailed herein frustrated and intruded upon Ben and Jennifer Martin’s fundamental
 3 parental rights to protect their child and to monitor and control their child’s use of social media,
 4 and this intrusion occurred in a manner that was highly offensive to a reasonable person.
 5          55.    Finally, Plaintiffs bring claims for fraud and fraudulent concealment. Meta spent
 6 years lying to Congress and the public about the nature of its products and harms they cause. Meta

 7 made affirmative statements and material omissions of fact designed to lull potential users into
 8 trusting that their social media products were safe, and that Meta was prioritizing user safety over
 9 its own profits. Meta not only knew that these statements were false but was actively concealing
10 the truth by creating a corporate culture of fear – conscientious Meta employees were made to
11 believe that they would be ruined and not believed, and that their actions would result in others
12 not being able to make Meta’s products safer if they revealed the truth. Meta knew that its products
13 were not safe, and knew that children, like Alex Martin, would be harmed by their use.
14          56.    Plaintiffs’ claims do not arise from third party content, but rather, Meta’s product
15 features and designs, including but not limited to algorithms and other product features that addict
16 minor users, amplify and promote harmful social comparison, affirmatively select and promote
17 harmful content to vulnerable users based on its individualized demographic data and social media
18 activity, put minor users in contact with dangerous adult predators, and otherwise prioritize
19 engagement (and Meta profits) over user safety.
20                                          II.     PARTIES
21          57.    Plaintiffs Alex Martin, and her parents Ben and Jennifer Martin, reside in
22 Georgetown, Kentucky. Alex opened her first Instagram account sometime in 2014, when she was
23 12 years old. Upon information and belief, Meta required her to assent to its Terms of Service at
24 that time. Alex no longer uses the Instagram social media product and disaffirms any contractual
25 terms Meta might claim. Disaffirmation was made within a reasonable time of Alex’s eighteenth
26 birthday.
27          58.    Defendant Meta is a Delaware corporation with its principal place of business in
28 Menlo Park, California. Meta owns and operates the Facebook and Instagram social media
                                 COMPLAINT FOR PERSONAL INJURIES                                    21
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
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                                                         07/25/22
                                                         Page 226Page
                                                                  Page
                                                                  of 375
                                                                       25
                                                                        22
                                                                         PageID
                                                                          ofof81
                                                                               78 #:374




 1 platforms, applications that are widely available to users throughout the United States.
 2                               III.       JURISDICTION AND VENUE
 3          59.     This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1332(a)
 4 because the amount in controversy exceeds $75,000, and Plaintiffs and Meta are residents of
 5 different states.
 6          60.     This Court has general jurisdiction over Defendant Meta because Meta’s principal
 7 place of business is California and Meta is “at home” in this State. This Court also has specific
 8 jurisdiction over Meta because Plaintiffs’ claims set forth herein arise out of and relate to Meta’s
 9 activities in the State of California.
10          61.     Venue is proper in this District under 28 U.S.C. § 1391(b) because Meta resides in
11 the Northern District of California and a substantial part of the events or omissions giving rise to
12 Plaintiffs’ claims occurred in this District.
13          IV.     FACTUAL ALLEGATIONS RELATING TO PRODUCT DEFECTS
14 A.       Facebook and Instagram Background
15          62.     Facebook is an American online social network service that is part of the Meta
16 Platforms. Facebook was founded in 2004 and became the largest social network in the world,
17 with nearly three billion users as of 2021, and about half that number were using Facebook every
18 day. The company’s headquarters is in Menlo Park, California. Facebook recently changed its
19 name to, and is referred to herein and collectively with Instagram, as Meta.
20          63.     Instagram is a photo sharing social media application. Its original focus was to
21 facilitate communication through images by featuring photos taken on mobile devices. Instagram
22 launched in October 2010 and Facebook acquired it for $1 billion in April 2012. Once acquired,
23 Instagram experienced exponential growth, design, and development changes. It went from 10
24 million monthly active users in September of 2012 to 50 million weeks after the acquisition, to
25 more than 600 million by December of 2016, and it continues to grow. Meta instituted dozens of
26 product changes (also known as “growth hacks”) that drove this increased engagement, but at the
27 expense of the health and well-being of Instagram’s users—especially teens and children.

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                                 COMPLAINT FOR PERSONAL INJURIES                                    22
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 227Page
                                                                  Page
                                                                  of 375
                                                                       26
                                                                        23
                                                                         PageID
                                                                          ofof81
                                                                               78 #:375




 1                                         News Feed Product
 2          64.    Both the Facebook and Instagram products show users a “feed.” A user’s “feed” is
 3 a comprised of a series of photos and videos posted by accounts that the user follows, along with
 4 advertising and content specifically selected and promoted by Instagram.
 5          65.    Meta exerts control over a user’s Instagram “feed,” including through certain
 6 ranking mechanisms, escalation loops, and/or promotion of advertising and content specifically

 7 selected and promoted by Meta based on, among other things, its ongoing planning, assessment,
 8 and prioritization of the types of information most likely to increase engagement. In the case of
 9 certain user groups, like teens, this control translates to deliberate and repeated promotion of
10 harmful and unhealthy content, which Meta knows is causing harm to its young users.
11          66.    Over time, Meta slowly switched its News Feed (in its Facebook and Instagram
12 products) from maximizing time-spent to maximizing sessions, even though Meta knows that
13 maximizing sessions is harmful to its users.
14          67.    Recommendation-based feeds and product features also promote harmful content,
15 particularly where, as in the case of Meta, the algorithm is being programmed to prioritize number
16 of interactions and not quality of interactions.
17          68.    In 2021, Senators Richard Blumenthal, Marsha Blackburn and Mike Lee tested and
18 confirmed the fact that Meta’s recommendation-based feeds and product features promote harmful
19 content by having several accounts opened while providing information indicating that the users
20 were teenage girls,
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                                 COMPLAINT FOR PERSONAL INJURIES                                  23
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                     8-1 Filed:
                                             1-808/03/22
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                                                         07/25/22
                                                         Page 228Page
                                                                  Page
                                                                  of 375
                                                                       27
                                                                        24
                                                                         PageID
                                                                          ofof81
                                                                               78 #:376




 1         “Within an hour all of our recommendations promoted pro-anorexia and eating

           disorder content,” Blumenthal said. "Nothing has changed. It's all still happening.”
 2
 3         mom
           Sen.      ym                                      1              ve
                Mike Lee, R-Utah, said his office created an account for a 13 year old girl. Shortly

 4         afterward, the algorithm recommended a famous female celebrity to follow and when

           they did, Lee said, "It went dark fast."
 5
 6         ‘The fake account was flooded with content about diets, plastic surgery and other

 7                   ps
           damaging material for an adolescent girl, he said.    ’
 8
           In another example this week, Blackburn's staff exposed aflaw in Instagram's setting
 9         for teens under 16.

10
           According to Instagram’s policies, new teenage accounts should automatically default
11
           toa private setting. But when Blackburn's team        set up   aphony account for a 15 year
12         old girl, it automatically defaulted to public.

13

           sea                   ES ge oe
           Mosseri acknowledged the error, explaining the mistaken default setting was triggered
14                                                                   sa
           because the account was created on a web browser, as opposed to a mobile app.
15
           “We will correct that," he said.
16
17 See https://www.npr.org/2021/12/08/1062576576/instagrams-ceo-adam-mosseri-hears-senators-
18 brush-aside-his-promises-to-self-poli.
19          69.     And again, Meta’s recommendations are not coincidence, nor are they the product

20 of third-party speech or even Meta’s speech. Meta is exerting a degree of manipulation and control
21 over its users via its unchecked technologies that far exceeds anything the world could have
22 contemplated even a decade ago. Meta regularly “experiments” on users—users with no idea that
23 they are being monitored and examined—to test product ideas, but also, to identify mechanisms
24 through which Meta can control user behavior for its own profit. Moreover, Meta is not targeting
25 millions, thousands, or even hundreds of users with its product. Meta’s technologies allow it to
26 target every single user (billions of people) simultaneously and on an individual basis, which fact
27 makes its algorithmic and social media products far more dangerous than anything American

28 courts and lawmakers have ever seen or could even have conceived of until Meta’s internal
                                   COMPLAINT FOR PERSONAL INJURIES                                       24
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 229Page
                                                                  Page
                                                                  of 375
                                                                       28
                                                                        25
                                                                         PageID
                                                                          ofof81
                                                                               78 #:377




 1 documents were released in late 2021. Even now, there are tens of thousands if not millions of
 2 additional Meta documents and data sources that the world will need to see to fully appreciate and
 3 understand how Meta’s products function and what Meta (and its primary competitors in the social
 4 media industry) have knowingly done to our children and teens.
 5          70.    Meta not only tracks user actions, it tracks every conceivable detail of usage,
 6 including intentional vs. nonintentional actions, every message sent and received, every like,

 7 detailed usage and engagement and growth statistics for every single user, which data Meta can
 8 then access, organize, and utilize based on date, location, and age. In short, and upon information
 9 and belief, Meta’s systems provide Meta with actual knowledge as to virtually everything that
10 occurs on its platform.
11          71.    Meta is willing to addict its users if it means Meta’s own long-term success.
12          72.    Meta has had almost a decade to fix the type of product defects identified Senators
13 Richard Blumenthal, Marsha Blackburn and Mike Lee in late 2021, but has not—instead, its
14 products have severely harmed millions of teens in the U.S. alone, including Alex Martin.
15                                          Explore Product
16          73.    Instagram has a search feature, called “Explore,” where a user is shown an endless
17 feed of content that is selected by an algorithm designed by Meta based upon the users’
18 demographics and prior activity in the application. Again, Meta designed and operates its product
19 in a manner that promotes harmful and/or unhealthy content. Meta is aware of these inherently
20 dangerous product features and has repeatedly decided against changing them and/or
21 implementing readily available and relatively inexpensive safety measures, for purpose of ensuring
22 continued growth, engagement, and revenue increase.
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                                COMPLAINT FOR PERSONAL INJURIES                                    25
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                                         07/25/22
                                                         Page 230Page
                                                                  Page
                                                                  of 375
                                                                       29
                                                                        26
                                                                         PageID
                                                                          ofof81
                                                                               78 #:378




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11 See, supra, “Teen Mental Health Deep Dive,” p. 54.
12          74.    Meta also has conducted studies to identify precisely which of its algorithmically
13 promoted content is most harmful to users, and the degree of harm that content causes. See, e.g.,
14 supra, “Social Comparison: Topics, celebrities, Like counts, selfies” and “Appearance-based
15 Social Comparison on Instagram.” Despite being able to identify the harmful categories, as well
16 as volume and amplification product defects causing harm, Meta ultimately determined that its
17 promotion of such content is a large part of what makes the Instagram product appealing to teens.
18 Meta decided against changing its current product as a result, and irrespective of identified harms.
19          75.    Meta also knows that these harms (caused by Instagram) disproportionately impact
20 protected groups, including young women; and that its product disproportionately targets protected
21 groups, including young women.
22                                           Profile Settings
23          76.    Instagram profile default settings also cause harm. Users’ profiles on Instagram
24 may be public or private, which is a product feature over which Meta exercises complete control.
25 On public profiles, any user can view the photos, videos, and other content posted by the user. On
26 private profiles, the user’s content may only be viewed by the user’s followers, which the user
27 must approve. During the relevant period, Instagram profiles were public by default and Instagram

28 allowed all users to message and send follow requests to underage users.
                                 COMPLAINT FOR PERSONAL INJURIES                                    26
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                           No. 97 Document
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                                             1-808/03/22
                                                1 Filed
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                                                         07/25/22
                                                         Page 231Page
                                                                  Page
                                                                  of 375
                                                                       30
                                                                        27
                                                                         PageID
                                                                          ofof81
                                                                               78 #:379




 1          77.     Defaulting profiles to public served no critical purpose in terms of product
 2 functionality and/or a user’s ability to access content. Instead, this product feature increases user
 3 engagement during onboarding (when a user first starts using Instagram) by increasing user
 4 connections. Unfortunately for young children and teens, a numerically significant percentage of
 5 those would-be connections are harmful. Meta is aware of the harm and has opted to not make
 6 necessary and cost-effective changes to prevent it.

 7                Direct Messaging Product Feature and Access to Vulnerable Users
 8          78.     Meta’s Direct Message settings also permit and encourage harm to vulnerable
 9 users. Harmful and dangerous interactions occur because of the Instagram direct message feature
10 and current user settings, that is, Meta’s chosen settings provide predators and other bad actors
11 with direct and unsupervised access to children and teens.
12          79.     Meta’s direct messaging feature is where most unwanted interactions happen,
13 including bullying and sexual exploitation of minors, which Meta knows, yet it has once again
14 opted to not make necessary and cost-effective changes to prevent these harms – opting for
15 engagement over safety.
16                                    Push Notifications and Emails
17          80.     Meta’s push notifications and emails encourage addictive behavior and are
18 designed specifically to increase use of its Instagram product. Based on individualized data Meta
19 collects, it then selects content and notification frequency for its users and notifies them via text
20 and email. Instagram’s notifications to individual users are designed to, and do, prompt them to
21 open Instagram and view the content Instagram selected, increasing sessions, and resulting in
22 greater profits to Instagram. More to the point, even the format of these notifications has been
23 designed and re-designed with the specific purpose of pulling users back onto the social media
24 platform—irrespective of a user’s health or wellbeing.
25          81.     Upon information and belief, Meta has programmed its systems such that its
26 programs send more of these notifications to its most addicted users, knowing that these users are
27 the ones who have a harder time resisting the allure of this product feature.

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                                 COMPLAINT FOR PERSONAL INJURIES                                     27
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
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                                                 1-808/03/22
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                                                             07/25/22
                                                             Page 232Page
                                                                      Page
                                                                      of 375
                                                                           31
                                                                            28
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:380




 1                                                   Reels and Stories
 2              82.      Instagram has also added features and promoted the use of short videos and
 3 temporary posts. The latter are referred to as “Reels” while the former is referred to as Instagram
 4 “Stories.” These products were developed to appeal to teens and Meta knows that these products
 5 are addictive, as well as defective.
 6              83.      To name only one example, Meta has not yet implemented certain, basic safety-
 7 related technologies across all product features – despite public representations to the contrary –
 8 while the algorithmic bias it operates within its algorithms is identifying and promoting these
 9 inherently riskier products in greater numbers to teens, women, and other minority groups. This
10 means, for example, that Meta is identifying and recommending harmful and eating-disorder
11 promoting content to young girls in higher numbers – as it did with Alex Martin. This is content
12 these users would never have seen but for Meta’s identification and promotion, which harms Meta
13 knew about but did nothing to correct as it prioritized keeping the attention of those teen users.
14                        Marketing to Kids and Social Comparison Product Features
15              84.      Instagram also incorporates several unique product features that serve no functional
16 purpose, but that do make Meta’s product more appealing to children and teens (i.e., “likes” and
17 filters, as well as avatars, emojis, and games) while simultaneously increasing social comparison
18 pressure and resulting harm (i.e., “likes” and filters). Meta knows that these product features
19 disproportionally harm teen girls and young women, yet Meta leadership—singularly focused on
20 its economic bottom line—rejects product change recommendations that would have better
21 protected users against these harms and at minimal implementation cost to Meta.
22              85.      Another example involves Meta’s “like” button feature. Meta has determined that
23 its “like” product feature is a source of social comparison harm for many of its users. This is not
24 surprising given that several of the Meta employees involved in creating that feature have since
25 left Meta and have spoken publicly about the product’s addictive nature and harmfulness.11 What
26 is surprising, however, is that Meta identified the harmful feature (the “like” button), is aware of a
27 low to no-cost solution that would reduce the harms to its users, and still made the business

28   11
          See, e.g., https://www.theguardian.com/technology/2017/oct/05/smartphone-addiction-silicon-valley-dystopia.
                                        COMPLAINT FOR PERSONAL INJURIES                                                 28
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
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                               No. 97 Document
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                                                 1-808/03/22
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                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 233Page
                                                                      Page
                                                                      of 375
                                                                           32
                                                                            29
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:381




 1 decision to not launch that product fix. This is another blatant example of Meta choosing profits
 2 over human life and, specifically, the health and well-being of teens.
 3              86.     Upon information and belief, multiple Meta employees recommended and/or
 4 supported the launch of this product change for the Instagram product, but Meta leadership said
 5 no. And this specific feature was a source of significant emotional and mental harm to Alex Martin.
 6                      Meta’s Ownership and/or Licensing Rights in all User Content
 7              87.     Instagram also creates images and GIFs for users to post on their videos and
 8 pictures. Meta has also acquired publishing rights to thousands of hours of music, which it provides
 9 to its users to attach to the videos and pictures that they post on Instagram. The GIFs, images, and
10 music are integral to the user’s Instagram post and are, in fact, designed to encourage posting.
11 Indeed, in many cases, the only content in a user’s Instagram post is the image, GIF or music
12 supplied by Meta. When users incorporate images, GIFs, and music supplied by Meta into their
13 postings, Meta is functioning as a co-publisher of such content. An Instagram user who
14 incorporates images, GIFs, or music supplied by Meta into their post is functionally equivalent to
15 a novelist who incorporates illustrations into their story. Instagram can no longer characterize the
16 images, GIFs, and music it supplies to its users as third-party content, just as the novelist cannot
17 disclaim responsibility for illustrations contained in their book. Meta has made the deliberate
18 decision to collaborate with its users in this regard and, as evidenced by Meta’s internal documents,
19 Meta’s decision is motivated by the fact that such collaboration results in increased engagement
20 and more profits for Meta itself.
21              88.     Meta also has legal rights in all third-party content, such that it is not “third-party
22 content” at all. In 2012, Meta revised its Instagram Terms of Service to the following,12
23
          To help us deliver interesting paid or sponsored content or promotions, you agree that
24        a business or other entity may pay us to display your username, likeness, photos

25        (along with any associated metadata), and/or actions you take, in connection with
          paid or sponsored content or promotions, without any compensation to you.
26
27

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     12
          https://www.theverge.com/2012/12/18/3780158/instagrams-new-terms-of-service-what-they-really-mean
                                      COMPLAINT FOR PERSONAL INJURIES                                         29
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                             1-808/03/22
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                                                         07/25/22
                                                         Page 234Page
                                                                  Page
                                                                  of 375
                                                                       33
                                                                        30
                                                                         PageID
                                                                          ofof81
                                                                               78 #:382




 1            89.    Its current terms (effective January 4, 2022) are different, but still grant Meta the
 2 right to use all third-party content at Meta’s sole and unilateral discretion,
 3        e   We donot claim ownership of your content, but you grant us a license to use it.
              Nothing is changing about your rights in your content. We do not claim ownership of
 4            your content that you post on or through the Service and you are free to share your
              content with anyone else, wherever you want. However, we need certain legal
 5            permissions from you (known as a “license”) to provide the Service. When you
              share, post, or upload content that is covered by intellectual property rights (like
 6            photos or videos) on or in connection with our Service, you hereby grant to us a
              non-exclusive, royalty-free, transferable, sub-licensable, worldwide license to host,
 7            use, distribute, modify, run, copy, publicly perform or display, translate, and create
              derivative works of your content (consistent with your privacy and application
              settings). This license will end when your content is deleted from our systems. You
 8            can delete content individually or all at once by deleting your account. To learn more
              about how we use information, and how to control or delete your content, review the
 9            Data Policy and visit the Instagram Help Center.

10
11            90.    Meta directly profits from the videos and pictures its users create in collaboration

12 with Meta, as described above.
13            91.    Meta knows that it is harming teens yet, when faced with recommendations that

14 will reduce such harms, Meta’s leadership consistently opts for prioritization of profit over the
15 health and well-being of its teen users—that is, the millions of teen users who continue to use its
16 inherently dangerous and defective social media product every, single day.
17            92.    Meta’s products are used by many millions of children every day.

18 B.         Meta’s Instagram Application is a Product

19            93.    There can be no dispute that Meta designs, manufactures, and distributes Instagram.

20 Meta refers to Instagram and its various product features internally and in public facing documents
21 as a “product.”
22            94.    Meta’s Instagram product is designed to be used by minors and is actively marketed

23 to teens across the United States.
24            95.    Meta has obtained countless patents in connection with its Instagram product,

25 which legal protection it would not be entitled to for mere editorial decisions.
26            96.    The Instagram product is designed to be used by minors and is actively marketed

27 to minors across the United States. Meta markets to minors through its own marketing efforts and

28 design. In addition, Meta works with and actively encourage advertisers to create ads targeted at
                                   COMPLAINT FOR PERSONAL INJURIES                                     30
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
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                                                             07/25/22
                                                             Page 235Page
                                                                      Page
                                                                      of 375
                                                                           34
                                                                            31
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:383




 1 and appealing to teens, and even to children under the age of 13. Meta spends millions of dollars
 2 researching, analyzing, and experimenting with young children to find ways to make its product
 3 more appealing and addictive to these age groups, as these age groups are seen as the key to Meta’s
 4 long-term profitability and market dominance.
 5              97.     Meta also is aware that large numbers of children under the age of 18 use its product
 6 without parental consent. Indeed, Meta designs its social media product in a manner intended to

 7 allow and not prevent such use.
 8              98.     Meta is likewise aware that large numbers of children under the age of 13 use its
 9 product despite user terms or “community standards” that purport to restrict use to individuals who
10 are 13 and older. They have designed their product in a manner that allows and/or does not prevent
11 such use to increase user engagement and, thereby, increase its own profits.
12 C.           Meta Knows That Its Facebook and Instagram Products are Highly Addictive
13              99.     Meta and its leadership have repeatedly represented to the public and governments
14 around the world that their Instagram and Facebook products are safe and not addictive.
15              100.    In September of 2017, Meta CEO Mark Zuckerberg spoke out on the issue of opioid
16 addiction, making general addiction-related statements, including that “Communities all across the
17 country have a long road ahead, but as someone told me at the end, ‘I’m hopeful because we’re
18 talking about it.’ Me too.”13
19              101.    In April of 2018, Meta CEO Mark Zuckerberg testified under oath to Congress that
20 Meta does not design its products to be addictive and that he is not concerned with social media
21 addiction as it relates to teens. He stated,
22
                I view our responsibility as not just building services that people like but as building
23              services that are good for people and good for society as well … we study a lot of
                effects of well-being, of our tools, and broader technology, and like any tool there
24              are good and bad uses of it. What we find in general is that if you are using social
25              media to build relationships then that is associated with all the long term measures
                of well-being that you’d intuitively think of … but if you are using the internet and
26
27

28   13
          https://www.northpointrecovery.com/blog/mark-zuckerberg-discusses-view-addiction-facebook/
                                       COMPLAINT FOR PERSONAL INJURIES                                     31
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
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                                                             Page 236Page
                                                                      Page
                                                                      of 375
                                                                           35
                                                                            32
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:384




                social media to just passively consume content and are not engaging with other
 1
                people then it doesn’t have those positive effects and it could be negative.14
 2              102.    In November of 2020, Meta CEO Mark Zuckerberg again testified under oath to
 3 Congress that Meta does not design its products to be addictive and that research on addictiveness
 4 of social media has not been conclusive.15
 5              103.    In March of 2021, Meta CEO Mark Zuckerberg testified under oath to Congress
 6 that Instagram is not addictive and that it does not cause harm to children and teens.

 7              He was asked:
 8                   “So Mr. Zuckerberg, yes or no: Do you agree too much time in front of screens,
                     passively consuming content, is harmful to children's mental health? ...”
 9
                He responded:
10                   “I don’t think that the research is conclusive on that…”
11              He was asked:

12                   “Do you agree that you make money oﬀ of creating an addiction to your platforms?”
                He responded:
13
                     “Congressman, no. I don’t agree with that.”
14              He was asked:
15                   “Do you believe that your platform harms children?”
16              He responded:
                    “Congresswoman, I don’t believe so. This is something that we study and we
17
                    care a lot about; designing products that peoples’ well-being is very important
18                  to us. And what our products do is help people stay connected to people they
                    care about, which I think is one of the most fundamental and important human
19                  things that we do, whether that is for teens or for people who are older than that.
                    And again, our policies on the main apps that we oﬀer generally prohibit people
20                  under the age of 13 from using the services.”16
21              104.    On September 30, 2021, Meta’s Head of Safety, Antigone Davis, testified under
22 oath to Congress that Instagram is not addictive. She testified that she “disagree[d] with calling
23 our product addictive. I also think that’s not how we build products.”17 She denied Meta’s
24
     14
          https://www.youtube.com/watch?v=AB4mB-K7-xY
25   15
          https://www.tampafp.com/great-news-facebook-is-not-designed-to-be-addictive-according-to-zuckerberg/
26   16
        https://www.congress.gov/117/meeting/house/111407/documents/HHRG-117-IF16-Transcript-20210325.pdf, at
     p. 67, 107, 175.
27   17
       https://www.rev.com/blog/transcripts/facebook-head-of-safety-testimony-on-mental-health-effects-full-senate-
     hearing-transcript (“Sept. 30, 2021, Senate Hearing Transcript”), at 2:06:35; see also id. at 02:07:44 and 02:07:59
28   (Ms. Davis also denied that Meta’s business model includes getting users engaged for longer amounts of time).
                                       COMPLAINT FOR PERSONAL INJURIES                                                     32
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
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                                                             07/25/22
                                                             Page 237Page
                                                                      Page
                                                                      of 375
                                                                           36
                                                                            33
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:385




 1 marketing to children under 13, repeatedly denied the existence of causal research regarding harms
 2 to teens from Instagram use and testified that Meta’s overreaching goal is child safety: “We work
 3 tirelessly to put in place the right policies, products, and precautions so [young users] have a safe
 4 and positive experience.”18
 5              105.     On December 8, 2021, Instagram’s president Adam Mosseri provided written
 6 testimony and testified under oath to Congress that Instagram is not addictive.19 He testified that

 7 teens come to Instagram while dealing with difficult things and that Instagram makes things better
 8 for them. Mr. Mosseri downplayed the significance of the documents disclosed by the Facebook
 9 Whistleblower, characterizing Meta’s numerous studies as involving input from small numbers of
10 teens and not measuring “causal relationships between Instagram and real-world issues.”20 Indeed,
11 he testified that Meta’s overarching goal is child safety: “But I want to assure you that we do have
12 the same goal. We want all teens to be safe online.”21
13              106.     In truth, Meta has been studying its “addicting” product mechanics for years, and
14 Meta leadership—including and specifically Meta CEO Mark Zuckerberg—had actual knowledge
15 that these products are addictive and harmful to children and teens. Moreover, Meta’s own
16 estimates reflect known addiction by a significant number of children and teens. For example, if
17 we assume an addiction rate among US teen users only of 3%—which is far lower than Meta’s
18 estimated—that means that more than half a million American teenagers (age 13 to 17) are
19 currently addicted to Instagram to the point where their addiction is causing sleep deprivation,
20 actively interfering in their friendships, family relationships, employment, and education, and is
21 causing other physical and emotional harms.
22              107.     In March of 2020, Meta internally published a document titled “Social Comparison
23 Exploratory Research” (see, supra, as published by WSJ) based on a US Exploratory Study it
24
     18
          Id. at 24:58, 01:47:29, 1:48:07, 1:48:20, 2:10:47, 33:46, and 40:41.
25   19
       https://www.commerce.senate.gov/2021/12/protecting-kids-online-instagram-and-reforms-for-young-users,
26   recording of December 8, 2021 Senate Hearing.
     20
          https://www.commerce.senate.gov/services/files/3FC55DF6-102F-4571-B6B4-01D2D2C6F0D0, written
27 Testimony of Adam Mosseri, Head of Instagram, dated December 8, 2021.
     21
     https://www.npr.org/2021/12/08/1062576576/instagrams-ceo-adam-mosseri-hears-senators-brush-aside-his-
28 promises-to-self-poli
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      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 238Page
                                                                  Page
                                                                  of 375
                                                                       37
                                                                        34
                                                                         PageID
                                                                          ofof81
                                                                               78 #:386




 1 conducted titled “Teen Girls Body Image and Social Comparison on Instagram,”
 2
     Teen Girls Body Image and Social Comparison on Instagram - An
 3    Exploratory Study in the US
 4                                                                               | haan ates
      We conducted focus groups and diary study in the US to better understand teen girls’
      experience with appearance Comparison on social media and how this impacted|““-*7°
                                                                                    thew body
 5
      image and overall mental health
 6

 7          108.    In that document, Meta refers to its Instagram product mechanics as “addicting,”
 8
 9
10
11
12
13
14 Id. at p. 29.
15          109.    Among the published Facebook Papers are other documents detailing studies
16 specific to the issue of teen users and mental health, including the fact that teens “have an addicts’
17 narrative about their use – it can make them feel good, feel bad. They wish they could spend less
18 time caring about it, but they can’t help themselves …” and “Teens recognize the amount of time
19 they spend online isn’t good for them but at the same time they know they lack the willpower to
20 control the time spent themselves.”
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                                 COMPLAINT FOR PERSONAL INJURIES                                      34
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 239Page
                                                                  Page
                                                                  of 375
                                                                       38
                                                                        35
                                                                         PageID
                                                                          ofof81
                                                                               78 #:387




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11 See, supra, “Teen Mental Health Deep Dive,” p. 53.
12          110.    In short, Meta employees and Meta leadership know that Instagram is addictive and
13 harmful, in part, because it was designed that way (addictive design) and, also, because the billions
14 of dollars Meta has spent researching user addiction has said so. Meta has never released this
15 information on addiction and/or problematic use to the public; instead, its leadership lied
16 repeatedly to Congress and the parents of its tens of millions of child and teen users.
17          111.    Meta advertises its product as “free,” because they do not charge its users for
18 downloading or using its product. What many users do not know is that, in fact, Meta makes a
19 profit by finding unique and increasingly dangerous ways to capture user attention and target
20 advertisements to its users. Meta receives revenue from advertisers who pay a premium to target
21 advertisements to specific demographic groups of users in the applications including, and
22 specifically, users under the age of 18. Meta also receives revenue from selling its users’ data to
23 third parties.
24          112.    The amount of revenue Meta receives is based upon the amount of time and user
25 engagement on its platforms, which directly correlates with the number of advertisements that can
26 be shown to each user. In short, Meta opted for user engagement over the truth and user safety.
27          113.    Instagram is built around a series of design features that do not add to the

28 communication and communication utility of the application, but instead seek to exploit users’
                                 COMPLAINT FOR PERSONAL INJURIES                                     35
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 240Page
                                                                  Page
                                                                  of 375
                                                                       39
                                                                        36
                                                                         PageID
                                                                          ofof81
                                                                               78 #:388




 1 susceptibility to persuasive design and unlimited accumulation of unpredictable and uncertain
 2 rewards (including things like “likes” and “followers” and “views” in Stories). This design is
 3 unreasonably dangerous to the mental well-being of underage users’ developing minds.
 4          114.    Meta has also employed thousands of engineers to help make its products
 5 maximally addicting. One example is Instagram’s “pull to refresh” feature, which is based on how
 6 slot machines operate. It creates an endless feed, designed to manipulate brain chemistry, and

 7 prevent natural end points that would otherwise encourage users to move on to other activities.
 8          115.    Meta knows that is product is addictive, and it knows that millions of teen users
 9 want to stop using Instagram but cannot.
10          116.    Meta does not warn users of the addictive design of its product. On the contrary,
11 Meta actively conceals the dangerous and addictive nature of its product, lulling users and parents
12 into a false sense of security. This includes consistently playing down its products’ negative effects
13 on teens in public statements and advertising, making false or materially misleading statements
14 concerning product safety, and refusing to make its research public or available to academics or
15 lawmakers who have asked for it.
16          117.    For example, in or around July 2018, Meta told BBC News that “at no stage does
17 wanting something to be addictive factor into” its product design process. Similarly, Meta told
18 U.S. Senators in November of 2020 that “We certainly do not want our products to be addictive.”
19 Yet, Meta product managers and designers attended and even presented at an annual conference
20 held in Silicon Valley called the Habit Summit, which started in 2014 and ran until recently, and
21 the primary purpose of the Summit was to learn how to make products more habit forming.
22          118.    Meta’s Terms of Use also state that Meta is “Fostering a positive, inclusive, and
23 safe environment,” and represent that Meta uses its “teams and systems … to combat abuse and
24 violations of our Terms and policies, as well as harmful and deceptive behavior. We use all the
25 information we have—including our information—to try to keep our platform secure.” Yet, that is
26 not the truth. Meta does have the technology to protect its users, but only employs that technology
27 when and to the extent it can do so without decreasing user engagement and its own profits.

28          119.    Meta also engineers its product to keep users, and particularly young users, engaged
                                 COMPLAINT FOR PERSONAL INJURIES                                      36
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 241Page
                                                                  Page
                                                                  of 375
                                                                       40
                                                                        37
                                                                         PageID
                                                                          ofof81
                                                                               78 #:389




 1 longer and coming back for more. This is referred to as “engineered addiction,” and examples
 2 include features like bottomless scrolling, tagging, notifications, and live stories.
 3          120.    Meta spends billions of dollars marketing its products to minors and has
 4 deliberately traded in user harm for the sake of its already astronomical revenue stream.
 5 D.       Meta Has Designed Complex Algorithms to Addict Teen Users and Its Business
 6          Model is Based on Maximizing User Screen Time
 7          121.    Meta has intentionally designed its product to maximize users’ screen time, using
 8 complex algorithms designed to exploit human psychology and driven by the most advanced
 9 computer algorithms and artificial intelligence available to the largest technology companies in
10 the world.
11          122.    Meta has designed and progressively modified its product to promote problematic
12 and excessive use that they know is indicative of addictive and self-destructive use. More
13 specifically, Meta knows that many teens feel as though they cannot stop their use of Meta’s
14 product, even though they want to stop. See, Section B, supra.
15          123.    One of these features, present in Instagram, is the use of complex algorithms to
16 select and promote content that is provided to users in an unlimited and never ending “feed.” Meta
17 is well-aware that algorithm-controlled feeds promote unlimited “scrolling”—a type of use those
18 studies have identified as detrimental to users’ mental health. However, this type of use allows
19 Meta to display more advertisements and obtain more revenue.
20          124.    Meta has also designed algorithm-controlled feeds to promote content most likely
21 to increase user engagement, which often means content that Meta knows to be harmful to its users.
22 This is content that users might otherwise never see but for Meta’s affirmative pushing of such
23 content to their accounts.
24          125.    In the words of one, high-level departing Meta employee,
25
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27

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                                 COMPLAINT FOR PERSONAL INJURIES                                  37
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
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                               No. 97 Document
                                       #:Document
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                                                 1-808/03/22
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                                                             07/25/22
                                                             Page 242Page
                                                                      Page
                                                                      of 375
                                                                           41
                                                                            38
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:390




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 8 “Why We Build Feeds” (October 4, 2019), at p. 1.22
 9             126.    The addictive nature of Meta’s product and the complex and psychologically
10 manipulative design of its algorithms is unknown to ordinary users.
11             127.    Meta goes to significant lengths to prevent transparency, including posing as a
12 “free” social media platform, burying advertisements in personalized content, and making
13 knowingly false public statements about the safety of its product.
14             128.    Meta also has developed unique product features that are designed to limit, and that
15 do limit, parents’ ability to monitor and prevent problematic use by their children.
16             129.    Meta’s addiction-driven algorithms are designed to be content neutral. They adapt
17 to the social media activity of individual users to promote whatever content will trigger a particular
18 user’s interest and maximize their screen time. That is, prior to the point when Meta has addicted
19 its user and is then able to influence user preferences, its algorithm designs do not distinguish,
20 rank, discriminate, or prioritize between types of content. For example, if the algorithm can
21 increase User One engagement with elephants and User Two engagement with moonbeams, then
22 Meta’s algorithm design will promote elephant content to User One and moonbeam content to
23 User Two. Meta’s above-described algorithms are solely quantitative devices and make no
24 qualitative distinctions between the nature and type of content they promote to users – as long as
25 those promotions increaser user engagement.
26
27

28   22
          https://www.documentcloud.org/documents/21600853-tier1_rank_exp_1019
                                     COMPLAINT FOR PERSONAL INJURIES                                    38
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                             1-808/03/22
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                                                         07/25/22
                                                         Page 243Page
                                                                  Page
                                                                  of 375
                                                                       42
                                                                        39
                                                                         PageID
                                                                          ofof81
                                                                               78 #:391




 1 E.       Minor Users’ Incomplete Brain Development Renders Them Particularly Susceptible
 2          to Manipulative Algorithms with Diminished Capacity to Eschew Self-Destructive
 3          Behaviors and Less Resiliency to Overcome Negative Social Media Influences
 4          130.    The human brain is still developing during adolescence in ways consistent with
 5 adolescents’ demonstrated psychosocial immaturity. Specifically, adolescents’ brains are not yet
 6 fully developed in regions related to risk evaluation, emotional regulation, and impulse control.

 7          131.    The frontal lobes—and, in particular, the prefrontal cortex—of the brain play an
 8 essential part in higher-order cognitive functions, impulse control, and executive decision-making.
 9 These regions of the brain are central to the process of planning and decision-making, including
10 the evaluation of future consequences and the weighing of risk and reward. They are also essential
11 to the ability to control emotions and inhibit impulses. MRI studies have shown that the prefrontal
12 cortex is one of the last regions of the brain to mature.
13          132.    During childhood and adolescence, the brain is maturing in at least two major ways.
14 First, the brain undergoes myelination, the process through which the neural pathways connecting
15 different parts of the brain become insulated with white fatty tissue called myelin. Second, during
16 childhood and adolescence, the brain is undergoing “pruning”—the paring away of unused
17 synapses, leading to more efficient neural connections. Through myelination and pruning, the
18 brain’s frontal lobes change to help the brain work faster and more efficiently, improving the
19 “executive” functions of the frontal lobes, including impulse control and risk evaluation. This shift
20 in the brain’s composition continues throughout adolescence and into young adulthood.
21          133.    In late adolescence, important aspects of brain maturation remain incomplete,
22 particularly those involving the brain’s executive functions and the coordinated activity of regions
23 involved in emotion and cognition. As such, the part of the brain that is critical for control of
24 impulses and emotions and for mature, considered decision-making is still developing during
25 adolescence, consistent with the demonstrated behavioral and psychosocial immaturity of
26 juveniles.
27          134.    The algorithms in Meta’s social media products exploit minor users’ diminished
28 decision-making capacity, impulse control, emotional maturity, and psychological resiliency
                                 COMPLAINT FOR PERSONAL INJURIES                                     39
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
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                                                         07/25/22
                                                         Page 244Page
                                                                  Page
                                                                  of 375
                                                                       43
                                                                        40
                                                                         PageID
                                                                          ofof81
                                                                               78 #:392




 1 caused by users’ incomplete brain development. Meta knows that because its minor users’ frontal
 2 lobes are not fully developed, such users are much more likely to sustain serious physical and
 3 psychological harm through their social media use than adult users. Nevertheless, Meta has failed
 4 to design its product with any protections to account for and ameliorate the psychosocial
 5 immaturity of its minor users. On the contrary, Meta specifically designs its product with these
 6 vulnerabilities in mind.

 7 F.       Meta Misrepresents the Addictive Design and Effects of its Social Media Product
 8          135.   At all times relevant, Meta has advertised and represented that its product is
 9 appropriate for use by teens and has stated in public comments that its product is not addictive and
10 was not designed to be addictive. Meta knows that those statements are untrue.
11          136.   Meta did not warn users or their parents of the addictive and mentally harmful
12 effects that the use of its product was known to cause amongst minor users, like Alex Martin. On
13 the contrary, Meta has gone to significant lengths to conceal and/or avoid disclosure of the true
14 nature of its product.
15 G.       Plaintiffs Expressly Disclaim Any and All Claims Seeking to Hold Meta Liable as the
16          Publisher or Speaker of Any Content Provided, Posted or Created by Third Parties
17          137.   Plaintiffs seeks to hold Meta accountable for its own alleged acts and omissions.
18 Plaintiffs’ claims arise from Meta’s status as the designer and marketer of dangerously defective
19 social media products, as well as Meta’s own statements and actions, not as the speaker or
20 publisher of third-party content.
21          138.   Meta has designed its product to be addictive. For example, Meta has developed
22 and modified product features like the continuous loop feed and push notifications, to incentivize
23 users to stay on the product as long as possible and to convince users to log back on. Meta’s
24 algorithm even calculates the most effective time to send such notifications, which in the case of
25 teen and tween users often means in the middle of the night and/or during school hours. Essentially,
26 the times they are least likely to have access to Meta’s social media product, which also—as Meta
27 knows—are the times that their health and well-being necessitate them not being on Meta’s social

28 media product. Meta’s product is designed to and does addict users on a content neutral basis.
                                 COMPLAINT FOR PERSONAL INJURIES                                    40
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
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                                             1-808/03/22
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                                                         07/25/22
                                                         Page 245Page
                                                                  Page
                                                                  of 375
                                                                       44
                                                                        41
                                                                         PageID
                                                                          ofof81
                                                                               78 #:393




 1          139.   Meta’s algorithm structure is by itself harmful to users, again, irrespective of
 2 content. For example, a primary purpose of Meta’s algorithm design is to determine individual
 3 user preferences first so that Meta can then influence user behavior and choices second—which is
 4 particularly dangerous in the case of teens.
 5          140.   It is clear from Meta’s records that Meta uses its product both to “experiment” on
 6 and test its users in ways heretofore unimagined, but also, it seeks to control user behavior through

 7 product features and capabilities and for the specific purpose of acquiring and retaining users.
 8          141.   On a content neutral basis, the manipulation and control Meta knowingly wields
 9 over its users daily is profoundly dangerous.
10          142.   Meta’s Integrity Team employees regularly provide Meta leadership with warnings
11 and recommendations, which Meta leadership regularly ignores. As explained in the employee
12 departure memos previously discussed, Meta imposes insurmountable hurdles when it comes to
13 making their existing and in-development products safer, while it imposes no user safety
14 requirements when it comes to making its products more engaging.
15          143.   Meta is responsible for these harms. These harms are caused by Meta’s designs and
16 design-decisions, and not any single incident of third-party content. According to public statements
17 made by the Facebook Whistleblower and other departed Meta employees, Meta’s Integrity Team
18 routinely flags these types of issues for Meta leadership and are consistently ignored.
19          144.   Meta failed to warn minor users and their parents of known dangers arising from
20 anticipated use of its Instagram product. These dangers are unknown to ordinary consumers but
21 are known to Meta and its employees. Moreover, these dangers do not arise from third-party
22 content contained on Meta’s social media platform. This lawsuit does not involve a suit against a
23 web browser provider for making available third-party content. To the contrary, Meta,
24              a. Designed and constantly redesigns its Instagram product to attract and addict teens
25                 and children, its “priority” user group.
26              b. Designed and continues to operate its Instagram product to ensure that teens and
27                 children can obtain unfettered access, even over parental objection.
28              c. Knows when teens and children are opening multiple accounts and when they are
                                 COMPLAINT FOR PERSONAL INJURIES                                      41
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
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                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 246Page
                                                                  Page
                                                                  of 375
                                                                       45
                                                                        42
                                                                         PageID
                                                                          ofof81
                                                                               78 #:394




 1                 accessing its product excessively and in the middle of the night – which Meta
 2                 considers to be a “value add proposition.”
 3              d. Works with advertisers and influencers to create and approve harmful content and
 4                 provides direct access to its “acquired” teens and children – a user population Meta
 5                 itself recognizes as being “vulnerable.”
 6              e. Operates and provides the above Instagram product with the single-minded goal of
 7                 increasing user engagement, including but not limited to things like maintaining
 8                 harmful social comparison features and approving algorithm programming that
 9                 promotes harmful content over clear dangers to user safety.
10          145.   While it may be a third-party creates a particular piece of harmful content, the teens
11 and children harmed by Instagram are not being harmed by a single piece of harmful content. They
12 are being harmed by Instagram’s algorithmic programming and business decisions to show teens
13 and children a constant barrage of harmful content to obtain more advertising revenue and increase
14 engagement.
15          146.   Alex Martin and children like her do not open Instagram accounts in the hopes of
16 becoming addicted. Nonetheless, such children do become addicted, leading them to engage in
17 foreseeable addict behaviors, such as lying to their parents, hiding their use of Instagram and/or
18 secret Instagram accounts, losing control and becoming irritable, and feeling like they want to stop
19 using Instagram but being unable to stop to the point where they continue to keep using even
20 though they want to stop. These and other behaviors can and do result in serious harm to
21 Instagram’s minor users.
22          147.   Alex Martin and children like her do not start using Instagram in the hopes of being
23 exposed to product features that cause harm to them. Yet Instagram use involves harmful forms of
24 social comparison and inevitably pushes such children towards harmful “rabbit holes,” causing
25 anxiety, depression, eating disorders, and self-harm—harms Meta itself has acknowledged
26 repeatedly in internal documents.
27          148.   The harms at issue in this case do not relate to or arise from third party content, but
28 rather, Meta’s product features and designs, including algorithms that (a) addict minor users to
                                 COMPLAINT FOR PERSONAL INJURIES                                       42
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                         8-1 Filed:
                                                 1-808/03/22
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                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 247Page
                                                                      Page
                                                                      of 375
                                                                           46
                                                                            43
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:395




 1 Meta’s product; (b) amplify and promote harmful social comparison through Instagram product
 2 features; (c) affirmatively select and promote harmful content to vulnerable users based on its
 3 individualized demographic data and social media activity; and (d) put minor users in contact with
 4 dangerous adult predators. Indeed, the foregoing are merely examples of the kinds of harms at
 5 issue in this case.
 6             149.   Meta’s product is addictive on a content neutral basis. Meta designs and operates
 7 its algorithms in a manner intended to and that does change behavior and addict users, including
 8 through a natural selection process that does not depend on or require any specific type of third-
 9 party content.
10             150.   Meta has designed other product features for the purpose of encouraging and
11 assisting children in evasion of parental oversight, protection, and consent, which features are
12 wholly unnecessary to the operation of Meta’s product. This includes but is not limited to Meta’s
13 failure to check identification or verify validity of user-provided email credentials, while
14 simultaneously implementing product design features (such as easier ability to switch between
15 accounts) meant to ensure easy access by children and teens, irrespective of parental consent.
16             151.   Meta also promotes, encourages, and/or otherwise contributes to the development
17 of harmful content. This Complaint quotes from just a few of the thousands of Meta documents
18 disclosed by the Facebook Whistleblower, which establish this.
19             152.   Meta also approves ads that contain harmful content, for example, and as discussed
20 at the Senate hearing held on October 5, 2021,23
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     https://www.rev.com/blog/transcripts/facebook-whistleblower-frances-haugen-testifies-on-children-social-media-
28 use-full-senate-hearing-transcript
                                     COMPLAINT FOR PERSONAL INJURIES                                             43
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
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                                         8-1 Filed:
                                                 1-808/03/22
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                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 248Page
                                                                      Page
                                                                      of 375
                                                                           47
                                                                            44
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:396




                            Senator Mike Lee: (01:21:34)
 1
                            Now, since that exchange happened last week, there are          a number      of
 2                          individuals and groups, including    agroup   called the Technology
                            Transparency Project or TTP, that have indicated that that part of her
 3                          testimony was inaccurate. That it was false. TTP noted that TTP had
                            conducted an experiment just last month, and their goal was to run            a
 4                          series of ads that would be targeted to children ages 13 to 17, to users
                            in the United States. Now,    | want to emphasize   that TTP didn’t end up
 5
                            running these ads. They stopped them from being distributed to users,
 6                          but Facebook did in fact approve them. As     | understand     it, Facebook
                            approved them for an audience of up to 9.1 million users, all of whom
 7                          were teens.

                            Senator Mike Lee: (01:22:31)
 8
                            | brought a few of these to show you today. This     is   the first one   |
 9                          wanted to showcase. This first one has a colorful graphic encouraging
                            kids to, “ThrowaSkittles party like no other,” which as the graphic
10                          indicates, and as the slang jargon also independently suggests, this
                            involves kids getting together randomly to abuse prescription drugs.
11                          The second graphic displays an ana tip. That is     atip specifically
                            designed to encourage and promote anorexia. It’s on there. Now the
12
                            language, the ana tip itself independently promotes that. The ad also

13                          promotes it in so far as it was suggesting. These are images you ought
                            to look at when you need motivation to be more anorexic, |guess you
14                          could say. Now the third one invites children to find their partner
                            online and to make   a love   connection. “You look lonely. Find your
15                          partner now to make a love connection.”

16
17              153.     In other words, Meta approves advertisements “designed to encourage and promote

18 anorexia” and encouraging children to abuse prescription or illegal drugs, which ads Meta then
19 targets specifically at children in exchange for payment from the advertisers.
20              154.     Meta utilizes private information of its minor users to “precisely target [them] with

21 content and recommendations, assessing what will provoke a reaction,” including encouragement
22 of “destructive and dangerous behaviors.”24 Again, Meta specifically selects and pushes this
23 harmful content, for which it is then paid, and does so both for that direct profit and also to increase
24 user engagement, resulting in more profits down the road. “That’s how [Meta] can push teens into
25 darker and darker places.”25 Meta “knows that its amplification algorithms, things like engagement
26
     24
          See https://www.rev.com/blog/transcripts/facebook-whistleblower-frances-haugen-testifies-on-children-social-
27 media-use-full-senate-hearing-transcript. (“October 5, 2021, Senate Hearing Transcript”), Mr. Chairman Blumenthal
     at 00:09:02.
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          Id.
                                          COMPLAINT FOR PERSONAL INJURIES                                                44
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
                                       #:Document
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                                                 1-808/03/22
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                                                             07/25/22
                                                             Page 249Page
                                                                      Page
                                                                      of 375
                                                                           48
                                                                            45
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:397




 1 based ranking ... can lead children ... all the way from just something innocent like healthy recipes
 2 to anorexia promoting content over a very short period of time.”26 Meta has knowledge that its
 3 product and the content they are encouraging and helping to create is harmful to young users and
 4 chooses “profits over safety.”27
 5               155.        Meta has information and knowledge that can determine with reasonably certainty
 6 each user’s age, habits, and other personal information, regardless of what information the user

 7 provides at the time of account setup. Meta can also determine on a mass scale and with reasonably
 8 certainty which of its users are teens, regardless of what information they provide at the time of
 9 account setup. Meta has used this capability for its own economic gain.
10               156.        None of Plaintiffs’ claims rely on treating Meta as the publisher or speaker of any
11 third party’s words or content. Plaintiffs’ claims seek to hold Meta accountable for its own
12 allegedly wrongful acts and omissions, not for the speech of others or for Meta’s good faith
13 attempts to restrict access to objectionable content.
14               157.        Plaintiffs are not alleging that Meta is liable for what the third parties said, but for
15 what Meta did.
16               158.        None of Plaintiffs’ Claims for Relief set forth herein treat Meta as a speaker or
17 publisher of content posted by third parties. Rather, Plaintiffs seek to hold Meta liable for its own
18 speech and its own silence in failing to warn of foreseeable dangers arising from anticipated use
19 of its product. Meta could manifestly fulfill its legal duty to design a reasonably safe social media
20 product and furnish adequate warnings of foreseeable dangers arising out of the use of its products
21 without altering, deleting, or modifying the content of a single third- party post or communication.
22 Some examples include,
23                   a. Not using its addictive and inherently dangerous algorithm in connection with any
24                           account held by a user under the age of 18.
25                   b. Not permitting any targeted advertisements to any user under the age of 18.
26                   c. Fixing or removing all features that currently do not implement the tools Meta uses
27
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          October 5, 2021, Senate Hearing Transcript, Ms. Francis Haugen at 00:37:34.
28   27
          Id. at 02:47:07.
                                          COMPLAINT FOR PERSONAL INJURIES                                         45
     Case: 1:22-cv-02968
           Case
            Case3:22-cv-04286-AGT
                  PendingDocument
                          No. 97 Document
                                  #:Document
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                                            1-808/03/22
                                               1 Filed
                                                  Filed08/01/22
                                                        07/25/22
                                                        Page 250Page
                                                                 Page
                                                                 of 375
                                                                      49
                                                                       46
                                                                        PageID
                                                                         ofof81
                                                                              78 #:398




 1              to identify and remove harmful content (particularly since Meta knows that its
 2              algorithms and other systems are pushing these higher risk features
 3              disproportionately to protected classes).
 4           d. Prioritizing internally its removal of harmful content over the risk of losing some
 5              user engagement – i.e. users who might be offended when Meta takes down what
 6              it believes to be harmful content.
 7           e. Requiring identification upon opening of a new account, and restricting users under
 8              the age of 18 to a single account. This is something teens have even asked Meta to
 9              do for their safety, “
10           f. Requiring verification by email when a user opens a new account. Not requiring
11              verification allows underage users to access Instagram and does not stop bad actors.
12           g. Immediate suspension of accounts where Meta has reason to know that the user is
13              under the age of 13, including when the user declares that they are under the age of
14              13 in their bio or comments and where Meta determines an “estimated” age of under
15              13 based on other information it collects; and not allowing the account to resume
16              until the user provides proof of age and identity and/or parental consent.
17           h. Suspension of accounts where Meta has reason to know that the user is over the age
18              of 18, but where they are providing information to suggest that they are minors
19              and/or are representing themselves as minors to other Instagram users; and not
20              allowing the account to resume until the user provides proof of age and identity
21           i. Launching Project Daisy and Pure Daisy, meaning that each user could see their
22              own likes but would be unable to see the likes on any other user’s posts and
23              comments.
24           j. Instituting advertising safeguards to ensure that Meta is not profiting directly from
25              or otherwise pushing or endorsing harmful advertising content.
26           k. Requiring that all teen user accounts be set to private and not allowing any user
27              under the age of 18 to change user settings to public.
28           l. Not permitting direct messaging with any user under the age of 18 if that minor
                              COMPLAINT FOR PERSONAL INJURIES                                      46
     Case: 1:22-cv-02968
           Case
            Case3:22-cv-04286-AGT
                  PendingDocument
                          No. 97 Document
                                  #:Document
                                    8-1 Filed:
                                            1-808/03/22
                                               1 Filed
                                                  Filed08/01/22
                                                        07/25/22
                                                        Page 251Page
                                                                 Page
                                                                 of 375
                                                                      50
                                                                       47
                                                                        PageID
                                                                         ofof81
                                                                              78 #:399




 1                user is not already on a user’s friend list.
 2            m. Requiring parental consent and restricting account access for users under the age of
 3                18 to prevent usage at night and during regular school hours.
 4         159.   These are just some examples, all of which could be accomplished easily and/or at
 5 commercially reasonable cost. Meta itself has discussed and considered many of these, but its
 6 leadership ultimately declined to make such product changes because such changes—while better

 7 for the health and wellbeing of Instagram users—could result in a relatively small decrease to
 8 Meta’s more than $200 billion in annual revenue.
 9                        V.      PLAINTIFF-SPECIFIC ALLEGATIONS
10         160.   Alex Martin was born February 17, 2003, and grew up in Georgetown, Kentucky.
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27         161.   She was an outgoing and athletic child, who loved school and excelled at school,
28 and enjoyed sports and spending time with her group of friends, many of whom she had known
                                COMPLAINT FOR PERSONAL INJURIES                                   47
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 252Page
                                                                  Page
                                                                  of 375
                                                                       51
                                                                        48
                                                                         PageID
                                                                          ofof81
                                                                               78 #:400




 1 since kindergarten. She wanted to work in the health care field when she grew up, so that she could
 2 make peoples’ lives better.
 3          162.    Alex got her first cell phone when she was 12, as she started riding the bus and her
 4 parents wanted to make sure that she had a way to contact them. Instagram was the first application
 5 she downloaded onto her new phone, and she was very excited about opening an account as all her
 6 friends had one. Alex knew she had to say that she was 13 to open an account, but that it was not

 7 an issue and that she could still tell people her real age on Instagram. In fact, it is relatively common
 8 for kids to open an account before 13 then put their actual age in their bio and elsewhere, and the
 9 general understanding is that Instagram doesn’t care and won’t do anything about it.
10          163.    Plaintiffs at the time believed that Instagram was like Facebook for kids and was
11 used primarily by kids to coordinate social events, stay in touch, and post fun photos. They
12 reasonably believed Alex would be safe as long as she stayed away from strangers.
13          164.    Ben Martin is a police officer and spoke with his daughter about the responsibility
14 of a phone, and the potential danger of strangers when using any product that allowed for
15 interaction with strangers. He made sure she understood to not engage with people she did not
16 know and to not send suggestive photos to anyone via her phone or social media. Alex’s parents
17 had this conversation with her more than once, and regularly checked in to make sure that
18 everything was okay. And in 2014 and 2015, everything seemed to be okay.
19          165.    Alex was still a star student, and still enjoyed school, participating in dance and
20 cross country, and spending time with her close group of friends. However, she also started
21 sneaking out at night to get her cell phone. Her parents did not allow Alex to keep her cell phone
22 with her at night, so she would wait until they fell asleep, sneak out and get her phone, stay up all
23 night on social media, and make sure to put her phone back before her parents were awake. In
24 short, unbeknownst to Alex and her parents, she was addicted to Instagram and that addiction was
25 slowly worsening.
26          166.    In 2012, Meta purchased Instagram for $1 billion dollars and began making
27 significant changes to the Instagram social media product. In 2016 alone, Meta made it easier to

28 switch between multiple accounts (February 2016), switched its Feed from chronological to
                                  COMPLAINT FOR PERSONAL INJURIES                                        48
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
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                                             1-808/03/22
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                                                         07/25/22
                                                         Page 253Page
                                                                  Page
                                                                  of 375
                                                                       52
                                                                        49
                                                                         PageID
                                                                          ofof81
                                                                               78 #:401




 1 algorithmically-driven (March 2016), and launched of Instagram Stories (August) – a feature Meta
 2 designed to be like Snapchat Stories because of Snapchat’s success with teens.
 3          167.   Ben and Jennifer Martin were not aware of Meta’s changes and continued to
 4 reasonably rely on Meta’s representations that its product was safe and Meta’s continued
 5 distribution to children and teens. They had no reason to think that Meta was knowingly making
 6 and distributing harmful products to anyone, much less to kids. But in 2016, as Meta continued

 7 implementing more addictive and more harmful product features in its goal to increase
 8 engagement, everything changed for Alex and her parents.
 9          168.   It was also understood that Instagram wouldn’t close your account for being under
10 13, you just had to say you were 13 when opening an account and could then put your real age in
11 your bio. In fact, this is something many kids do even to this day. It was also understood that
12 Instagram did not object to kids using more than one account, which made it easier to hide more
13 personal content and the existence of secondary accounts from parents and family—which
14 accounts Instagram and its young users refer to as FINSTAs (short for “fake Instagram”).
15          169.   In 2015 or 2016, Alex opened her second Instagram account, which account her
16 parents did not know about.
17          170.   Alex had as many as three Instagram accounts at any given time, and occasionally
18 opened new accounts, for example, when she forgot her password and would get logged out.
19 Having to open a new account was a hassle, but Instagram didn’t verify email so kids, including
20 Alex, often used fake emails or created email accounts solely for the purpose of opening secondary
21 Instagram accounts. This made it difficult to retrieve passwords when accidentally logged out of
22 an account and, on information and belief, Meta knew and this happens often, i.e. short lived
23 multiple accounts resulting from the user not having access to the email used to sign up. In fact,
24 Alex did not even open an email account, she simply typed random letters and added an @yahoo
25 or @gmail, and Meta allowed her to open Instagram accounts anyway.
26          171.   In 2016, Meta’s algorithm exposed Alex to massive amounts of eating disorder and
27 other unhealthy content, including pro-ana content, as well as social comparison product features.

28 Alex began using Instagram more. She received recommendations for pro-ana groups and content
                                 COMPLAINT FOR PERSONAL INJURIES                                  49
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
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                                     8-1 Filed:
                                             1-808/03/22
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                                                         07/25/22
                                                         Page 254Page
                                                                  Page
                                                                  of 375
                                                                       53
                                                                        50
                                                                         PageID
                                                                          ofof81
                                                                               78 #:402




 1 to follow and spent hours looking at that content. Alex started by eating healthier, then eating less
 2 and exercising more, fueled on by the images that Meta’s algorithm bombarded her with in her
 3 Feed, Stories, and Explore. She began thinking that she wasn’t good enough, and that she needed
 4 to look like the models she saw on Instagram.
 5          172.   She also got anxious and depressed every time she tried to post something on her
 6 account, afraid that it wouldn’t get enough likes and, as time went on, she began to feel worse and

 7 worse about herself. She obsessed over likes every time she posted. For example, if she posted one
 8 thing and received ten “likes” in a minute, then the next time she posted, if it received only five
 9 “likes” in a minute she would delete the post. It became a higher and higher bar for Alex to feel
10 good about herself, and one that eventually was impossible to reach. Her day and her mood turned
11 on those posts and how much people liked them, which eventually destroyed her confidence and
12 self-esteem both on Instagram and in the world outside of Instagram.
13          173.   Her parents began noticing changes in August or September of 2016. Alex was
14 always active in sports and dance, so regular exercise was typical for her. However, in the Fall of
15 2016 she started exhibiting symptoms of anxiety and began withdrawing from spending time with
16 her friends. She went through phases of depression and her exercise routine became more and
17 more extreme. At the same time, she started eating less which is when her parents realized
18 something was going on – however, Alex told them everything was fine.
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                                 COMPLAINT FOR PERSONAL INJURIES                                     50
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                                         07/25/22
                                                         Page 255Page
                                                                  Page
                                                                  of 375
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                                                                          ofof81
                                                                               78 #:403




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                               Jennifer, Alex, and Ben (September 3, 2016)
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16          174.   Alex would make up what she had eaten that day, so that her parents did not worry.

17 She would take food out of wrappers and hide the food at the bottom of the garbage can, while
18 putting the empty wrappers at the top. She would pretend to eat at dinner with her family, but then
19 spit food into her napkin or feed it the family’s dogs.
20          175.   By November of 2016, Alex was noticeably thinner. She is 5 foot tall and went

21 from about 110 pounds in mid-2016 to under 100 pounds in November 2016. Ben and Jennifer
22 Martin took Alex to a doctor, and she was referred to a dietician.
23          176.   They thought things were getting better, but Alex was not gaining weight. In fact,

24 in the next month she lost more than another ten pounds and her parents took her to the emergency
25 room in December 2016.
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                                 COMPLAINT FOR PERSONAL INJURIES                                   51
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                             1-808/03/22
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                                                         Page 256Page
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                                                                          ofof81
                                                                               78 #:404




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 9                                       Alex (December 26, 2016)
10          177.    Alex’s resting heart rate was in the 20s and the doctors told her parents that her

11 heart was failing. Alex stayed in the hospital for 21 days, in the hopes that they could get her heart
12 stronger. She was also diagnosed with anorexia at that time.
13          178.    When Alex was released from the hospital, in late December 2016, she began

14 seeing a therapist and continued seeing a dietician. She also started keeping journals and set goals
15 for the year to come. Her goals included (1) running a half marathon before the years’ end so that
16 she could “achieve something big,” (2) making the high school dance team because “I love to
17 dance,” (3) continuing her 4.0 GPA in school so that she could “get a scholarship,” (4) living in
18 the moment so that she would be “more happy,” (5) becoming closer to God because “he is the
19 most important,” (6) building stronger relationships with friends and meeting new people “so I’m
20 not lonely,” and (7) becoming better at photography “to get good at a new hobby.”
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                                 COMPLAINT FOR PERSONAL INJURIES                                      52
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                                         07/25/22
                                                         Page 257Page
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                                                                  of 375
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16          179.    However, by January of 2017 she still wouldn’t eat. No matter how hard she tried,
17 Alex could not stop comparing herself to the images Instagram’s algorithm promoted, amplified,
18 and bombarded her with, which she had come to think of as the norm and the way she was supposed
19 to look, which meant not eating food. Whenever she tried to eat, Alex saw those images.
20          180.    In January 2017, Alex’s doctors told Ben and Jennifer that Alex required inpatient
21 treatment immediately. There were no facilities in Kentucky, so they were referred to Veritas
22 Collaborative in Durham, North Carolina. Veritas did not permit patients to have cell phones,
23 which turned out to be much needed break for Alex. At first it was difficult. Alex felt like
24 something was missing, but eventually it started to feel like a weigh lifted off her shoulders. She
25 started to feel better, felt like she could think clearly again, and began to accept that what she was
26 doing was unhealthy and that she needed to try to eat.
27          181.    During this time, Alex’s parents drove to North Carolina every other weekend and

28 would stay in a hotel so that they could visit Alex, which caused them financial hardship.
                                 COMPLAINT FOR PERSONAL INJURIES                                      53
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
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                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 258Page
                                                                  Page
                                                                  of 375
                                                                       57
                                                                        54
                                                                         PageID
                                                                          ofof81
                                                                               78 #:406




 1          182.   Then, in May 2017, Alex transitioned to outpatient care and her parents rented an
 2 apartment for five weeks for that purpose and so that they could stay with her during the transition.
 3 She was discharged home to Kentucky in June 2017, where she continued with intensive outpatient
 4 therapy and her dietician.
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       Alex, Ben, Christian, and Jennifer (June 4, 2017, post-discharge from Veritas Collaborative)
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20          183.   Alex finally seemed to be doing better. She did not want to keep seeing the images
21 Instagram pushed at her via her Instagram accounts, but it was a daily struggle to stay off
22 Instagram. Several times Alex tried to stop using Instagram. She would delete the application from
23 her phone then get it back then delete it and get it back again. She was afraid that no one would
24 know who she was without Instagram, but she also knew that she felt better without Instagram.
25          184.   Alex also opened a “recovery” account during this time – which is an Instagram
26 account she opened to try to focus on recovery from her eating disorder and connect with others
27 who were in recovery. Instead, however, this account made things worse as Instagram kept sending

28 her the same images, and the same harmful content and recommendations.
                                 COMPLAINT FOR PERSONAL INJURIES                                      54
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
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                                             1-808/03/22
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                                                         07/25/22
                                                         Page 259Page
                                                                  Page
                                                                  of 375
                                                                       58
                                                                        55
                                                                         PageID
                                                                          ofof81
                                                                               78 #:407




 1          185.     This went on for almost two years then, in May of 2019 Alex attempted to commit
 2 suicide by overdosing on pills.
 3          186.     Alex was hospitalized medically for ten days then transferred to Good Samaritan
 4 Psych Ward for two days, when her parents fought to bring her home. Leaving their daughter in
 5 the psychiatric facility was one of the most difficult things her parents ever had to do, and it pained
 6 them to see her there. They brought her home and continued to take her to therapy and other

 7 medical services but did not know what they could do to help her. None of this made sense.
 8          187.     In November 2019, Alex tried to commit suicide a second time, also with pills, and
 9 was admitted to Good Samaritan for five days. After that Alex got back in recovery, attended her
10 therapist and dietician appointments, and started to get better … until she relapsed in May of 2020
11 and then started eating and purging (bulimia). After Ben and Jennifer found out about the bulimia,
12 they got her admitted to a facility in Tennessee called Fairhaven, and she was admitted for inpatient
13 treatment until sometime in July 2020.
14          188.     Alex did not have access to Instagram at Fairhaven either. A few months after being
15 released from Fairhaven, Alex made the difficult decision to delete her Instagram account for good,
16 by deleting the account itself and not just the application on her phone.
17          189.     Through her use of Instagram Alex also received explicit sexual communications
18 and images from adult users and was messaged and solicited for sexual exploitive content and acts
19 on numerous occasions by adult users of Instagram. These adult users are encouraged to use
20 Instagram to sexually solicit and abuse minors due to Meta’s refusal to verify identity and age for
21 new users or implement feasible safeguards to protect minor users from receiving inappropriate
22 sexual content.
23          190.     At all times relevant, Meta knew that some of its Instagram users would become
24 addicted to). Meta also knew that children and teenagers would be particularly susceptible, and
25 Meta knew or should have known what an addiction like this would do those children and teenagers
26 and their families.
27          191.     Alex’s social media use coincided with a steady, but severe, decline in her mental
28 health. She was addicted to Instagram and could not stop using Instagram, even when the social
                                  COMPLAINT FOR PERSONAL INJURIES                                      55
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
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                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 260Page
                                                                  Page
                                                                  of 375
                                                                       59
                                                                        56
                                                                         PageID
                                                                          ofof81
                                                                               78 #:408




 1 media product was directing increasing amounts of harmful content and amplifying that harmful
 2 content via Alex’s Instagram accounts and product features. Specifically, Alex was repeatedly
 3 bombarded with and exposed to content recommended and/or made available to her by Meta,
 4 which increasingly included underweight models, unhealthy eating, and eating disorder content.
 5          192.   From 2012 through 2015, Meta developed and implemented technologies and
 6 features designed to increase engagement (and its own profits) but which were harmful to users,

 7 including Alex Martin. This included but is not limited to things like new advertising features,
 8 which allowed advertisers to target Alex based on her age, location, gender, and other
 9 characteristics. Meta failed to exercise reasonable care to ensure that the advertisements were safe.
10 Meta profited from its advertising practices and product features, while Alex was exposed to and
11 harmed by harmful advertising content. For example,
12              a. Alex was only 12 when she opened her first Instagram account and, as such, was
13                 particularly vulnerable and the impact of her developing addiction to Instagram and
14                 the harmful content Instagram was amplifying was made worse as a result.
15              b. Meta designed its Instagram product to default minors to public profiles, exposing
16                 12-year-old Alex to inappropriate sexual content and serving her up for access to
17                 complete strangers who Meta knew posed the risk of bullying and exploitation.
18              c. Instagram’s product design, including things like search and explore and photo
19                 editing and filtering features, and Instagram’s emphasis on advertiser content
20                 caused Alex to question her appearance and worth, and made her increasingly
21                 anxious and depressed.
22          193.   In 2016, Meta added several additional product features that Meta knew or should
23 have known would be harmful to minor users of its Instagram product. For example,
24              a. In February 2016, Instagram started enabling users to easily switch between
25                 multiple accounts. Alex opened FINSTAs (secret Instagram accounts) and Meta
26                 exposed Alex to addictive design, harmful advertising, and other, Meta-backed
27                 content through those accounts too.
28              b. In February 2016, Instagram added view counters to videos, increasing the social
                                 COMPLAINT FOR PERSONAL INJURIES                                     56
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 261Page
                                                                  Page
                                                                  of 375
                                                                       60
                                                                        57
                                                                         PageID
                                                                          ofof81
                                                                               78 #:409




 1                 comparison harms already caused to Alex by Instagram.
 2             c. In March 2016, Meta switched its feed from chronological to algorithm-driven
 3                 ordering. Alex no longer simply saw posts made by “friends” in the order they were
 4                 made but, instead, Meta prioritized and escalated certain posts and content in Alex’s
 5                 Instagram feed. More specifically, it promoted and prioritized harmful content
 6                 based on the determination that such content was more likely to keep Alex’s
 7                 attention, thereby increasing her use of its product and its resulting revenue. While
 8                 Meta’s prior product design was pushing constant social comparison and eating
 9                 disorder content to Alex, the new design bombarded her with it and Alex’s exposure
10                 to super thin models and eating disorder increased exponentially.
11             d. In August and November 2016, Instagram implemented Stories and Live product
12                 features, respectively, which again increased Alex’s exposure to harmful content,
13                 as well as her social pressure to participate and engage with Instagram.
14             e. In December 2016, Instagram implemented the ability to mark comments as liked,
15                 which was initially available only on the mobile application, which is how Alex
16                 accessed Instagram most of the time by 2016—via her cell phone. The “like”
17                 feature was particularly harmful to young users, as Meta discovered, and this
18                 product feature resulted in increased feelings of depression, anxiety, and low self-
19                 worth.
20         194.    The more Alex accessed and used the Instagram social media product, the worse
21 her mental and physical health became, which eventually included a life-threatening eating
22 disorder and two suicide attempts.
23         195.    Alex had always been slender but after Instagram’s algorithm and design started
24 pushing extreme weight loss content and bulimia purging instructions and recommending pages
25 featuring excessively thin models, Alex became obsessed with her weight and, at one point,
26 weighed less than 80 pounds. At one point, Alex’s Explore page was filled with nothing but overly
27 thin models and thigh gaps.

28         196.    Meta amplified and pushed Alex toward harmful content through various
                                 COMPLAINT FOR PERSONAL INJURIES                                     57
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
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                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 262Page
                                                                  Page
                                                                  of 375
                                                                       61
                                                                        58
                                                                         PageID
                                                                          ofof81
                                                                               78 #:410




 1 recommendation mechanisms built into its Instagram product. For example, Meta sent Alex
 2 recommendations to eating disorder themed pages and groups. Meta also sent Alex
 3 recommendations for “friends” who were, in fact, adult Instagram users either suffering from these
 4 mental health issues themselves or using the Instagram product to find and exploit young girls;
 5 and, likewise, Meta recommended Alex to these same types of adult users, who then sought to
 6 connect with her. These product features are harmful to a significant percentage of Instagram users,

 7 particularly teens and young women
 8          197.   Meta also harmed Alex through specific product features like direct messaging and
 9 group chat. For example, Instagram’s Direct Message and group chat features allowed adult users
10 to message Alex directly. These product features are harmful to a significant number of underage
11 users. They also are not necessary to Instagram’s operation and are features Meta can restrict
12 and/or disable – but Meta makes calculated and economic-based decisions to keep them in place
13 because Meta knows that restricting or disabling them would negatively impact engagement.
14          198.   Meta was providing Alex with constant, harmful access to multiple Instagram
15 accounts, and had designed and was operating Instagram in a manner that ensured that there was
16 nothing Alex’s parents could do to protect her – in fact, her parents did not even know the source
17 of the harm, nor could they have discovered it given the degree to which Meta was concealing its
18 findings from the public. Meta did not disclose the fact of its addictive design and its own efforts
19 to addict young children and what it was learning about the harm its specific product features were
20 causing to children and teens—the precise types of harms that were now happening to Alex
21 because of Instagram.
22          199.   Alex’s parents had no way to determine Instagram’s role in Alex’s ongoing battle
23 with severe depression, anxiety, self-harm, and eating disorders.
24          200.   Alex, once an A student, struggled to graduate from high school. She spent some
25 of her high school years doing on-line school because of her treatment, as well as alternative
26 school. Then she almost did not graduate due to a class she was failing, which she was able to test
27 out of just before graduation. But also, Alex lost her lifelong friendships. She began pulling away

28 from those friends when her eating disorders became known and they from her. Her friends did
                                 COMPLAINT FOR PERSONAL INJURIES                                    58
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                         8-1 Filed:
                                                 1-808/03/22
                                                    1 Filed
                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 263Page
                                                                      Page
                                                                      of 375
                                                                           62
                                                                            59
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:411




 1 not know how to help her and felt powerless and scared, as did Alex.
 2               201.        Alex did graduate from high school, in May of 2021, and started at University of
 3 Kentucky in August 2021. Alex had dreamed of running in college, but that was no longer an
 4 option. She had stopped with sports in high school and for long periods could not participate in
 5 sports because of her eating disorder. She lost significant stamina and strength and began suffering
 6 from severe social anxiety. Where Alex was once outgoing, she began having difficulty going to

 7 the grocery store. She also no longer thought about the future and what she wanted to be when she
 8 grew up. Her life became a day-to-day struggle to survive, as it had become for her parents who
 9 were there with her every step of the way.
10               202.        Alex did not get scholarships and is not on track for a career in health care, but she
11 is in school and, being Instagram-free for the last year, she got a 3.7 GPA her first year of college.
12               203.        She also now struggles with social interactions, especially ones that involve meals,
13 and while she tries to make plans with colleagues, those often fall through due to the anxiety and
14 fear Alex feels when trying to navigate social situations.
15               204.        Alex is aware of the challenges ahead and works hard every day to not slip back
16 into her eating disorder.
17               205.        Alex’s addiction and resulting mental health disorders were the proximate result of
18 the unreasonably dangerous Instagram product Meta made accessible to her and that she used. As
19 set forth in detail below, Meta’s products were not reasonably safe due to their defective design
20 and inadequate warnings.
21               206.        To this day, Meta has actively concealed the fact and has “sought to stonewall and
22 block this information [information about the dangerousness of their products, especially to young
23 users] from becoming public.”28 Meta “intentionally”29 hid vital information in its possession from
24 the public, the US government, and governments, including information relating to the safety of
25 children and the role of its algorithms and other Instagram product features in causing addiction,
26 depression, anxiety, eating disorders, and other harms.
27
     28
          October 5, 2021, Senate Hearing Transcript, Mr. Chairman Blumenthal at 00:05:21.
28   29
          Id. at 00:29:25.
                                          COMPLAINT FOR PERSONAL INJURIES                                       59
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                         8-1 Filed:
                                                 1-808/03/22
                                                    1 Filed
                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 264Page
                                                                      Page
                                                                      of 375
                                                                           63
                                                                            60
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:412




 1              207.     Meta made false statements to the press and public, designed to cover up the
 2 inherent dangers of their products and, even when asked direct questions as to how those products
 3 “impact the health and safety of our children, they choose to mislead and misdirect.”30
 4              208.     Plaintiffs did not discover, or in the exercise of reasonable diligence could not have
 5 discovered, that Alex’s addiction, depression, anxiety, eating disorders, attempted suicides, and
 6 other harms were caused by Meta’s unreasonably dangerous products until June of 2022, when

 7 they saw Alexis Spence and Kathleen Spence on the news talking about the harms suffered by
 8 Alexis Spence due to Instagram.
 9              209.     Alex disaffirms all contracts Instagram may purport to have with her and does not
10 currently have an Instagram account.
11              210.     As a result of Alex Martin’s social media addiction and the harmful content and
12 features Instagram relentlessly promoted and provided to her in its effort to increase engagement,
13 she had to undergo professional counseling, inpatient programs, outpatient programs, and eating
14 disorder programs.
15              211.     Alex must stay in constant contact with doctors and dieticians, fights to stay in
16 recovery every day, and will suffer permanent mental and emotional damages because of what
17 Instagram has done. Long term physical damage is also likely, and Alex suffers from lapses in her
18 memory during her periods of illness.
19              212.     These harms are a direct and proximate result of the social media addiction
20 Instagram fostered and encouraged for its own financial gain and harms that resulted therefrom.
21              213.     But also, Alex’s parents have suffered medical conditions as a direct result of the
22 social media addiction Instagram fostered and encouraged for its own financial gain and harms
23 that resulted therefrom. This includes blood pressure mediation Jennifer Martin was put on while
24 Alex was at Veritas and for stress-related high blood pressure, as well as a second anxiety
25 medication she was prescribed in 2020 just after Alex relapsed. Likewise, in 2020 and amidst
26 Alex’s relapse, Ben Martin was prescribed anxiety medication. Both of her parents have done
27 everything they can to help keep Alex alive, and what the Instagram product has done to their

28   30
          October 5, 2021, Senate Hearing Transcript, Ms. Francis Haugen, at 00:32:20.
                                        COMPLAINT FOR PERSONAL INJURIES                                     60
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
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                                   #:Document
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                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 265Page
                                                                  Page
                                                                  of 375
                                                                       64
                                                                        61
                                                                         PageID
                                                                          ofof81
                                                                               78 #:413




 1 daughter has taken an incredible emotional, financial, and physical toll on their lives, as one would
 2 expect and as Meta could and should have anticipated.
 3                                   VI.    PLAINTIFFS’ CLAIMS
 4                   COUNT I - STRICT PRODUCT LIABILITY (Design Defect)
 5          214.    Plaintiffs reallege each and every allegation contained in paragraphs 1 through 213
 6 as if fully stated herein.

 7          215.    Meta’s product is defective because the foreseeable risks of harm posed by the
 8 product’s design could have been reduced or avoided by the adoption of a reasonable alternative
 9 design by Meta and the omission of the alternative design renders the product not reasonably safe.
10 This defective condition rendered the product unreasonably dangerous to persons or property and
11 existed at the time the product left the Meta’s control, reached the user or consumer without
12 substantial change in the condition and its defective condition was a cause of Plaintiffs’ injury.
13          216.    Meta designed, manufactured, marketed, and sold a social media product that was
14 unreasonably dangerous because it was designed to be addictive to the minor users to whom Meta
15 actively marketed and because the foreseeable use of Meta’s product causes mental and physical
16 harm to minor users.
17          217.    Meta’s product was unreasonably dangerous because it contained numerous design
18 characteristics that are not necessary for the utility provided to the user but are unreasonably
19 dangerous and implemented by Meta solely to increase the profits they derived from each
20 additional user and the length of time they could keep each user dependent on its product.
21 A.           Inadequate Safeguards From Harmful and Exploitative Content
22          218.    As designed, Instagram algorithms and other product features are not reasonably
23 safe because they affirmatively direct minor users to harmful and exploitative content while failing
24 to deploy feasible safeguards to protect vulnerable teens from such harmful exposures. It is feasible
25 to design an algorithm that substantially distinguishes between harmful and innocuous content and
26 protects minor users from being exposed to harmful content without altering, modifying, or
27 deleting any third-party content posted on Meta’s social media product. The cost of designing

28 Meta’s algorithms to incorporate this safeguard would be negligible while benefit would be high
                                 COMPLAINT FOR PERSONAL INJURIES                                        61
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 266Page
                                                                  Page
                                                                  of 375
                                                                       65
                                                                        62
                                                                         PageID
                                                                          ofof81
                                                                               78 #:414




 1 in terms of reducing the quantum of mental and physical harm sustained by minor users and their
 2 families.
 3          219.   Meta also engages in conduct, outside of the algorithms themselves, that is designed
 4 to promote harmful and exploitative content as a means of increasing its revenue from
 5 advertisements. This includes but is not limited to efforts to encourage advertisers to design ads
 6 that appeal to minors, including children under the age of 13; and product design features intended

 7 to attract and engage minor users to these virtual spaces where harmful ad content is then pushed
 8 to those users in a manner intended to increase user engagement, thereby increasing revenue to
 9 Meta at the direct cost of user wellbeing.
10          220.   Reasonable users (and their parents) would not expect that Meta’s product would
11 knowingly expose them to such harmful content and/or that Meta’s product would direct them to
12 harmful content at all, much less in the manipulative and coercive manner that they do. Meta has
13 and continues to knowingly use its algorithms on users in a manner designed to affirmatively
14 change their behavior, which methods are particularly effective on (and harmful to) Meta’s
15 youngest users, like Alex Martin.
16 B.       Failure to Verify Minor Users’ Age and Identity
17          221.   As designed, Meta’s product is not reasonably safe because they do not provide for
18 adequate age verification by requiring users to document and verify their age and identity.
19          222.   Adults frequently set up user accounts on Meta’s social media product posing as
20 minors to groom unsuspecting minors to exchange sexually explicit content and images, which
21 frequently progresses to sexual exploitation and trafficking.
22          223.   Minor users of social media and their parents do not reasonably expect that prurient
23 adults set up fraudulent accounts on Meta’s social media product and pose as minors for malign
24 purposes.
25          224.   Likewise, minor users who are under the age of 13 and/or whose parents have taken
26 affirmative steps to keep them away from Meta’s product often open multiple accounts, such that
27 Meta knows or has reason to know that the user is underage and/or does not have parental

28 permission to use its product. Meta already has the information and means it needs to ascertain
                                COMPLAINT FOR PERSONAL INJURIES                                     62
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 267Page
                                                                  Page
                                                                  of 375
                                                                       66
                                                                        63
                                                                         PageID
                                                                          ofof81
                                                                               78 #:415




 1 with reasonable certainty each user’s actual age and, at least in some cases, Meta utilizes these
 2 tools to investigate, assess, and report on percentages and totals of underage users for internal
 3 assessment purposes. They simply choose to do nothing about that information as it relates to the
 4 specific, underaged users themselves.
 5          225.   By way of example only, Meta has dashboards that enable it to identify and track
 6 every detail of user activity by date, location, and age—not the age provided to Meta upon account

 7 opening, but rather, “Age prediction” technologies Meta has developed and that can determine age
 8 with reasonable certainty based on user data, online activity, and/or similar sources of information
 9 Meta collects with regard to every Meta user on a constant and ongoing basis.
10          226.   Again, Meta exercises an unprecedented level of control over its users and
11 possesses and unprecedented level of knowledge—including the estimated actual age of each user,
12 irrespective of what a user states when opening an account. Meta cannot, in good faith, disclaim
13 knowledge or responsibility for the harms its social media product is causing, including the harms
14 it caused to Alex Martin and that are at issue in this Complaint.
15          227.   Moreover, reasonably accurate age and identity verification is not only feasible but
16 widely deployed by online retailers and internet service providers.
17          228.   The cost of incorporating age and identify verification into Meta’s product would
18 be negligible, whereas the benefit of age and identity verification would be a substantial reduction
19 in severe mental health harms, sexual exploitation, and abuse among minor users of Meta’s
20 product.
21 C.       Inadequate Parental Control and Monitoring
22          229.   Meta’s product is also defective for lack of parental controls, permission, and
23 monitoring capability available on many other devices and applications.
24          230.   Meta’s product is designed with specific product features intended to prevent and/or
25 interfere with parents’ reasonable and lawful exercise of parental control, permission, and
26 monitoring capability available on many other devices and applications.
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                                 COMPLAINT FOR PERSONAL INJURIES                                    63
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
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                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 268Page
                                                                  Page
                                                                  of 375
                                                                       67
                                                                        64
                                                                         PageID
                                                                          ofof81
                                                                               78 #:416




 1 D.       Intentional Direction of Minor Users to Harmful and Exploitative Content
 2          231.   Default “recommendations” communicated to new teenage users, including Alex
 3 Martin, purposefully steered her toward content Meta knew to be harmful to children of her age
 4 and gender.
 5          232.   Ad content pushed to new teenage users, including Alex Martin, because of their
 6 age and vulnerability, purposefully steer those users toward content Meta knows to be harmful to

 7 children of their age and gender.
 8 E.       Inadequate Protection of Minors from Sexual Exploitation and Abuse
 9          233.   Meta’s product is not reasonably safe because it does not protect minor users from
10 sexually explicit content and images or report sex offenders to law enforcement or allow users’
11 parents to readily report abusive users to law enforcement.
12          234.   Parents do not expect their children will use Meta’s product to exchange sexually
13 explicit content and images, and minor users do not expect that prurient adults pose as minors for
14 malign purposes or that exchange of such content will be deleterious to their personal safety and
15 emotional health.
16          235.   Minor users of Meta’s product lack the cognitive ability and life experience to
17 identify online grooming behaviors by prurient adults and lack the psychosocial maturity to decline
18 invitations to exchange salacious material.
19          236.   Meta’s product is unreasonably dangerous and defective as designed because it
20 allows minor children to use “public” profiles, in many cases default “public” profiles, that can be
21 mass messaged by anonymous and semi-anonymous adult users for the purposes of sexual
22 exploitation, and grooming, including the sending of encrypted, disappearing messages and cash
23 rewards through Meta’s integrated design features.
24 F.       Design of Addictive Social Media Products
25          237.   As designed, Meta’s social media product is addictive to minor users as follows:
26 When minors use design features such as “likes” it cause their brains release dopamine which
27 creates short term euphoria. However, as soon as dopamine is released, minor users’ brains adapt

28 by reducing or “downregulating” the number of dopamine receptors that are stimulated and their
                                 COMPLAINT FOR PERSONAL INJURIES                                    64
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
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                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 269Page
                                                                  Page
                                                                  of 375
                                                                       68
                                                                        65
                                                                         PageID
                                                                          ofof81
                                                                               78 #:417




 1 euphoria is countered by dejection. In normal stimulatory environments, this dejection abates, and
 2 neutrality is restored. However, Meta’s algorithms are designed to exploit users’ natural tendency
 3 to counteract dejection by going back to the source of pleasure for another dose of euphoria. As
 4 this pattern continues over a period of months and the neurological baseline to trigger minor users’
 5 dopamine responses increases, they continue to use Instagram, not for enjoyment, but simply to
 6 feel normal. Once they stop using Instagram, minor users experience the universal symptoms of

 7 withdrawal from any addictive substance including anxiety, irritability, insomnia, and craving.
 8          238.    Addiction is not restricted to a substance abuse disorders. Rather, the working
 9 definition of addiction promulgated in the seminal article Addictive behaviors: etiology and
10 Treatment published by the American Psychological Association in its 1988 Annual Review of
11 Psychology defines addiction as,
12          a repetitive habit pattern that increases the risk of disease and/or associated personal and
13          social problems. Addictive behaviors are often experienced subjectively as ‘loss of control’
            – the behavior contrives to occur despite volitional attempts to abstain or moderate use.
14          These habit patterns are typically characterized by immediate gratification (short term
            reward), often coupled with delayed deleterious effects (long term costs). Attempts to
15          change an addictive behavior (via treatment or self-initiation) are typically marked with
            high relapse rates.
16
17          239.    Addiction researchers agree that addiction involves six core components:

18 (1) salience—the activity dominates thinking and behavior; (2) mood modification—the activity
19 modifies/improves mood; (3) tolerance—increasing amounts of the activity are required to achieve
20 previous effects; (4) withdrawal—the occurrence of unpleasant feelings when the activity is
21 discontinued or suddenly reduced; (5) conflict—the activity causes conflicts in relationships, in
22 work/education, and other activities; and (6) relapse—a tendency to revert to earlier patterns of the
23 activity after abstinence or control.
24          240.    Social media addiction has emerged as a problem of global concern, with

25 researchers all over the world conducting studies to evaluate how pervasive the problem is.
26 Addictive social media use is manifested when a user (10 becomes preoccupied by social media
27 (salience); (2) uses social media in order to reduce negative feelings (mood modification); (3)

28 gradually uses social media more and more in to get the same pleasure from it (tolerance/craving);
                                 COMPLAINT FOR PERSONAL INJURIES                                     65
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
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                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 270Page
                                                                  Page
                                                                  of 375
                                                                       69
                                                                        66
                                                                         PageID
                                                                          ofof81
                                                                               78 #:418




 1 (4) suffers distress if prohibited from using social media (withdrawal); (5) sacrifices other
 2 obligations and/ or cases harm to other important life areas because of their social media use
 3 (conflict/functional impairment); and (6) seeks to curtail their use of social media without success
 4 (relapse/loss of control).
 5          241.    The Bergen Facebook Addiction Scale (BFAS) was specifically developed by
 6 psychologists in to assess subjects’ social media use using the aforementioned addiction criteria

 7 and is by far the most widely used measure of social media addiction. Originally designed for
 8 Facebook, BFAS has since been generalized to all social media. BFAS has been translated into
 9 dozens of languages, including Chinese, and is used by researchers throughout the world to
10 measure social media addiction.
11          242.    BFAS asks subjects to consider their social media usage with respect to the six
12 following statements and answer either (1) very rarely, (2) rarely, (3) sometimes, (4) often, or (5)
13 very often,
14               a. You spend a lot of time thinking about social media or planning how to use it .
15               b. You feel an urge to use social media more and more.
16               c. You use social media in order to forget about personal problems.
17               d. You have tried to cut down on the use of social media without success.
18               e. You become restless or troubled if you are prohibited from using social media.
19               f. You use social media so much that it has had a negative impact on your job/studies.
20 Subjects who score a “4” or “5” on at least 4 of those statements are deemed to suffer from social
21 media addiction
22          243.    Addictive use of social media by minors is psychologically and neurologically
23 analogous to addiction to internet gaming disorder as described in the American Psychiatric
24 Association's 2013 Diagnostic and Statistical Manual of Mental Disorders (DSM-5), which is used
25 by mental health professionals to diagnose mental disorders. Gaming addiction is a recognized
26 mental health disorder by the World Health Organization and International Classification of
27 Diseases and is functionally and psychologically equivalent to social media addition. The

28 diagnostic symptoms of social media addiction among minors are the same as the symptoms of
                                 COMPLAINT FOR PERSONAL INJURIES                                      66
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 271Page
                                                                  Page
                                                                  of 375
                                                                       70
                                                                        67
                                                                         PageID
                                                                          ofof81
                                                                               78 #:419




 1 addictive gaming promulgated in DSM 5 and include:
 2          244.     Preoccupation with social media and withdrawal symptoms (sadness, anxiety,
 3 irritability) when the device is taken away or access is not possible (sadness, anxiety, irritability),
 4 including,
 5              a.   Tolerance, the need to spend more time using social media to satisfy the urge.
 6              b.   Inability to reduce social media usages, unsuccessful attempts to quit gaming.
 7              c.   Giving up other activities, loss of interest in previously enjoyed activities due to
 8                   social media usage.
 9              d.   Continuing to use social media despite problems.
10              e.   Deceiving family members or others about the amount of time spent on social
11                   media.
12              f.   The use of social media to relieve negative moods, such as guilt or hopelessness.
13              g.   Jeopardized school or work performance or relationships due to social media
14                   usage.
15          245.     Meta’s advertising profit is directly tied to the amount of time that its users spend
16 online, and its algorithms and other product features are designed to maximize the time users spend
17 using the product by directing them to content that is progressively more and more stimulative.
18 Meta enhances advertising revenue by maximizing users’ time online through a product design
19 that addicts them to the platform. However, reasonable minor users and their parents do not expect
20 that on-line social media platforms are psychologically and neurologically addictive.
21          246.     It is feasible to make Meta’s product less addictive to minor users by limiting the
22 frequency and duration of access and suspending service during sleeping hours.
23          247.     At negligible cost, Meta could design software that limits the frequency and
24 duration of minor users’ screen use and suspends service during sleeping hours; the benefit of
25 minor users maintaining healthy sleep patterns would be a significant reduction in depression,
26 attempted and completed suicide and other forms self-harm among this vulnerable age cohort.
27

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                                  COMPLAINT FOR PERSONAL INJURIES                                      67
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 272Page
                                                                  Page
                                                                  of 375
                                                                       71
                                                                        68
                                                                         PageID
                                                                          ofof81
                                                                               78 #:420




 1 G.       Inadequate Notification of Parents of Dangerous and Problematic Social Media Usage
 2          by Minor Users
 3          248.    Meta’s product is not reasonably safe as designed because it does not include any
 4 safeguards to notify users and their parents of usage that Meta knows to be problematic and likely
 5 to cause negative mental health effects to users, including excessive passive use and use disruptive
 6 of normal sleep patterns. This design is defective and unreasonable because:

 7          249.    It is reasonable for parents to expect that social media companies that actively
 8 promote their platforms to minors will undertake reasonable efforts to notify parents when their
 9 child’s use becomes excessive or occurs during sleep time. It is feasible for Meta to design a
10 product that identifies a significant percentage of its minor users who are using the product more
11 than three hours per day or using it during sleeping hours at negligible cost.
12          250.    Meta’s product is not reasonably safe as designed because, despite numerous
13 reported instances of child sexual solicitation and exploitation by adult users, Meta has not
14 undertaken reasonable design changes to protect underage users from this abuse, including
15 notifying parents of underage users when they have been messaged or solicited by an adult user or
16 when a user has sent inappropriate content to minor users.
17          251.    Meta’s entire business is premised upon collecting and analyzing user data and it is
18 feasible to use Meta’s data and algorithms to identify and restrict improper sexual solicitation,
19 exploitation, and abuse by adult users.
20          252.    Moreover, it is reasonable for parents to expect that platforms such as Instagram,
21 which actively promote its services to minors, will undertake reasonable efforts to identify users
22 suffering from mental injury, self-harm, or sexual abuse and implement technological safeguards
23 to notify parents by text, email, or other reasonable means that their child is in danger.
24          253.    As a proximate result of these dangerous and defective design attributes of Meta’s
25 product, Alex Martin suffered severe mental harm. Plaintiffs did not know, and in the exercise of
26 reasonable diligence could not have known, of these defective design in Meta’s product until 2022.
27          254.    As a result of these dangerous and defective design attributes of Meta’s product,
28 Plaintiffs Ben and Jennifer Martin, have suffered emotional distress and pecuniary hardship due
                                 COMPLAINT FOR PERSONAL INJURIES                                     68
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 273Page
                                                                  Page
                                                                  of 375
                                                                       72
                                                                        69
                                                                         PageID
                                                                          ofof81
                                                                               78 #:421




 1 to their daughter’s mental harm resulting from her social media addiction.
 2          255.    Meta is further liable to Plaintiffs for punitive damages based upon the willful and
 3 wanton design of its product that was intentionally marketed and sold to underage users, whom
 4 they knew would be seriously harmed through their use of Instagram.
 5                 COUNT II – STRICT PRODUCT LIABILITY (Failure to Warn)
 6          256.    Plaintiffs reallege each and every allegation contained in paragraphs 1 through 255
 7 as if fully stated herein.
 8          257.    Meta’s product is defective because of inadequate instructions or warnings because
 9 the foreseeable risks of harm posed by the product could have been reduced or avoided by the
10 provision of reasonable instructions or warnings by the manufacturer and the omission of the
11 instructions or warnings renders the product not reasonably safe. This defective condition rendered
12 the product unreasonably dangerous to persons or property, existed at the time the product left
13 Meta’s control, reached the user or consumer without substantial change in the condition in which
14 it was sold, and was a cause of Plaintiffs’ injury.
15          258.    Meta’s product is unreasonably dangerous and defective because it contains no
16 warning to users or parents regarding the addictive design and effects of Instagram.
17          259.    Meta’s social media product relies on highly complex and proprietary algorithms
18 that are both undisclosed and unfathomable to ordinary consumers, who do not expect that social
19 media platforms are physically and/or psychologically addictive.
20          260.    The magnitude of harm from addiction to Meta’s product is horrific, ranging from
21 simple diversion from academic, athletic, and face-to-face socialization to sleep loss, severe
22 depression, anxiety, self-harm, and suicide.
23          261.    The harms resulting from minors’ addictive use of social media platforms have
24 been not only well-documented in the professional and scientific literature, but Meta had actual
25 knowledge of such harms.
26          262.    Meta’s product is unreasonably dangerous because it lacks any warnings that
27 foreseeable product use can disrupt healthy sleep patterns or specific warnings to parents when

28 their child’s product usage exceeds healthy levels or occurs during sleep hours. Excessive screen
                                 COMPLAINT FOR PERSONAL INJURIES                                     69
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 274Page
                                                                  Page
                                                                  of 375
                                                                       73
                                                                        70
                                                                         PageID
                                                                          ofof81
                                                                               78 #:422




 1 time is harmful to adolescents’ mental health and sleep patterns and emotional well-being.
 2 Reasonable and responsible parents are not able to accurately monitor their child’s screen time
 3 because most adolescents own or can obtain access to mobile devices and engage in social media
 4 use outside their parents’ presence.
 5          263.    It is feasible for Meta’s product to report the frequency and duration of their minor
 6 users’ screen time to their parents without disclosing the content of communications at negligible

 7 cost, whereas parents’ ability to track the frequency, time and duration of their minor child’s social
 8 media use are better situated to identify and address problems arising from such use and to better
 9 exercise their rights and responsibilities as parents.
10          264.    Meta knew about these harms, knew that users and parents would not be able to
11 safely use its product without warnings, and failed to provide warnings that were adequate to make
12 the product reasonably safe during ordinary and foreseeable use by children.
13          265.    As a result of Meta’s failure to warn, Alex Martin suffered severe mental harm,
14 leading to physical injury from her use of Instagram.
15          266.    As a result of Meta’s failure to warn, Plaintiffs Ben and Jennifer Martin, have
16 suffered emotional distress and pecuniary hardship due to their daughter’s mental harm resulting
17 from social media addiction.
18          267.    Meta is further liable to Plaintiffs for punitive damages based upon its willful and
19 wanton failure to warn of known dangers of its product that was intentionally marketed and sold
20 to teenage users, whom they knew would be seriously harmed through their use of Instagram.
21                                    COUNT III – NEGLIGENCE
22          268.    Plaintiffs reallege each and every allegation contained in paragraphs 1 through 267
23 as if fully stated herein.
24          269.    At all relevant times, Meta had a duty to exercise reasonable care and caution for
25 the safety of individuals using its product, such as Alex Martin.
26          270.    Meta owes a heightened duty of care to minor users of its social media product
27 because adolescents’ brains are not fully developed, which results in a diminished capacity to make

28 good decisions regarding their social media usages, eschew self-destructive behaviors, and
                                 COMPLAINT FOR PERSONAL INJURIES                                      70
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 275Page
                                                                  Page
                                                                  of 375
                                                                       74
                                                                        71
                                                                         PageID
                                                                          ofof81
                                                                               78 #:423




 1 overcome emotional and psychological harm from negative and destructive social media
 2 encounters.
 3          271.   As a product manufacturer marketing and selling products to consumers, Meta
 4 owed a duty to exercise ordinary care in the manufacture, marketing, and sale of its product,
 5 including a duty to warn minor users and their parents of hazards that Meta knew to be present,
 6 but not obvious, to underage users and their parents.

 7          272.   As a business owner, Meta owes its users who visit Meta’s social media platform
 8 and from whom Meta’s derive billions of dollars per year in advertising revenue a duty of ordinary
 9 care substantially similar to that owed by physical business owners to its business invitees.
10          273.   Meta was negligent, grossly negligent, reckless and/or careless in that they failed
11 to exercise ordinary care and caution for the safety of underage users, like Alex Martin using its
12 Instagram product.
13          274.   Meta was negligent in failing to conduct adequate testing and failing to allow
14 independent academic researchers to adequately study the effects of its product and levels of
15 problematic use amongst teenage users. Meta has extensive internal research indicating that its
16 product is harmful, causes extensive mental harm and that minor users are engaging in problematic
17 and addictive use that their parents are helpless to monitor and prevent.
18          275.   Meta is negligent in failing to provide adequate warnings about the dangers
19 associated with the use of social media products and in failing to advise users and their parents
20 about how and when to safely use its social media platform and features.
21          276.   Meta is negligent in failing to fully assess, investigate, and restrict the use of
22 Instagram by adults to sexually solicit, abuse, manipulate, and exploit minor users of its Instagram
23 product.
24          277.   Meta is negligent in failing to provide users and parents the tools to ensure its social
25 media product is used in a limited and safe manner by underage users.
26          278.   As a result of Meta’s negligence, Alex Martin suffered severe mental harm from
27 her use of Instagram.

28          279.   As a result of Meta’s negligence, Plaintiffs Ben and Jennifer Martin have suffered
                                 COMPLAINT FOR PERSONAL INJURIES                                        71
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 276Page
                                                                  Page
                                                                  of 375
                                                                       75
                                                                        72
                                                                         PageID
                                                                          ofof81
                                                                               78 #:424




 1 emotional distress and pecuniary hardship due to their daughter’s mental harm resulting from
 2 social media addiction.
 3          280.    Meta is further liable to Plaintiffs for punitive damages based upon its willful and
 4 wanton conduct toward underage users, including Alex Martin, whom they knew would be
 5 seriously harmed through the use of its social media product.
 6      COUNT IV - VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW
 7                              (Cal. Bus. & Prof. Code §§ 17200, et seq.)
 8          281.    Plaintiff realleges each and every allegation contained in paragraphs 1 through 280
 9 as if fully stated herein.
10          282.    Defendant Meta is a corporation, and thus a “person,” as defined by California
11 Business & Professions Code § 17201.
12          283.    The UCL prohibits all conduct that is unlawful, unfair, or fraudulent.
13          284.    Defendant’s conduct is unlawful as set forth in Counts I–III, above.
14          285.    Defendant’s conduct is unlawful also because it has knowledge of users under the
15 age of 13 on its platform and, in fact, actively targets, markets to, and encourages use of its social
16 media product by minors under the age of 13
17          286.    Defendant engaged in fraudulent and deceptive business practices in violation of
18 the UCL by promoting products to underage users, including Alex Martin, while concealing
19 critical information regarding the addictive nature and risk of harm these products pose. Defendant
20 knew and should have known that its statements and omissions regarding the addictive and harmful
21 nature of its product were misleading and therefore likely to deceive the members of the public
22 who use Defendant’s product and who permit their underage children to use Defendant’s product.
23 Had Ben and Jennifer Martin known of the dangerous nature of Defendant’s product, they would
24 have taken early and aggressive steps to stop or limit their daughter’s use of Defendant’s product.
25          287.    Defendant’s practices are unfair and violate the UCL because they offend
26 established public policy, and because the harm these practices cause to consumers greatly
27 outweighs any benefits associated with them.

28          288.    Defendant’s conduct has resulted in substantial injuries that Plaintiffs could not
                                 COMPLAINT FOR PERSONAL INJURIES                                      72
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
                   PendingDocument
                           No. 97 Document
                                   #:Document
                                     8-1 Filed:
                                             1-808/03/22
                                                1 Filed
                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 277Page
                                                                  Page
                                                                  of 375
                                                                       76
                                                                        73
                                                                         PageID
                                                                          ofof81
                                                                               78 #:425




 1 reasonably have avoided because of Defendant’s deceptive conduct. This substantial harm is not
 2 outweighed by any countervailing benefits to consumers or competition.
 3          289.    As a direct and proximate result of the foregoing acts and practices, Defendant has
 4 received, or will receive, income, profits, and other benefits, which it would not have received if
 5 it had not engaged in the violations of the UCL described herein. As a direct and proximate result
 6 of the foregoing acts and practices, Defendant has also obtained an unfair advantage over similar

 7 businesses that have not engaged in such practices.
 8          290.    As a result of Defendant’s UCL violations, Plaintiffs have suffered injury in fact
 9 and lost money as set forth herein.
10          291.    Accordingly, Plaintiffs seek injunctive and equitable relief to halt and remedy
11 Defendant’s unlawful, fraudulent, and unfair conduct.
12                               COUNT V – UNJUST ENRICHMENT
13          292.    Plaintiff realleges each and every allegation contained in paragraphs 1 through 291
14 as if fully stated herein.
15          293.    As a result of Defendant’s conduct detailed herein, Defendant received a benefit.
16 Because Defendant’s advertising profits are directly tied to the number of user accounts and the
17 amount of time those users spend on Instagram, Defendant benefited directly from Alex Martin’s
18 problematic use of its product, both from the amount of time she spent on Instagram and from her
19 creation of multiple Instagram accounts.
20          294.    It would be unjust and inequitable for Defendant to retain the ill-gotten benefits at
21 Plaintiffs’ expense, in light of Defendant’s acts and omissions described herein.
22          295.    Accordingly, Plaintiffs seek damages in an amount to be proven at trial.
23                              COUNT VI – INVASION OF PRIVACY
24                 (California Constitutional Right to Privacy, Cal. Const. Art. 1, § 1)
25          296.    Plaintiff realleges each and every allegation contained in paragraphs 1 through 295
26 as if fully stated herein.
27          297.    Defendant intentionally intruded upon Plaintiffs’ solitude, seclusion, or private
28 affairs by knowingly designing its product with features that were intended to, and did, frustrate
                                 COMPLAINT FOR PERSONAL INJURIES                                      73
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                         8-1 Filed:
                                                 1-808/03/22
                                                    1 Filed
                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 278Page
                                                                      Page
                                                                      of 375
                                                                           77
                                                                            74
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:426




 1 parents’ ability to monitor and control their children’s social media usage.
 2             298.    These intrusions are highly offensive to a reasonable person, particularly given
 3 Defendant’s interference with the fundamental right of parenting and its exploitation of children’s
 4 special vulnerabilities for commercial gain.
 5             299.    Plaintiffs were harmed by Defendant’s invasion of privacy, as detailed herein.
 6             300.    Plaintiffs therefore seek compensatory and punitive damages in amounts to be
 7 determined at trial, as well as injunctive relief requiring Defendant to cease the harmful practices
 8 described throughout this complaint.
 9                    COUNT VII – FRAUD and FRAUDULENT CONCEALMENT
10             301.    Plaintiff realleges each and every allegation contained in paragraphs 1 through 300
11 as if fully stated herein.
12             302.    At all times relevant, Meta designed, developed, operated, marketed, made publicly
13 available, and benefitted from its Instagram social media product and therefore owed a duty of
14 reasonable care to avoid causing harm to those that it used it.
15             303.    Defendants marketing, promotions, and advertisements contained deceptive and/or
16 misleading statements, implications, images, and portrayals that the Instagram product was safe,
17 improved social connectivity, and improved the mental and physical health of its users. For
18 example, in April of 2018, Meta CEO Mark Zuckerberg testified under oath to Congress that Meta
19 does not design its products to be addictive and that he is not concerned with social media addiction
20 as it relates to teens. He stated,
21             I view our responsibility as not just building services that people like but as building
               services that are good for people and good for society as well … we study a lot of
22             effects of well-being, of our tools, and broader technology, and like any tool there
               are good and bad uses of it. What we find in general is that if you are using social
23
               media to build relationships then that is associated with all the long term measures
24             of well-being that you’d intuitively think of … but if you are using the internet and
               social media to just passively consume content and are not engaging with other
25             people then it doesn’t have those positive effects and it could be negative.31

26             304.    In November of 2020, Meta CEO Mark Zuckerberg again testified under oath to
27

28   31
          https://www.youtube.com/watch?v=AB4mB-K7-xY
                                    COMPLAINT FOR PERSONAL INJURIES                                       74
          Case: 1:22-cv-02968
                Case
                 Case3:22-cv-04286-AGT
                       PendingDocument
                               No. 97 Document
                                       #:Document
                                         8-1 Filed:
                                                 1-808/03/22
                                                    1 Filed
                                                       Filed08/01/22
                                                             07/25/22
                                                             Page 279Page
                                                                      Page
                                                                      of 375
                                                                           78
                                                                            75
                                                                             PageID
                                                                              ofof81
                                                                                   78 #:427




 1 Congress that Meta does not design its products to be addictive and that research on addictiveness
 2 of social media has not been conclusive.32
 3              305.     In March of 2021, Meta CEO Mark Zuckerberg testified under oath to Congress
 4 that Instagram is not addictive and that it does not cause harm to children and teens.33
 5              306.     On September 30, 2021, Meta’s Head of Safety, Antigone Davis, testified under
 6 oath to Congress that Instagram is not addictive34 and repeatedly denied the existence of causal

 7 research regarding harms to teens from Instagram use and testified that Meta’s overreaching goal
 8 is child safety: “We work tirelessly to put in place the right policies, products, and precautions so
 9 [young users] have a safe and positive experience.”35
10              307.     On December 8, 2021, Instagram’s president Adam Mosseri provided written
11 testimony and testified under oath to Congress that Instagram is not addictive36 and he downplayed
12 the significance of the documents disclosed by the Facebook Whistleblower, characterizing Meta’s
13 numerous studies as involving input from small numbers of teens and not measuring “causal
14 relationships between Instagram and real-world issues.”37 He testified that Meta’s overarching
15 goal is child safety.38
16              308.     Meta’s Terms of Use also represent that Meta is “Fostering a positive, inclusive,
17 and safe environment,” and represent that Meta uses its “teams and systems … to combat abuse
18 and violations of our Terms and policies, as well as harmful and deceptive behavior. We use all
19 the information we have—including our information—to try to keep our platform secure.”
20
21   32
          https://www.tampafp.com/great-news-facebook-is-not-designed-to-be-addictive-according-to-zuckerberg/
     33
          https://www.congress.gov/117/meeting/house/111407/documents/HHRG-117-IF16-Transcript-20210325.pdf, at
22 p. 67, 107, 175.
     34
23     https://www.rev.com/blog/transcripts/facebook-head-of-safety-testimony-on-mental-health-effects-full-senate-
     hearing-transcript (“Sept. 30, 2021, Senate Hearing Transcript”), at 2:06:35; see also id. at 02:07:44 and 02:07:59
24   (Ms. Davis also denied that Meta’s business model includes getting users engaged for longer amounts of time).
     35
          Id. at 24:58, 01:47:29, 1:48:07, 1:48:20, 2:10:47, 33:46, and 40:41.
25   36
       https://www.commerce.senate.gov/2021/12/protecting-kids-online-instagram-and-reforms-for-young-users,
26   recording of December 8, 2021 Senate Hearing.
     37
          https://www.commerce.senate.gov/services/files/3FC55DF6-102F-4571-B6B4-01D2D2C6F0D0, written
27 Testimony of Adam Mosseri, Head of Instagram, dated December 8, 2021.
     38
     https://www.npr.org/2021/12/08/1062576576/instagrams-ceo-adam-mosseri-hears-senators-brush-aside-his-
28 promises-to-self-poli
                                         COMPLAINT FOR PERSONAL INJURIES                                                   75
      Case: 1:22-cv-02968
            Case
             Case3:22-cv-04286-AGT
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                                   #:Document
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                                             1-808/03/22
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                                                   Filed08/01/22
                                                         07/25/22
                                                         Page 280Page
                                                                  Page
                                                                  of 375
                                                                       79
                                                                        76
                                                                         PageID
                                                                          ofof81
                                                                               78 #:428




 1          309.    The above statements are indicative and reflective of the deceptive and/or
 2 misleading statements Meta has been feeding to the public for years in order to convince people
 3 that its products were safe for use by teenagers, like Alex Martin. When in fact, Meta knew that
 4 its products were not safe. Meta knew that its products are addictive and harmful to a significant
 5 portion of users, including teen girls, like Alex Martin.
 6          310.    Meta’s public statements and other marketing and advertising materials failed to
 7 disclose the truth, in fact, Meta has gone to considerable lengths to conceal the truth. This includes
 8 creating a corporate culture that convinced thousands of Meta employees that if they went public
 9 with what they knew they would lose their careers, no one would believe them, and that Meta
10 would then lock down internal communications in a manner that would make it impossible for the
11 employees left behind to work toward effectuating change from the inside. When in fact, Meta
12 never intended to allow change from the inside. It intended to pursue engagement and growth at
13 the expense of human lives and did everything it could to hide these facts from the world.
14          311.    Meta lied about the harm its products are causing.
15          312.    Meta’s omissions were also misleading and deceptive in every respect, for example,
16 talking about how Instagram makes some users’ lives better and ignoring the fact that Instagram
17 is causing serious harms to other users, including but not limited to what Meta calls SSI, Suicide
18 and Self-Injury. Meta failed to disclose, and spent years actively concealing, the fact that its social
19 media products cause addiction, sleep deprivation, anxiety, depression, anger, eating disorders,
20 self-harm, suicidal ideation, and suicide, among other harms.
21          313.    These representations were false and material, as were Meta’s omissions. These
22 representations were communicated to Plaintiffs via the media, the internet, advertising, websites,
23 and the platforms themselves and Plaintiffs reasonably relied on these representations to their
24 detriment. Meta intended for members of the public, including plaintiffs, to rely on these
25 misrepresentations and omissions, and Plaintiffs did, and these misrepresentations and omissions
26 were a substantial factor in causing Plaintiffs’ harm.
27

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                                  COMPLAINT FOR PERSONAL INJURIES                                      76
     Case: 1:22-cv-02968
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            Case3:22-cv-04286-AGT
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 1                                  DEMAND FOR JURY TRIAL
 2        Plaintiffs hereby demands a trial by jury.
 3                                      PRAYER FOR RELIEF
 4        WHEREFORE, Plaintiffs prays for judgment against Meta for monetary damages for the
 5 following harm:
 6     1. Past physical and mental pain and suffering of Alex Martin, in an amount to be more
 7        readily ascertained at the time and place set for trial.
 8     2. Loss of future income and earning capacity of Alex Martin.
 9     3. Past and future medical expenses of Alex Martin.
10     4. Past physical and mental pain and suffering of Ben and Jennifer Martin, in an amount to
11        be more readily ascertained at the time and place set for trial.
12     5. Monetary damages suffered by Ben and Jennifer Martin.
13     6. Punitive damages.
14     7. For the reasonable costs and attorney and expert/consultant fees incurred in this action.
15     8. For injunctive relief.
16     9. For such other and further relief as this Court deems just and equitable.
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                                COMPLAINT FOR PERSONAL INJURIES                                       77
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 1        DATED this 25th day of July 2022.
 2                                           SOCIAL MEDIA VICTIMS LAW CENTER
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                             COMPLAINT FOR PERSONAL INJURIES                         78
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        Case4:22-cv-04210-YGR
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 6
                                UNITED STATES DISTRICT COURT
 7                             NORTHERN DISTRICT OF CALIFORNIA
 8                                 SAN FRANCISCO DIVISION

 9
      BRANDY ROBERTS and TONEY                          CIVIL ACTION NO.
10
      ROBERTS, individually, and BRANDY
11    ROBERTS, as the Personal
      Representative of the Estate of Englyn
12    Roberts,                                          COMPLAINT FOR WRONGFUL
                                                        DEATH AND SURVIVORSHIP
13
                     Plaintiff,
14
             v.
15
      META PLATFORMS, INC., formerly                    JURY DEMAND
16
      known as FACEBOOK, INC.; SNAP,
17    INC.; TIKTOK, INC.; and
      BYTEDANCE, INC.,
18
                     Defendants.
19
20
21      “In these digital public spaces, which are privately owned and tend to be run for
        profit, there can be tension between what’s best for the technology company and
22      what’s best for the individual user or for society. Business models are often built
23      around maximizing user engagement as opposed to safeguarding users’ health and
        ensuring that users engage with one another in safe and healthy ways. . . .”
24
     Protecting Youth Mental Health, The U.S. Surgeon General’s Advisory (December 7, 2021)
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 1          Plaintiffs Brandy Roberts and Toney Roberts, individually, and Brandy Roberts, as

 2   the Personal Representative of the Estate of Englyn Roberts, brings this action against Meta

 3   Platforms, Inc., formerly known as Facebook, Inc. (“Meta”), doing business as Instagram

 4   (“Instagram”), Snap, Inc., doing business as Snapchat (“Snapchat”), TikTok, Inc. and

 5   ByteDance, Inc. (collectively, “TikTok”) and alleges as follows:

 6                                   I.      INTRODUCTION

 7    A.    Plaintiffs’ Claims

 8          1.      This product liability action seeks to hold Defendants’ products responsible

 9   for causing and contributing to burgeoning mental health crisis perpetrated upon the children

10   and teenagers of the United States by Defendants and, specifically, for injuries they caused

11   Englyn Roberts beginning in 2017, when Englyn was only 11-years-old, and her resulting

12   wrongful death.

13          2.      Injuries Englyn suffered, proximately caused by Defendants’ unreasonably

14   dangerous and defective social media products, include but are not limited to, addiction,

15   anxiety, depression, self-harm, suicidal ideation, and ultimately death. On August 29, 2020,

16   after struggling with the harmful effects of Defendants’ social media products, 14-year-old

17   Englyn tried to take her own life. On September 9, 2020, Englyn died with her parents and

18   family beside her.

19          3.      Defendants’ social media products likewise caused foreseeable harms to

20   Plaintiffs Brandy and Toney Roberts. Brandy and Toney Roberts did not consent to

21   Defendants distributing or otherwise providing their child with access to harmful social

22   media products and were emotionally and financially harmed by Defendants’ addictive

23   design and distribution and provision of harmful social media products to their minor child.

24          4.      Each of Defendants’ products contains unique product features which are

25   intended to and do encourage addiction, and unlawful content and use of said products, to

26   the detriment of Defendants’ minor users.

27          5.      These social media products create a “perfect storm” of addiction, social

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                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
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        Case4:22-cv-04210-YGR
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 1   comparison, and/or exposure to incredibly harmful content and harmful product features.

 2   Defendants program and operate their algorithms and social media products more generally

 3   in a manner that prioritizes engagement and profits over user safety. This includes designing

 4   and distributing inherently dangerous products that appeal to kids, and operating algorithms

 5   and other technologies in a manner that promotes and amplifies harmful content.

 6              6.       Defendants also advertise their products in misleading ways, assuring parents

 7   and the public that their products are safe and fun and that they utilize their technologies to

 8   ensure a safe and age-appropriate experience. Nothing could be further from the truth.

 9              7.       Plaintiffs suffered several emotional, physical, and financial harms as a

10   result—all of which are a symptom of the current health crisis among American youth and,

11   by natural and foreseeable extension, American families, caused by certain, harmful social

12   media products such as the ones at issue in this case.

13       B.     Defendants Know or Should Know of the Harm Their Products Cause

14              8.       In late 2021, a Facebook whistleblower disclosed thousands of internal Meta

15   documents to the United States Securities Exchange Commission (the “SEC”) and Congress.

16   The Facebook Papers prove known dangerous designs and design defects as well as

17   operational decisions and calculations, and a causal relationship between use of Defendants’

18   various social media products in their current form and resulting addiction, anxiety,

19   depression, eating disorders, exploitation and grooming, and what Meta internally refers to

20   as “SSI” (Suicide and Self Injury). While the Facebook Papers originate from Meta, they

21   prove dangerous designs and design defects as well as other dangers caused by the social

22   media products of all Defendants. Examples of the Facebook papers include and can be

23   found at the following locations, to name only some examples:

24              9.       The Wall Street Journal and Digital Wellbeing published several of the

25   Facebook Papers in November 2021,1 including but not limited to,

26                   a. Social Comparison: Topics, celebrities, Like counts, selfies [Jan 2021 internal
27
28   1
         https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-a-single-page/


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                     COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
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                        document reporting findings from a 9-country user survey (n=100,000) in
 1                      Australia, Brazil, France, Germany, Great Britain, India, Japan, Korea, USA].
 2                   b. Appearance-based Social Comparison on Instagram [Feb 2021 internal
                        document reporting finding from a 10-country user survey (n=50,590) across
 3                      Australia, Brazil, France, Germany, Great Britain, India, Japan, Korea,
                        Mexico, USA].
 4
                     c. Mental Health Findings: Deep dive into the reach, intensity, Instagram
 5                      impact, self-reported usage and support of mental health issues [2019 internal
 6                      document reporting findings from a 6-country user survey (n=22,410) across
                        Brazil, India, Indonesia, Japan, Turkey, USA].
 7
                     d. Teen Girls Body Image and Social Comparison on Instagram – An
 8                      Exploratory Study in the US [2020 internal document reporting findings from
                        a one-country (US) qualitative research study (n = 15 for focus groups) with
 9                      young Instagram users (aged 13-21, supplemented by online diaries (n = 10)
                        and video interviews (n = 7)].
10
                     e. Teen Mental Health Deep Dive [2019 internal document reporting findings
11                      from a 2-country (UK and US) qualitative research study (n = 40 in-person
                        interviews, with follow-up video calls (n = 8) with young Instagram users
12                      (aged 13-17), supplemented by online survey (n = 2,503)].
13                   f. Teens and Young Adults on Instagram and Facebook [2021 internal
                        document reporting findings from a five-country study (Australia, France,
14                      Great Britain, Japan, USA) with user data].,
15             10.      Gizmodo has been publishing the Facebook Papers, several at a time, also
16   starting in November 2021,2 including but not limited to,
17                   a. Why We Build Feeds
18                   b. Is Ranking Good
19                   c. Big Levers Ranking Experiment
20                   d. [LAUNCH] Civic Ranking: Engagement-Based Worth Your Time
21                   e. MSI Metric Note Series
22                   f. The Meaningful Social Interactions Metric Revisited: Part 2
23                   g. The Meaningful Social Interactions Metric Revisited: Part 4
24                   h. The Meaningful Social Interactions Metric Revisited: Part 5
25                   i. Meaningful Social Interactions Useful Links
26                   j. MSI Documentation
27
28   2
         https://gizmodo.com/facebook-papers-how-to-read-1848702919


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                     COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
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 1                k. Evaluating MSI Metric Changes with a Comment-Level Survey

 2                l. Surveying The 2018 Relevance Ranking Holdout

 3                m. Overview of MSI + Pages and Survey Research

 4                n. Is Multi-Group Picker “Spammy?”

 5                o. Filtering Out Engagement-Bait, Bullying, and Excessive Comments From

 6                   MSI Deltoid Metric

 7                p. [LAUNCH] Using p(anger) to Reduce the Impact Angry Reactions Have on

 8                   Ranking Levers

 9                q. Planned MSI Metric Changes in 2020

10                r. MSI Metric Changes for 2020 H1

11                s. Should We Reduce the MSI Weight of Sticker Comments?

12                t. Max Reshare Depth Experiment

13                u. “Understand This Post’s Ranking” —How I Miss Thee!

14                v. Facebook and Responsibility

15                w. The Surprising Consequences to Sessions and MSI Caused by Turning Off

16                   Video Autoplay on News Feed

17                x. One-Go Summary Post for Recent Goaling and Goal Metric Changes for

18                   News Feed

19                y. News Feed UXR Quarterly Insights Roundup

20                z. What Happens If We Delete Ranked Feed?

21                aa. News Feed Research: Looking Back on H2 2020

22                bb. Content from “Political” Pages in In-Feed Recommendations

23                cc. Political Content in In-Feed Recommendations (IFR)

24                dd. In-Feed Recommendations HPM —April 15 2021

25          11.      These documents are all incorporated by reference into this Complaint and

26   the sole reason they are not attached is length and file size. However, the contents of these

27   documents and other Facebook Papers are material to Plaintiffs’ claims.

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                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
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       Case
       Case4:22-cv-04210-YGR
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 1           12.     On information and belief, all Defendants have some degree of knowledge

 2   about the harms their products cause users, particularly teen, child, and other vulnerable user

 3   populations, and all Defendants continue to design, market, sell and operate those products

 4   in a harmful and dangerous manner anyway and in the interest of competing with one another

 5   and increasing already astronomical profits. Meta is simply the only one whose documents

 6   have been disclosed; even then, only a small fraction of relevant Meta documents has been

 7   disclosed. Plaintiffs anticipate literal truckloads of additional evidence that will support these

 8   claims and show precisely what these social media designers and distributors have done in

 9   the name of corporate greed.

10           13.     All Defendants have actual knowledge that children under the age of 13 are

11   using their social media products; that Defendants’ social media products are highly

12   addictive and harmful to a significant population of all users, but especially teens, children,

13   and certain protected classes (women, people of color, and low socioeconomic status

14   (“SES”)); that certain design features that serve no functional, informational, societal, or

15   educational purpose (for example, “likes” and “streaks”) are causing harm to users; and that

16   algorithms and algorithm-driven product features are dangerous and harmful by design and

17   as designed. Defendants knew about these harms, could have made their products safer at

18   minimal cost and expense, and opted to stay the course instead and to increase user

19   engagement and already astronomical revenue.

20           14.     Despite knowledge of the dangerous and harmful characteristics of their

21   products, Defendants have made and continue to make calculated cost-benefit business

22   decisions and are consistently prioritizing their already astronomical profits over human life.

23    C.     The Social Media Epidemic Among Children

24           15.     On December 7, 2021, the United States Surgeon General issued an advisory

25   cataloging a dramatic increase in teen mental health crises including suicides, attempted

26   suicides, eating disorders, anxiety, depression, self-harm, and inpatient admissions. Between

27   2007 and 2018, for example, suicide rates among youth ages 12 to 16 in the U.S. increased

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                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
       Case
       Case4:22-cv-04210-YGR
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 1   a staggering 146 percent. Several cities across the United States have been experiencing teen

 2   suicide rates in the range of 1 every year or other year, which is an absolute crisis for our

 3   country—the death by suicide of a child is something that should be an exception and not a

 4   rule. The incidence of serious depression and dissatisfaction with life in this age group has

 5   likewise increased dramatically, and there is no question that these harms relate in no small

 6   part to companies like Defendants.

 7          16.      The most significant and far-reaching change to the lives of young people in

 8   the last ten years has been the widespread adoption of social media platforms and

 9   prominently, for purposes of this lawsuit,

10                a. The Instagram product which launched in 2010 and was acquired by

11                   Facebook (now Meta) in 2012, and which is designed and distributed by

12                   Meta.

13                b. The Snapchat product which launched in 2011, and which is designed and

14                   distributed by Snap, Inc.

15                c. The TikTok product which launched in 2016, and which is designed and

16                   distributed by TikTok.

17          17.      By 2014, 80 percent of high-school students said they used social media daily,

18   and 24 percent said that they were online “almost constantly.” Moreover, there are an

19   estimated 24.5 million teen internet users in the U.S. alone. What this means for each of these

20   defendants is more than 15 million U.S. teens (aged 13 to 17) using their social media product

21   on a regular basis.

22          18.      Teens make up a significant percentage of all social media users and, in the

23   United States, they also represent Defendants’ only significant opportunity for growth due

24   to saturation of the adult market. Defendants see them as a gateway for other potential users,

25   that is, they use U.S. teens to recruit parents and adult relatives as well as younger siblings –

26   including pre-teen siblings Defendants are not permitted provide accounts to but to whom

27   Defendants do provide accounts, by simply refusing to verify age and identification on the

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                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
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       Case4:22-cv-04210-YGR
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 1   front end and by turning a blind eye to public comments, posted videos, and other instances

 2   where these underage users openly announce that they are underage. On information and

 3   belief, U.S. teens also are the most lucrative for Defendants when it comes to advertising

 4   revenue as well. While all reasons for this are not yet known, it is known that teens spend

 5   more time on average than other users and, further, Defendants report exponentially higher

 6   revenue per user in connection with United States users on an annual basis.

 7    D.    Disparities Between Public Statements and Harm to Children

 8          19.     Peer reviewed studies and available medical science have also identified a

 9   particular type of social media and electronic device use associated with major mental health

10   injuries, including depression, self-harm, eating disorders, suicide attempts and ideation,

11   dissatisfaction with life, depression, and sleep deprivation. Large observational studies and

12   experimental results also point to heavy use of certain social media products as cause of

13   increased depression, suicidal ideation, and sleep deprivation among teenagers, particularly

14   teenage girls. Defendants have spent years publicly denying these findings—while internally

15   confirming them.

16          20.     Defendants have denied for years that their products are harmful or addictive

17   while, in fact, Defendants’ products are harmful and addictive, facts that the social media

18   industry has been aware of for years. Defendants knew the truth and chose to conceal it and

19   not disclose to the public or parents of young users, as Defendants knew that such disclosure

20   would prevent them from further growth and development of these products and product

21   features.

22          21.     In Meta’s case, for example only, the Facebook Papers include years’ worth

23   of studies and reports discussing the fact that Meta’s social media products are addictive and

24   harmful, and that use of those products can and does lead to serious mental health issues in

25   a significant number of users, including things like anxiety, depression, eating disorders, and

26   SSI. This includes research confirming that higher engagement (i.e. more sessions and/or

27   time spent over a certain threshold) causes higher negative effect for users, and other

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 1   hallmarks of addiction (referred to by Meta as “problematic use”). In late 2019, Meta

 2   conducted an “exploratory study” in the United States, aimed at examining “Teen Girls Body

 3   Image and Social Comparison on Instagram.”3 The resulting Power Point found that use of

 4   Defendants’ social media products made certain social comparison-based harms worse for a

 5   significant percentage of teen girls. See id. at p. 29 (referring to its own product mechanics

 6   as “addicting” and noting that TikTok users often spend more than four hours on TikTok

 7   every day).4

 8           22.      Moreover, the type of harms described in the Facebook Papers relate to

 9   specific product mechanisms and product features. Defendants have designed each of their

10   products to contain unique product features which are intended to and do encourage

11   addiction, and unlawful content and use of said products, to the detriment of Defendants’

12   minor users and their families.

13           23.      Defendants know exactly the harms that their products are causing yet remain

14   focused on maintaining and increasing user engagement which translates into greater profits

15   for Defendants. On information and belief, there have been studies dating back almost a

16   decade on related topics, which studies are not known or, in some cases, even made available

17   to the general public; but Defendants knew or should have known about these studies as,

18   often times, they related to the products being designed and developed by Defendants and

19   Defendants’ scientists and/or engineers.5

20           24.      Defendants also know that their recommendations and other product features,

21   that is, features whereby Defendants promote and/or send content to users and otherwise try

22   to connect users who, in fact, are often complete strangers, result in disproportionate harms

23   to vulnerable users including children, teens, teen girls, and women. Yet Defendants continue

24   to reap astronomical profits at the expense of these users.

25
26   3
        See https://digitalwellbeing.org/wp-content/uploads/2021/10/Facebook-Files-Teen-Girls-Body-Image-and-
     Social-Comparison-on-Instagram.pdf
27   4
       Id.
     5
       See, e.g., Sept. 30, 2021, Senate Hearing Transcript, at 1:07:47 (reference to study published in National
28   Academy of Sciences “way back in 2014.”).


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                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
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       Case4:22-cv-04210-YGR
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                                                             of 375
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                                                                          92 #:441




 1          25.      For example, each of these Defendants has a “friend” and/or “follow”

 2   recommendation feature in their social media product. This refers to a feature whereby

 3   Defendants recommend to users other users they may “want” to friend or follow, with the

 4   intent that these users will then connect via a friend request mechanism, direct messaging,

 5   and similar product features meant to increase engagement among users. These

 6   recommendation systems serve the singular purpose of making more money for Defendants

 7   in that they are meant to keep users engaged through connections, which connections are

 8   suggested, prompted, and encouraged by Defendants. But also, which connections involve

 9   complete strangers and where Defendants’ own recommendation systems frequently make

10   and perpetuate harmful recommendations.

11          26.      In terms of harms to young girls,

12                a. 3.5% of teen girls on Instagram say the platform makes thoughts of “Suicide

13                   and Self Injury” worse.

14                b. 17% of teen girl Instagram users say the platform makes “Eating Issues” (e.g.

15                   anorexia and bulimia) worse;

16                c. “We make body image issues worse for 1 in 3 teen girls.”

17   See “Mental Health Findings,” supra.

18          27.      Plaintiffs do not yet have access to internal documents for all defendants, but

19   those are not needed to infer that these defendants employ similar–equally harmful–social
20   media features. Meta research concludes that Meta is not the only one causing harm to teens
21   and children. See, supra, “Teen Girls Body Image and Social Comparison on Instagram –
22   An Exploratory Study in the US” (March 2020) (“Instagram is seen as having the highest
23   impact, although TikTok and Snapchat aren’t far behind”).
24          28.      On information and belief, all Defendants are aware of algorithmic bias and
25   know or should know that each of their products are defective in this regard.
26          29.      Specifically, Defendants’ algorithm products also suffer from algorithmic
27   bias, including as it relates to race. Algorithmic bias in these social media products is a a
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                                                    10
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 294Page
                                                             Page
                                                             of 375
                                                                  15
                                                                   11
                                                                    PageID
                                                                     ofof96
                                                                          92 #:442




 1   dangerous, even deadly, issue for protected classes – and one that warranted immediate

 2   disclosure once identified. Upon information and belief, Meta, Snap, and TikTok’s social

 3   media products also are directing and promoting harmful and violent content in greater

 4   numbers to African American users and did direct and promote harmful and violent content

 5   in greater numbers to Englyn Roberts than what they promoted and amplified to other,

 6   Caucasian users of similar age, gender, and state of residence – which harmful and violent

 7   content directly contributed to Englyn Roberts’ addiction to Defendants’ social media

 8   products and resulting death.

 9           30.     On information and belief, all Defendants are aware of algorithmic

10   discrimination and know or should know that their products are defective in this regard.

11           31.     Defendants also know that their products are contributing to teen depression,

12   anxiety, suicidal ideation, self-harm, and even suicide. Why don’t they change these harmful

13   product features and stop utilizing algorithms in connection, at least, with teen accounts?

14   Because Defendants’ top priority is growth and competition concerns, and Defendants see

15   “acquiring and retaining” teens as essential to their survival. As Defendants know, teenagers

16   spend significantly more time on social media than adults (both total time and user

17   sessions—which are usage patterns linked to addiction), represent Defendants’ greatest (if

18   not only) growth opportunity in the US, and can be used by Defendants to recruit older and

19   younger family members and friends.

20           32.     In TikTok’s case, TikTok internal documents show that children 14 and under

21   comprise half—if not more—of TikTok’s entire U.S. user base.6

22           33.     Meta, Snap, and TikTok also know that they cannot expect significant growth

23   in the U.S. beyond the estimated four million teens that begin using the internet each year.

24           34.     Meta, Snap, and TikTok also believe that teens are the best way to capture

25   household adults and children. Pre-teens look to their older siblings in terms of which social

26
27   6
      Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14 or Under, Raising Safety
     Questions, N.Y. Times, Aug. 14, 2020, available at https://www.nytimes.com/2020/08/14/technology/tiktok-
28   underage-users-ftc.html


                                                       11
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 295Page
                                                             Page
                                                             of 375
                                                                  16
                                                                   12
                                                                    PageID
                                                                     ofof96
                                                                          92 #:443




 1   media products to use and how to use them, and often obtain guidance from them to open

 2   their first account, while parents and grandparents are influenced by teen household members

 3   and open accounts to participate in their child’s life.

 4              35.     Meta, Snap, and TikTok likewise know that children under 13 are using their

 5   products, and see these children as a tappable and valuable market, which they must capture

 6   and use to increase revenue and ensure competitive positioning in the long-term; see also

 7   https://www.nytimes.com/2020/08/14/technology/tiktok-underage-users-ftc.html (insiders

 8   report knowledge of underage users posting and TikTok’s failure to act).

 9              36.     Defendants go so far as to study brain and identify vulnerabilities and other

10   areas where they can adjust their products and approach to appeal more to the teen

11   demographic. For example, in December of 2021, Insider reported on an internal Meta

12   document titled “The Power of Identities: Why Teens and Young Adults Choose Instagram.”

13   It is clear from this document that Meta, and its competitors, are marketing to children and

14   teens – including in ways meant to exploit the differences between teens and adults.

15              37.     Identified among Meta’s internal documents are other product features that

16   cause harm to teen users, which product features are relatively standard among Defendants’

17   products. For example, product features that enable users to like or love other user’s content

18   results in increased addiction and social comparison harms, which Meta considered hiding

19   for the benefit of its users (referred to as “Project Daisy”) but ultimately did not.7

20              38.     Another example is Direct Message feature possessed by Defendants’ social

21   media products, and lack of restrictions when it comes to teens and children. Defendants’

22   products do something no other product does: they encourage children and teens to use their

23   product, then they make those children and teens accessible to strangers (for example, by

24   permitting public profiles and/or viewing of content posted by these children and teens), then

25   they provide predators with a direct means of communication (Direct Messaging features)

26   that is both unfettered and, according to Defendants, unmonitored. In fact, Defendants

27
28   7
         See https://www.nytimes.com/2020/01/17/business/instagram-likes.html


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                      COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 296Page
                                                             Page
                                                             of 375
                                                                  17
                                                                   13
                                                                    PageID
                                                                     ofof96
                                                                          92 #:444




 1   monitor and/or have the technology needed to detect critical harm areas, such as sexual

 2   exploitation, bullying, and even underage use.

 3           39.     On information and belief, Defendants are incredibly guarded when it comes

 4   to the types of data they collect, to the point where they will not even disclose certain, critical

 5   information to parents and/or police and other law enforcement upon request.

 6           40.     In the case of Defendant Snap, its product is even more harmful in this regard

 7   because of its disappearing design. The Snap product is designed in a manner that encourages

 8   and enables such abuse, which dangerous and defective design serves Snap’s economic

 9   interests by increasing its user base. For example, one common pattern among predators–

10   which Defendants know or should know about–is to find children and teens on Instagram

11   and encourage them to open or move the discussion to Snapchat, as it is generally understood

12   that it is easier to get away with child exploitation and abuse through Snap’s disappearing

13   message feature.

14           41.     At the same time, Defendant Snap’s disappearing design and marketing of

15   that feature is particularly harmful to teens who rely on Snap’s representations when taking

16   and sending photos, only learning after the fact that recipients have means to save photos.

17           42.     Defendants are aware of the harms resulting from certain of their product

18   designs and features and are aware of product changes that would make their social media

19   products safer for young users, and that would have made them safer for Englyn Roberts.

20   Defendants’ routinely refuse and/or disregard such safety measures, however, in the name of

21   corporate profit and engagement. Defendants are unwilling to risk losing popularity and

22   engagement among teen users, even if it means causing affirmative (sometimes fatal) harm

23   to other teens and children as a result.

24           43.     One example includes access features each defendant has and makes available

25   even in the case of minors. For example, instant messaging where defendants not only

26   proactively recommend connecting with certain users, but then knowingly provide adult

27   users and other strangers with unfettered access to children and teens.

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                                                     13
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 297Page
                                                             Page
                                                             of 375
                                                                  18
                                                                   14
                                                                    PageID
                                                                     ofof96
                                                                          92 #:445




 1          44.     Defendants know that teens are more vulnerable and suffer harms from use

 2   of their social media products at higher rates than adult users. Defendants also know that

 3   teens access social media longer and more often than adults.

 4          45.     Advertisers are willing to pay a premium for unfettered access to child and

 5   teens users so Meta, Snap, and Tiktok, in turn, work hard to make their social media products

 6   as appealing and addictive to children and teens as possible, even though it knows that they

 7   are harmful to children and teens.

 8    E.    Defendants’ Focus on Profits Over Safety

 9          46.     Defendants know the harmful impact their social media products have.

10   Instead of warning users and/or re-designing their products to make them safer, however,

11   Defendants choose enhancing profits over protecting human life.

12          47.     Indeed, the problematic use identified in medical literature is precisely the

13   type of use Defendants have designed their products to encourage through psychological

14   manipulation techniques—sometimes referred to as persuasive design—that is well-

15   recognized to cause all the hallmarks of clinical addiction.

16          48.     Defendant Meta slowly switched its News Feed (in its Facebook and

17   Instagram products) from maximizing time-spent to maximizing sessions, even though it

18   knew that maximizing sessions is harmful to its users. Defendant Meta also knows that its

19   “like” button causes harmful social comparison, and results in anxiety and depression in

20   teens, and Meta leadership ultimately rejected recommendations to launch Project Daisy due

21   to the risk of engagement decrease, advertising revenue loss, and similar economic reasons.

22   Meta has repeatedly refused to protect its users from harm for fear of offending other users,

23   decreasing teen engagement, and/or losing revenue from its advertisers as a result.

24          49.     Defendant Snap has designed product features that serve no utility but that

25   help children and predators hide harmful content from parents and authorities, and that

26   promote illegal and dangerous behavior. It’s failure to enforce its one account rule further

27   promotes and amplifies bullying and other unwanted interactions, making it impossible for

28

                                                   14
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 298Page
                                                             Page
                                                             of 375
                                                                  19
                                                                   15
                                                                    PageID
                                                                     ofof96
                                                                          92 #:446




 1   victims to escape the ill effects of the Snap product. Defendant Snap also has implemented

 2   inherently addictive and dangerous product features, such as Snap Streaks and various

 3   trophies and unknown rewards systems, meant to hook teens at any cost. Likewise, it has

 4   implemented various inherently dangerous features, non-communication features over the

 5   years, such as Snap Cash and Snap Maps.

 6          50.     Defendant TikTok has designed and implemented inherently addictive

 7   product features, as well as technologies that go above and beyond standard algorithms

 8   utilized by many of its competitors. It knows or has reason to know (a) when underage

 9   children are utilizing its social media product, (b) that its product exposes children to

10   unwanted interactions through direct messaging features, and (c) that features of its product

11   addict children to its product

12          51.     Ultimately, Defendants all have control over their technology and product

13   design and how it is used and implemented. In all cases, Defendants can monitor and protect

14   children, but in every case, Defendants have chosen instead to make their products more

15   popular and more accessible – at the cost of the health and wellbeing of their young users.

16   In other words, Defendants know that their products are harmful and dangerous, could make

17   them less harmful and less dangerous, but opt instead for attracting and retaining new users

18   (valuing profits ahead of safety).

19          52.     Meta, Snap, and TikTok all represent to users and parents that they utilize

20   technologies to keep users safe and Meta Snap, and TikTok have all developed and

21   implemented such technologies to a limited degree. These technologies do not require

22   content moderation, but rather, function automatically and as part of the product itself.

23   Moreover, such identification is only made necessary because of the content Defendants’

24   themselves are recommending. For example, if Defendants utilized their technologies – as

25   they have told users they do and will – they would be able to stop themselves from identifying

26   and directing young users to some of the most violent, harmful, and disturbing content.

27          53.     Defendants are perfectly capable of enforcing their own Terms of Service,

28

                                                  15
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 299Page
                                                             Page
                                                             of 375
                                                                  20
                                                                   16
                                                                    PageID
                                                                     ofof96
                                                                          92 #:447




 1   Community Standards, and other guidelines, with minimal cost. They can adjust controls in

 2   a manner that would better protect their users, especially children and teens, from certain,

 3   significant harms caused by Defendants’ product features, user setting options,

 4   recommendations, and algorithmic-driven product features. Yet, Defendants repeatedly

 5   ignore these issues, choosing profits over human life. That is not a choice Defendants have

 6   the right to make.

 7          54.     On information and belief, Defendants Meta, Snap, and TikTok do not

 8   employ adequate safety controls in the development of their social media products and

 9   product features and, once invested in and/or launched, do not address safety issues as those

10   become known.

11          55.     This is the business model utilized by all Defendants – engagement and

12   growth over user safety – as evidenced by the inherently dangerous design and operation of

13   their social media products. At any point any of these Defendants could have come forward

14   and shared this information with the public, but they knew that doing so would have given

15   their competitors an advantage and/or would have meant wholesale changes to their products

16   and trajectory. Defendants chose to continue causing harm and concealed the truth instead.

17    F.    Overview of Claims

18          56.     Plaintiffs bring claims of strict liability based upon Defendants’ defective

19   design of their social media products that render such products not reasonably safe for

20   ordinary consumers or minor users. It is technologically feasible to design social media

21   products that substantially decrease both the incidence and magnitude of harm to ordinary

22   consumers and minors arising from their foreseeable use of such products with a negligible

23   increase in production cost.

24          57.     What’s the world has learned from the Facebook Papers is that Meta and its

25   competitors in the social media space could provide social media products that do not

26   promote or amplify harmful content to teens and children – these companies simply choose

27   to not do so as that would mean not relying on harmful algorithms and fewer billions of

28

                                                  16
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 300Page
                                                             Page
                                                             of 375
                                                                  21
                                                                   17
                                                                    PageID
                                                                     ofof96
                                                                          92 #:448




 1   dollars in revenue.

 2           58.     Plaintiffs also bring claims for strict liability based on Defendants’ failure to

 3   provide adequate warnings to minor users and their parents of danger of mental, physical,

 4   and emotional harms and sexual abuse arising from foreseeable use of their social media

 5   products. The addictive quality of these products and their harmful algorithms are unknown

 6   to minor users and their parents.

 7           59.     Finally, Plaintiffs also bring claims for common law negligence arising from

 8   Defendants’ unreasonably dangerous Instagram social media products and their failure to

 9   warn of such dangers. Defendants knew, or in the exercise or ordinary care should have

10   known, that their social media products were harmful to a significant percentage of their

11   minor users and failed to re-design their products to ameliorate these harms. Defendants also

12   failed to warn minor users and their parents of foreseeable dangers arising out of use of their

13   social media products.

14           60.     Defendants’ own former and/or current developers often do not allow their

15   own children and teenagers to use these social media products.8 For many years, Defendants

16   have had actual knowledge that their social media products are dangerous and harmful to

17   children but have actively concealed these facts from the public and government regulators

18   and failed to warn parents about these known harms for continued economic gain.

19           61.     Plaintiffs’ claims do not arise from third party content, but rather, Defendants’

20   product features and designs, including but not limited to algorithms and other product

21   features that addict minor users, amplify and promote harmful social comparison,

22   affirmatively select and promote harmful content to vulnerable users based on their

23   individualized demographic data and social media activity, direct harmful content in great

24   concentrations to vulnerable user groups, put minor users in contact with dangerous adult

25   predators, enable and encourage minors to hide harmful content from their family and

26
27
     8
        See, e.g., https://www.foxnews.com/tech/former-facebook-exec-wont-let-own-kids-use-social-media-says-
28   its-destroying-how-society-works


                                                       17
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 301Page
                                                             Page
                                                             of 375
                                                                  22
                                                                   18
                                                                    PageID
                                                                     ofof96
                                                                          92 #:449




 1   friends, encourage and facilitate exploitation and abuse of minors through marketing,

 2   recommendation and messaging features, and data policies involving the concealment and/or

 3   destruction of information necessary to the protection of minors, and otherwise prioritize

 4   engagement (and Defendants’ profits) over user safety.

 5                                        II.     PARTIES

 6          62.     Plaintiffs Brandy and Toney Roberts are individuals residing in New Iberia,

 7   Louisiana, and Plaintiff Brandy Roberts is in the process of being appointed the administrator

 8   of the Estate of their daughter, Englyn Roberts, who died on September 9, 2020. Plaintiffs

 9   have not entered into any User Agreements or other contractual relationship with any of the

10   Defendants herein in connection with Englyn Roberts’ use of their social media products. As

11   such, in prosecuting this action Plaintiffs are not bound by any arbitration, forum selection,

12   choice of law, or class action waiver set forth in said User Agreements. Additionally,

13   Plaintiffs expressly disaffirm all User Agreements with Defendants into which their daughter

14   may have entered.

15          63.     Defendant Meta Platforms, Inc., formerly known as Facebook, Inc., is a

16   Delaware corporation with its principal place of business in Menlo Park, CA. Defendant

17   Meta Platforms owns and operates the Facebook and Instagram social media platforms,

18   application that are widely available to users throughout the United States.

19          64.     Defendant Snap, Inc. is a Delaware corporation with its principal place of

20   business in Santa Monica, CA. Defendant Snap owns and operates the Snapchat social media

21   platform, an application that is widely marketed by Snap and available to users throughout

22   the United States.

23          65.     Defendant TikTok, Inc. is a California corporation with its principal place of

24   business in Culver City, CA. Defendant TikTok owns and operates the TikTok social media

25   platform, an application that is widely marketed by TikTok and available to users throughout

26   the United States.

27          66.     Defendant ByteDance Inc. is a Delaware corporation with its principal place

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                                                  18
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 302Page
                                                             Page
                                                             of 375
                                                                  23
                                                                   19
                                                                    PageID
                                                                     ofof96
                                                                          92 #:450




 1   of business in Mountain View, CA. Defendant ByteDance owns and/or operates TikTok,

 2   Inc., and owns and/or operates the TikTok social media platform, an application that is

 3   widely marketed by TikTok and available to users throughout the United States.

 4                              III.    JURISDICTION AND VENUE

 5           67.     This Court has subject-matter jurisdiction over this case under 28 U.S.C. §

 6   1332(a) because the amount in controversy exceeds $75,000, and Plaintiffs and Defendants

 7   are residents and citizens of different states.

 8           68.     This Court has personal jurisdiction over Defendants because they are

 9   each headquartered and have their principal place of business in the State of California. Venue

10   is proper in this District under 28 U.S.C. § 1391(b)(1) because Defendants Meta and

11   Bytedance’s principal places of business are in the Northern District of California and

12   Defendants Snap, Inc. and TikTok Inc are residents of the State of California.

13                              IV.     DIVISIONAL ASSIGNMENT

14           69.     The case is properly assigned to the San Francisco Division pursuant to Civ.

15   L. R. 3-2(c)–(d) because a substantial part of the events or omissions giving rise to

16   Plaintiff’s claims occurred in San Mateo County, where Defendant Meta Platforms, Inc.

17   maintain its primary place of business.

18                               V.      FACTUAL ALLEGATIONS

19       A. Facebook and Instagram Background and Products

20           70.     Facebook is an American online social network service that is part of the Meta

21   Platforms. Facebook was founded in 2004, at which time, Facebook was nothing like the

22   product it is today. In fact, when Facebook was first founded, only students at certain colleges

23   and universities could use the social media product – which changed by 2006, such that

24   anyone with an email address could now use it. Facebook became the largest social network

25   in the world, with nearly three billion users as of 2021, and about half that number were

26   using Facebook every day. The company’s headquarters is in Menlo Park, California.

27   Facebook recently changed its name to, and is referred to herein and collectively with

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                                                       19
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 303Page
                                                             Page
                                                             of 375
                                                                  24
                                                                   20
                                                                    PageID
                                                                     ofof96
                                                                          92 #:451




 1   Instagram, as Meta.

 2          71.     Instagram is a photo sharing social media application. Its original focus was

 3   to facilitate communication through images by featuring photos taken on mobile devices.

 4   Instagram launched in October 2010 and Facebook acquired it for $1 billion in April 2012.

 5   Once acquired, Instagram experienced exponential growth, design, and development

 6   changes. It went from 10 million monthly active users in September of 2012 to 50 million

 7   weeks after the acquisition, to more than 600 million by December of 2016, and it continues

 8   to grow. Meta instituted dozens of product changes (also known as “growth hacks”) that

 9   drove this increased engagement, but at the expense of the health and well-being of

10   Instagram’s users—especially teens and children.

11          72.     Meta’s recommendation-based feeds and product features promote harmful

12   content. Meta’s algorithms are programmed to prioritize number of interactions and not

13   quality of interactions. Worded otherwise, Defendants promote and amplify content based

14   on engagement objectives and not the health and well-being of their users, which renders

15   their social media products inherently dangerous and defective, particularly when used by

16   teens and children.

17          73.     Both the Facebook and Instagram products show users a “feed.” A user’s

18   “feed” is a comprised of a series of photos and videos posted by accounts that the user

19   follows, along with advertising and content specifically selected and promoted by Instagram.

20          74.     Meta exerts control over a user’s Instagram “feed,” including through certain

21   ranking mechanisms, escalation loops, and/or promotion of advertising and content

22   specifically selected and promoted by Meta based on, among other things, its ongoing

23   planning, assessment, and prioritization of the types of information most likely to increase

24   engagement. In the case of certain user groups, like teens, this control translates to deliberate

25   and repeated promotion of harmful and unhealthy content, which Meta knows is causing

26   harm to its young users.

27          75.     In 2021, Senators Richard Blumenthal, Marsha Blackburn and Mike Lee

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                                                    20
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 304Page
                                                             Page
                                                             of 375
                                                                  25
                                                                   21
                                                                    PageID
                                                                     ofof96
                                                                          92 #:452




 1   tested and confirmed the fact that Meta’s recommendation-based feeds and product features

 2   promote harmful content by having several accounts opened while providing information

 3   indicating that the users were teenage girls,

 4
           “Within an hour all of our recommendations promoted pro-anorexia and eating
 5         disorder content,” Blumenthal said. "Nothing has changed. It's all still happening.”

 6
           Sen. Mike Lee, R-Utah, said his office created an account for   a13 year old girl. Shortly
 7         afterward, the algorithm recommended       afamous female celebrity to follow and when
 8         they did, Lee said, "It went dark fast.”

 9
           The fake account was flooded with content about diets, plastic surgery and other
10         damaging material for an adolescent girl, he said.

11
           In another example this week, Blackburn's staff exposed    aflaw in Instagram's setting
12         for teens under   16.

13
           According to Instagram's policies, new teenage accounts should automatically default
14         to aprivate setting. But when Blackburn's team set up   aphony account for a15 year
15         old girl, it automatically defaulted to public.

16         ‘Mosseri acknowledged the error, explaining the mistaken default setting was triggered

17         because the account was created on    aweb browser, as opposed to amobile app.
18
           "We will correct that,” he said.
19
20   See        https://www.npr.org/2021/12/08/1062576576/instagrams-ceo-adam-mosseri-hears-
21   senators-brush-aside-his-promises-to-self-poli. Meta has had almost a decade to fix these
22   product defects but has not – instead, its products have severely harmed millions of teens in
23
     the U.S. alone.
24
              76.      The Instagram product also has a search feature called “Explore,” where a
25
     user is shown an endless feed of content that is selected by an algorithm designed by Meta
26
     based upon the users’ demographics and prior activity in the application. This is not content
27
     the user has searched for our requested. Instead, it is content Meta selects via its algorithms
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                                                         21
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 305Page
                                                             Page
                                                             of 375
                                                                  26
                                                                   22
                                                                    PageID
                                                                     ofof96
                                                                          92 #:453




 1   (which Meta in turn programs to increase engagement and in other ways Meta knows to be

 2   harmful to users, but more profitable to Meta, as well as paid advertisements created with

 3   Meta’s assistance or approval, and the like.

 4           77.     Meta designs and operates its Explore product in a manner that promotes

 5   harmful and/or unhealthy content. Meta is aware of these inherently dangerous product

 6   features and has repeatedly decided against changing them and/or implementing readily

 7   available and relatively inexpensive safety measures, for the purpose of ensuring continued

 8   growth, engagement, and revenue increase.

 9           78.     The Instagram product also has features known as “Reels” and “Stories,

10   which promote the use of short videos and temporary posts, respectively. These products

11   were developed to appeal to teens and Meta knows that these products are addictive, as well

12   as defective.

13           79.     Meta prioritizes and promotes harmful content through these product features.

14           80.     The promotion of harmful content has become so central to Defendants’

15   business models that Defendants regularly opt to conceal the truth and continue harming

16   users instead of making their products safer and less harmful.

17           81.     Worded otherwise, it is not any single or even multiple pieces of body-

18   focused or celebrity content harming young Instagram users, but rather, the formatting and

19   presentation utilized by Meta in its effort to increase engagement and growth at any cost. For

20   example, no single celebrity post is problematic, but instead, the harm arises from seeing

21   countless pieces of content and Meta’s amplifying effect. For example, Meta uses artistic

22   content from celebrities like Cardi B, an artist young girls look up to and admire, and uses

23   that content as bait in a manner it has internally identified as harmful to a significant

24   percentage of its young, female users. It is not the content itself which is harmful. In fact, the

25   content in its originally intended form is not harmful at all. Instead, it is a combination of

26   Meta’s product design, algorithmic identification and promotion system, targeting tools, and

27   the sheer volume of body-focused imagery Meta pushes on its youngest users without their

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                                                    22
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 306Page
                                                             Page
                                                             of 375
                                                                  27
                                                                   23
                                                                    PageID
                                                                     ofof96
                                                                          92 #:454




 1   knowledge or consent (much less the knowledge of consent of their parents or the artists

 2   providing this material) that is harming these young users. And Meta knows it.

 3           82.     Meta also pushes these content types or themes to young girls in exponentially

 4   higher numbers despite knowledge of the resulting harm to a significant percentage of those

 5   same young, female users.

 6           83.     Instagram profile and privacy settings also cause harm. Users’ profiles on

 7   Instagram may be public or private, which is a product feature over which Meta exercises

 8   complete control. On public profiles, any user can view the photos, videos, and other content

 9   posted by the user. On private profiles, the user’s content may only be viewed by the user’s

10   followers, which the user must approve. At all times relevant, Instagram profiles were public

11   by default and Instagram allowed all users to message and send follow requests to underage

12   users. But even now, when Instagram claims that it is defaulting certain categories of users

13   into private profiles, all a user need do is change the profile setting and, once again, Instagram

14   will allow all users to message and send follow requests to underage users. Meta can protect

15   users from this specific harm, can do so immediately, and chooses to not do so as a matter

16   of engagement and growth.

17           84.     Permitting public profiles for underage users serves no critical purpose in

18   terms of product functionality but, instead, it increases user engagement during onboarding

19   (when a user first starts using a social media product) by increasing user connections and

20   generally by providing all users with greater access to other users, in this case, irrespective

21   of their age. Unfortunately for young children and teens, a numerically significant percentage

22   of those would-be connections are harmful. Defendants are aware of these harms and have

23   opted to not make necessary and cost-effective changes to prevent it.

24           85.     Defendant Meta’s Direct Message settings also permit and encourage harm

25   to vulnerable users. Harmful and dangerous interactions occur because of the Instagram

26   direct message feature and current user settings, that is, Meta’s chosen settings provide

27   strangers (good or bad) with direct and unsupervised access to children and teens. Again,

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                                                    23
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 307Page
                                                             Page
                                                             of 375
                                                                  28
                                                                   24
                                                                    PageID
                                                                     ofof96
                                                                          92 #:455




 1   however, Meta opts for engagement over safety.

 2           86.      Meta’s allowance of multiple accounts, refusal to verify age, identity, even

 3   authenticity of email addresses further exacerbates the harms by making it impossible to

 4   avoid unwanted interactions. Other users can literally open accounts as fast as those accounts

 5   can be blocked and, when coupled with the excessive and addictive usage habits Meta

 6   promotes among teens, these features create a perfect storm for depression, anxiety, and

 7   Suicide and Self-Harm.

 8           87.      Meta’s push notifications and emails encourage addictive behavior and are

 9   designed specifically to increase use of its social media products. In the case of Instagram,

10   Defendant Meta collects individualized data – not just about the user, but also about the

11   user’s friends and contacts – and then selects content and notification frequency for its users

12   and notifies them via text and email. Meta’s notifications to individual users are specifically

13   designed to, and do, prompt them to open Instagram and view the content Instagram selected,

14   increasing sessions, and resulting in greater profits to Instagram. More to the point, even the

15   format of these notifications has been designed and re-designed with the specific purpose of

16   pulling users back onto the social media platform—irrespective of a user’s health or

17   wellbeing.

18           88.      Instagram also incorporates several product features that serve no

19   functionality purpose, but that do make Meta’s product more appealing to children and teens

20   (i.e., “likes” and filters, as well as avatars, emojis, and games) while simultaneously

21   increasing social comparison pressure and resulting harm (i.e., “likes” and filters). The harm

22   from these product features does not relate to a single “like” or filter, or any specific series

23   of content or potential content. Rather, it is the product itself. Meta knows that these product

24   features disproportionally harm teen girls and young women.9

25           89.      Instagram also creates images and GIFs for users to post on their videos and

26
27
     9
       See, e.g., the documents disclosed at https://digitalwellbeing.org/wp-content/uploads/2021/10/Facebook-
28   Files-Appearance-based-Social-Comparison-on-Instagram-.pdf, supra.


                                                        24
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 308Page
                                                             Page
                                                             of 375
                                                                  29
                                                                   25
                                                                    PageID
                                                                     ofof96
                                                                          92 #:456




 1   pictures. Meta has also acquired publishing rights to thousands of hours of music, which it

 2   provides to its users to attach to the videos and pictures that they post on Instagram. The

 3   GIFs, images, and music are integral to the user’s Instagram post and are, in fact, designed

 4   to encourage posting. Indeed, in many cases, the only content in a user’s Instagram post is

 5   the image, GIF or music supplied by Meta. When users incorporate images, GIFs, and music

 6   supplied by Meta into their postings, Meta is functioning as a co-publisher of such content.

 7   An Instagram user who incorporates images, GIFs or music supplied by Meta into their post

 8   is functionally equivalent to a novelist who incorporates illustrations into their story.

 9   Instagram can no longer characterize the images, GIFs, and music it supplies to its users as

10   third-party content, just as the novelist cannot disclaim responsibility for illustrations

11   contained in their book. Meta has made the deliberate decision to collaborate with its users

12   in this regard and, as evidenced by Meta’s internal documents, Meta’s decision is motivated

13   by the fact that such collaboration results in increased engagement and more profits for Meta

14   itself.

15              90.     Meta also has ownership and/or licensing, and other legal, rights in all third-

16   party content, such that it is not “third-party content” at all. In 2012, Meta revised its

17   Instagram Terms of Service to the following,10

18        To help us deliver interesting paid or     sponsored content or promotions, you agree that
          a business or other entity may pay us to display your username, likeness, photos
19
          (along with any associated metadata), and/or actions you take, in connection with
20        paid or sponsored content or promotions, without any compensation to you.

21
                91.      Its current terms (effective January 4, 2022) are different, but still grant Meta
22
     the right to use all third-party content at Meta’s sole and unilateral discretion,
23
24
25
26
27
28   10
          https://www.theverge.com/2012/12/18/3780158/instagrams-new-terms-of-service-what-they-really-mean


                                                         25
                      COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 309Page
                                                             Page
                                                             of 375
                                                                  30
                                                                   26
                                                                    PageID
                                                                     ofof96
                                                                          92 #:457




 1         e   We donot claim ownership of your content, but you grant us a license to use it.
               Nothing is changing about your rights in your content. We do not claim ownership of
 2             your content that you post on or through the Service and you are free to share your
               content with anyone else, wherever you want. However, we need certain legal
 3             permissions from you (known as a “license”) to provide the Service. When you
               share, post, or upload content that is covered by intellectual property rights (like
 4             photos or videos) on or in connection with our Service, you hereby grant to us a
               non-exclusive, royalty-free, transferable, sub-licensable, worldwide license to host,
 5             use, distribute, modify, run, copy, publicly perform or display, translate, and create
               derivative works of your content (consistent with your privacy and application
 6             settings). This license will end when your content is deleted from our systems. You
               can delete content individually or all at once by deleting your account. To learn more
 7             about how we use information, and how to control or delete your content, review the
               Data Policy and visit the Instagram Help Center.
 8
                 92.     Meta directly profits from the videos and pictures its users create in
 9
     collaboration with Meta, as described above.
10
                 93.     Meta knows that it is harming teens yet, when faced with recommendations
11
     that will reduce such harms, Meta’s leadership consistently opts for prioritization of profit
12
     over the health and well-being of its teen users—that is, the millions of teen users who
13
     continue to use its inherently dangerous and defective social media product every, single
14
     day.
15
                 94.     Meta’s products are used by many millions of children every day.
16
      B.         Snapchat Background
17
                 95.     Snapchat was founded in 2011, by three Stanford college students, and
18
     quickly became a wildly popular social media product among U.S. teens. It is one of the most
19
     widely used social media products in the world and is used by more than 69% of all U.S.
20
     teens (age 13 to 17).11 Snap’s headquarters is in Santa Monica, California.
21
                 96.     Snapchat started as a photo and short video sharing social media application
22
     that allows users to form groups and share posts or “Snaps” that disappear after being viewed
23
     by the recipients. The Snapchat product became well-known for its self-destructing content
24
     feature. Specifically, the Snapchat product allows users to form groups and share posts or
25
     “Snaps” that disappear after being viewed by the recipients. However, the Snapchat social
26
27
28   11
          See https://www.smartinsights.com/social-media-marketing/social-media-strategy/snapchat-statistics/


                                                           26
                       COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 310Page
                                                             Page
                                                             of 375
                                                                  31
                                                                   27
                                                                    PageID
                                                                     ofof96
                                                                          92 #:458




 1   media product quickly evolved from there, as its leadership made design changes and rapidly

 2   developed new product features intended to and that did increase Snapchat’s popularity

 3   among teen users.

 4          97.     In 2012, Snap added video capabilities to its Snapchat product, pushing the

 5   number of “snaps” to 50 million per day; in 2013, “Stories” and “Chat” features; in 2014,

 6   live video chat capabilities, “Our Story,” Geofilters and Community Geofilters, and

 7   Snapcash.

 8          98.     By 2015, advertisements were pervasive on Snapchat and, by 2018, 99% of

 9   Snap’s total revenue came from advertising, according to internal company records. In other

10   words, like Meta, Snap decided to monetize its userbase and, from that point forward, began

11   changing its product in ways that made its product even more harmful to users but that paved

12   the way for growth, engagement, and profits for Snap and its leadership and investors.

13          99.     By 2015, Snapchat had over 75 million monthly active users and was the most

14   popular social media application amongst American teenagers in terms of number of users

15   and time spent using the platform. Snap currently estimates having between 92.8 and 96.6

16   million users in the United States, with at least 17 to 17.7 million of those being children

17   under the age of 18. Against this backdrop, Snap advertises and promotes its product as safe

18   and fun—which could not be further from the truth.

19          100.    Snap uses an algorithm or similar technology to suggest connections, that is,

20   Snap sends messages to users based on some secret formula Snap uses to determine whether

21   someone should “friend” someone else. This is known as “Quick Add,” and these Snap-

22   initiated messages result in exposure to harmful contacts, bullying, and dangerous predators.

23   This feature contributes nothing to the product itself and serves no informational or

24   communication purpose. Similar to Meta’s product, this product is designed to reinforce

25   addiction and increase the odds of maintaining more users for longer.

26          101.    Snapchat users also have an “Explore” feed that displays content created by

27   other users around the world. These product features are designed to grab and keep users’

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                                                  27
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 311Page
                                                             Page
                                                             of 375
                                                                  32
                                                                   28
                                                                    PageID
                                                                     ofof96
                                                                          92 #:459




 1   attention for as long as possible each day, and have led many people, from psychologists to

 2   government officials, to describe Snapchat as “dangerously addictive.”

 3            102.    As with Defendant Meta, Snap’s algorithms and/or similar technologies

 4   determine the content that gets recommended and/or populates its user experience on the

 5   Snapchat social media product. This includes content sent directly from Snap to its users, for

 6   Snap’s own purposes, and prior to any sort of user search or request for such content. And

 7   as with Defendant Meta, Snap knows or should know that its algorithms are promoting and

 8   amplifying harmful content to children and teens and are operating with a degree of

 9   algorithmic discrimination that is particularly harmful to Snap’s most vulnerable user groups.

10            103.    Snapchat offers several unique messaging and data features. It is perhaps most

11   famous for its self-destructing content design feature, which appeals to minors and makes it

12   more difficult for parents to monitor their children’s social media activity. This is an

13   inherently dangerous product feature because it both encourages and allows minor uses to

14   exchange harmful, illegal, and sexually explicit images with adults, and provides those same

15   adults with a safe and efficient vehicle to recruit victims. Snapchat is a go-to application for

16   sexual predators because of this product feature.12

17            104.    For years Snap has received reports of child abuse and bullying occurring

18   through its product and because of its product features,13 yet has kept those features in place

19   as removing them would result in considerable impact on the popularity of Snap’s social

20   media product.

21            105.    Harmful and dangerous interactions likewise occur because of these and other

22   Snapchat messaging features, which provide direct and unsupervised access to children and

23   teens.

24            106.    But also, this is a dangerous product feature because it does not operate as

25
26
     12
        See, e.g., https://phonespector.com/blog/what-are-the-dangers-of-snapchat-to-avoid/
27   13
        See, e.g., https://www.forbes.com/sites/zakdoffman/2019/05/26/snapchats-self-destructing-messages-have-
     created-a-haven-for-child-abuse/?sh=411b8e1d399a (Snapchat Has Become A ‘Haven for Child Abuse’ With
28   Its ‘Self-Destructing Messages’).


                                                        28
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 312Page
                                                             Page
                                                             of 375
                                                                  33
                                                                   29
                                                                    PageID
                                                                     ofof96
                                                                          92 #:460




 1   advertised. Snap’s disappearing design and marketing of this feature is particularly harmful

 2   to teens who rely on Snap’s representations when taking and sending photos, only learning

 3   after the fact that recipients have means to save photos – and are often bullied, exploited,

 4   and/or sexually abused as a direct result. These are harms known to Snap.

 5          107.    In 2014, Snapchat added “Stories” and “Chat” features that allowed users to

 6   post longer stories that could be viewed by users outside the user’s friends. As with Meta’s

 7   algorithms, Snap’s technology promotes and amplifies harmful content as a means of

 8   increasing user engagement and growth opportunities. Snap has actual knowledge of the

 9   harm it is causing its users, and consistently prioritizes its own profits regardless.

10          108.    Snapchat also allows users to enable the sharing of their location, through a

11   tool called Snap Map, which allows the users’ followers (and the public for Snaps submitted

12   by the users) to see the user’s location on a map. At all times relevant, this feature was

13   available to all users, including minors. This is an inherently dangerous product feature,

14   which serves no practical purpose – but that does provide strangers and predators with access

15   to the location of minor victims. This product feature has directly contributed to stalking and

16   other, physical harms and assaults perpetrated on minors, and these are harms known to Snap.

17          109.    But also, Snap has developed artificial intelligence technology that detects

18   adult users of Snapchat who send sexually explicit content to children and receive sexually

19   explicit images from children. This technology furnishes Snap with actual knowledge that a

20   significant number of minor users of Snapchat are solicited to send, and do send, sexually

21   explicit photos and videos of themselves to adult users in violation of 18 U.S.C. §

22   1591(a)(1)-(2). Snap could protect its minor users, but in many instances, does not.

23          110.    Snap also has a “My Eyes Only” product, which many parents do not know

24   about – including Plaintiffs in this case. Snap’s My Eyes Only Product encourages and

25   enables young users to hide harmful content from parents by allowing them to hide content

26   in a special tab that requires a passcode, and where content cannot be recovered – even by

27   Snap itself – without the correct passcode. The content self-destructs if a user attempts to

28

                                                    29
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 313Page
                                                             Page
                                                             of 375
                                                                  34
                                                                   30
                                                                    PageID
                                                                     ofof96
                                                                          92 #:461




 1   access the hidden folder with the wrong code. My Eyes Only has no practical purpose or use,

 2   other than to hide potentially harmful content from parents and/or legal owners of the devices

 3   used to access Snap. Moreover, while this information and evidence should be in Snap’s

 4   possession and control, it has designed thus product in a way that causes the permanent loss

 5   of relevant and often incredibly material and incriminating evidence in the event of products

 6   liability lawsuit, like this one.

 7           111.    On information and belief, Snap’s disappearing messages are defective for

 8   this reason as well. Snap has possession, custody, or control of that data, knows that it will

 9   be relevant and material in the event of products liability litigation, but has designed its

10   technologies – i.e. its advertised “disappearing” functionality which suggests that Snap itself

11   no longer has access to such data – in a manner that frustrates and actively prevents parents

12   from monitoring the activity of their underage children on Snap’s social media product.

13   These are serious defects, which Snap should be required to remedy immediately.

14           112.    Like Meta, Snap also sends push notifications and emails to encourage

15   addictive behavior and to increase use of its Snapchat product. Snap’s communications are

16   triggered and based upon information Snap collects from and about its users, and Snap

17   “pushes” these communications to teen users in excessive numbers and disruptive times of

18   day. These notifications are specifically designed to, and do, prompt them to open Snapchat

19   and view the content Snapchat selected, increasing sessions, and resulting in greater profits

20   to Snap. Even the format of these notifications has been designed to pull users back on to the

21   social media platform—irrespective of a user’s health or wellbeing.

22           113.    The Snapchat social media product also features a series of rewards including

23   trophies, streaks, and other signals of social recognition like the “likes” metrics available

24   across other platforms. These features are designed to encourage users to share their videos

25   and posts with the public. Moreover, these features serve no communication or informational

26   purposes. They are designed to be addictive, and to encourage greater use of the Snap product

27   without regard to any other content or third-party communication. But also, they have been

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                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 314Page
                                                             Page
                                                             of 375
                                                                  35
                                                                   31
                                                                    PageID
                                                                     ofof96
                                                                          92 #:462




 1   repeatedly recognized by organizations and even government agencies around the world as

 2   being among the most addictive products when it comes to teen social media users.

 3              114.     These product features serve no purpose other than creating dependencies on

 4   Snap’s product by children and teens, which dependencies in turn cause sleep deprivation,

 5   anxiety, depression, anger, shame, interpersonal conflicts, and other serious harms to mental

 6   and physical health.

 7              115.     Snapchat incorporates several other product features that serve no

 8   functionality purpose, but that do make Snap’s product more appealing to children and teens

 9   (i.e., avatars, emojis, and games) while simultaneously using known mechanisms to addict

10   those same children and teens (i.e. streaks and trophies offering unknown rewards). These

11   features and the ones discussed above were particularly addictive to Enlgyn Roberts, and

12   were targeted to underage users like Englyn Roberts.

13              116.     The Snap Streak feature is unique to Snap’s product and is one of the most –

14   if not the most – addictive products available “especially to teenagers.”14 See also FBD

15   37/21, “Teen Meaningful Interactions and Feed post Feedback – Focus Groups” (May 2018),

16   at p. 5 (“Streaks are a very important way for teens to stay connected. They are usually with

17   your closest friends and they are addictive.”) Snap knows that its Snap Streak product is

18   addictive and has known for years but continues to provide that product to teens and children.

19              117.     These are just some examples of Snapchat’s harmful product features.

20              118.     Snap has also developed images for users to decorate the pictures or videos

21   they post, and Snap has developed Lenses which are augmented reality-based special effects

22   and sounds for users to apply to pictures and videos users post on Snapchat, and World

23   Lenses to augment the environment around posts. Snap also has acquired publication rights

24   to music, audio, and video content that its users can incorporate in the pictures and videos

25   they post on Snapchat.

26              119.     These images, Lenses, and licensed audio and video content supplied and

27
28   14
          See https://abcnews.go.com/Lifestyle/experts-warn-parents-snapchat-hook-teens-streaks/story?id=48778296


                                                           31
                     COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 315Page
                                                             Page
                                                             of 375
                                                                  36
                                                                   32
                                                                    PageID
                                                                     ofof96
                                                                          92 #:463




 1   created by Snapchat frequently make a material contribution to the creation or development

 2   of the user’s Snapchat posts. Indeed, in many cases, the only content in a user’s Snapchat

 3   post are images, Lenses, and licensed audio and video content supplied and created by

 4   Snapchat. When users incorporate images, Lenses, music, audio, and video content supplied

 5   by Snapchat posts, Snapchat makes a material contribution to the creation and/or

 6   development of their Snapchat postings and becomes a co-publisher of such content. When

 7   malign users incorporate images, Lenses, music, audio, and video content supplied by

 8   Snapchat to their posts, this enhances the psychic harm and defamatory sting that minor users

 9   experience from third-party postings on Defendant’s platform.

10          120.     Moreover, Snap contracts for legal rights in this third-party content, such that

11   it is not “third-party content” at all. Snap’s current Terms of Service grant Snap several,

12   sweeping sets of legal rights, from licensing to ownership, as follows (and for example only

13   as there are several provisions in Snap’s Terms of Service that address legal rights over user

14   content, comments, and other usage and activities),

15
16           3. Rights You Grant Us
17           Many of our Services let you create, upload, post, send, receive, and store content.

18           When you do that, you retain whatever ownership rights in that content you had to
             begin with. But you grant usa license to use that content. How broad that license is
19           depends on which Services you use and the Settings you have selected.

20           For all content you submit to the Services, you grant Snap and our affiliates a
             worldwide, royalty-free, sublicensable, and transferable license to host, store, cache,
21           use, display, reproduce, modify, adapt, edit, publish, analyze, transmit, and distribute
             that content. This license is for the purpose of operating, developing, providing,
22
             promoting, and improving the Services and researching and developing new ones.
23                               a
             This license includes   right for us to make your content available to, and pass these
             rights along to, service providers with whom we have contractual relationships
24           related to the provision of the Services, solely for the purpose of providing such
             Services.
25
26
            121.     Snap directly profits from the videos and pictures and other content its users
27
     create in collaboration with Snap, as described above.
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                                                        32
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 316Page
                                                             Page
                                                             of 375
                                                                  37
                                                                   33
                                                                    PageID
                                                                     ofof96
                                                                          92 #:464




 1           122.    Snap knows that it is harming teens yet consistently opts for prioritization of

 2   profit over the health and well-being of its teen users—that is, the millions of teen users who

 3   continue to use its inherently dangerous and defective social media product every, single

 4   day.

 5    C.     TikTok Background

 6           123.    TikTok is a video sharing social media application where users create, share,

 7   and view short video clips. Known in China as Douyin, TikTok hosts a variety of short-form

 8   user videos, from genres like pranks, stunts, tricks, jokes, dance, and entertainment with

 9   durations from 15 seconds to ten minutes. TikTok is the international version of Douyin,

10   which was originally released in the Chinese market in September 2016. In 2017, TikTok

11   was launched for iOS and Android in most markets outside of mainland China; however, it

12   became available worldwide only after merging with another Chinese social media service,

13   Musical.ly, on August 2, 2018.

14           124.    TikTok has been downloaded more than 130 times in the U.S. and it was

15   ranked by Cloudflare as the most popular website of 2021. “TikTok was the world’s most-

16   visited website in 2021, overtaking YouTube in US watch time and Facebook in app

17   downloads for the first time.”15

18           125.    Users on TikTok who open the TikTok application are automatically shown

19   an endless stream of videos selected by an algorithm developed by TikTok to show content

20   on the “for you” based upon the user’s demographics, likes, and prior activity on the app.

21           126.    TikTok is like Meta and Snap in that it has designed its algorithms to addict

22   users and cause them to spend as much time on the application as possible through advanced

23   analytics that create a variable reward system tailored to user’s viewing habits and interests.

24           127.    There are four main goals for TikTok’s algorithm: which the company

25   translates as “user value,” “long-term user value,” “creator value,” and “platform value.”

26
27   15
       Emily Baker-White, Inside Project Texas, TikTok’s Big Answer To US Lawmakers’ China Fears, Buzzfeed,
     Mar. 10, 2022, https://www.buzzfeednews.com/article/emilybakerwhite/tiktok-project-texas-bytedance-user-
28   data


                                                       33
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 317Page
                                                             Page
                                                             of 375
                                                                  38
                                                                   34
                                                                    PageID
                                                                     ofof96
                                                                          92 #:465




 1          128.     An internal TikTok document was leaked, which document is titled “TikTok

 2   Algo 101.” This document was created by TikTok’s engineering team in Beijing and offers

 3   details about both the app’s mathematical core and insight into the company’s understanding

 4   of human nature. The document explains that in the pursuit of the company’s “ultimate goal”

 5   of adding daily active users, it has chosen to optimize for two closely related metrics in the

 6   stream of videos it serves: “retention” — that is, whether a user comes back — and “time

 7   spent.” The document offers a rough equation for how videos are scored, in which a

 8   prediction driven by machine learning and actual user behavior are summed up for each of

 9   three bits of data: likes, comments and playtime, as well as an indication that the video has

10   been played.

11          129.     A recent Wall Street Journal report revealed how TikTok relies heavily on

12   how much time users spend watching each video to steer them toward more videos that will

13   keep them scrolling, and that process can sometimes lead young viewers down dangerous

14   rabbit holes, and toward content that promotes suicide or self-harm.

15          130.     Another article, by the New York Times, explained how TikTok markets

16   itself as an “artificial intelligence company.” “The most obvious clue is right there when you

17   open the app: the first thing you see isn’t a feed of your friends, but a page called ‘For You.’

18   It’s an algorithmic feed based on videos you’ve interacted with, or even just watched. It never

19   runs out of material. It is not, unless you train it to be, full of people you know, or things

20   you’ve explicitly told it you want to see. It’s full of things that you seem to have demonstrated

21   you want to watch, no matter what you actually say you want to watch … Imagine a version

22   of Facebook that was able to fill your feed before you’d friended a single person. That’s

23   TikTok.” 16

24          131.     TikTok’s algorithm also, often works in concert with Meta’s. For example, a

25   teen may first learn about a harmful topic through Meta’s algorithm, which potential harm is

26
27
     16
         John Herrman, How TikTok is Rewriting the World, N.Y. Times, Mar. 10, 2019, available at
28   https://www.nytimes.com/2019/03/10/style/what-is-tik-tok.html


                                                    34
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 318Page
                                                             Page
                                                             of 375
                                                                  39
                                                                   35
                                                                    PageID
                                                                     ofof96
                                                                          92 #:466




 1   then identified by TikTok’s algorithm, based on any number of unknown factors, and the

 2   TikTok product will amplify and promote that same harm through a virtual series of how-to

 3   videos. These are inherently dangerous and harmful product features, particularly when

 4   aimed at children.

 5          132.    TikTok also features and promotes various “challenges” where users film

 6   themselves engaging in behavior that mimics and “one ups” other users posting videos

 7   related to a particular challenge. TikTok promotes users creating and posting videos of

 8   challenges identified by a system of hashtags that are promoted within TikTok’s search

 9   feature.

10          133.    TikTok’s app and algorithm have created an environment in which TikTok

11   “challenges” are widely promoted and result in maximum user engagement and participation,

12   thus financially benefitting Defendants. At the same time TikTok “challenges” involve users

13   filming themselves engaging in behavior that mimics and often times “one-ups” other users

14   posting videos performing the same or similar conduct, and these TikTok “challenges”

15   routinely involve dangerous or risky conduct.

16          134.    TikTok’s algorithm presents these often-dangerous “challenges” to users on

17   their FYP and encourages users to create, share, and participate in the “challenge.”

18          135.    Moreover, TikTok’s algorithm products suffer from serious algorithmic bias,

19   including as it relates to race and low SES. Upon information and belief, TikTok is aware of

20   these harms, including the fact that its algorithm pushes higher volumes of violent and

21   dangerous content to members of protected classes. This is harmful content these users,

22   including and specifically Englyn Roberts, would not have seen but for TikTok’s product

23   design and programming.

24          136.    Upon information and belief, the TikTok product is causing harms to

25   protected classes based on their protected status, including the promotion and amplification

26   of harmful and violent content in greater numbers to African American users, like Englyn

27   Roberts. Upon information and belief, TikTok’s social media product did direct and promote

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                                                  35
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 319Page
                                                             Page
                                                             of 375
                                                                  40
                                                                   36
                                                                    PageID
                                                                     ofof96
                                                                          92 #:467




 1   harmful and violent content in greater numbers to Englyn Roberts than what they promoted

 2   and amplified to other, Caucasian users of similar age, gender, and state of residence – which

 3   harmful and violent content directly contributed to Englyn Roberts’ addiction to its social

 4   media product and resulting death.

 5            137.   These are just some examples of how TikTok operates its product to generate

 6   profit, at the expense of the health and well-being of its users, particularly its child and teen

 7   users.

 8            138.   Until mid 2021, TikTok also and by default made all users profiles “public,”

 9   meaning that strangers, often adults, could view and message underage users of the TikTok

10   app. This also meant that those strangers could then contact children directly, as happened

11   in this case.

12            139.   TikTok has also developed artificial intelligence technology that detects adult

13   users of TikTok who send sexually explicit content to children and receive sexually explicit

14   images from children. This technology furnishes TikTok with actual knowledge that a

15   significant number of minor users of TikTok are solicited to send and actually do send

16   sexually explicit photos and videos of themselves to adult users in exchange for consideration

17   in violation of 18 U.S.C. § 1591(a)(1)–(2). Yet, like Snap and Meta, TikTok uses this

18   technology selectively and only when it is to the benefit of TikTok, enabling harms through

19   its social media products in the interest of engagement.

20            140.   Like Meta and Snap, TikTok also sends push notifications and emails to

21   encourage addictive behavior and to increase use of their TikTok product and sent such

22   notices to Englyn Roberts. TikTok’s communications are triggered and based upon

23   information TikTok collects from and about its users, and TikTok “pushes” these

24   communications to teen users in excessive numbers and disruptive times of day. These

25   notifications are specifically designed to, and do, prompt them to open TikTok and view the

26   content TikTok selected, increasing sessions, and resulting in greater profits to TikTok. Even

27   the format of these notifications has been designed to pull users back on to the social media

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                                                    36
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 320Page
                                                             Page
                                                             of 375
                                                                  41
                                                                   37
                                                                    PageID
                                                                     ofof96
                                                                          92 #:468




 1   platform—irrespective of a user’s health or wellbeing.

 2           141.    TikTok markets itself as a family friendly social media application, and

 3   markets to children and teens.

 4           142.    TikTok exclusively controls and operates the TikTok platform for profit,

 5   which like Instagram and Snapchat, creates advertising revenue through maximizing the

 6   amount of time users spend on their platforms. Accordingly, while TikTok purports to have

 7   a minimum age requirement of 13-years-old, it does little to verify user age or enforce its

 8   age limitations despite knowledge that underage use is widespread.

 9           143.    In fact, underage TikTok users will often post videos of themselves in which

10   they clearly are not old enough to be using the TikTok social media product. On information

11   and belief, TikTok’s sophisticated algorithms can identify when a user has crooked teeth or

12   a crack in their bedroom wall, so there is little question that those same algorithms can

13   identify underage children in posted videos. But also, TikTok has actual knowledge of

14   underage users. For example, in July 2020, TikTok reported that more than a third of its 49

15   million daily users in the United States were 14 years old or younger. And while some of

16   those users were 13 or 14, at least one former employee reported that TikTok had actual

17   knowledge of children even younger based on videos posted on the TikTok platform – yet

18   failed to promptly take down those videos or close those accounts.17 In fact, TikTok regularly

19   knows or should know of underage users with accounts and who post videos on its platform,

20   whether because of its algorithms, viewing by TikTok employees, and/or flagging by other

21   TikTok users. In many such instances, TikTok not suspend the account, require age

22   verification, or notify the underage user’s parents of such prohibited use.

23           144.    TikTok does not seek parental consent for underage users or provide warnings

24   or adequate controls that would allow parents to monitor and limit the use of TikTok by their

25   children. TikTok does not verify user age, enabling and encouraging teens and children to

26
27   17
       Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14 or Under, Raising Safety
     Questions, N.Y. Times, Aug. 14, 2020, available at https://www.nytimes.com/2020/08/14/technology/tiktok-
28   underage-users-ftc.html


                                                       37
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 321Page
                                                             Page
                                                             of 375
                                                                  42
                                                                   38
                                                                    PageID
                                                                     ofof96
                                                                          92 #:469




 1   open TikTok accounts, providing any age they want, and without parental knowledge or

 2   consent. TikTok does not include the deliberately addictive design of its product, which is

 3   addictive and did addict Englyn Roberts, to the point where she hid from her parents her

 4   usage of the TikTok social media product.

 5              145.   Further, based on TikTok data leaked to the New York Times, internal

 6   TikTok documents show that the number of daily U.S. users in July of 2020 estimated by

 7   TikTok to be 14 or young—18 million—was almost as large as the number of over-14 users,

 8   around 20 million. While the rest of TikTok’s U.S. users were classified as being “of

 9   unknown age.”18

10              146.   TikTok also does not rely on users’ self-reported age to categorize them, and

11   knows when it has underage users engaged in harmful activities on its platform. Like Meta,

12   TikTok has algorithms through which is creates estimated or approximate age for its users,

13   including facial recognition algorithms that scrutinize profile pictures and videos, as well as

14   other methods through which it can estimate age with reasonable certainty. TikTok knows

15   that users under the age of 13 are using its social media product, including to post videos of

16   themselves, which videos are public by default and result in harm to these underage users.19

17              147.   Like Meta and Snap, TikTok has tried to boost engagement and keep young

18   users hooked to its social media product by any means necessary.

19              148.   TikTok has developed images and memes to enact images for users to

20   decorate the videos they post. TikTok has also developed memes and other images for users

21   to apply to images they post on TikTok. TikTok also has acquired publication rights to music

22   that its users can incorporate in the pictures and videos they post on TikTok. When users

23   incorporate images, memes and music supplied by TikTok into their postings, TikTok

24   becomes a co-publisher of such content. A TikTok user who incorporates images, memes

25   and musical content supplied by TikTok into their posts is functionally equivalent to a

26
27
     18
          Id.
28   19
          Id.


                                                    38
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 322Page
                                                             Page
                                                             of 375
                                                                  43
                                                                   39
                                                                    PageID
                                                                     ofof96
                                                                          92 #:470




 1   novelist who incorporates illustrations into her story. TikTok can no longer characterize the

 2   images, memes, and musical content it supplies to its users as third-party content as the

 3   novelist can disclaim responsibility for illustrations contained in her book.

 4          149.      And like Snap and Meta, TikTok contracts for legal rights to this third-party

 5   content, such that it is not “third-party content” at all. TikTok’s current Terms of Service

 6   grant TikTok sweeping sets of rights as follows, and for example only,

 7            You or the owner of your User Content stil own the copyright in User Content sent to    us,but by
              submitting User Content via the Services, you hereby grant us an unconditional irrevocable, non-
 8
              exclusive, royalty-free, fully transferable, perpetual worldwide licence to use, modify, adapt, reproduce,
 9            make derivative works of, publish and/or transmit, and/or distribute and to authorise other users   of the
              Services and other third-parties to view, access, use, download, modify, adapt, reproduce, make
10
              derivative works of, publish and/or transmit your User Content in any format and on any platform, either
11            now known or hereinafter invented

12
13          150.      TikTok directly profits from the videos and pictures and other content its
14   users create in collaboration with TikTok, as described above.
15          151.      TikTok knows that it is harming teens yet consistently opts for prioritization
16   of profit over health and well-being of its teen users— the millions of teen users who continue
17   to use its inherently dangerous and defective social media product every, single day.
18    D.    Defendants’ Applications Are Products
19          152.      There is no dispute that the above-described social media products are
20   designed and manufactured by Defendants, and further, Defendants refer to them as such.
21          153.      These products are designed to be used by minors and are actively marketed
22   to teens and tweens across the United States and were marketed to Englyn Roberts.
23          154.      Defendants’ user terms and federal law prohibit use of these social media
24   products by any person under the age of 13. Regardless, Defendants know that children under
25   13 are using their products, and actively study and market to that population.
26          155.      Defendants’ products are designed to be used by minors and are actively
27   marketed to minors across the United States. Defendants market to minors through their own
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                                                                39
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 323Page
                                                             Page
                                                             of 375
                                                                  44
                                                                   40
                                                                    PageID
                                                                     ofof96
                                                                          92 #:471




 1   marketing efforts and design, and through their approval and permission to advertisers who

 2   create and target ads to young users. Meta documents establish that Meta spends millions of

 3   dollars researching, analyzing, and experimenting with young children to find ways to make

 4   its product more appealing and addictive to these age groups, as these age groups are seen as

 5   the key to Meta’s long-term profitability and market dominance. But also, Meta documents

 6   establish that it is not the only one, and that other social media companies, including Meta’s

 7   co-defendants in this case, invest heavily to appeal to teens and underage users. See, e.g.,

 8   https://www.businessinsider.com/leaked-docs-facebook-papers-instagram-competition-

 9   tiktok-youtube-snapchat-2021-12?op=1#whats-so-great-about-tiktok-one-slide-said-2

10   (quoting from Facebook Papers that address the reasons why teens love Snapchat and

11   TikTok),

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                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 324Page
                                                             Page
                                                             of 375
                                                                  45
                                                                   41
                                                                    PageID
                                                                     ofof96
                                                                          92 #:472




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            156.    Defendants also are aware that large numbers of children under the age of 18
25
     use its product without parental consent. At least in the case of TikTok and Snap, parental
26
     consent is required for use of their social media products and based on their own user terms.
27
     Yet all Defendants design their social media products in a manner intended to allow and not
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                                                  41
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 325Page
                                                             Page
                                                             of 375
                                                                  46
                                                                   42
                                                                    PageID
                                                                     ofof96
                                                                          92 #:473




 1   prevent such use, including failure to verify age and identification and allowing and

 2   encouraging multiple accounts.

 3           157.     Defendants have designed their products in a manner that allows and/or does

 4   not prevent such use to increase user engagement and, thereby, increase their own profits.

 5    E.     Defendants’ Business Model is Based on Maximizing User Screen Time and

 6           Defendants Know That their Products are Addictive

 7           158.     Defendants advertise their products as “free,” because they do not charge their

 8   users for downloading or using their products. What many users do not know is that, in fact,

 9   Defendants make a profit by finding unique and increasingly dangerous ways to capture user

10   attention and target advertisements to their users. Defendants receive revenue from

11   advertisers who pay a premium to target advertisements to specific demographic groups of

12   users in the applications. Defendants also receive revenue from selling their users’ data to

13   third parties.

14           159.     The amount of revenue Defendants receive is based upon the amount of time

15   and level of user engagement on their platforms, which directly correlates with the number

16   of advertisements that can be shown to each user.

17           160.     Defendants use unknown and changing rewards that are designed to prompt

18   users who consume their social media products in excessive and dangerous ways. Defendants

19   know, or in the exercise of ordinary care should know, that their designs have created

20   extreme and addictive usage by their minor users, and Defendants knowingly or purposefully

21   designed its products to encourage such addictive behaviors. For example, all the

22   achievements and trophies in Snapchat are unknown to users. The Company has stated that

23   “[y]ou don’t even know about the achievement until you unlock it.” This design conforms to

24   well-established principles of operant conditioning wherein intermittent reinforcement

25   provides the most reliable tool to maintain a desired behavior over time.

26           161.     This design is akin to a slot machine but marketed toward minor users who

27   are even more susceptible than gambling addicts to the variable reward and reminder system

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                                                    42
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 326Page
                                                             Page
                                                             of 375
                                                                  47
                                                                   43
                                                                    PageID
                                                                     ofof96
                                                                          92 #:474




 1   designed by Snapchat. The system is designed to reward increasingly extreme behavior

 2   because users are not actually aware of what action will unlock the next award.

 3              162.    Instagram, like Snapchat and TikTok, is designed around a series of features

 4   that do not add to the communication utility of the application, but instead seek to exploit

 5   minor users’ susceptibility to persuasive design and unlimited accumulation of unpredictable

 6   and uncertain rewards, including “likes” and “followers.” In the hands of children, this

 7   design is unreasonably dangerous to the mental well-being of underage users’ developing

 8   minds. This design proximately caused Englyn Roberts’ death.

 9              163.    According to industry insiders, Defendants have employed thousands of

10   psychologists and engineers to help make their products maximally addicting. For example,

11   Instagram’s “pull to refresh” is based on how slot machines operate. It creates an endless

12   feed, designed to manipulate brain chemistry and prevent natural end points that would

13   otherwise encourage users to move on to other activities.

14              164.    Defendants do not warn users of the addictive design of their product. On the

15   contrary, Defendants actively try to conceal the dangerous and addictive nature of their

16   products, lulling users and parents into a false sense of security. This includes consistently

17   playing down their products’ negative effects on teens in public statements and advertising,

18   making false or materially misleading statements concerning product safety, and refusing to

19   make their research public or available to academics or lawmakers who have asked for it.

20              165.    Defendants have repeatedly represented to the public and governments

21   around the world that their products are safe and not addictive. Even now, TikTok represents

22   in its community guidelines that its priority is “safety, diversity, inclusion, and

23   authenticity.”20 Snaps Terms of Service claim “We try hard to keep our Services a safe place

24   for all users.”21

25              166.    Again, the amount of revenue Defendants receive is based upon the amount

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          https://www.tiktok.com/community-guidelines?lang=en
28   21
          See Snap, Inc. Terms of Service, ¶ 9.


                                                        43
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 327Page
                                                             Page
                                                             of 375
                                                                  48
                                                                   44
                                                                    PageID
                                                                     ofof96
                                                                          92 #:475




 1   of time and user engagement on their platforms, which directly correlates with the number

 2   of advertisements that can be shown to each user. In short, Defendants opted for user

 3   engagement over the truth and user safety.

 4             167.   Defendants’ social media products are built around a series of design features

 5   that do not add to the communication and communication utility of the applications, but

 6   instead seek to exploit users’ susceptibility to persuasive design and unlimited accumulation

 7   of unpredictable and uncertain rewards (including things like “likes” and “followers” and

 8   “views” and “streaks” and “trophies”). This design is unreasonably dangerous to the mental

 9   well-being of underage users’ developing minds, and these social media companies know it.

10             168.   Defendants know that their products are addictive, and that millions of teen

11   users want to stop using them but cannot.

12             169.   Defendants engineer their products to keep users, and particularly young

13   users, engaged longer and coming back for more. This is referred to as “engineered

14   addiction,” and examples include features like bottomless scrolling, tagging, notifications,

15   and live stories.

16             170.   Defendants spend billions of dollars marketing their products to minors, and

17   have deliberately traded in user harm for the sake of their already astronomical revenue

18   stream.

19    F.       Defendants Have Designed Complex Algorithms to Addict Teen Users and Their

20             Business Models Are Based on Maximizing User Screen Time

21             171.   Defendants have intentionally designed their products to maximize users’

22   screen time, using complex algorithms designed to exploit human psychology and driven by

23   the most advanced computer algorithms and artificial intelligence available to three of the

24   largest technology companies in the world.

25             172.   Defendants’ algorithms select content for minor users not based on what they

26   anticipate the user will prefer or to enhance their social media experience, but rather for the

27   express purpose of habituating users to the Defendants’ social media products. Defendants’

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                                                    44
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 328Page
                                                             Page
                                                             of 375
                                                                  49
                                                                   45
                                                                    PageID
                                                                     ofof96
                                                                          92 #:476




 1   algorithms do not provide a neutral platform but rather specify and prompt the type of content

 2   to be submitted and determine particular types of content its algorithms promote.

 3             173.    Defendants designed and have progressively modified their products to

 4   promote problematic and excessive use that they know is indicative of addictive and self-

 5   destructive use.

 6             174.    One of these features—present in Snapchat, Instagram, and TikTok—is the

 7   use of complex algorithms to select and promote content that is provided to users in an

 8   unlimited and never-ending “feed.” Defendants know that algorithm-controlled feeds

 9   promote unlimited “scrolling”—a type of use those studies have identified as detrimental to

10   users’ mental health—however, this type of use allows Defendants to display more

11   advertisements and obtain more revenue from each individual user.

12             175.    Defendants’ algorithm-controlled features are designed to promote content

13   likely to increase user engagement, which often means content Defendants know to be

14   harmful. This is content that users might otherwise never see but for Defendants’ sorting,

15   prioritizing, and/or affirmative pushing of such content to their accounts.

16             176.    In the words of one, high-level departing Meta employee,

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25
     “Why We Build Feeds” (October 4, 2019), at p. 1.22
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27
28   22
          https://www.documentcloud.org/documents/21600853-tier1_rank_exp_1019


                                                       45
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 329Page
                                                             Page
                                                             of 375
                                                                  50
                                                                   46
                                                                    PageID
                                                                     ofof96
                                                                          92 #:477




 1           177.      The addictive nature of Defendants’ products and the complex and

 2   psychologically manipulative design of their algorithms is unknown to ordinary consumers,

 3   particularly minors.

 4           178.      Defendants go to significant lengths to prevent transparency, including posing

 5   as a “free” social media platform, burying advertisements in personalized content, and

 6   making public statements about the safety of their products that simply are not true.

 7           179.      Defendants also have developed unique product features designed to limit,

 8   and have in other ways limited, parents’ ability to monitor and prevent problematic use by

 9   their children.

10           180.      Defendants’ algorithms adapt to promote whatever content will trigger minor

11   users’ engagement and maximize their screen time. Defendants’ algorithm designs do not

12   distinguish, rank, discriminate, or prioritize between particular content based on whether it

13   is helpful or harmful to the psychic well-being of their minor users. Once a minor user

14   engages with abusive, harmful, or destructive content, Defendants’ algorithms will direct the

15   minor user to content that is progressively more abusive, harmful, and destructive to

16   maximize the user’s screen time.

17           181.      Defendants’ algorithms are not simply tools meant to facilitate the

18   communication and content of others but are content in and of themselves. Defendants’

19   algorithms do not function like traditional search engines that select particular content for

20   users based on user inputs; they direct minor users to content based on far more than the

21   individual users’ viewing history. Defendants’ algorithms make recommendations not

22   simply based on minor users’ voluntary actions but also the demographic information and

23   social media activity of the users’ friends, followers, and cohorts. The user data that

24   Defendants’ algorithms use to select content therefore encompasses far more information

25   than voluntarily furnished by the particular user and include private information about the

26   user that Defendants discover through undisclosed surveillance of their behavior both online

27   and offline.

28

                                                     46
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 330Page
                                                             Page
                                                             of 375
                                                                  51
                                                                   47
                                                                    PageID
                                                                     ofof96
                                                                          92 #:478




 1          182.     These addiction-driven algorithms are designed to be content neutral. They

 2   adapt to the social media activity of individual users to promote whatever content will trigger

 3   a particular user’s interest and maximize their screen time. That is, prior to the point when

 4   Defendants have addicted their users and are then able to influence user preferences, their

 5   algorithm designs do not distinguish, rank, discriminate, or prioritize between types of

 6   content. For example, if the algorithm can increase User One engagement with elephants and

 7   User Two engagement with moonbeams, then Defendants’ algorithm design will promote

 8   elephant content to User One and moonbeam content to User Two. These types of algorithms

 9   are solely quantitative devices and make no qualitative distinctions between the nature and

10   type of content they promote to users – as long as those promotions increaser user

11   engagement.

12   B. Minor Users’ Incomplete Brain Development Renders Them Particularly

13      Susceptible to Manipulative Algorithms with Diminished Capacity to Eschew Self-
14      Destructive Behaviors and Less Resiliency to Overcome Negative Social Media
15      Influences
16          183.     The human brain is still developing during adolescence in ways consistent
17   with adolescents’ demonstrated psychosocial immaturity. Specifically, adolescents’ brains
18   are not yet fully developed in regions related to risk evaluation, emotional regulation, and
19   impulse control.
20          184.     The frontal lobes—and, in particular, the prefrontal cortex—of the brain play
21   an essential part in higher-order cognitive functions, impulse control, and executive decision-
22   making. These regions of the brain are central to the process of planning and decision-
23   making, including the evaluation of future consequences and the weighing of risk and
24   reward. They are also essential to the ability to control emotions and inhibit impulses. MRI
25   studies have shown that the prefrontal cortex is one of the last regions of the brain to mature.
26          185.     During childhood and adolescence, the brain is maturing in at least two major
27   ways. First, the brain undergoes myelination, the process through which the neural pathways
28

                                                   47
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 331Page
                                                             Page
                                                             of 375
                                                                  52
                                                                   48
                                                                    PageID
                                                                     ofof96
                                                                          92 #:479




 1   connecting different parts of the brain become insulated with white fatty tissue called myelin.

 2   Second, during childhood and adolescence, the brain is undergoing “pruning”—the paring

 3   away of unused synapses, leading to more efficient neural connections. Through myelination

 4   and pruning, the brain’s frontal lobes change to help the brain work faster and more

 5   efficiently, improving the “executive” functions of the frontal lobes, including impulse

 6   control and risk evaluation. This shift in the brain’s composition continues throughout

 7   adolescence and into young adulthood.

 8          186.    In late adolescence, important aspects of brain maturation remain incomplete,

 9   particularly those involving the brain’s executive functions and the coordinated activity of

10   regions involved in emotion and cognition. As such, the part of the brain that is critical for

11   control of impulses and emotions and for mature, considered decision-making is still

12   developing during adolescence, consistent with the demonstrated behavioral and

13   psychosocial immaturity of juveniles.

14          187.    The algorithms in Defendants’ social media products are designed to exploit

15   minor users’ diminished decision-making capacity, impulse control, emotional maturity, and

16   psychological resiliency caused by users’ incomplete brain development. Defendants know,

17   or in the exercise of reasonable care should know, that because their minor users’ frontal

18   lobes are not fully developed, they experience enhanced dopamine responses to stimuli on

19   Defendants’ social media platforms and are therefore much more likely to become addicted

20   to Defendants’ products; exercise poor judgment in their social media activity; and act

21   impulsively in response to negative social media encounters. Defendants also know, or in

22   the exercise of reasonable care should know, that minor users of their social media products

23   are much more likely to sustain serious physical and psychological harm through their social

24   media use than adult users. Nevertheless, Defendants knowingly designed their social media

25   products to be addictive to minor users and failed to include in their product design any

26   safeguards to account for and ameliorate the psychosocial immaturity of their minor users.

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                                                   48
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 332Page
                                                             Page
                                                             of 375
                                                                  53
                                                                   49
                                                                    PageID
                                                                     ofof96
                                                                          92 #:480




 1    G.    Defendants Misrepresent the Addictive Design and Effects of Their Social

 2          Media Product

 3          188.    During the relevant time period, Defendants stated in public comments that

 4   their products are not addictive and were not designed to be addictive. Defendants knew or

 5   should have known that those statements were untrue.

 6          189.    During the relevant time period, Defendants advertised via commercials

 7   and/or third parties that their products were fun and safe to use, and that Defendants

 8   employed their technologies to ensure safe and age-appropriate experiences. Defendants

 9   knew or should have known that those statements were untrue.

10          190.    Neither Meta, TikTok, or Snapchat warned users or their parents of the

11   addictive and mentally harmful effects that the use of their products was known to cause

12   amongst minor users. On the contrary, Defendants have gone to significant lengths to conceal

13   and/or avoid disclosure as to the true nature of their products.

14    H.    Plaintiffs Expressly Disclaim Any and All Claims Seeking to Hold Defendants

15          Liable as the Publisher or Speaker of Any Content Provided, Posted, or Created

16          by Third Parties

17          191.    Plaintiffs seeks to hold Defendants accountable for their own alleged acts and

18   omissions. Plaintiffs’ claims arise from Defendants’ status as designers and marketers of

19   dangerously defective social media product, as well as Defendants’ own statements and

20   actions, not as the speaker or publisher of third-party content.

21          192.    Defendants’ have designed their products to be addictive. For example,

22   Defendants have developed and modified product features like the continuous loop feed and

23   push notifications, to incentivize users to stay on the product as long as possible and to

24   convince users to log back on. Defendants even calculate the most effective time to send

25   such notifications, which in the case of teen and tween users often means in the middle of

26   the night and/or during school hours. Essentially, the times they are least likely to have access

27   to Defendants’ social media products, which also—as Defendants know—are the times that

28

                                                    49
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 333Page
                                                             Page
                                                             of 375
                                                                  54
                                                                   50
                                                                    PageID
                                                                     ofof96
                                                                          92 #:481




 1   their health and well-being necessitate them not being on Defendants’ social media product.

 2   Defendants’ products are designed to and do addict users on a content neutral basis.

 3          193.    The structure of these social media products and the technologies Defendants’

 4   design and utilize are, standing alone, harmful to users and irrespective of content. For

 5   example, a primary purpose of Defendants’ algorithm designs is to determine individual user

 6   preferences first so that Defendants can then influence user behavior and choices second—

 7   which is particularly dangerous in the case of teens.

 8          194.    In the case of Meta, for example, Meta uses its product both to “experiment”

 9   on and test its users in ways heretofore unimagined, but also, it seeks to control user behavior

10   through product features and capabilities and for the specific purpose of acquiring and

11   retaining users. Defendants Snap and TikTok likewise seek to control user behavior through

12   product features and capabilities and for the specific purpose of acquiring and retaining users.

13          195.    On a content neutral basis, the manipulation and control these Defendants

14   knowingly wield over their users daily is profoundly dangerous.

15          196.    Defendants are responsible for these harms. These harms are caused by

16   Defendants’ designs and design-decisions, and not any single incident of third-party content.

17          197.    Yet Defendants failed to warn minor users and their parents of known dangers

18   arising from anticipated use of their social media products. These dangers are unknown to

19   ordinary consumers but are known to Defendants. Moreover, these dangers do not arise from

20   third-party content contained on Defendants’ social media platforms. This lawsuit does not

21   involve a suit against a web browser provider for making available third-party content. To

22   the contrary, Defendants,

23              a. Design and constantly re-design their social media products to attract and

24                  addict teens and children, their “priority” user group.

25              b. Design and continue to operate their social media products to ensure that teens

26                  and children can obtain unfettered access, even over parental objection.

27              c. Know when teens and children are opening multiple accounts and when they

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                                                   50
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 334Page
                                                             Page
                                                             of 375
                                                                  55
                                                                   51
                                                                    PageID
                                                                     ofof96
                                                                          92 #:482




 1                  are accessing their products excessively and in the middle of the night.

 2              d. Work with advertisers and influencers to create and approve harmful content

 3                  and provide direct access to teens and children – a user population Defendants

 4                  know to be vulnerable.

 5              e. Operate and provide the above social media products with the single-minded

 6                  goal of increasing user engagement, including but not limited to things like

 7                  maintaining harmful social comparison features and approving product

 8                  programming that promotes harmful content over clear dangers to user safety.

 9          198.    While it may be a third party creates a particular piece of harmful content, the

10   teens and children harmed by Defendants’ social media products are not being harmed by a

11   single piece of harmful content. They are being harmed by Defendants’ products,

12   programming, and decisions to expose teens and children to harmful product features and to

13   show teens and children a constant barrage of harmful content to obtain more advertising

14   revenue and increase engagement.

15          199.    Englyn Roberts and children like her do not open social media accounts in

16   the hopes of become addicted. Nonetheless, such children do become addicted, leading them

17   to engage in foreseeable addict behaviors, such as lying to their parents, hiding their use of

18   Defendants’ products, losing control, becoming irritable and depressed when access is

19   denied, and hyper-vigilance to avoid detection. These and other behaviors can and do result

20   in serious harm to Defendants’ minor users and resulted in serious harm to Englyn Roberts

21   and her parents.

22          200.    Englyn Roberts and children like her do not start using social media in the

23   hopes of being exposed to product features that cause harm to them. Yet the use of Instagram,

24   Snapchat, and TikTok involves harmful forms of social comparison and inevitably pushes

25   such children towards harmful “rabbit holes,” causing anxiety, depression, eating disorders,

26   and self-harm—harms at least some of these Defendants acknowledge in internal documents.

27   Defendants’ products caused these harms to Englyn Roberts and her parents.

28

                                                  51
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 335Page
                                                             Page
                                                             of 375
                                                                  56
                                                                   52
                                                                    PageID
                                                                     ofof96
                                                                          92 #:483




 1           201.    The harms at issue in this case do not relate to or arise from third party

 2   content, but rather, Defendants’ product features and designs, including algorithms and other

 3   technology that (a) addicts minor users to their products; (b) amplify and promote harmful

 4   social comparison through product features; (c) affirmatively select and promote harmful

 5   content to vulnerable users based on its individualized demographic data and social media

 6   activity; and (d) put minor users in contact with dangerous adult predators and otherwise

 7   expose to them to seemingly unstoppable unwanted interactions from persons not on their

 8   friend list or equivalent. Indeed, the foregoing are merely examples of the kinds of harms at

 9   issue in this case.

10           202.    Defendants’ products are addictive on a content neutral basis. Defendants

11   design and operate their social media products in a manner intended to and that does change

12   behavior and addict users, including through a natural selection process that does not depend

13   on or require any specific type of third-party content, as well as mechanisms and features

14   meant to release dopamine. Defendants deliberately addict teen users and the harms resulting

15   from these addictions are foreseeable, even known, to Defendants.

16           203.    Defendants have designed other product features for the purpose of

17   encouraging and assisting children in evasion of parental oversight, protection, and consent,

18   which features are wholly unnecessary to the operation of Defendants’ product. This includes

19   but is not limited to Defendants’ wholesale failure to check identification or verify validity

20   of user-provided email credentials, while simultaneously implementing product design

21   features (such as easier ability to switch between accounts, in the case of Meta) meant to

22   ensure easy access by children and teens, irrespective of parental consent. Likewise,

23   Defendants—even those who claim to permit only one account—know that teen users are

24   opening multiple accounts and fail to prevent such abuses.

25           204.    Defendants also promote, encourage, and/or otherwise contribute to the

26   development of harmful content. This Complaint has quoted from just a few of the thousands

27   of Meta documents disclosed by the Facebook whistleblower, which establish this, and

28

                                                  52
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 336Page
                                                             Page
                                                             of 375
                                                                  57
                                                                   53
                                                                    PageID
                                                                     ofof96
                                                                          92 #:484




 1   Plaintiffs anticipate finding the same types of evidence in discovery with TikTok and Snap.

 2   One of biggest hurdles to discovery of these claims and the harms Defendants have caused

 3   is that none of these defendants have ever been willingly transparent or cooperate regarding

 4   disclosure of their product designs and operations. In this manner too these defendants have

 5   actively concealed such harms.

 6           205.     Defendants also approve ads that contain harmful content, for example, and

 7   as discussed at the Senate hearing held on October 5, 2021 regarding Meta,23

 8
                      Senator Mike Lee: (01:21:34)
 9                    Now, since that exchange happened last week, there are a number of
                      individuals and groups, including a group called the Technology
10                    Transparency Project or TTP, that have indicated that that part of her

11                    testimony was inaccurate. That           it   was false. TTP noted that TTP had
                      conducted an experiment just last month, and their goal was to runa
12                    series of ads that would be targeted to children ages 13 to               17,   to users
                      in the United States.       Now, | want to emphasize that TTP didn’t end up
13
                      running these ads. They stopped them from being distributed to users,
14                    but Facebook did in fact approve them. As | understand it, Facebook
                      approved them for an audience of up to 9.1 million users, all of whom
15
                      were teens.
16                    Senator Mike Lee: (01:22:31)

17                    | brought a few   of these to show you today. This          is the   first one |
                      wanted to showcase. This first one has a colorful graphic encouraging
18                    kids to, “Throwa Skittles party like no other,” which as the graphic

                      indicates, and as the slang jargon also independently suggests, this
19
                      involves kids getting together randomly to abuse prescription drugs.
20                    The second graphic displays an ana tip. That is a tip specifically
                      designed to encourage and promote anorexia. It's on there. Now the
21
                      language, the ana tip itself independently promotes that. The ad also
22                    promotes   it in so   far as   it   was suggesting. These are images you ought
                      to look at when you need motivation to be more anorexic, | guess you
23
                      could say. Now the third one invites children to find their partner
24                    online and to make      a   love connection. “You look lonely. Find your
                      partner now to make      a love connection.”
25
26
27
     23
       https://www.rev.com/blog/transcripts/facebook-whistleblower-frances-haugen-testifies-on-children-social-
28   media-use-full-senate-hearing-transcript (“October 5, 2021, Senate Hearing Transcript”).


                                                                    53
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 337Page
                                                             Page
                                                             of 375
                                                                  58
                                                                   54
                                                                    PageID
                                                                     ofof96
                                                                          92 #:485




 1           206.     In other words, Defendant Meta approves advertisements “designed to

 2   encourage and promote anorexia” and encouraging children to abuse prescription or illegal

 3   drugs, which ads Meta then targets specifically at children in exchange for payment from the

 4   advertisers. On information and belief, Snapchat and TikTok do as well.

 5           207.     Defendants utilize private information of their minor users to “precisely target

 6   [them] with content and recommendations, assessing what will provoke a reaction,”

 7   including encouragement of “destructive and dangerous behaviors.” Again, Defendants

 8   specifically select and push this harmful content, for which they are then paid, and do so both

 9   for that direct profit and also to increase user engagement, resulting in more profits down the

10   road. “That’s how [Defendants] can push teens into darker and darker places.”24 Defendants

11   know that their products can push children “all the way from just something innocent like

12   healthy recipes to anorexia promoting content over a very short period of time.”25 Defendants

13   know that their products the content they are encouraging and helping to create is harmful to

14   young users and choose “profits over safety”26 any way.

15           208.     None of Plaintiffs’ claims rely on treating Defendants as the publisher or

16   speaker of any third party’s words or content. Plaintiffs’ claims seek to hold these Defendants

17   accountable for their own allegedly wrongful acts and omissions, not for the speech of others

18   or for any good faith attempts on the part of these Defendants to restrict access to

19   objectionable content.

20           209.     Plaintiffs is not alleging that Defendants are liable for what the third parties

21   said, but for what Defendants did.

22           210.     None of Plaintiffs’ Claims for Relief set forth herein treat Defendants as a

23   speaker or publisher of content posted by third parties. Rather, Plaintiffs seek to hold

24   Defendants liable for their own speech and their own silence in failing to warn of foreseeable

25   dangers arising from anticipate use of their products. Defendants could manifestly fulfill

26
27   24
        Id.
     25
        October 5, 2021, Senate Hearing Transcript, Ms. Francis Haugen at 00:37:34.
28   26
        Id. at 02:47:07.


                                                         54
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 338Page
                                                             Page
                                                             of 375
                                                                  59
                                                                   55
                                                                    PageID
                                                                     ofof96
                                                                          92 #:486




 1   their legal duty to design a reasonably safe social product and furnish adequate warnings of

 2   foreseeable dangers arising out of the use of their products without altering, deleting, or

 3   modifying the content of a single third- party post or communication. Some examples

 4   include,

 5              a. Not using their addictive and inherently dangerous algorithm and similar

 6                  technologies in connection with any account held by a user under the age of

 7                  18.

 8              b. Not permitting any targeted advertisements to any user under the age of 18.

 9              c. Prioritizing internally their removal of harmful content (content their systems

10                  are promoting and amplifying) over the risk of losing some user engagement.

11              d. Requiring identification upon opening of a new account, requiring parental

12                  consent for users under the age of 18 (which Snap and Tiktok currently claim

13                  to do but do not actually enforce in any way), and restricting users under the

14                  age of 18 to a single account.

15              e. Requiring verification by email when a user opens a new account. Not

16                  requiring verification allows underage users to access these social media

17                  products and does not stop bad actors.

18              f. Immediate suspension of accounts where Defendants have reason to know

19                  that the user is under the age of 13, including when the user declares that they

20                  are under the age of 13 in their bio or comments or chats and/or messages

21                  with any third party and where Defendants can determine an “estimated” age

22                  of under 13 based on other information they collect and/or have in their

23                  possession (including, for example, posted videos that clearly feature children

24                  under 13); and not allowing the account to resume until the user provides

25                  proof of age and identity and/or parental consent.

26              g. Suspension of accounts and, in some cases, user bans, where Defendants have

27                  reason to know that the user is over the age of 18, but where they are providing

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                                                     55
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 339Page
                                                             Page
                                                             of 375
                                                                  60
                                                                   56
                                                                    PageID
                                                                     ofof96
                                                                          92 #:487




 1                 information to suggest that they are minors and/or are representing

 2                 themselves as minors to other users; and not allowing the account to resume

 3                 until the user provides proof of age and identity.

 4              h. Removing social comparison features and/or hiding those features to reduce

 5                 their harmful impact on teen users.

 6              i. Instituting advertising safeguards to ensure that Defendants are not profiting

 7                 directly from or otherwise pushing or endorsing harmful advertising content,

 8                 and removing advertising targeting tools so that advertisers cannot harm

 9                 vulnerable user groups by aiming harmful advertisements at them.

10              j. Requiring that all teen user accounts be set to private and not allowing any

11                 user under the age of 18 to change user settings to public.

12              k. Removing all friend and group and content recommendation systems that

13                 involve teen users in any way (so, not recommending to teen users, but also,

14                 not recommending teen users to adults) and not permitting direct messaging,

15                 snaps, or other forms of direct communication with any user under the age of

16                 18 not already hon the other user’s friend list.

17          211.   These are just some examples, all of which could be accomplished easily

18   and/or at commercially reasonable cost. Defendants know that they can make these change

19   and, in many cases, have discussed these or similar changes internally. However, they have

20   not instituted these types of safety features because they know that doing so would impact

21   their astronomical revenue.

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                                                  56
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 340Page
                                                             Page
                                                             of 375
                                                                  61
                                                                   57
                                                                    PageID
                                                                     ofof96
                                                                          92 #:488




 1    I.    Englyn Roberts’ Death was Proximately Caused by Defendants’ Social Media

 2          Products

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            212.    Englyn Roberts was born on July 21, 2006, and grew up in New Iberia,
18
     Louisiana. She was the youngest of eight children.
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            213.    Englyn was a bubbly teenager. She loved spending time with family, eating
20
     at different restaurants, and travelling to different places. She enjoyed dancing, with hip hop
21
     and lyrical dance being her favorites, and had dreams of going to college and becoming a
22
     choreographer with her own dance studio someday.
23
            214.    Englyn enjoyed getting together on weekends and cooking outside in the
24
     backyard. She would play her music loudly and sing and dance to entertain the family. She
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     was the baby of the family, the center of attention, and the heart.
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                                                   57
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 341Page
                                                             Page
                                                             of 375
                                                                  62
                                                                   58
                                                                    PageID
                                                                     ofof96
                                                                          92 #:489




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13          215.     When Englyn was eleven years old, she was given her first cell phone and,
14   shortly thereafter, she downloaded Defendants’ social media products without her parents’
15   knowledge or consent. Her parents provided her with the cell phone so that she would have
16   internet access, could take photos, and could stay in touch with family and friends. Not for
17   social media.
18          216.     Her parents required the access code to Englyn’s phone and said that anytime
19   Englyn changed that code she needed to provide them with the new one, which she did.
20          217.     What Plaintiffs did not know is that Defendants make sure that underage
21   children can access their social media products, including by marketing to children, failing
22   to verify age or identity (even when the children openly admitted to being underage on their
23   public profile and/or in posts and comments which), and permitting opening of multiple
24   accounts. It was understood among children that Meta wouldn’t close your account for being
25   under 13. You just had to say you were 13 when opening an account and could then tell
26   people your real age. In fact, this is something many kids still do. It also was understood
27   among children that Meta did not object to kids using more than one account, which made it
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                                                  58
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 342Page
                                                             Page
                                                             of 375
                                                                  63
                                                                   59
                                                                    PageID
                                                                     ofof96
                                                                          92 #:490




 1   easier to hide more personal content and the existence of secondary accounts from parents

 2   and family—often referred to as a SPAM account or, in Instagram’s case, a FINSTA (short

 3   for “fake Instagram”).

 4          218.    Defendants designed Instagram, TikTok, and Snapchat to frustrate and

 5   prevent parents like Brandy and Toney Roberts from exercising their rights and duties as

 6   parents to monitor and limit their child’s use of their social media products. Plaintiffs were

 7   not aware when Englyn’s social media usage started, nor did they ultimately know which

 8   products she used or how many accounts she opened without their knowledge or consent.

 9          219.    Englyn’s social media use coincided with a gradual decline in her mental

10   health. Englyn became addicted to Defendants’ products and spent increasing amounts of

11   time communicating on social media, and engaged in the video, games, and reward features

12   of Defendants’ social media products.

13          220.    Shortly after Englyn got her phone, her mother realized that Englyn was

14   staying up at night on her cell phone. Her parents thought she was watching videos on the

15   internet and chatting with friends, as they still did not know about Englyn’s social media use.

16   Englyn had always been a well-behaved child, so her parents trusted her to use the phone

17   responsibly. When they realized she was staying up on the phone, however, they instituted a

18   10:00 p.m. rule for all devices: Englyn’s phone had to be turned off by 10:00 p.m. each night.

19          221.    Englyn agreed and told her parents that she would make sure her phone was

20   off by 10:00 p.m. Unfortunately, she was already addicted to Defendants’ social media

21   products by that point – which addiction her parents had no knowledge of – and which caused

22   her to break the 10:00 p.m. rule to use social media. One night, Englyn’s mother couldn’t

23   sleep and caught her awake with the cell phone on in her room. Brandy and Toney Roberts

24   now believe that Englyn had been regularly staying awake and was suffering from sleep

25   deprivation due to her use of Defendants’ social media products, and Defendants’ failure to

26   verify age and identity. Indeed, Defendants should not have been providing Englyn with

27   access to their social media products at all as she was under the age of 13, which Defendants

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                                                   59
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 343Page
                                                             Page
                                                             of 375
                                                                  64
                                                                   60
                                                                    PageID
                                                                     ofof96
                                                                          92 #:491




 1   knew or should have known based on her photos and other information in Defendants’

 2   possession, custody, and control.

 3          222.     Regardless, from that point forward Brandy Roberts took Englyn’s phone

 4   downstairs with her each night when she went to bed. Englyn then started waiting until

 5   Brandy or both of her parents were asleep and would retrieve the phone so that she could use

 6   social media throughout the night. She was always careful to replace the phone before

 7   Brandy woke up in the morning, and never got caught.

 8          223.     Occasionally, Brandy Roberts would restrict Englyn’s cell phone access,

 9   though usually not for more than a few hours or a day. Nonetheless, these efforts at exercising

10   Plaintiff’s parental rights and authority caused severe reactions in Englyn. Because of

11   Englyn’s social media addiction, she would panic without her cell phone and beg to get it

12   back. She would tell her parents that they could do anything, except take her cell phone away.

13   She would promise to do her chores, bring up her grades, or anything else that might get her

14   the cell phone back – she said that she could not live without it. During these times when

15   Englyn did not have social media access she would get anxious and depressed and would cry

16   and sleep until she got her cell phone back. Once she had her phone back, everything seemed

17   fine again.

18          224.     Englyn’s parents did not learn about her social media accounts and usage until

19   more than a year after she got her phone.

20          225.     The family was on vacation and Englyn could not go anywhere without her

21   phone. Her parents told her that she needed to leave for several hours, while the family went

22   out and so that they could spend time together and without electronic devices, and Englyn

23   became anxious and stressed. She panicked. She said that she could not go out without her

24   phone because she would lose her “streaks,” and she needed to always have it with her. That

25   is how Plaintiffs learned about Englyn’s Instagram and Snapchat accounts.

26          226.     Englyn’s parents were not familiar with these social media products but had

27   seen Snapchat commercials on TV and on their own phones and understood from those

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                                                   60
                   COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 344Page
                                                             Page
                                                             of 375
                                                                  65
                                                                   61
                                                                    PageID
                                                                     ofof96
                                                                          92 #:492




 1   commercials that Snapchat was a product used a lot by kids to send disappearing photos to

 2   friends. Based on Snapchat’s advertisements, Brandy and Toney Roberts understood and

 3   reasonably believed that Snapchat was a product marketed to kids, and that it was a fun and

 4   safe photo sharing application. Their understanding of Instagram based on marketing and

 5   available information was that Instagram was also something widely used by kids, and to

 6   keep in touch with one another. They had some knowledge of Facebook, which was used to

 7   keep in touch with friends and family and understood that Instagram was basically a

 8   Facebook type product but marketed and used by kids more than adults.

 9          227.    They did not learn about Englyn’s TikTok account until later.

10          228.    What her parents also did not know at that time was that, as a proximate result

11   of her use of Instagram, Snapchat, and TikTok, specifically due to the intentionally addictive

12   nature of these products as well as the harmful content they were promoting and amplifying

13   to Englyn via various algorithmically drive product features and harmful social comparison

14   features, Englyn Roberts had begun to suffer from depression, anxiety, self-harm, and

15   suicidal ideation.

16          229.    On the outside, Englyn appeared to still be a happy child. She began having

17   a few small issues at school and, of course, missed her friends when COVID started in early

18   2020. But otherwise, she continued to enjoy family parties on the weekend, and continued to

19   entertain her loved ones with singing and dancing every chance she got.

20          230.    On August 28, 2020 – one day before Englyn tried to take her life – she was

21   goofing around with her mom. She took and sent a photo of herself with her favorite teddy,

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                                                  61
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 345Page
                                                             Page
                                                             of 375
                                                                  66
                                                                   62
                                                                    PageID
                                                                     ofof96
                                                                          92 #:493




 1
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     Then she found her mom napping, so took and sent a photo of her mom with her favorite
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     teddy too,
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                                              62
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 346Page
                                                             Page
                                                             of 375
                                                                  67
                                                                   63
                                                                    PageID
                                                                     ofof96
                                                                          92 #:494




 1
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15          231.    Plaintiffs had no way of knowing what Defendants’ social media products

16   were doing to their precious child while, in sharp contrast, Meta, Snap, and TikTok knew or

17   should have known that they were causing this harm to Englyn, including based on her age,

18   usage information, and usage patterns—which each of these defendants collects and, on

19   information and belief, closely tracks—and content to which each of these defendants were

20   repeatedly exposing her via unsolicited methods, such as push notifications and

21   algorithmically driven recommendation systems.

22          232.    Defendants provided eleven-year-old Englyn with access to multiple accounts

23   on Defendants’ social media platforms without her parents’ knowledge or consent.

24          233.    Defendants knew or should have known that Englyn was under the age of 13

25   and obtained (multiple) social media accounts yet failed to restrict her access or notify her

26   parents of her account status.

27          234.    Defendants promoted and amplified harmful content, resulting in self-harm,

28   suicidal ideation, and, eventually, death.


                                                  63
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 347Page
                                                             Page
                                                             of 375
                                                                  68
                                                                   64
                                                                    PageID
                                                                     ofof96
                                                                          92 #:495




 1          235.    But for Meta, Snap, and TikTok’s failure to conduct a reasonable age

 2   verification, Englyn Roberts would not have been exposed to the harmful features and design

 3   of their respective social media products.

 4          236.    But for certain product features (to name only a few examples, Instagram and

 5   TikTok’s “like” features and Snapchat’s “Snap Streak” feature), Englyn Roberts would not

 6   have experienced the anxiety and depression that stem from harmful social comparison

 7   designs.

 8          237.    But for the algorithmic discrimination contained in all three of the social

 9   media products at issue, including recommendation systems as well as content promotion

10   and display systems, Englyn Roberts would not have been targeted and overwhelmed by

11   disproportionately violent, sexual, and other harmful content.

12          238.    But for the recommendation, public profile, and direct messaging settings

13   designed, implemented, and utilized by all three of the social media products at issue, Englyn

14   Roberts would not have suffered exploitation and bullying by strangers utilizing Defendants’

15   platforms for that purpose and in a foreseeably damaging manner – that is, the degree of

16   harm caused by certain events is amplified exponentially by Defendants’ products designs,

17   additive characteristics, and available or default settings.

18          239.    But for the endless feed and explore features characteristic of all three of the

19   social media products at issue, Englyn Roberts would not have experienced the harmful

20   dependencies that these features were designed to promote.

21          240.    In 2019, Englyn was photographed at a family event using the Instagram

22   social media product,

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                                                    64
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 348Page
                                                             Page
                                                             of 375
                                                                  69
                                                                   65
                                                                    PageID
                                                                     ofof96
                                                                          92 #:496




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15          241.    What no one knew at that time was that, while Englyn appeared to be doing
16   fine to her parents and family, in fact, she was being bombarded by Instagram, Snapchat, and
17   TikTok with harmful images and videos (ranging from harmful social comparison content to

18   violent and disturbing content glorifying self-harm and suicide). She was also receiving

19   sexual and exploitative direct messages from strangers, which are allowed and enabled by

20   all three of the social media products at issue, along with Defendants’ harmful connection
21   and content recommendations – all of which would eventually kill her.
22          242.    These social media companies were not providing fun and safe photo sharing
23   services, but rather, were dealing in incredibly addictive product features and pushing

24   harmful algorithmically driven content, intended to keep Englyn hooked on their products

25   by any means necessary.

26          243.    Meta, Snap, and TikTok’s social media products also made harmful
27   recommendations to and about Englyn Roberts, connecting her with strangers to increase
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                                                 65
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 349Page
                                                             Page
                                                             of 375
                                                                  70
                                                                   66
                                                                    PageID
                                                                     ofof96
                                                                          92 #:497




 1   their own engagement and thereby their own profits, which recommendations had nothing to

 2   do with any communication or informational aspects of Defendants’ products.

 3          244.    Meta, Snap, and TikTok’s social media products also provided other users

 4   with unfettered access to Englyn through public profiles and features (in the case of Meta

 5   and TikTok), recommendation systems (in the case of Meta, Snap, and TikTok), and features

 6   that provided direct messaging access to Englyn regardless of her minor status, regardless of

 7   whether other users were on her “friends” list or equivalent, and regardless of duration, time

 8   of day, or frequency (Meta, Snap, and TikTok).

 9          245.    In 2018 and 2019, Englyn began interacting with and then sharing content

10   about depression, suicidal ideation, and self-harm via Defendants’ social media apps,

11   unbeknownst to her parents and teachers. Defendants not only had knowledge as to what was

12   happening, but in many cases, were the ones recommending the harmful content.

13          246.    Meta, Snap, and TikTok also utilized algorithms and/or similar technologies

14   to steer Englyn towards and otherwise promote and amplify harmful and unsolicited content.

15   Defendants are not only aware of their promotion and amplification of harmful content but

16   knew or should have known that the harms caused by their marketing and amplification

17   systems would be exacerbated by Englyn’s sleep deprivation. On information and belief, all

18   three of these defendants collect and track usage information and know when teens and

19   children are using their products, know when they are using them at night, and know when

20   such use is harmful.

21          247.    Defendants’ algorithms and similar technologies are designed to exploit these

22   social media caused vulnerabilities. The more addicted and sleep deprived a user becomes,

23   the more Defendants’ systems promote and amplify harmful content and the more push

24   notifications Defendants’ systems send.

25          248.    In September 2019, Englyn and her friend began exchanging links to

26   incredibly harmful and violent page and users they had found because of Instagram’s

27   algorithm and recommendation systems, which content Instagram hosted on its platform for

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                                                  66
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 350Page
                                                             Page
                                                             of 375
                                                                  71
                                                                   67
                                                                    PageID
                                                                     ofof96
                                                                          92 #:498




 1   years while young users, like Englyn, continued sharing and viewing the incredibly harmful

 2   and violent content with alarming frequency. The content can no longer be found on

 3   Instagram, as Meta finally enforced its own Terms of Service and deleted the account in

 4   December of 2021 – but not before Meta’s algorithms recommended this content to any

 5   number of children.

 6          249.   In September of 2019, Englyn and her friend messaged each other with the

 7   harmful content recommended and/or promoted by Instagram,

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                                                67
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 351Page
                                                             Page
                                                             of 375
                                                                  72
                                                                   68
                                                                    PageID
                                                                     ofof96
                                                                          92 #:499




 1   The posting person’s username was gasstati0nparty though, on information and belief, this

 2   user’s content is posted under more than one username. In one of the videos exchanged on
 3   September 19, 2019, the woman hung herself with an extension cord attached to a door,
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23   This is the kind of material Instagram’s algorithm was recommending to 13-year-old girls in

24   September of 2019, and it remained in Englyn’s Instagram messages until December of 2021,

25   more than a year after Englyn’s death, when Instagram finally deleted this account.

26          250.    The sleep deprivation caused by addiction and amplification of harmful

27   content to which Englyn was exposed through her addiction to Defendants’ social media

28   products was a proximate cause of her depression, anxiety, self-harm, and suicidal ideation.


                                                      68
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 352Page
                                                             Page
                                                             of 375
                                                                  73
                                                                   69
                                                                    PageID
                                                                     ofof96
                                                                          92 #:500




 1          251.    On June 13, 2020, Englyn wrote to Instagram username brayreggiontae_,

 2   “right just think people be suicidal for no reason.” brayreggiontae_ replied, “And people

 3   still wouldn’t understand.”

 4          252.    On July 15, 2020, Englyn wrote to Instagram username lexy.paull, “but if i

 5   ever hurt myself tell my parents that it wasn’t there fault it’s my problems with finding love.”

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21          253.    Around this same time, Englyn kept a list of mental health numbers (including
22   a suicide hotline) in her “private story” feature on Instagram and was exchanging pictures
23   showing self-harm with one or more of her “friends” on Instagram. Meta knew that Englyn

24   was a minor and said and did nothing to alert her parents or teachers to what was transpiring

25   on its platform and because of the harms caused by Defendants’ social media products –

26   harms Meta itself was already studying and knew about as being among the impacts and
27   effects of use of the social media products at issue in this case.
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                                                          69
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 353Page
                                                             Page
                                                             of 375
                                                                  74
                                                                   70
                                                                    PageID
                                                                     ofof96
                                                                          92 #:501




 1          254.   July 21, 2019, Englyn and her family celebrated her 14th birthday.

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20   The celebration started early in the day and finished with an evening game of Top Golf,
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                                                 70
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 354Page
                                                             Page
                                                             of 375
                                                                  75
                                                                   71
                                                                    PageID
                                                                     ofof96
                                                                          92 #:502




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12          255.     On August 11, 2020, Englyn typed an “emotional description” relating to her
13   social media use into her cell phone’s note pad application. She wrote,
14           Emotional description
            It’s only what the media sees I show ppl what they want to see but behind
15          the social media life nobody knows the real me and how much I struggle to
16          make sure everyone’s good even though I’m not, if it’s not one thing it’s
            the other and when things are going wrong for me I just become so suicidal
17          and I just need that emotional support I don’t want anyone feeling bad for
            me just to support my choices I make in life, I want somebody to help me
18          through my mental struggle bc if no ones there who do I have?
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                                                   ce        Ra ee      ee
20                                                      RL teeees eae)
               Emotional description
                                                   wrong   for me | just become
21                                                 so suicidal and| just need
               it's only what the media
                                                   that emotional support !
22             sees | show pp! what they
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               eee          ee ieee i)             bad for me just   tosupport
23                      medialife nobody
               social                             my choices | makeinlife,!
24             knows the real me and how          want somebody to help me
               much | struggle to make                 mymental
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25             sure everyone's good even          struggle bcif
                                                            noonesthere
26                           if it's not one
               though I'm not,                      eeBR oi Ed
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            256.     On August 15, 2020, Englyn spent the day with her parents, as she often did,
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                                                  71
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 355Page
                                                             Page
                                                             of 375
                                                                  76
                                                                   72
                                                                    PageID
                                                                     ofof96
                                                                          92 #:503




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               257.   On August 21, 2020, Englyn spent the day at the beach having fun,
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24             258.   On August 22, 2020, Englyn and her parents went on an outing to enjoy
25   nature,
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                                                  72
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 356Page
                                                             Page
                                                             of 375
                                                                  77
                                                                   73
                                                                    PageID
                                                                     ofof96
                                                                          92 #:504




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15         259.   On August 23, 2020, Englyn and her family went out for dinner,
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               COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 357Page
                                                             Page
                                                             of 375
                                                                  78
                                                                   74
                                                                    PageID
                                                                     ofof96
                                                                          92 #:505




 1              260.    On August 28, 2020, Englyn took goofy selfies for social media,

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15              261.    On August 29, 2020, at 3:30 a.m., Englyn took an extension cord and attached
16   it to her door – just like she has seen in the Instagram video viewed countless times by herself
17   and other young children – and attempted to choke herself – just like she had seen in the
18   Instagram video viewed countless times by herself and other young children.
19              262.    Englyn texted her boyfriend (with corrections and as taken from police
20   report),
21              I just want to die.
22              I can’t satisfy anyone.
23              In the closet choking myself, wonder if I’m good enough to stay on Earth, because
24              it’s never enough, for anybody, nobody calls me, to check in on me, nobody, not
25              even you, I have no reason but to die, call or I’m stepping off this stool, and I’ll be
26              done just like you wanted, never mind, see, take too long, dropping phone, so I
27
                won’t get what you’re saying, bye love you.
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                                                       74
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 358Page
                                                             Page
                                                             of 375
                                                                  79
                                                                   75
                                                                    PageID
                                                                     ofof96
                                                                          92 #:506




 1          263.    She then used her phone and took a video of herself crying, in which the

 2   extension cord can be seen.

 3          264.    Brandy and Toney Roberts received a text message from Englyn’s

 4   boyfriend’s mother at 3:30 a.m., asking them to check on Englyn. They found their daughter

 5   hanging from the extension cord moments later. Toney picked her up and laid her on the

 6   floor, and Brandy began doing CPR, which she continued until the ambulance arrived.

 7          265.    The medics were able to get a pulse, and Englyn was rushed to the hospital,

 8   where she stayed on life support for nine days.

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25   Her parents stayed by her side every possible moment, singing to her, playing music, and

26   holding her hand. On September 7, 2020, they made the difficult decision to take Englyn off

27   life support and continued to stay by her side as she left them.

28          266.    Englyn’s death devastated her entire family, and her friends. She was a bright


                                                   75
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 359Page
                                                             Page
                                                             of 375
                                                                  80
                                                                   76
                                                                    PageID
                                                                     ofof96
                                                                          92 #:507




 1   light and loved by everyone who knew her, and Plaintiffs had no choice but to assume that

 2   her death was caused by some sort of mental illness no one knew about and with no outward

 3   symptoms. They became active and vocal on issues of teen mental health awareness and

 4   made a commitment to help other families and children if they could. They also tried to reach

 5   out to Englyn’s friends and other children on social media through postings and messages of

 6   positivity and hope.

 7          267.    Then, one week after the anniversary of Englyn’s death—the week of

 8   September 13, 2021—Toney Roberts was watching the news and learned about the Facebook

 9   Whistleblower, Francis Haugen. He began looking for and listening to news on this topic,

10   learning about what Instagram’s leadership knew about the harms its products are causing to

11   teen users. To name only one example, Meta recognized that a significant percent of its users

12   are addicted to its products, that children open multiple, secret accounts (referred to by Meta

13   as a “unique value proposition”), and that use of Instagram increases thoughts of what Meta

14   calls “SSI” (Suicide and Self-Injury) in a percentage of teen girls who use it – Englyn was

15   nothing more than a statistic to Defendants, and Defendants chose profits and growth over

16   the health and well-being of unsuspecting teen users like Englyn.

17          268.    That was when Toney Roberts charged Englyn’s old cell phone to see whether

18   the things they were describing on TV were what happened to his daughter. He was able to

19   access some of her social media accounts from her phone and began scouring those with the

20   information now in his possession.

21          269.    What became clear in September of 2021 is that Englyn’s death was the

22   proximate result of psychic injury caused by her addictive use of Instagram, Snapchat, and

23   TikTok.

24          270.    Throughout the period of Englyn’s social media use, Plaintiffs were unaware

25   of the clinically addictive and mentally harmful effects of Instagram, Snapchat, and TikTok.

26   In fact, they were not aware that Englyn was using these products at all until more than a

27   year after she began.

28

                                                   76
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 360Page
                                                             Page
                                                             of 375
                                                                  81
                                                                   77
                                                                    PageID
                                                                     ofof96
                                                                          92 #:508




 1          271.    Defendants designed Instagram, TikTok, and Snapchat to frustrate and

 2   prevent parents like Brandy and Toney Roberts from exercising their rights and duties as

 3   parents to monitor and limit their child’s use of their social media products.

 4          272.    Defendants knowingly designed Instagram, TikTok, and Snapchat to enable

 5   minor users such as Englyn Roberts to use, become addicted to, and abuse their products

 6   without the knowledge and consent of their parents. In fact, Snapchat’s Snap Streaks product

 7   feature has been referred to as one of the addictive across all social media platforms,

 8   particularly when it comes to teens. Snap has been urged to remove that product feature for

 9   years, for the health and safety of children, and has refused.27

10          273.    Defendants designed Instagram, TikTok, and Snapchat to be attractive

11   nuisances to users below the age of 13 such as Englyn Roberts but failed to exercise ordinary

12   care owed to underage business invitees to prevent the recommendation, promotion, and

13   amplification of dangerous and harmful content.

14          274.    Some if not all of these Defendants possessed actual knowledge that Englyn

15   was below the age of 13 when she began using their products, included based on content in

16   her posts and messages with others users; that she was addicted to their products; that she

17   was being presented with and exposed to excessive amounts of dangerous and harmful

18   content; and that there was a likelihood that she would attempt something dangerous as a

19   result of her use of their social media products, yet Defendants took no steps to terminate her

20   usage, inform her parents of her unauthorized use and exposure to dangerous and harmful

21   content, or notify law enforcement officers.

22          275.    Defendants not only failed to warn Brandy, Toney, and Englyn Roberts of the

23   dangers of addiction, sleep deprivation, sexual abuse, and problematic use of their

24   applications, but affirmatively misrepresented the safety, utility, and addictive properties of

25   their products to minor users and their parents, including Plaintiffs and Englyn Roberts.

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        See, e.g., https://www.bbc.com/news/technology-47623626 (Snapchat under scrutiny from MPs over
28   “addictive” streaks), March 19, 2019.


                                                    77
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 361Page
                                                             Page
                                                             of 375
                                                                  82
                                                                   78
                                                                    PageID
                                                                     ofof96
                                                                          92 #:509




 1                                 VI.        PLAINTIFF’S CLAIMS

 2                 COUNT I - STRICT PRODUCT LIABILITY (Design Defect)
 3          276.    Plaintiffs reallege each and every allegation contained in paragraphs 1
 4   through 275 as if fully stated herein.
 5          277.    Under Restatement (Second) of Torts § 402(a) and California law, one who
 6   sells any product in a defective condition unreasonably dangerous to the user is subject to
 7   liability for physical harm thereby caused to the user if (a) the seller is engaged in the
 8   business of selling such a product, and (b) it is expected to and does reach the user or
 9   consumer without substantial change in the condition which it was sold.
10          278.    Defendants’ products are defective because the foreseeable risks of harm
11   posed by the product’s design could have been reduced or avoided by the adoption of a
12   reasonable alternative design by Defendants and the omission of the alternative design
13   renders the product not reasonably safe. These defective conditions rendered these products
14   unreasonably dangerous to persons or property and existed at the time the product left
15   Defendants’ control, reached the user or consumer without substantial change in the
16   condition and its defective condition was a cause of Plaintiffs’ injury.
17          279.    Defendants designed, manufactured, marketed, and sold social media
18   products that were unreasonably dangerous because they were designed to be addictive to

19   the minor users to whom Defendants actively marketed and because the foreseeable use of
20   Defendants’ products causes mental and physical harm to minor users.
21          280.    Defendants’ products were unreasonably dangerous because they contained
22   numerous design characteristics that are not necessary for the utility provided to the user but
23   are unreasonably dangerous and implemented by Defendants solely to increase the profits
24   they derived from each additional user and the length of time they could keep each user
25   dependent on their product.
26      A. Inadequate Safeguards From Harmful and Exploitative Content
27          281.    Snapchat, TikTok, and Instagram are defectively designed.
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                                                   78
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 362Page
                                                             Page
                                                             of 375
                                                                  83
                                                                   79
                                                                    PageID
                                                                     ofof96
                                                                          92 #:510




 1           282.      As designed, Snapchat, TikTok, and Instagram algorithms and other product

 2   features are not reasonably safe because they affirmatively direct minor users to harmful and

 3   exploitative content while failing to deploy feasible safeguards to protect vulnerable teens

 4   from such harmful exposures. It is feasible to design an algorithm and technologies that

 5   substantially distinguish between harmful and innocuous content and protect minor users

 6   from being exposed to harmful content without altering, modifying, or deleting any third-

 7   party content posted on Defendants’ social media products. The cost of designing these

 8   products to incorporate this safeguard would be negligible while benefit would be high in

 9   terms of reducing the quantum of mental and physical harm sustained by minor users and

10   their families.

11           283.      As designed, Snapchat, TikTok, and Instagram algorithms and other product

12   features are not reasonably safe because they affirmatively direct and recommend minor

13   users to harmful groups and other users, while failing to deploy feasible safeguards to protect

14   vulnerable teens from such harmful exposures. It is feasible to design an algorithm and

15   technologies that do not make harmful connection recommendations to minor users, or any

16   connection recommendations at all; it is feasible to design and algorithm and technologies

17   that do not recommend harmful groups to minor users, or any group recommendations at all;

18   and it is feasible to restrict access to minor users by strangers and adult users via direct

19   messaging, to restrict and limit such access to users already on a minor user’s “friend” list,

20   or to prevent such access altogether. Defendants know that these product features cause a

21   significant number of harms to their minor users, such as sexual exploitation, bullying, and

22   encouragement of self-harm and suicide – all of which are at issue in this case.

23           284.      Defendants also engage in conduct, outside of the algorithms and related

24   technologies themselves, that is designed to promote harmful and exploitative content as a

25   means of increasing their revenue from advertisements. This includes but is not limited to

26   efforts to encourage advertisers to design ads that appeal to minors, including teens like

27   Englyn Roberts; and product design features intended to attract and engage minor users to

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                                                   79
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 363Page
                                                             Page
                                                             of 375
                                                                  84
                                                                   80
                                                                    PageID
                                                                     ofof96
                                                                          92 #:511




 1   these virtual spaces where harmful ad content is then pushed to those users in a manner

 2   intended to increase user engagement, thereby increasing revenue to Defendants at the direct

 3   cost of user wellbeing.

 4          285.     Reasonable users (and their parents) would not expect that Defendants’

 5   products would knowingly expose them to such harmful content and/or that Defendants’

 6   products would direct them to harmful content at all, much less in the manipulative and

 7   coercive manner that they do. Defendants have and continue to knowingly use their

 8   algorithms and other technologies on users in a manner designed to affirmatively change

 9   their behavior, which methods are particularly effective on (and harmful to) Defendants’

10   youngest users.

11    B.    Failure to Verify Minor Users’ Age and Identity

12          286.     Snapchat, Tiktok, and Instagram are defectively designed.

13          287.     As designed, Defendants’ products are not reasonably safe because they do

14   not provide for adequate age verification by requiring users to document and verify their age

15   and identity.

16          288.     Adults frequently set up user accounts on Defendants’ social media products

17   disguising their identity and/or posing as minors to groom unsuspecting minors to exchange

18   sexually explicit content and images, which frequently progresses to sexual exploitation and

19   trafficking, and commercial sex acts.

20          289.     Minor users of social media and their parents do not reasonably expect that

21   prurient adults set up fraudulent accounts on Defendants’ social media products and pose as

22   minors for malign purposes.

23          290.     Likewise, minor users whose parents have taken affirmative steps to keep

24   them away from Defendants’ products often open multiple accounts, such that Defendants

25   know or have reason to know that the user is underage and/or does not have parental

26   permission to use their product. Defendants already have the information and means they

27   need to ascertain with reasonable certainty their users’ actual age. Defendants utilize these

28

                                                  80
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 364Page
                                                             Page
                                                             of 375
                                                                  85
                                                                   81
                                                                    PageID
                                                                     ofof96
                                                                          92 #:512




 1   tools to investigate, assess, and report on percentages and totals of underage users for internal

 2   assessment purposes. They then choose to simply do nothing about that information as it

 3   relates to the specific, underaged users themselves.

 4          291.       Reasonably accurate age and identity verification is not only feasible but

 5   widely deployed by online retailers and internet service providers. Defendants not only can

 6   estimate the age of their users, but they do.

 7          292.       The cost of incorporating age and identify verification into Defendants’

 8   products would be negligible, whereas the benefit of age and identity verification would be

 9   a substantial reduction in severe mental health harms, sexual exploitation, and abuse among

10   minor users of Defendants’ products.

11    C.    Inadequate Parental Control and Monitoring

12          293.       Snapchat, Tiktok, and Instagram are defectively designed.

13          294.       Defendants have intentionally designed products to frustrate the exercise of

14   parental responsibility by their minor users’ parents. Parents have a right to monitor their

15   children’s social media activity to protect them from harm. Defendants have designed

16   products that make it difficult, if not impossible, for parents to exercise parental

17   responsibility.

18          295.       It is feasible to design a social media product that requires parental consent

19   for users under the age of 18 and prohibits users under the age of 13.

20          296.       Defendants’ products are also defective for lack of parental controls,

21   permission, and monitoring capability available on many other devices and applications.

22          297.       Defendants’ products are designed with specific product features intended to

23   prevent and/or interfere with parents’ reasonable and lawful exercise of parental control,

24   permission, and monitoring capability available on many other devices and applications.

25    D.    Intentional Direction of Minor Users to Harmful and Exploitative Content

26          298.       Snapchat, Tiktok, and Instagram are defectively designed.

27          299.       Default “recommendations” communicated to new teenage users, including

28

                                                     81
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 365Page
                                                             Page
                                                             of 375
                                                                  86
                                                                   82
                                                                    PageID
                                                                     ofof96
                                                                          92 #:513




 1   Englyn Roberts, purposefully steered her toward content Defendants knew to be harmful to

 2   children of her age and gender.

 3          300.    Ad content pushed to new minor users, including Englyn Roberts, because of

 4   their age and vulnerability, purposefully steer those users toward content Defendants know

 5   to be harmful to children of their age and gender. This defect is only worsened by the

 6   algorithmic discrimination that exists in Defendants’ products, and operated to the detriment

 7   of Englyn Roberts.

 8    E.    Inadequate Protection of Minors from Sexual Exploitation and Abuse

 9          301.    Snapchat, Tiktok, and Instagram are defectively designed.

10          302.    Defendants’ products are not reasonably safe because they do not protect

11   minor users from sexually explicit content and images, report sex offenders to law

12   enforcement, or allow users’ parents to readily report abusive users to law enforcement.

13          303.    Parents do not expect their children will use Defendants’ products to

14   exchange sexually explicit content and images and minor users do not expect that prurient

15   adults pose as minors for malign purposes or that exchange of such content will be

16   deleterious to their personal safety and emotional health.

17          304.    Minor users of Defendants’ products lack the cognitive ability and life

18   experience to identify online grooming behaviors by prurient adults and the psychosocial

19   maturity to decline invitations to exchange salacious material.

20          305.    Defendants’ products are unreasonably dangerous and defective as designed

21   because they allow minor children to use “public” profiles, in many cases default “public”

22   profiles, that can be mass-messaged by anonymous and semi-anonymous adult users for the

23   purposes of sexual exploitation and grooming, including the sending of encrypted,

24   disappearing messages and cash rewards through Defendants’ integrated design features.

25    F.    Design of Addictive Social Media Products

26          306.    Snapchat, Tiktok, and Instagram are defectively designed.

27          307.    As designed, Defendants’ social media products are addictive to minor users

28

                                                  82
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 366Page
                                                             Page
                                                             of 375
                                                                  87
                                                                   83
                                                                    PageID
                                                                     ofof96
                                                                          92 #:514




 1   as follows: When minors use design features such as “likes” or “streaks” it causes their brains

 2   to release dopamine, which creates short term euphoria. However, as soon as dopamine is

 3   released, minor users’ brains adapt by reducing or “downregulating” the number of dopamine

 4   receptors that are stimulated and their euphoria is countered by dejection. In normal

 5   stimulatory environments, this dejection abates, and neutrality is restored. However,

 6   Defendants’ algorithms are designed to exploit users’ natural tendency to counteract

 7   dejection by going back to the source of pleasure for another dose of euphoria. As this pattern

 8   continues over a period of months and the neurological baseline to trigger minor users’

 9   dopamine responses increases, they continue to use the social media products at issue, not

10   for enjoyment, but simply to feel normal. Once they stop using these products, minor users

11   experience the universal symptoms of withdrawal from any addictive substance including

12   anxiety, irritability, insomnia, and craving.

13          308.    Addiction is not restricted to a substance abuse disorders. Rather, the

14   working definition of addiction promulgated in the seminal article Addictive behaviors:

15   Etiology and Treatment published by the American Psychological Association in

16   its 1988 Annual Review of Psychology defines addiction as,

17          a repetitive habit pattern that increases the risk of disease and/or associated personal
            and social problems. Addictive behaviors are often experienced subjectively as ‘loss
18
            of control’ – the behavior contrives to occur despite volitional attempts to abstain or
19          moderate use. These habit patterns are typically characterized by immediate
            gratification (short term reward), often coupled with delayed deleterious effects (long
20          term costs). Attempts to change an addictive behavior (via treatment or self-
            initiation) are typically marked with high relapse rates.
21
            309.    Addiction researchers agree that addiction involves six core components:
22
     (1) salience—the activity dominates thinking and behavior; (2) mood modification—the
23
     activity modifies/improves mood; (3) tolerance—increasing amounts of the activity are
24
     required to achieve previous effects; (4) withdrawal—the occurrence of unpleasant feelings
25
     when the activity is discontinued or suddenly reduced; (5) conflict—the activity causes
26
     conflicts in relationships, in work/education, and other activities; and (6) relapse—a
27
     tendency to revert to earlier patterns of the activity after abstinence or control.
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                                                     83
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 367Page
                                                             Page
                                                             of 375
                                                                  88
                                                                   84
                                                                    PageID
                                                                     ofof96
                                                                          92 #:515




 1            310.    Social media addiction has emerged as a problem of global concern, with

 2   researchers all over the world conducting studies to evaluate how pervasive the problem

 3   is. Addictive social media use is manifested when a user (10 becomes preoccupied by social

 4   media (salience); (2) uses social media in order to reduce negative feelings (mood

 5   modification); (3) gradually uses social media more and more in to get the same pleasure

 6   from it (tolerance/craving); (4) suffers distress if prohibited from using social media

 7   (withdrawal); (5) sacrifices other obligations and/ or cases harm to other important life areas

 8   because of their social media use (conflict/functional impairment); and (6) seeks to curtail

 9   their use of social media without success (relapse/loss of control).

10            311.    The Bergen Facebook Addiction Scale (BFAS) was specifically developed

11   by psychologists in to assess subjects’ social media use using the aforementioned addiction

12   criteria, and is by far the most widely used measure of social media addiction. Originally

13   designed for Facebook, BFAS has since been generalized to all social media. BFAS has

14   been translated into dozens of languages, including Chinese, and is used by researchers

15   throughout the world to measure social media addiction.

16            312.    BFAS asks subjects to consider their social media usage with respect to the

17   six following statements and answer either (1) very rarely, (2) rarely, (3) sometimes, (4)

18   often, or (5) very often,

19            313.    You spend a lot of time thinking about social media or planning how to use

20   it.

21            314.    You feel an urge to use social media more and more.

22            315.    You use social media in order to forget about personal problems.

23            316.    You have tried to cut down on the use of social media without success.

24            317.    You become restless or troubled if you are prohibited from using social

25   media.

26            318.    You use social media so much that it has had a negative impact on your

27   job/studies.

28

                                                   84
                    COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 368Page
                                                             Page
                                                             of 375
                                                                  89
                                                                   85
                                                                    PageID
                                                                     ofof96
                                                                          92 #:516




 1   Subjects who score a “4” or “5” on at least 4 of those statements are deemed to suffer from
 2   social media addiction.
 3          319.    Addictive use of social media by minors is psychologically and
 4   neurologically analogous to addiction to internet gaming disorder as described in the
 5   American Psychiatric Association's 2013 Diagnostic and Statistical Manual of Mental
 6   Disorders (DSM-5), which is used by mental health professionals to diagnose mental
 7   disorders. Gaming addiction is a recognized mental health disorder by the World Health
 8   Organization and International Classification of Diseases and is functionally and
 9   psychologically equivalent to social media addition. The diagnostic symptoms of social
10   media addiction among minors are the same as the symptoms of addictive gaming
11   promulgated in DSM 5 and include:
12          320.    Preoccupation with social media and withdrawal symptoms (sadness, anxiety,
13   irritability) when device is taken away or not possible (sadness, anxiety, irritability).
14              a. Tolerance, the need to spend more time using social media to satisfy the urge.
15              b. Inability to reduce social media usages, unsuccessful attempts to quit gaming.
16              c. Giving up other activities, loss of interest in previously enjoyed activities due to
17                  social media usage.
18              d. Continuing to use social media despite problems.
19              e. Deceiving family members or others about the amount of time spent on social
20
                    media.
21
                f. The use of social media to relieve negative moods, such as guilt or hopelessness.
22
                g. and Jeopardized school or work performance or relationships due to social media
23
                    usage.
24
            321.    Defendants’ advertising profits are directly tied to the quantity of their users’
25
     online time and engagement, and their algorithms and other product features are designed to
26
     maximize the time users spend using the product by directing them to content that is
27
     progressively more and more stimulative. Defendants enhance advertising revenue by
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                                                    85
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 369Page
                                                             Page
                                                             of 375
                                                                  90
                                                                   86
                                                                    PageID
                                                                     ofof96
                                                                          92 #:517




 1   maximizing users’ time online through a product design that addicts them to the platform.

 2   However, reasonable minor users and their parents do not expect that online social media

 3   platforms are psychologically and neurologically addictive.

 4          322.    It is feasible to make Defendants’ products not addictive to minor users by

 5   turning off the algorithms, limiting the frequency and duration of access, and suspending

 6   service during sleeping hours. Designing software that limits the frequency and duration of

 7   minor users’ screen use and suspends service during sleeping hours could be accomplished

 8   at negligible cost; whereas the benefit of minor users maintaining healthy sleep patterns

 9   would be a significant reduction in depression, attempted and completed suicide, and other

10   forms self-harm among this vulnerable age cohort.

11    G.    Inadequate Notification of Parents of Dangerous and Problematic Social Media

12          Usage by Minor Users

13          323.    Snapchat, Tiktok, and Instagram are defectively designed.

14          324.    Defendants’ products are not reasonably safe as designed because they do not

15   include any safeguards to notify users and their parents of usage that Defendants knows to

16   be problematic and likely to cause negative mental health effects to users, including

17   excessive passive use and use disruptive of normal sleep patterns. This design is defective

18   and unreasonable because:

19          325.    It is reasonable for parents to expect that social media companies that actively

20   promote their platforms to minors will undertake reasonable efforts to notify parents when

21   their child’s use becomes excessive or occurs during sleep time. It is feasible for Defendants

22   to design a product that identifies a significant percentage of its minor users who are using

23   the product more than three hours per day or using it during sleeping hours at negligible cost.

24          326.    Defendants’ products are not reasonably safe as designed because, despite

25   numerous reported instances of child sexual solicitation and exploitation by adult users,

26   Defendants have not undertaken reasonable design changes to protect underage users from

27   this abuse, including notifying parents of underage users when they have been messaged or

28

                                                   86
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 370Page
                                                             Page
                                                             of 375
                                                                  91
                                                                   87
                                                                    PageID
                                                                     ofof96
                                                                          92 #:518




 1   solicited by an adult user or when a user has sent inappropriate content to minor users.

 2          327.     Defendants’ entire business is premised upon collecting and analyzing user

 3   data and it is feasible to use Defendants’ data and algorithms and other technologies to

 4   identify and restrict improper sexual solicitation, exploitation, and abuse by adult users.

 5          328.     Moreover, it is reasonable for parents to expect that platforms such as

 6   Instagram, Snapchat, and TikTok, which actively promote their services to minors, will

 7   undertake reasonable efforts to identify users suffering from mental injury, self-harm, or

 8   sexual abuse and implement technological safeguards to notify parents by text, email, or

 9   other reasonable means that their child is in danger.

10          329.     As a proximate result of these dangerous and defective design attributes of

11   Defendants’ product, Englyn Roberts suffered severe mental harm. Plaintiffs did not know,

12   and in the exercise of reasonable diligence could not have known, of these defective design

13   in Defendants’ products until late 2021.

14          330.     As a result of these dangerous and defective design attributes of Defendants’

15   products, Plaintiffs Brandy and Toney Roberts have suffered emotional distress and

16   pecuniary hardship due to their child’s mental harm and death resulting from her social media

17   addiction.

18          331.     Defendants are further liable to Plaintiffs for punitive damages based upon

19   the willful and wanton design of their products that were intentionally marketed and sold to

20   underage users, whom they knew would be seriously harmed through their use of Instagram,

21   Snapchat, and TikTok.

22                COUNT II – STRICT PRODUCT LIABILITY (Failure to Warn)
23          332.     Plaintiffs reallege each and every allegation contained in paragraphs 1
24   through 325 as if fully stated herein.
25          333.     Defendants’ products are defective because of inadequate instructions or
26   warnings because the foreseeable risks of harm posed by these products could have been
27   reduced or avoided by the provision of reasonable instructions or warnings by the
28

                                                   87
                  COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 371Page
                                                             Page
                                                             of 375
                                                                  92
                                                                   88
                                                                    PageID
                                                                     ofof96
                                                                          92 #:519




 1   manufacturer and the omission of the instructions or warnings renders the product not

 2   reasonably safe. This defective condition rendered the products unreasonably dangerous to

 3   persons or property, existed at the time the products left Defendants’ control, reached the

 4   user or consumer without substantial change in the condition in which they were sold, and

 5   were a cause of Plaintiffs’ injuries.

 6          334.    Defendants’ products are unreasonably dangerous and defective because they

 7   contain no warning to users or parents regarding the addictive design and effects of

 8   Instagram, Snapchat, and TikTok.

 9          335.    Defendants’ social media product rely on highly complex and proprietary

10   algorithms and similar technologies that are both undisclosed and unfathomable to ordinary

11   consumers, who do not expect that social media platforms are physically and/or

12   psychologically addictive.

13          336.    The magnitude of harm from addiction to Defendants’ product is horrific,

14   ranging from simple diversion from academic, athletic, and face-to-face socialization to sleep

15   loss, severe depression, anxiety, self-harm, and suicide.

16          337.    The harms resulting from minors’ addictive use of social media platforms

17   have been not only well-documented in the professional and scientific literature, but

18   Defendants had actual knowledge of such harms.

19          338.    Defendants’ products are unreasonably dangerous because they lack any

20   warnings that foreseeable product use can disrupt healthy sleep patterns or specific warnings

21   to parents when their child’s product usage exceeds healthy levels or occurs during sleep

22   hours. Excessive screen time is harmful to adolescents’ mental health and sleep patterns and

23   emotional well-being. Reasonable and responsible parents are not able to accurately monitor

24   their child’s screen time because most adolescents own or can obtain access to mobile

25   devices and engage in social media use outside their parents’ presence.

26          339.    It is feasible for Defendants’ products to report the frequency and duration of

27   their minor users’ screen time to their parents without disclosing the content of

28

                                                  88
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 372Page
                                                             Page
                                                             of 375
                                                                  93
                                                                   89
                                                                    PageID
                                                                     ofof96
                                                                          92 #:520




 1   communications at negligible cost, whereas parents’ ability to track the frequency, time and

 2   duration of their minor child’s social media use are better situated to identify and address

 3   problems arising from such use and to better exercise their rights and responsibilities as

 4   parents.

 5          340.    Defendants knew about these harms, knew that users and parents would not

 6   be able to safely use their products without warnings, and failed to provide warnings that

 7   were adequate to make the product reasonably safe during ordinary and foreseeable use by

 8   children.

 9          341.    As a result of Defendants’ failure to warn, Englyn Roberts suffered severe

10   mental harm, leading to physical injury from her use of Instagram, Snapchat, and TikTok.

11          342.    As a result of Defendants’ failure to warn, Plaintiffs Brandy and Toney

12   Roberts, have suffered emotional distress and pecuniary hardship due to their child’s mental

13   harm resulting from social media addiction.

14          343.    Defendants are further liable to Plaintiffs for punitive damages based upon

15   their willful and wanton failure to warn of known dangers of their products that were

16   intentionally marketed and sold to teenage users, whom they knew would be seriously

17   harmed through their use of Instagram, Snapchat, and TikTok.

18                                  COUNT III – NEGLIGENCE

19          344.    Plaintiffs reallege each and every allegation contained in paragraphs 1
20   through 337 as if fully stated herein.
21          345.    At all relevant times, Defendants had a duty to exercise reasonable care and
22   caution for the safety of individuals using their products, such Englyn Roberts.
23          346.    Defendants owe a heightened duty of care to minor users of their social media
24   products because adolescents’ brains are not fully developed, which results in a diminished
25   capacity to make good decisions regarding their social media usages, eschew self-destructive
26   behaviors, and overcome emotional and psychological harm from negative and destructive
27   social media encounters.
28

                                                   89
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 373Page
                                                             Page
                                                             of 375
                                                                  94
                                                                   90
                                                                    PageID
                                                                     ofof96
                                                                          92 #:521




 1          347.    As product manufacturers marketing and selling products to consumers,

 2   Defendants owed a duty to exercise ordinary care in the manufacture, marketing, and sale of

 3   their products, including a duty to warn minor users and their parents of hazards that

 4   Defendants knew to be present, but not obvious, to underage users and their parents.

 5          348.    As business owners, Defendants owe their users who visit their social media

 6   platforms and from whom they derive billions of dollars per year in advertising revenue a

 7   duty of ordinary care substantially similar to that owed by physical business owners to its

 8   business invitees.

 9          349.    Defendants were negligent, grossly negligent, reckless and/or careless in that

10   they failed to exercise ordinary care and caution for the safety of underage users, like Enlgyn

11   Roberts, using their social media products.

12          350.    Defendants were negligent in failing to conduct adequate testing and failing

13   to allow independent academic researchers to adequately study the effects of their products

14   and levels of problematic use amongst teenage users. Defendants know that their products

15   are harmful, cause extensive mental harm, and that minor users are engaging in problematic

16   and addictive use that their parents are helpless to monitor and prevent.

17          351.    Defendants are negligent in failing to provide adequate warnings about the

18   dangers associated with the use of social media products and in failing to advise users and

19   their parents about how and when to safely use their social media platforms and features.

20          352.    Defendants are negligent in failing to fully assess, investigate, and restrict the

21   use of their social media products by adults to sexually solicit, abuse, manipulate, and exploit

22   minor users of their social media products.

23          353.    Defendants are negligent in failing to provide users and parents the tools to

24   ensure their social media products are used in a limited and safe manner by underage users.

25          354.    As a result of Defendants’ negligence, Englyn Roberts suffered severe mental

26   harm from her use of Instagram, Snapchat, and TikTok.

27          355.    As a result of Defendants’ negligence, Plaintiffs Brandy and Toney Roberts

28

                                                   90
                 COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 374Page
                                                             Page
                                                             of 375
                                                                  95
                                                                   91
                                                                    PageID
                                                                     ofof96
                                                                          92 #:522




 1   have suffered emotional distress and pecuniary hardship due to their child’s mental harm

 2   resulting from social media addiction.

 3          356.     Defendants are further liable to Plaintiffs for punitive damages based upon its

 4   willful and wanton conduct toward underage users, including Englyn Roberts, whom they

 5   knew would be seriously harmed through the use of their social media products.

 6                                 DEMAND FOR JURY TRIAL

 7          Plaintiff hereby demands a trial by jury.

 8                                     PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff prays for judgment against Defendants for relief as follows:
10      a) Past physical and mental pain and suffering of Englyn Roberts, in an amount to be
11          more readily ascertained at the time and place set for trial;
12      b) Loss of enjoyment of life, in an amount to be more readily ascertained at the time and
13          place set for trial;
14      c) Past medical care expenses for the care and treatment of the injuries sustained by
15          Englyn Roberts, in an amount to be more readily ascertained at the time and place set
16          for trial;
17      d) Past and future impairment to capacity to perform everyday activities;
18      e) Plaintiffs’ pecuniary loss and loss of Englyn Roberts’s services, comfort, care,

19          society, and companionship to Brandy and Toney Roberts;
20      f) Loss of future income and earning capacity of Englyn Roberts;
21      g) The $8,927.02 Plaintiffs paid to bury their 14-year-old daughter;
22      h) Punitive damages;
23      i) Injunctive relief, including, but not limited to, ordering Defendants to stop the
24          harmful conduct alleged herein, remedy the unreasonably dangerous algorithms in
25          their social media products, and provide warnings to minor users and their parents
26          that Defendants’ social media products are addictive and pose a clear and present
27          danger to unsuspecting minors;
28

                                                   91
                COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
Case: 1:22-cv-02968
      Case
       Case4:22-cv-04210-YGR
             PendingDocument
                     No. 97 Document
                             #: Document
                                8-1 Filed:
                                        1-908/03/22
                                           1 Filed
                                              Filed08/01/22
                                                    07/20/22
                                                    Page 375Page
                                                             Page
                                                             of 375
                                                                  96
                                                                   92
                                                                    PageID
                                                                     ofof96
                                                                          92 #:523




 1      j) Reasonable costs and attorney and expert/consultant fees incurred in prosecuting this

 2         action; and

 3      k) Such other and further relief as this Court deems just and equitable.

 4         Dated: July 20, 2022.
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28

                                                 92
               COMPLAINT FOR WRONGFUL DEATH AND SURVIVORSHIP
